                            UNITED STATES BANKRUPTCY COURT
                            MIDDLE DISTRICT OF PENNSYLVANIA
                                  HARRISBURG DIVISION
 In re:      Apartments And Acquistions LP                         &DVH1R4:15-bk-03964-MJC
                                                                   
                                                                   
 Debtor(s)                                                         


           CHAPTER 7 TRUSTEE¶S FINAL ACCOUNT AND DISTRIBUTION
    REPORT CERTIFICATION THAT THE ESTATE HAS BEEN FULLY ADMINISTERED
                 AND APPLICATION TO BE DISCHARGED (TDR)

         William G. Schwab, chapter 7 trustee, submits this Final Account, Certification that the Estate
 has been Fully Administered and Application to be Discharged.

           $OOIXQGVRQKDQGKDYHEHHQGLVWULEXWHGLQDFFRUGDQFHZLWKWKH7UXVWHH¶s Final Report and, if
 DSSOLFDEOHDQ\RUGHURIWKH&RXUWPRGLI\LQJWKH)LQDO5HSRUW7KHFDVHLVIXOO\DGPLQLVWHUHGDQGDOO
 assets and funds which have come under the trustee¶s control in this case have been properly accounted
 IRUDVSURYLGHGE\ODZ7KHWUXVWHHKHUHE\UHTXHVWVWREHGLVFKDUJHGIURPIXUWKHUGXWLHVDVDWUXVWHH

          $VXPPDU\RIDVVHWVDEDQGRQHGDVVHWVH[HPSWWRWDOGLVWULEXWLRQVWRFODLPDQWVFODLPV
 discharged without payment, and expenses of administration is provided below:




  Assets Abandoned: $512,150.00                                Assets Exempt:        N/A
  (without deducting any secured claims)

  Total Distribution to Claimants:     $346,763.86             Claims Discharged
                                                               Without Payment: N/A

  Total Expenses of Administration: $380,689.49


           7RWDOJURVVUHFHLSWVRI$727,453.35 (see Exhibit 1), minus funds paid to the debtor and third
 parties of $0.00 (see Exhibit 2), yielded net receipts of $727,453.35 from liquidation of the property of
 the estate, which was distributed as follows:




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                                             CLAIMS            CLAIMS           CLAIMS            CLAIMS
                                           SCHEDULED          ASSERTED         ALLOWED             PAID

 SECURED CLAIMS
 (from Exhibit 3)                                      0.00       566,787.27        493,235.08      194,215.09

 PRIORITY CLAIMS
     CHAPTER 7 ADMIN. FEES
     AND CHARGES
     (from Exhibit 4)                              3,137.50       233,115.00        462,722.09      373,025.83
     PRIOR CHAPTER
     ADMIN. FEES AND
     CHARGES (from Exhibit 5)                          0.00        12,455.32           7,663.66       7,663.66
     PRIORITY UNSECURED
     CLAIMS (from Exhibit 6)                           0.00       194,218.97        118,294.14       70,256.84
 GENERAL UNSECURED
 CLAIMS (from Exhibit 7)                               0.00       716,949.89        685,560.27       82,291.93

 TOTAL DISBURSEMENTS                              $3,137.50    $1,723,526.45      $1,767,475.24    $727,453.35



          7KLVFDVHZDVRULJLQDOO\ILOHGXQGHU&KDSWHU11 on 09/16/2015
 and it was converted to Chapter 7 on 05/09/2016. The case was pending for 67 months.

          $OOHVWDWHEDQNVWDWHPHQWVGHSRVLWVOLSVDQGFDQFHOHGFKHFNVKDYHEHHQVXEPLWWHGWRWKH
 United States Trustee.

           $QLQGLYLGXDOHVWDWHSURSHUW\UHFRUGDQGUHSRUWVKRZLQJWKHILQDODFFRXQWLQJRIWKHDVVHWVRI
 the estate is attached as Exhibit 87KHFDVKUHFHLSWVDQGGLVEXUVHPHQWVUHFRUGVIRUHDFKHVWDWHEDQN
 account, showing the final accounting of the receipts and disbursements of estate funds is attached as
 Exhibit 9.

          Pursuant to Fed R Bank P 5009, I hereby certify, under penalty of perjury, that the foregoing
 report is true and correct.


 Dated: 12/08/2021                    By: /s/ William G. Schwab
                                                                        Trustee




 STATEMENT: This Uniform Form is associated with an open bankruptcy case, therefore, Paperwork Reduction
 $FWH[HPSWLRQ&)5 D  DSSOLHV




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                                              EXHIBITS TO
                                            FINAL ACCOUNT


EXHIBIT 1 - GROSS RECEIPTS

                                                                   UNIFORM               $ AMOUNT
DESCRIPTION
                                                                  TRAN. CODEï            RECEIVED
                                                                     1110-000                500.00

1007 W. Walnut St., Coal Township                                    1110-000               1,551.25

1018 W. INDEPENDENCE STR, COAL TSWP, PA                              1110-000               2,502.66

1020 EAST SUNBURY STR, SHAMOKIN PA                                   1110-000               3,303.36

1027 BROCK STREET, ASHLAND, PA                                       1110-000               3,198.27

1029 BROCK STREET, ASHLAND. PA                                       1110-000                   1.00

1031 W. INDEPENDENCE, COAL TSP, PA                                   1110-000               2,900.00

1035 BROCK STREET, ASHLAND, PA                                       1110-000                   1.00

1046 W. ARCH STREET, COAL TWP., PA                                   1110-000               3,429.59

1050 W ARCH STREET, COAL TWP., PA                                    1110-000               3,697.08

108 S 1ST STREET, COAL TWSP., PA                                     1110-000                507.00

1121-23 W. WATER STREET, COAL TSWP, PA                               1110-000               3,500.00

115 N. 2ND STREET, GIRARDSVILLE, PA                                  1110-000                762.15

117-119 S. MARKET STREET, SHAMOKIN, PA                               1110-000               3,238.39

1204 HEMLOCK STREET, COAL TWSP, PA                                   1110-000               1,111.00

1215 WALNUT STREET, ASHLAND, PA                                      1110-000              10,328.70

1224 PULSKI AVENUE, COAL TWSP., PA                                   1110-000               4,894.66

1234 CHEMUNG STREET, COAL TWSP., PA                                  1110-000               2,067.95

1252 CHEMUNG STREET, COAL TWSP., PA                                  1110-000              17,376.00

1407 WALNUT STREET, ASHLAND, PA                                      1110-000               1,756.95

1426 W. Walnut St., Coal Township                                    1110-000               5,898.07

1508 WABASH STREET, COAL TWSP.,PA                                    1110-000               4,641.57

1513 WALNUT STREET, ASHLAND, PA                                      1110-000              10,082.37

1524 W. CENTRE STREET, ASHLAND, PA                                   1110-000               3,373.55

1740 W. MOHAWK STREET, ATLAS, PA                                     1110-000               1,100.00

1742 MOHAWK STREET, SHAMOKIN, PA                                     1110-000               1,129.69

227 NORTH FRANKLIN STEET, SHAMOKIN, PA                               1110-000               8,098.36

249 E. MOSER AVENUE, COALDALE, PA                                    1110-000               9,040.39

27 NORTH NICE STREET, FRACKVILLE, PA                                 1110-000              13,900.00

29 E. SUNBURY STREET, SHAMOKIN, PA                                   1110-000               6,914.22


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32 Ann St., St. Clair                                                        1110-000               5,337.19

321 CHESTNUT STREET, SUNBURY, PA                                             1110-000               1,320.73

401 WALNUT STREET, ASHLAND, PA                                               1110-000               3,079.61

426 W. SPRUCE STREET, SHAMOKIN, PA                                           1110-000               3,939.20

433 W. 3RD STREET, MT.CARMEL, PA                                             1110-000                500.00

437 E. CAMP STREET, MT. CARMEL, PA                                           1110-000                500.00

437 EAST AVENUE, MT. CARMEL, PA                                              1110-000                500.00

440 S. SHAMOKIN STREET, SHAMOKIN, PA                                         1110-000               4,221.00

441 EAST WATER STREET, MT. CARMEL, PA                                        1110-000               1,572.00

46 WEST MAIN STREET, GIRARDSVILLE, PA                                        1110-000               1,521.63

50 OAKLAND AVENUE, ASHLAND, PA                                               1110-000               1,204.05

516-520 W. MARKET STREET, MAHANOY CITY, PA                                   1110-000               5,200.00

58 OAKLAND STREET, ASHLAND, PA                                               1110-000               1,844.00

601 NORTH FRANKLIN ST., SHAMOKIN                                             1110-000               1,505.23

61 WATER ST., NEW PHILADELPHIA                                               1110-000               1,553.36

694 BEAR VALLEY STREET, SHAMOKIN, PA                                         1110-000                508.00

712 WEST PINE STREET, SHAMOKIN, PA                                           1110-000               5,958.73

718 WEST PINE STREET, SHAMOKIN, PA                                           1110-000               1,000.00

810 W. MULBERRY STREET, COAL TWSP., PA                                       1110-000               1,017.00

9 S. 19TH STREET, ASHLAND, PA                                                1110-000               1,531.80

904 N. SHAMOKIN STREET, SHAMOKIN, PA                                         1110-000               7,593.35

914 N. SHAMOKIN STREET, SHAMOKIN, PA                                         1110-000               4,301.69

917-923 CENTER STREET, ASHLAND, PA                                           1110-000              16,096.46

921 WALNUT STREET, ASHLAND, PA                                               1110-000               7,214.61

951 W. Arch St., Coal Township                                               1110-000               7,069.57

113 N 2ND STREET, GIRARDVILLE, PA                                            1210-000                812.91

1143 W. Pine Street, Coal Township, PA                                       1210-000               4,959.05

135 SOUTH FRANKLIN STREET, SHAMOKIN, PA 17872                                1210-000               5,255.83

315 WALNUT STREET, ASHLAND, PA                                               1210-000               7,887.12

924 North Orange St., Shamokin, PA 17872                                     1210-000               3,600.00

House Flex LLC, 238 South 6th St., Shamokin, PA 17872                        1210-000               1,500.00

House Flex LLC, 1027 West Centre St., Ashland, PA 17921                      1210-000               2,500.00

House Flex LLC, 103 South Plum St., Mt. Carmel PA 17851                      1210-000                500.00

House Flex LLC, 11 North Seventh St., Pottsville, PA 17901                   1210-000               6,351.79

House Flex LLC, 1103 West Fern St., Coal Township, PA 17866                  1210-000               5,100.00

House Flex LLC, 1208 Pine St., Ashland, PA 17921                             1210-000               2,985.01


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House Flex LLC, 134 North Third St., St. Clair, PA 17970                       1210-000               5,296.08

House Flex LLC, 135 East High St., Coaldale, PA 18218                          1210-000               5,200.00

House Flex LLC, 140 E. Sunbury St., Shamokin, PA 17872                         1210-000               1,975.82

House Flex LLC, 151 West Saylor St., Mt. Carmel, PA 17851                      1210-000               4,900.00

House Flex LLC, 1510 Centre St., Ashland, PA 17921                             1210-000               3,000.00

House Flex LLC, 1525 West Walnut St., Coal Township, PA 17866                  1210-000               1,500.00

House Flex LLC, 1529 -1531 Walnut St., Ashland, PA 17921                       1210-000               8,000.00

House Flex LLC, 1727 Park Ave., Coal Township, PA 17866                        1210-000              13,600.00

House Flex LLC, 22 South 1st St., Coal Township, PA 17866                      1210-000                740.94

House Flex LLC, 227 North Nice St., Frackville, PA 17931                       1210-000              12,917.18

House Flex LLC, 234 East High St., Coaldale, PA 18218                          1210-000               6,083.20

House Flex LLC, 29 Walnut St., Ashland, PA 17921                               1210-000               8,510.17

House Flex LLC, 341 South Beech St., Mt. Carmel, PA 17851                      1210-000               1,705.51

House Flex LLC, 426 Centre St., Ashland, PA 17921                              1210-000               6,000.00

House Flex LLC, 517 West Race St., Pottsville, PA 17901                        1210-000               2,385.99

House Flex LLC, 717 West Race St., Pottsville, PA 17901                        1210-000               1,500.00

House Flex LLC, 911 North Vine St., Shamokin, PA 17872                         1210-000                500.00

House Flex LLC, 912 North Shamokin St., Shamokin, PA 17872                     1210-000               1,500.00

House Flex LLC, 918 West Race St., Pottsville, PA 17901                        1210-000               2,700.00

Jamili LLC, 50 Water St., New Philadelphia, PA 17959                           1210-000               3,226.75

Jamilie LLC, 0 Line St., Frackville, PA 17931                                  1210-000              43,500.00

Jamilie LLC, 0 Mill St., St. Clair, PA 17970                                   1210-000              27,200.00

Jamilie LLC, 12 Wiggan St., New Philadelphia, PA 17050                         1210-000              54,500.00

Jamilie LLC, 1334 Walnut St., Ashland, PA 17921                                1210-000               2,933.68

Jamilie LLC, 1931 Walnut St., Ashland, PA 17921                                1210-000               2,848.97

Jamilie LLC, 31 South Lehigh Ave., Frackville, PA 17931                        1210-000               7,103.55

Jamilie LLC, 525 East Norwegian St., Pottsville, PA 17901                      1210-000                500.00

Jamilie LLC, 94 Coal St., Port Carbon, PA 17921                                1210-000               9,785.00

RETAINED DEPOSITS AS A RESULT OF AGREEMENT OF SALE DEFAULTS                    1210-000               3,876.00

CLOSE OUT WELLS FARGO BANK ACCT. ENDING IN 8187                                1229-000                411.80

Jamilie LLC, 1420 Walnut St., Ashland, PA 17921                                1229-000               2,500.00

Jamilie/Houseflex Wells Fargo Bank Account                                     1229-000                   25.84

Operating Chapter 7 Rents & Misc. Defaults                                     1230-000             140,644.16

313-315 S Main Ave Scranton Litigation ADV #4;18-AP-2016                       1249-000               8,000.00

BRILL SETTLEMENT OF ADVERSARY CASE #17-AP-00148 (BRILL, BRODY                  1249-000              48,787.38
PROPERTIES, LP)
Greater Columbia Medical                                                       1249-000               1,000.00


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Jamilie LLC, 1114 Brock St., Ashland, PA 17921                                                        1249-000                      33,666.67

Jamilie LLC, 26 North Lehigh Ave., Frackville, PA 17931                                               1249-000                       2,234.11

MMJ                                                                                                   1249-000                       1,000.00

                                                                                                      1280-000                       4,000.00

1204 HEMLOCK STREET, COAL TWSP, PA                                                                    1280-000                        -500.00

1513 WALNUT STREET, ASHLAND, PA                                                                       1280-000                      -1,000.00

1740 W. MOHAWK STREET, ATLAS, PA                                                                      1280-000                      -1,100.00

249 E. MOSER AVENUE, COALDALE, PA                                                                     1280-000                      -6,500.00

27 NORTH NICE STREET, FRACKVILLE, PA                                                                  1280-000                      -1,000.00

433 W. 3RD STREET, MT.CARMEL, PA                                                                      1280-000                        -500.00

437 E. CAMP STREET, MT. CARMEL, PA                                                                    1280-000                        -500.00

437 EAST AVENUE, MT. CARMEL, PA                                                                       1280-000                        -500.00

516-520 W. MARKET STREET, MAHANOY CITY, PA                                                            1280-000                        -700.00

712 WEST PINE STREET, SHAMOKIN, PA                                                                    1280-000                      -1,000.00

914 N. SHAMOKIN STREET, SHAMOKIN, PA                                                                  1280-000                       1,000.00

917-923 CENTER STREET, ASHLAND, PA                                                                    1280-000                      -1,000.00

House Flex LLC, 1525 West Walnut St., Coal Township, PA 17866                                         1280-000                       1,000.00

LAW OFFICE OF RICHARD R. FEUDALE                                                                      1280-000                      -4,000.00

MATTIS & MATTIS                                                                                       1280-000                        -500.00

TURNOVER OF REFUNDS DUE TO THE DEBTOR                                                                 1290-000                        148.40

TOTAL GROSS RECEIPTS                                                                                                              $727,453.35

ï The Uniform Transaction Code is an accounting code assigned by the trustee for statistical reporting purposes.


EXHIBIT 2 - FUNDS PAID TO DEBTOR & THIRD PARTIES

                                                                                                  UNIFORM                        $ AMOUNT
PAYEE                                   DESCRIPTION
                                                                                                 TRANS. CODE                        PAID
                                                                       None

TOTAL FUNDS PAID TO DEBTOR & THIRD PARTIES


EXHIBIT 3 - SECURED CLAIMS

                                                       UNIFORM    CLAIMS
  CLAIM                                                                                      CLAIMS                 CLAIMS       CLAIMS
                          CLAIMANT                      TRAN.  SCHEDULED
   NO.                                                                                      ASSERTED               ALLOWED        PAID
                                                        CODE   (from Form 6D)
               Lake Wynonah Property Owners Assn         4120-000                   0.00            1,726.90          1,726.90       1,726.90

                                                         4120-000                   N/A               350.14           350.14         350.14

  00003A-2     internal revenue service centralized      4210-000                   0.00                0.00             0.00            0.00
               insolvency operation
      7        Borough of Frackville c/o Portnoff        4210-000                   0.00            3,448.80          3,448.80           0.00
               Law Associates, Ltd.
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    8     Panther Valley School District c/o       4210-000        0.00      2,563.94    2,563.94          0.00
          Portnoff Law Associates,
    9     Panther Valley School District c/o       4210-000        0.00      2,708.78    2,708.78          0.00
          Portnoff Law Associates,
    14    Saint Clair Area School District c/o     4210-000        0.00         3.62    11,391.40     11,391.40
          Portnoff Law Associates
    15    Saint Clair Area School District c/o     4210-000        0.00        85.63       85.63           0.00
          Portnoff Law Associates
    17    Saint Clair Area School District c/o     4210-000        0.00      1,010.32    1,010.32          0.00
          Portnoff Law Associates
    19    Saint Clair Area School District c/o     4210-000        0.00      1,902.31    1,902.31          0.00
          Portnoff Law Associates
    20    Saint Clair Area School District c/o     4210-000        0.00      2,073.24    2,073.24          0.00
          Portnoff Law Associates
    21    Saint Clair Area School District c/o     4210-000        0.00      2,147.25    2,325.24      2,325.24
          Portnoff Law Associates
    22    Saint Clair Area School District c/o     4210-000        0.00      1,709.10    1,709.10          0.00
          Portnoff Law Associates
    23    Saint Clair Area School District c/o     4210-000        0.00       695.38      695.38           0.00
          Portnoff Law Associates
    24    Shenandoah Valley School District c/o    4210-000        0.00        91.72       91.72           0.00
          Portnoff Law Associate
    25    Shenandoah Valley School District c/o    4210-000        0.00       283.94      283.94           0.00
          Portnoff Law Associate
    26    Tamaqua Area School District c/o         4210-000        0.00      1,666.81    1,666.81          0.00
          Portnoff Law Associates, Lt
    27    Tamaqua Area School District c/o         4210-000        0.00        64.09       64.09           0.00
          Portnoff Law Associates, Lt
    28    Tamaqua Area School District c/o         4210-000        0.00       508.05      508.05           0.00
          Portnoff Law Associates, Lt
    29    Tamaqua Area School District c/o         4210-000        0.00       687.67      687.67           0.00
          Portnoff Law Associates, Lt
    33    City Of Scranton                         4210-000        0.00      1,876.34    1,876.34          0.00

    34    City Of Scranton                         4210-000        0.00      9,904.69    9,904.69          0.00

    36    Panther Valley School District c/o       4210-000        0.00       115.47      115.47           0.00
          Portnoff Law Associates,
    37    Panther Valley School District c/o       4210-000        0.00        26.71       26.71           0.00
          Portnoff Law Associates,
    38    Panther Valley School District c/o       4210-000        0.00        26.71       26.71           0.00
          Portnoff Law Associates,
    39    Panther Valley School District c/o       4210-000        0.00       115.47      115.47           0.00
          Portnoff Law Associates,
    40    Tamaqua Area School District c/o         4210-000        0.00        55.45       55.45           0.00
          Portnoff Law Associates, Lt
    41    Saint Clair Area School District c/o     4210-000        0.00        47.02       47.02           0.00
          Portnoff Law Associates
    42    Saint Clair Area School District c/o     4210-000        0.00         2.00         2.00          0.00
          Portnoff Law Associates
    43    Saint Clair Area School District c/o     4210-000        0.00        75.32       75.32           0.00
          Portnoff Law Associates
    47    Shenandoah Valley School District c/o    4210-000        0.00        47.23       47.23           0.00
          Portnoff Law Associate
    49    Tamaqua Area School District c/o         4210-000        0.00       462.81      462.81           0.00
          Portnoff Law Associates, Lt

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  00050-2   internal revenue service centralized   4210-000        0.00          0.00        0.00          0.00
            insolvency operation
    51      Lackwanna County TCB                   4210-000        0.00      1,827.97    1,827.97          0.00

    52      Lackwanna County TCB                   4210-000        0.00      3,483.82    3,483.82          0.00

    53      Lackwanna County TCB                   4210-000        0.00     14,992.18   14,992.18          0.00

    54      Saint Clair Area School District c/o   4210-000        0.00       221.72      221.72           0.00
            Portnoff Law Associates
    55      Saint Clair Area School District c/o   4210-000        0.00       221.72      221.72           0.00
            Portnoff Law Associates
    56      Saint Clair Area School District c/o   4210-000        0.00       384.54      384.54           0.00
            Portnoff Law Associates
    57      Saint Clair Area School District c/o   4210-000        0.00       384.54      384.54           0.00
            Portnoff Law Associates
    58      Saint Clair Area School District c/o   4210-000        0.00       445.52      445.52           0.00
            Portnoff Law Associates
  00059A    Shamokin - Coal Township Joint         4210-000        0.00     27,653.11   27,653.11          0.00
            Sewer Authority James A Zuric
  00062-2   Ashland Boro                           4210-000        0.00     23,202.45   23,202.45          0.00

    63      Pottsville Sewer                       4210-000        0.00      1,576.25    1,576.25          0.00

    64      Mahanoy City Sewer Authority           4210-000        0.00        62.32       62.32           0.00

    65      Mahanoy City Sewer Authority           4210-000        0.00       382.51      382.51           0.00

    66      Borough of Frackville                  4210-000        0.00      3,394.30    3,394.30          0.00

    68      SCHUYLKILL COUNTY TAX                  4210-000        0.00       440.31      440.31           0.00
            CLAIM BUREAU
  00068-2   SCHUYLKILL COUNTY TAX                  4210-000        0.00       603.06      603.06           0.00
            CLAIM BUREAU
    69      Schuykill County TCB                   4210-000        0.00       799.36      799.36           0.00

    70      SCHUYLKILL COUNTY TAX                  4210-000        0.00      3,242.65    3,242.65          0.00
            CLAIM BUREAU
    71      SCHUYLKILL COUNTY TAX                  4210-000        0.00      4,474.08    4,474.08          0.00
            CLAIM BUREAU
    72      SCHUYLKILL COUNTY TAX                  4210-000        0.00      5,027.08    5,027.08          0.00
            CLAIM BUREAU
    73      SCHUYLKILL COUNTY TAX                  4210-000        0.00      1,474.43    1,474.43          0.00
            CLAIM BUREAU
  00073-2   SCHUYLKILL COUNTY TAX                  4210-000        0.00      1,615.84    1,615.84          0.00
            CLAIM BUREAU
    74      SCHUYLKILL COUNTY TAX                  4210-000        0.00       225.88      225.88           0.00
            CLAIM BUREAU
    75      SCHUYLKILL COUNTY TAX                  4210-000        0.00       536.51      536.51           0.00
            CLAIM BUREAU
  00075-2   SCHUYLKILL COUNTY TAX                  4210-000        0.00       727.11      727.11           0.00
            CLAIM BUREAU
    76      SCHUYLKILL COUNTY TAX                  4210-000        0.00       536.51      536.51           0.00
            CLAIM BUREAU
  00076-2   SCHUYLKILL COUNTY TAX                  4210-000        0.00       727.11      727.11           0.00
            CLAIM BUREAU
    77      SCHUYLKILL COUNTY TAX                  4210-000        0.00      4,864.09    4,864.09          0.00
            CLAIM BUREAU
    78      SCHUYLKILL COUNTY TAX                  4210-000        0.00       768.21      768.21           0.00
            CLAIM BUREAU
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  00078-2   SCHUYLKILL COUNTY TAX       4210-000        0.00      1,284.12    1,284.12          0.00
            CLAIM BUREAU
    79      SCHUYLKILL COUNTY TAX       4210-000        0.00       820.34      820.34           0.00
            CLAIM BUREAU
  00079-2   SCHUYLKILL COUNTY TAX       4210-000        0.00      1,021.27    1,021.27          0.00
            CLAIM BUREAU
    80      SCHUYLKILL COUNTY TAX       4210-000        0.00       871.75      871.75           0.00
            CLAIM BUREAU
  00080-2   SCHUYLKILL COUNTY TAX       4210-000        0.00      1,099.58    1,099.58          0.00
            CLAIM BUREAU
    81      SCHUYLKILL COUNTY TAX       4210-000        0.00       920.05      920.05           0.00
            CLAIM BUREAU
  00081-2   SCHUYLKILL COUNTY TAX       4210-000        0.00      1,171.45    1,171.45          0.00
            CLAIM BUREAU
    82      SCHUYLKILL COUNTY TAX       4210-000        0.00       791.79      791.79           0.00
            CLAIM BUREAU
  00082-2   SCHUYLKILL COUNTY TAX       4210-000        0.00       977.37      977.37           0.00
            CLAIM BUREAU
    83      SCHUYLKILL COUNTY TAX       4210-000        0.00       519.73      519.73           0.00
            CLAIM BUREAU
  00083-2   SCHUYLKILL COUNTY TAX       4210-000        0.00       737.14      737.14           0.00
            CLAIM BUREAU
    84      SCHUYLKILL COUNTY TAX       4210-000        0.00       465.11      465.11           0.00
            CLAIM BUREAU
  00084-2   SCHUYLKILL COUNTY TAX       4210-000        0.00       644.25      644.25           0.00
            CLAIM BUREAU
    85      SCHUYLKILL COUNTY TAX       4210-000        0.00       354.90      354.90           0.00
            CLAIM BUREAU
    86      SCHUYLKILL COUNTY TAX       4210-000        0.00      2,027.74    2,027.74          0.00
            CLAIM BUREAU
  00086-2   SCHUYLKILL COUNTY TAX       4210-000        0.00      2,254.48    2,254.48          0.00
            CLAIM BUREAU
    87      SCHUYLKILL COUNTY TAX       4210-000        0.00      1,058.07    1,058.07          0.00
            CLAIM BUREAU
  00087-2   SCHUYLKILL COUNTY TAX       4210-000        0.00      1,227.72    1,227.72          0.00
            CLAIM BUREAU
    88      SCHUYLKILL COUNTY TAX       4210-000        0.00      1,536.72    1,536.72          0.00
            CLAIM BUREAU
  00088-2   SCHUYLKILL COUNTY TAX       4210-000        0.00      1,751.39    1,751.39          0.00
            CLAIM BUREAU
    89      SCHUYLKILL COUNTY TAX       4210-000        0.00      4,308.78    4,308.78          0.00
            CLAIM BUREAU
  00089-2   SCHUYLKILL COUNTY TAX       4210-000        0.00      5,839.03    5,839.03          0.00
            CLAIM BUREAU
    90      SCHUYLKILL COUNTY TAX       4210-000        0.00      1,025.18    1,025.18          0.00
            CLAIM BUREAU
  00090-2   SCHUYLKILL COUNTY TAX       4210-000        0.00      1,155.16    1,155.16          0.00
            CLAIM BUREAU
    96      SCHUYLKILL COUNTY TAX       4210-000        0.00        72.74       72.74           0.00
            CLAIM BUREAU
    97      SCHUYLKILL COUNTY TAX       4210-000        0.00        72.74       72.74           0.00
            CLAIM BUREAU
    98      SCHUYLKILL COUNTY TAX       4210-000        0.00        84.11       84.11           0.00
            CLAIM BUREAU


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    99    SCHUYLKILL COUNTY TAX       4210-000         0.00     4,730.61    4,730.61          0.00
          CLAIM BUREAU
   100    SCHUYLKILL COUNTY TAX       4210-000         0.00     4,571.29    4,571.29          0.00
          CLAIM BUREAU
   101    SCHUYLKILL COUNTY TAX       4210-000         0.00     3,967.84    3,967.84          0.00
          CLAIM BUREAU
   102    SCHUYLKILL COUNTY TAX       4210-000         0.00      179.76      179.76           0.00
          CLAIM BUREAU
   103    SCHUYLKILL COUNTY TAX       4210-000         0.00     3,353.29    3,353.29          0.00
          CLAIM BUREAU
   104    SCHUYLKILL COUNTY TAX       4210-000         0.00      227.60      227.60           0.00
          CLAIM BUREAU
   105    SCHUYLKILL COUNTY TAX       4210-000         0.00      942.71      942.71           0.00
          CLAIM BUREAU
   107    SCHUYLKILL COUNTY TAX       4210-000         0.00     1,015.79    1,015.79          0.00
          CLAIM BUREAU
   108    SCHUYLKILL COUNTY TAX       4210-000         0.00     6,574.43    6,574.43          0.00
          CLAIM BUREAU
   109    SCHUYLKILL COUNTY TAX       4210-000         0.00      140.37      140.37           0.00
          CLAIM BUREAU
   110    SCHUYLKILL COUNTY TAX       4210-000         0.00      131.15      131.15           0.00
          CLAIM BUREAU
   111    SCHUYLKILL COUNTY TAX       4210-000         0.00     5,618.54    5,618.54          0.00
          CLAIM BUREAU
   112    SCHUYLKILL COUNTY TAX       4210-000         0.00     1,761.07    1,761.07          0.00
          CLAIM BUREAU
   113    SCHUYLKILL COUNTY TAX       4210-000         0.00     3,361.12    3,361.12          0.00
          CLAIM BUREAU
   114    SCHUYLKILL COUNTY TAX       4210-000         0.00     3,905.52    3,905.52          0.00
          CLAIM BUREAU
   115    SCHUYLKILL COUNTY TAX       4210-000         0.00     4,613.96    4,613.96          0.00
          CLAIM BUREAU
   116    SCHUYLKILL COUNTY TAX       4210-000         0.00     2,807.22    2,807.22          0.00
          CLAIM BUREAU
   117    SCHUYLKILL COUNTY TAX       4210-000         0.00     2,388.86    2,388.86          0.00
          CLAIM BUREAU
   118    SCHUYLKILL COUNTY TAX       4210-000         0.00     1,534.41    1,534.41          0.00
          CLAIM BUREAU
   119    SCHUYLKILL COUNTY TAX       4210-000         0.00     3,483.70    3,483.70          0.00
          CLAIM BUREAU
   120    SCHUYLKILL COUNTY TAX       4210-000         0.00     7,386.80    7,386.80          0.00
          CLAIM BUREAU
   121    SCHUYLKILL COUNTY TAX       4210-000         0.00     2,310.02    2,310.02          0.00
          CLAIM BUREAU
   122    SCHUYLKILL COUNTY TAX       4210-000         0.00     1,855.69    1,855.69          0.00
          CLAIM BUREAU
   123    SCHUYLKILL COUNTY TAX       4210-000         0.00      948.75      948.75           0.00
          CLAIM BUREAU
   124    SCHUYLKILL COUNTY TAX       4210-000         0.00     1,137.69    1,137.69          0.00
          CLAIM BUREAU
   125    SCHUYLKILL COUNTY TAX       4210-000         0.00     1,487.06    1,487.06          0.00
          CLAIM BUREAU
   126    SCHUYLKILL COUNTY TAX       4210-000         0.00      213.07      213.07           0.00
          CLAIM BUREAU


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   127     SCHUYLKILL COUNTY TAX                  4210-000        0.00     3,172.26    3,172.26          0.00
           CLAIM BUREAU
   129     Tamaqua Area School District c/o       4210-000        0.00      104.61      104.61           0.00
           Portnoff Law Associates, Lt
   130     Saint Clair Area School District c/o   4210-000        0.00     1,506.09    1,506.09          0.00
           Portnoff Law Associates
   131     Pottsville Area School District c/o    4210-000        0.00       69.32       69.32           0.00
           Portnoff Law Associates,
   132     Pottsville Area School District c/o    4210-000        0.00       53.46       53.46           0.00
           Portnoff Law Associates,
   133     Pottsville Area School District c/o    4210-000        0.00       29.80       29.80           0.00
           Portnoff Law Associates,
   134     Pottsville Area School District c/o    4210-000        0.00     2,836.19    2,836.19          0.00
           Portnoff Law Associates,
   135     Pottsville Area School District c/o    4210-000        0.00     2,754.17    2,754.17          0.00
           Portnoff Law Associates,
   136     Pottsville Area School District c/o    4210-000        0.00     1,101.11    1,101.11          0.00
           Portnoff Law Associates,
   137     Pottsville Area School District c/o    4210-000        0.00     1,789.51    1,789.51          0.00
           Portnoff Law Associates,
   138     Panther Valley School District c/o     4210-000        0.00      592.72      592.72           0.00
           Portnoff Law Associates,
   139     Coaldale Borough c/o Portnoff Law      4210-000        0.00       41.21       41.21           0.00
           Associates, Ltd.
   141     Panther Valley School District c/o     4210-000        0.00     2,655.65    2,655.65          0.00
           Portnoff Law Associates,
   142     Coaldale Borough c/o Portnoff Law      4210-000        0.00     1,281.43    1,281.43          0.00
           Associates, Ltd.
   143     Saint Clair Area School District c/o   4210-000        0.00     1,135.48    1,135.48          0.00
           Portnoff Law Associates
   144     Saint Clair Area School District c/o   4210-000        0.00     1,679.92    1,679.92          0.00
           Portnoff Law Associates
   145     Saint Clair Area School District c/o   4210-000        0.00     1,679.92    1,679.92          0.00
           Portnoff Law Associates
   146     Saint Clair Area School District c/o   4210-000        0.00     1,406.09    1,406.09          0.00
           Portnoff Law Associates
   147     Saint Clair Area School District c/o   4210-000        0.00     1,137.87    1,137.87          0.00
           Portnoff Law Associates
   148     Pottsville Area School District c/o    4210-000        0.00     1,204.64    1,204.64          0.00
           Portnoff Law Associates,
   149     Pottsville Area School District c/o    4210-000        0.00      137.33      137.33           0.00
           Portnoff Law Associates,
           Schuylkill Valley Sewer Authority      4700-000        0.00         0.00    1,677.40      1,677.40

  00001A   Northumberland County TCB              4700-000        0.00    77,860.86   37,918.92     37,918.92

  00002B   Pennsylvania Department of Revenue     4700-000        0.00     9,900.00     730.00        730.00
           Bankruptcy Division
  00007A   Borough of Frackville c/o Portnoff     4700-000        0.00     3,448.80        0.00          0.00
           Law Associates, Ltd.
  00008A   Panther Valley School District         4700-000        0.00     2,563.94     379.19        379.19

  00009A   Panther Valley School District         4700-000        0.00     2,708.78     412.38        412.38

  00010A   Panther Valley School District         4700-000        0.00      161.74      219.38        219.38

  00011A   Panther Valley School District         4700-000        0.00       54.16         0.00          0.00

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  00012A   Panther Valley School District         4700-000         0.00     3,360.92       0.00           0.00

  00013A   Panther Valley School District         4700-000         0.00      292.20        0.00           0.00

  00014A   Saint Clair Area School District       4700-000         0.00        3.62        0.00           0.00

  00015A   Saint Clair Area School District       4700-000         0.00       85.63        0.00           0.00

  00016A   Saint Clair Area School District       4700-000         0.00      182.27        0.00           0.00

  00017A   Saint Clair Area School District       4700-000         0.00     1,010.32       0.00           0.00

  00018A   Saint Clair Area School District       4700-000         0.00      805.19        0.00           0.00

  00019A   Saint Clair Area School District       4700-000         0.00     1,902.31       0.00           0.00

  00020A   Saint Clair Area School District       4700-000         0.00     2,073.24       0.00           0.00

  00021A   Saint Clair Area School District       4700-000         0.00     2,147.25    2,777.39      2,777.39

  00022A   Saint Clair Area School District       4700-000         0.00     1,709.10       0.00           0.00

  00023A   Saint Clair Area School District       4700-000         0.00      695.38        0.00           0.00

  00024A   Shenandoah Valley School District      4700-000         0.00       91.72        0.00           0.00

  00025A   Shenandoah Valley School District      4700-000         0.00      283.94        0.00           0.00

  00026A   Tamaqua Area School District           4700-000         0.00     1,666.81     289.69        289.69

  00027A   Tamaqua Area School District           4700-000         0.00       64.09        0.00           0.00

  00028A   Tamaqua Area School District           4700-000         0.00      508.05        0.00           0.00

  00029A   Tamaqua Area School District           4700-000         0.00      687.67        0.00           0.00

  00033A   City Of Scranton                       4700-000         0.00     1,876.34       0.00           0.00

  00034A   City Of Scranton                       4700-000         0.00     9,904.69       0.00           0.00

  00036A   Panther Valley School District         4700-000         0.00      115.47        0.00           0.00

  00037A   Panther Valley School District         4700-000         0.00       26.71        0.00           0.00

  00038A   Panther Valley School District         4700-000         0.00       26.71        0.00           0.00

  00039A   Panther Valley School District         4700-000         0.00      115.47        0.00           0.00

  00040A   Tamaqua Area School District           4700-000         0.00       55.45        0.00           0.00

  00041A   Saint Clair Area School District       4700-000         0.00       47.02        0.00           0.00

  00042A   Saint Clair Area School District       4700-000         0.00        2.00        0.00           0.00

  00043A   Saint Clair Area School District       4700-000         0.00       75.32        0.00           0.00

  00044A   Saint Clair Area School District       4700-000         0.00      607.44        0.00           0.00

  00045A   Panther Valley School District         4700-000         0.00     1,060.43       0.00           0.00

  00046A   Panther Valley School District         4700-000         0.00      105.36        0.00           0.00

  00047A   Shenandoah Valley School District      4700-000         0.00       47.23        0.00           0.00

  00048A   Shenandoah Valley School District      4700-000         0.00      460.47        0.00           0.00

  00049A   Tamaqua Area School District           4700-000         0.00      462.81        0.00           0.00

  00050B   internal revenue service centralized   4700-000         0.00        0.00        0.00           0.00
           insolvency operation
  00051A   Lackwanna County TCB                   4700-000         0.00     1,827.97    1,827.97      1,827.97


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  00052A   Lackwanna County TCB                   4700-000            0.00        3,483.82       34,843.82       3,483.82

  00053A   Lackwanna County TCB                   4700-000            0.00       14,992.18            0.00           0.00

  00054A   Saint Clair Area School District       4700-000            0.00         221.72             0.00           0.00

  00056A   Saint Clair Area School District       4700-000            0.00         384.54             0.00           0.00

  00058A   Saint Clair Area School District       4700-000            0.00         445.52             0.00           0.00

  00062A   Ashland Boro                           4700-000            0.00       25,425.79            0.00           0.00

  00063A   Pottsville Sewer                       4700-000            0.00        1,576.25            0.00           0.00

  00064A   Mahanoy City Sewer Authority           4700-000            0.00           62.32            0.00           0.00

  00065A   Mahanoy City Sewer Authority           4700-000            0.00         382.51             0.00           0.00

  00066A   Borough of Frackville                  4700-000            0.00        3,394.30            0.00           0.00

                                                  4700-000            N/A        83,829.41       83,829.41      83,829.41

           SCHUYLKILL TCB-LIEN                    4700-070            0.00        5,396.83       20,656.56      20,656.56

                                                  4800-000            N/A        24,219.30       24,219.30      24,219.30

TOTAL SECURED CLAIMS                                              $0.00        $566,787.27     $493,235.08    $194,215.09


EXHIBIT 4 - CHAPTER 7 ADMINISTRATIVE FEES and CHARGES

                                                 UNIFORM
                                                           CLAIMS             CLAIMS          CLAIMS         CLAIMS
                  PAYEE                           TRAN.
                                                         SCHEDULED           ASSERTED        ALLOWED          PAID
                                                  CODE
William G. Schwab, Trustee                        2100-000      N/A              39,612.67       39,612.67           0.00

                                                  2100-000      N/A                  50.00           50.00          50.00

                                                  3991-000      N/A                144.01          144.01         144.01

ROBERT S. FRYCKLUND, ESQUIRE                      3210-000      N/A               4,235.00        4,235.00       4,235.00

KURTZMAN STEADY, LLC                              3210-000      N/A                   0.00       30,552.00      30,552.00

KURTZMAN STEADY, LLC                              3220-000      N/A                   0.00        1,355.25       1,355.25

Fegley & Associates                               3410-000      N/A               3,137.50        3,137.50       3,137.50

Fegley & Associates                               3410-000      N/A                   0.00            0.00           0.00

EISNERAMPER, LLP                                  3410-000      N/A                   0.00       24,361.50      24,361.50

EISNERAMPER, LLP                                  3420-000      N/A                   0.00         750.00         750.00

HOUSER AUCTIONEERS                                3610-000      N/A              19,310.00       20,126.00      20,126.00

                                                  3610-000      N/A              14,885.00       14,885.00      14,885.00

HOUSER AUCTIONEERS                                3610-000      N/A                759.48          759.48         759.48

                                                  3620-000      N/A               1,000.00        1,000.00       1,000.00

HOUSER AUCTIONEERS                                3620-000      N/A               1,455.25        1,455.25       1,455.25

HOUSER AUCTIONEERS                                3620-000      N/A                   0.00        4,020.96       4,020.96

SCHUYLKILL COUNTY CLERK OF                        2700-000      N/A                144.00          144.00         144.00
COURTS


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INTERNATIONAL SURETIES, LTD.             2300-000     N/A           37.04       37.04           37.04

                                         2410-000     N/A          135.87      135.87        135.87

                                         2500-000     N/A        19,433.89   19,433.89     19,433.89

Covenent Abstract                        2500-000     N/A          -150.00     -150.00       -150.00

Law Office of Cole                       2500-000     N/A          -147.00     -147.00       -147.00

Richard Feudale, Esquire                 2500-000     N/A        -3,718.19   -3,718.19     -3,718.19

William G. Schwab, Trustee               2500-000     N/A           -45.00      -45.00          -45.00

Real Estate Closing Costs                2500-000     N/A         2,648.10    2,648.10      2,648.10

CARD SERVICES                            2990-000     N/A         3,496.22    3,496.22      3,496.22

COMMONWEALTH OF PA                       2990-000     N/A          -176.95     -176.95       -176.95

COURTCALL, LLC                           2990-000     N/A           44.00       44.00           44.00

DENA M. KISTLER, NOTARY                  2990-000     N/A           10.00       10.00           10.00

District Judge, John Gembic              2990-000     N/A          216.75      216.75        216.75

EHRLICH                                  2990-000     N/A          932.80      932.80        932.80

FAMILY SEARCH, LLC                       2990-000     N/A         1,085.00    1,085.00      1,085.00

GALLAGHER REPORTING & VIDEO, LLC         2990-000     N/A         1,274.10    1,274.10      1,274.10

LAW OFFICES OF MARKS, MCLAUGHLIN         2990-000     N/A        -1,029.87   -1,029.87     -1,029.87
& DENNEHY
                                         2990-000     N/A         1,995.94    1,995.94      1,995.94

BOROUGH OF ASHLAND                       2990-000     N/A         2,393.08    2,393.08      2,393.08

BOROUGH OF PORT CARBON                   2990-000     N/A           45.00       45.00           45.00

MAHANOY CITY SEWER AUTHORITY             2990-000     N/A          107.50      107.50        107.50

MICHAEL J. MCCRYSTAL, ESQUIRE            2990-000     N/A          116.25      116.25        116.25

Mostik Brothers Disposal                 2990-000     N/A          825.00      825.00        825.00

MR. BARRY SPIELES                        2990-000     N/A          560.00      560.00        560.00

MR. CHARLES MATERN                       2990-000     N/A          495.00      495.00        495.00

Pennsylvania American Water              2990-000     N/A          812.33      812.33        812.33

CARD SERVICES                            2990-000     N/A             0.00     346.40        346.40

United States Trustee (ADMINISTRATIVE)   2990-000     N/A          325.00         0.00           0.00
228 Walnut Street
United States Trustee (ADMINISTRATIVE)   2990-000     N/A          325.00         0.00           0.00
228 Walnut Street
PPL Electric Utilities                   2990-000     N/A        33,898.38    4,078.92      4,078.92

SCHUYLKILL COUNTY MUNICIPAL              2990-000     N/A          241.80      241.80        241.80
AUTHORITY
SCTJSA                                   2990-000     N/A          158.40      158.40        158.40

ST. CLAIR BOROUGH ELECTRIC LIGHT         2990-000     N/A          468.74      468.74        468.74
DEPT.
ST. CLAIR SEWER AUTHORITY                2990-000     N/A          323.36      323.36        323.36


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THE NEW BEGINNING CHURCH               2990-000      N/A          721.72       721.72        721.72

TRUSTEE INSURANCE AGENCY               2990-000      N/A         4,296.67     4,296.67      4,296.67

UNITED STATES LIABILITY INSURANCE      2990-000      N/A         7,264.40     7,264.40      7,264.40
COMPANY
US POSTMASTER                          2990-000      N/A          211.64       211.64        211.64

US TRUSTEE PAYMENT CENTER              2990-000      N/A         1,300.00     1,300.00      1,300.00

BARCLAYS                               2990-003      N/A          836.97       836.97        836.97

BARRY J. SPIELES                       2990-003      N/A        11,000.00    11,000.00     11,000.00

Magisterial District No. 08-3-03       2990-003      N/A          140.00       140.00        140.00

BUSINESS CARD SERVICES                 2990-004      N/A         1,911.47     1,911.47      1,911.47

PPL ELECTRIC UTILITIES                 2990-004      N/A         9,846.33     9,846.33      9,846.33

William G Schwab                       3110-000      N/A             0.00   150,000.00    112,500.00

William G Schwab                       3120-000      N/A             0.00    21,735.00      9,235.81

                                       2820-000      N/A         1,021.16     1,021.16      1,021.16

COUNTY OF NORTHUMBERLAND               2820-000      N/A         4,817.79     4,817.79      4,817.79

INTERNAL REVENUE SERVICE               2820-000      N/A          880.00       880.00        880.00

MR. BARRY SPIELES                      2690-000      N/A          150.40       150.40        150.40

NORTHUMBERLAND COUNTY                  2690-000      N/A          487.25       487.25        487.25
RECORDER OF DEEDS
PENNSYLVANIA AMERICAN WATER            2690-000      N/A          216.06       216.06        216.06

PPL ELECTRIC UTILITIES                 2690-000      N/A         6,147.19     6,147.19      6,147.19

SCHUYLKILL COUNTY MUNICIPAL            2690-000      N/A           31.80         31.80          31.80
AUTHORITY
SCHUYLKILL VALLEY SEWER                2690-000      N/A          765.00       765.00        765.00
AUTHORITY
TRUSTEE INSURANCE AGENCY               2690-000      N/A         6,260.08     6,260.08      6,260.08

UNITED STATES LIABILITY INSURANCE      2690-000      N/A          -704.80      -704.80       -704.80

US POSTMASTER                          2690-000      N/A          123.15       123.15        123.15

UNITED STATES LIABILITY INSURANCE      2690-000      N/A         1,656.80     1,656.80      1,572.40
COMPANY
SHAMOKIN COAL TWP JOINT SEWER          2690-000      N/A           49.50       893.48        893.48
AUTHORITY-ADMIN
US POSTMASTER                          2690-000      N/A          131.68       318.69        318.69

TRUSTEE INSURANCE AGENCY               2690-000      N/A         1,678.80    13,889.08     13,889.08

SHAMOKIN COAL TWP JOINT SEWER          2690-000      N/A             0.00      465.28        465.28
AUTHORITY-ADMIN
BOROUGH OF ASHLAND                     2690-000      N/A         2,717.40     2,717.40      2,717.40

BARRY SPIELES - PROPERTY               2690-000      N/A         1,360.00    13,792.89     13,792.89
MAINTENANCE
                                       2690-000      N/A         1,366.02     1,366.02      1,366.02

Barclays                               2690-000      N/A          433.40       433.40        433.40

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BARRY J. SPIELES                          2690-000       N/A                  1,540.00        1,540.00       1,540.00

BOROUGH OF ASHLAND                        2690-000       N/A                    120.00         120.00         120.00

BOROUGH OF FRACKVILLE                     2690-000       N/A                  4,920.40        4,920.40       4,920.40

BTMA                                      2690-000       N/A                    829.29         829.29         829.29

BUSINESS CARD SERVICES                    2690-000       N/A                    387.00         387.00         387.00

CARD SERVICES                             2690-000       N/A                  1,367.89        1,367.89       1,367.89

COALDALE BOROUGH                          2690-000       N/A                    208.00         208.00         208.00

DENA M. KISTLER, NOTARY                   2690-000       N/A                      5.00            5.00           5.00

FRACKVILLE AREA MUNICIPAL                 2690-000       N/A                  1,012.50        1,012.50       1,012.50
AUTHORITY
LANSFORD-COALDALE JOINT WATER             2690-000       N/A                    307.42         307.42         307.42
AUTHORITY
LARRY MCCULLION & SON                     2690-000       N/A                    305.00         305.00         305.00

MAGISTERIAL DISTRICT COURT 21-2-01        2690-000       N/A                    397.50         397.50         397.50

MAGISTERIAL DISTRICT COURT 21-2-1         2690-000       N/A                    213.13         213.13         213.13

ASHLAND BOROUGH                           2690-003       N/A                  2,352.15        2,352.15       2,352.15

MAGISTERIAL DISTRICT COURT 21-3-06        2690-004       N/A                    161.39         161.39         161.39

TOTAL CHAPTER 7 ADMIN. FEES and CHARGES                  N/A              $233,115.00      $462,722.09    $373,025.83


EXHIBIT 5 - PRIOR CHAPTER ADMINISTRATIVE FEES and CHARGES

                                         UNIFORM
                                                   CLAIMS               CLAIMS            CLAIMS         CLAIMS
                   PAYEE                  TRAN.
                                                 SCHEDULED             ASSERTED          ALLOWED          PAID
                                          CODE
Michael J. McCrystal                      6700-180       N/A                  4,791.66            0.00           0.00

BIXLER'S STUMP AND TREE SERVICE           6990-000       N/A                  1,500.00        1,500.00       1,500.00

Magisterial District No. 08-3-03          6990-000       N/A                    515.50         515.50         515.50

Magisterial District No. 21-2-01          6990-000       N/A                    178.88         178.88         178.88

TRUSTEE INSURANCE AGENCY                  6990-000       N/A                  5,061.28        5,061.28       5,061.28

                                          6950-000       N/A                    408.00         408.00         408.00

TOTAL PRIOR CHAPTER ADMIN. FEES and CHARGES              N/A                $12,455.32       $7,663.66      $7,663.66


EXHIBIT 6 - PRIORITY UNSECURED CLAIMS

                                         UNIFORM    CLAIMS              CLAIMS
 CLAIM                                                                 ASSERTED           CLAIMS         CLAIMS
                       CLAIMANT           TRAN.  SCHEDULED
  NO.                                                                 (from Proofs of    ALLOWED          PAID
                                          CODE   (from Form 6E)
                                                                          Claim)
            COALDALE BOROUGH-SEWER        5800-000             0.00             180.00         180.00         180.00

            GIRARDVILLE AREA MUNICIPAL    5800-000             0.00             230.11         230.11         230.11
            AUTHORITY
            MAHANOY CITY BOROUGH          5800-000             0.00           1,428.80        1,428.80       1,428.80

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            MAHANOY CITY BOROUGH                    5800-000          0.00             802.62         802.62        802.62
            WATER AUTHORITY
            MAHANOY CITY SEWAGE                     5800-000          0.00             500.61         500.61        500.61
            AUTHORITY
            SCHUYLKILL COUNTY TCB-                  5800-000          0.00          12,515.88       28,607.34     27,263.30
            PRIORITY
            TAX COLLECTOR (LOCAL)                   5800-000          0.00           6,029.43        6,693.61      6,444.13

    1       Northumberland County TCB               5800-000          0.00          77,860.86       19,452.76     19,452.76

  00002A    Pennsylvania Department of Revenue      5800-000          0.00               0.00        9,900.00          0.00
            Bankruptcy Division
 00003B-2   internal revenue service centralized    5800-000          0.00           3,000.00        3,000.00          0.00
            insolvency operation
    50      internal revenue service centralized    5800-000          0.00           2,000.00        2,000.00          0.00
            insolvency operation
  00050A    internal revenue service centralized    5800-000          0.00           2,000.00            0.00          0.00
            insolvency operation
 00050A-2   internal revenue service centralized    5800-000          0.00               0.00            0.00          0.00
            insolvency operation
  00059A    Shamokin - Coal Township Joint          5800-000          0.00          30,220.40        5,364.71      5,364.71
            Sewer Authority James A Zuric
  00059B    Shamokin - Coal Township Joint          5800-000          0.00          30,220.40       30,220.40          0.00
            Sewer Authority James A Zuric
    62      Ashland Boro                            5800-000          0.00          25,425.79        8,109.11      8,109.11

    91      SCHUYKILL COUNTY                        5800-000          0.00             250.66         250.66           0.00
            MUNICIPAL AUTHORITY 221 S
            CENTRE STREET
    92      SCHUYKILL COUNTY                        5800-000          0.00              98.28           98.28          0.00
            MUNICIPAL AUTHORITY 221 S
            CENTRE STREET
    93      SCHUYKILL COUNTY                        5800-000          0.00             128.20         128.20           0.00
            MUNICIPAL AUTHORITY 221 S
            CENTRE STREET
    94      SCHUYKILL COUNTY                        5800-000          0.00             600.52         600.52           0.00
            MUNICIPAL AUTHORITY 221 S
            CENTRE STREET
    95      SCHUYKILL COUNTY                        5800-000          0.00             245.72         245.72           0.00
            MUNICIPAL AUTHORITY 221 S
            CENTRE STREET
            CBRE-608844                             5500-004          N/A                0.00            0.00          0.00

            Transfer to Escrow Account              5600-000          N/A                0.00            0.00          0.00

                                                    5800-000          N/A              480.69         480.69        480.69

TOTAL PRIORITY UNSECURED CLAIMS                                      $0.00       $194,218.97      $118,294.14    $70,256.84


EXHIBIT 7 - GENERAL UNSECURED CLAIMS

                                                   UNIFORM    CLAIMS           CLAIMS
 CLAIM                                                                        ASSERTED           CLAIMS         CLAIMS
                       CLAIMANT                     TRAN.  SCHEDULED
  NO.                                                                        (from Proofs of    ALLOWED          PAID
                                                    CODE   (from Form 6F)
                                                                                 Claim)
            William G Schwab                        7100-000          N/A                0.00            0.00          0.00

            William G Schwab                        7100-000          N/A                0.00            0.00          0.00

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    2       Pennsylvania Department of Revenue     7100-000         0.00      9,900.00          0.00           0.00
            Bankruptcy Division
    3       internal revenue service centralized   7100-000         0.00       821.58        821.58            0.00
            insolvency operation
  00003-2   internal revenue service centralized   7100-000         0.00      3,821.58      3,821.58           0.00
            insolvency operation
  00003-3   internal revenue service centralized   7100-000         0.00       821.58        821.58            0.00
            insolvency operation
  00003B    internal revenue service centralized   7100-000         0.00          0.00       821.58            0.00
            insolvency operation
    4       Eagle Lake Community Association,      7100-000         0.00     12,132.03          0.00           0.00
            Inc
    5       Pennsylvania American Water            7100-000         0.00         63.30         48.98          48.98

    6       Eagle Lake Community Association,      7100-000         0.00      1,512.00      1,512.00      1,512.00
            Inc
    10      Panther Valley School District         7100-000         0.00         54.16          0.00           0.00

    11      Panther Valley School District         7100-000         0.00         54.16          0.00           0.00

    12      Panther Valley School District         7100-000         0.00      3,360.92          0.00           0.00

    13      Panther Valley School District         7100-000         0.00       292.20           0.00           0.00

    16      Saint Clair Area School District       7100-000         0.00       182.27           0.00           0.00

    18      Saint Clair Area School District       7100-000         0.00       805.19           0.00           0.00

    31      Sunbury MUA                            7100-000         0.00      1,818.35          0.00           0.00

    44      Saint Clair Area School District       7100-000         0.00       607.44           0.00           0.00

    45      Panther Valley School District         7100-000         0.00      1,060.43          0.00           0.00

    46      Panther Valley School District         7100-000         0.00       105.36           0.00           0.00

    48      Shenandoah Valley School District      7100-000         0.00       460.47           0.00           0.00

    59      Shamokin - Coal Township Joint         7100-000         0.00     30,220.40     30,220.40           0.00
            Sewer Authority James A Zuric
    61      PLUM CREEK MUA                         7100-000         0.00          0.00      2,030.40      2,030.40

    67      Borough of Frackville                  7200-000         0.00      3,394.30          0.00           0.00

   106      Blythe Township Water Authority        7100-000         0.00      1,524.82      1,524.82           0.00

   128      Pennsylvania American Water            7100-000         0.00       869.26        869.26            0.00

   140      George Atiyeh                          7100-000         0.00    564,367.54    564,367.54           0.00

            William G. Schwab, Esquire             7100-000         N/A      39,087.88     39,087.88     39,087.88

            William G. Schwab, Trustee             7100-000         N/A      39,612.67     39,612.67     39,612.67

TOTAL GENERAL UNSECURED CLAIMS                                     $0.00   $716,949.89   $685,560.27    $82,291.93




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                                                               INDIVIDUAL ESTATE PROPERTY RECORD AND REPORT
                                                                                                                                                                                     Page: 1
                                                                                ASSET CASES
Case Number:       15-03964 MJC                                                                           Trustee:                        William G. Schwab
Case Name:         Apartments And Acquistions LP                                                          Filed (f) or Converted (c):     05/09/16 (c)
                                                                                                           D 0HHWLQJ'DWH           08/30/16
Period Ending: 12/08/21                                                                                   Claims Bar Date:                04/01/19

                                       1                                     2                           3                          4                   5                        6
                                                                                                Estimated Net Value                                                         Asset Fully
                                                                          Petition/        (Value Determined By Trustee,         Property           Sale/Funds           Administered (FA)/
                               Asset Description                        Unscheduled           Less Liens, Exemptions,          Abandoned            Received by           Gross Value of
Ref #               (Scheduled And Unscheduled (u) Property)               Values                 and Other Costs)          2$  D $EDQGRQ       the Estate          Remaining Assets

  1     1018 W. INDEPENDENCE STR, COAL TSWP, PA                                  Unknown                             0.00                                     2,502.66          FA
        Sold with Asset #3 Docket 318
  2     1020 EAST SUNBURY STR, SHAMOKIN PA                                       Unknown                        Unknown                                       3,303.36          FA
        Docket 270;
  3     1020 W. INDEPENDENCE ST., COAL TWP, PA                                   Unknown                        Unknown                                           0.00          FA
        Sold with asset #1 Docket 318
  4     1027 BROCK STREET, ASHLAND, PA                                           Unknown                        Unknown                                       3,198.27          FA
        Sold with Assets 4, 5, 7 Docket 231
  5     1029 BROCK STREET, ASHLAND. PA                                           Unknown                        Unknown                                           1.00          FA
        SOLD WITH 1027 BROCK STREET ASSET 4 Docket 231
        amount shown is taxes attributed to property
  6     1031 W. INDEPENDENCE, COAL TSP, PA                                       Unknown                        Unknown                                       2,900.00          FA
        Docket # 325
  7     1035 BROCK STREET, ASHLAND, PA                                           Unknown                        Unknown                                           1.00          FA
        Included in sale of 1027 Brock St ASSET 4 Docket 231
        Amount shown is taxes attributed to property
  8     1046 W. ARCH STREET, COAL TWP., PA                                       Unknown                        Unknown                                       3,429.59          FA
        Docket 281
  9     1050 W ARCH STREET, COAL TWP., PA                                        Unknown                        Unknown                                       3,697.08          FA
        Docket 276
 10     108 S 1ST STREET, COAL TWSP., PA                                         Unknown                        Unknown                                        507.00           FA
        Docket 257
 11     108 S. SPRUCE STREET, COAL TWSP., PA                                     Unknown                        Unknown                                           0.00          FA
        Transfer to Northumberland Tax Claim Prior to Bankruptcy
 12     1121-23 W. WATER STREET, COAL TSWP, PA                                   Unknown                        Unknown                                       3,500.00          FA
        Docket 302
 13     1126 PULASKI AVENUE, COAL TWSP, PA                                       Unknown                        Unknown                                           0.00          FA
        Sold on 7-29-15 prior to Bankruptcy to Robert Sasni
 14     113 VINE STREET, DANVILLE, PA                                            Unknown                        Unknown                                           0.00          FA
        Property Transferred Prior to Bankruptcy
        Not Estate Property
 15     114 S. POPLAR STREET, MT CARMEL, PA                                      Unknown                        Unknown                                           0.00          FA
        Property Transferred Prior to Bankruptcy
        Not Estate Property




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                                                                                   FORM 1                                                                                           Exhibit 8
                                                               INDIVIDUAL ESTATE PROPERTY RECORD AND REPORT
                                                                                                                                                                                    Page: 2
                                                                                ASSET CASES
Case Number:       15-03964 MJC                                                                           Trustee:                       William G. Schwab
Case Name:         Apartments And Acquistions LP                                                          Filed (f) or Converted (c):    05/09/16 (c)
                                                                                                           D 0HHWLQJ'DWH          08/30/16
Period Ending: 12/08/21                                                                                   Claims Bar Date:               04/01/19

                                       1                                     2                           3                         4                   5                        6
                                                                                                Estimated Net Value                                                        Asset Fully
                                                                          Petition/        (Value Determined By Trustee,        Property           Sale/Funds           Administered (FA)/
                               Asset Description                        Unscheduled           Less Liens, Exemptions,         Abandoned            Received by           Gross Value of
Ref #               (Scheduled And Unscheduled (u) Property)               Values                 and Other Costs)         2$  D $EDQGRQ       the Estate          Remaining Assets

 16     1142 W. PINE STREET, COAL TWSP., PA                                      Unknown                        Unknown                                          0.00          FA
        Transfer to Brill Prior to Bankruptcy
 17     115 N. 2ND STREET, GIRARDSVILLE, PA                                      Unknown                        Unknown                                       762.15           FA
        Doicket 239
 18     117-119 S. MARKET STREET, SHAMOKIN, PA                                   Unknown                        Unknown                                      3,238.39          FA

 19     118 S. POPLAR STREET, MOUNT CARMEL, PA                                   Unknown                        Unknown                                          0.00          FA
        Property Transferred Prior to Bankruptcy
        Not Estate Property
 20     120 S. POPLAR STREET, MT. CARMEL, PA                                     Unknown                        Unknown                                          0.00          FA
        Property Transferred Prior to Bankruptcy
        Not Estate Property
 21     1204 HEMLOCK STREET, COAL TWSP, PA                                       Unknown                        Unknown                                       611.00           FA
        Docket #252
 22     1209 WALNUT STREET, ASHLAND, PA                                          Unknown                        Unknown                                          0.00          FA
        Transfer to Brill Prior to Bankruptcy
 23     1210 CHEMUNG STREET, COAL TWSP., PA                                      Unknown                        Unknown           OA                             0.00          FA

 24     1215 WALNUT STREET, ASHLAND, PA                                          Unknown                        Unknown                                    10,328.70           FA

 25     1224 PULSKI AVENUE, COAL TWSP., PA                                       Unknown                        Unknown                                      4,894.66          FA
        Docket Entry 274
 26     1234 CHEMUNG STREET, COAL TWSP., PA                                      Unknown                        Unknown                                      2,067.95          FA
        Docket Entry 273
 27     124 NORTH BEECH STREET, MT. CARMEL, PA                                   Unknown                        Unknown                                          0.00          FA
        Property Transferred Prior to Bankruptcy
        Not Estate Property
 28     125 W. GIRARD STREET, ATLAS, PA                                          Unknown                        Unknown                                          0.00          FA
        Transfer to Northumberland Tax Claim Prior to Bankruptcy
 29     1252 CHEMUNG STREET, COAL TWSP., PA                                      Unknown                        Unknown                                    17,376.00           FA

 30     127 WEST AVENUE, MT. CARMEL, PA                                          Unknown                        Unknown                                          0.00          FA
        Property Transferred Prior to Bankruptcy
        Not Estate Property
 31     1300 DOE DRIVE, AUBURN, PA                                               Unknown                        Unknown                                          0.00          FA
        Property Transferred Prior to Bankruptcy
        Not Estate Property


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                                                                                   FORM 1                                                                                           Exhibit 8
                                                               INDIVIDUAL ESTATE PROPERTY RECORD AND REPORT
                                                                                                                                                                                    Page: 3
                                                                                ASSET CASES
Case Number:       15-03964 MJC                                                                           Trustee:                       William G. Schwab
Case Name:         Apartments And Acquistions LP                                                          Filed (f) or Converted (c):    05/09/16 (c)
                                                                                                           D 0HHWLQJ'DWH          08/30/16
Period Ending: 12/08/21                                                                                   Claims Bar Date:               04/01/19

                                       1                                     2                           3                         4                   5                        6
                                                                                                Estimated Net Value                                                        Asset Fully
                                                                          Petition/        (Value Determined By Trustee,        Property           Sale/Funds           Administered (FA)/
                               Asset Description                        Unscheduled           Less Liens, Exemptions,         Abandoned            Received by           Gross Value of
Ref #               (Scheduled And Unscheduled (u) Property)               Values                 and Other Costs)         2$  D $EDQGRQ       the Estate          Remaining Assets

 32     133 S. WYLAN STREET, MAHANOY CITY, PA                                    Unknown                        Unknown                                          0.00          FA
        Property Transferred Prior to Bankruptcy
        Not Estate Property
 33     1407 WALNUT STREET, ASHLAND, PA                                          Unknown                        Unknown                                      1,756.95          FA
        Included in sale of Oakland St
        Docket 241
 34     1416 W. WALNUT STREET, COAL TWSP., PA                                    Unknown                        Unknown           OA                             0.00          FA

 35     1426 CHESTNUT STREET, KULPMOM, PA                                        Unknown                        Unknown                                          0.00          FA
        Property Transferred Prior to Bankruptcy
        Not Estate Property
 36     1508 WABASH STREET, COAL TWSP.,PA                                        Unknown                        Unknown                                      4,641.57          FA
        Docket 280
 37     1513 WALNUT STREET, ASHLAND, PA                                          Unknown                        Unknown                                      9,082.37          FA

 38     1524 W. CENTRE STREET, ASHLAND, PA                                       Unknown                        Unknown                                      3,373.55          FA
        Docket 230
 39     171 SECOND STREET, COALDALE, PA                                          Unknown                        Unknown           OA                             0.00          FA

 40     1740 W. MOHAWK STREET, ATLAS, PA                                         Unknown                        Unknown                                          0.00          FA
        docket 348 sold with asset 41
 41     1742 MOHAWK STREET, SHAMOKIN, PA                                         Unknown                        Unknown                                      1,129.69          FA
        sold with 1740 Mohawk St Asset 40 docket 348
 42     206 OAK STREET, MINERSVILLE, PA                                          Unknown                        Unknown                                          0.00          FA
        Property Transferred Prior to Bankruptcy
        Not Estate Property
 43     209 EAST AVENUE, MT. CARMEL, PA                                          Unknown                        Unknown                                          0.00          FA
        Property Transferred Prior to Bankruptcy
        Not Estate Property
 44     21 WALNUT STREET, ASHLAND, PA                                            Unknown                        Unknown                                          0.00          FA
        Transfer to Northumberland Tax Claim Prior to Bankruptcy
 45     211 N. MARKET STREET, MT. CARMEL, PA                                     Unknown                        Unknown                                          0.00          FA
        Transfer to Brill Prior to Bankruptcy
 46     213 N. PEACH STREET, MT. CARMEL, PA                                      Unknown                        Unknown                                          0.00          FA
        Property Transferred Prior to Bankruptcy
        Not Estate Property



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                                                               INDIVIDUAL ESTATE PROPERTY RECORD AND REPORT
                                                                                                                                                                                    Page: 4
                                                                                ASSET CASES
Case Number:       15-03964 MJC                                                                           Trustee:                       William G. Schwab
Case Name:         Apartments And Acquistions LP                                                          Filed (f) or Converted (c):    05/09/16 (c)
                                                                                                           D 0HHWLQJ'DWH          08/30/16
Period Ending: 12/08/21                                                                                   Claims Bar Date:               04/01/19

                                       1                                     2                           3                         4                   5                        6
                                                                                                Estimated Net Value                                                        Asset Fully
                                                                          Petition/        (Value Determined By Trustee,        Property           Sale/Funds           Administered (FA)/
                               Asset Description                        Unscheduled           Less Liens, Exemptions,         Abandoned            Received by           Gross Value of
Ref #               (Scheduled And Unscheduled (u) Property)               Values                 and Other Costs)         2$  D $EDQGRQ       the Estate          Remaining Assets

 47     22 N. POPLAR STREET, MT. CARMEL, PA                                      Unknown                        Unknown                                          0.00          FA
        Transfer to Northumberland Tax Claim Prior to Bankruptcy
 48     220 N. TURNPIKE STREET, MT. CARMEL, PA                                   Unknown                        Unknown           OA                             0.00          FA

 49     221 S. VINE STREET, MT. CARMEL, PA                                       Unknown                        Unknown                                          0.00          FA
        Sold Prior to Bankruptcy owner Robert Powers
 50     227 N. SECOND STREET, GIRARDSVILLE, PA                                   Unknown                        Unknown           OA                             0.00          FA

 51     227 NORTH FRANKLIN STEET, SHAMOKIN, PA                                   Unknown                        Unknown                                      8,098.36          FA
        Docket 271
 52     241 W. WALNUT STREET, SHAMOKIN, PA                                       Unknown                        Unknown           OA                             0.00          FA

 53     244 WATER STREET, NEW PHILADELPHIA, PA                                   Unknown                        Unknown           OA                             0.00          FA

 54     249 E. MOSER AVENUE, COALDALE, PA                                        Unknown                        Unknown                                      2,540.39          FA
        Sold With asset
 55     250 E. MOSER AVENUE, COALDALE, PA                                        Unknown                        Unknown                                          0.00          FA
        sold with 249 E Moser Ave docket 234
 56     26 MONTOUR STREET, DANVILLE, PA                                          Unknown                        Unknown                                          0.00          FA
        Property Transferred Prior to Bankruptcy
        Not Estate Property
 57     27 NORTH NICE STREET, FRACKVILLE, PA                                     Unknown                        Unknown                                    12,900.00           FA

 58     29 E. SUNBURY STREET, SHAMOKIN, PA                                       Unknown                        Unknown                                      6,914.22          FA
        Docket Entry 272
 59     301 W. 3RD STREET, MT. CARMEL, PA                                        Unknown                        Unknown                                          0.00          FA
        Property Transferred Prior to Bankruptcy
        Not Estate Property
 60     302-304 W. 3RD STREET, MT. CARMEL, PA                                    Unknown                        Unknown                                          0.00          FA
        Property Transferred Prior to Bankruptcy
        Not Estate Property
 61     304 WESTWOOD STREET, MINERSVILLE, PA                                     Unknown                        Unknown                                          0.00          FA
        Property Transferred Prior to Bankruptcy
        Not Estate Property
 62     310 W. 3RD STREET, MT. CARMEL, PA                                        Unknown                        Unknown                                          0.00          FA
        Property Transferred Prior to Bankruptcy
        Not Estate Property


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                                                                                 ASSET CASES
Case Number:        15-03964 MJC                                                                             Trustee:                       William G. Schwab
Case Name:          Apartments And Acquistions LP                                                            Filed (f) or Converted (c):    05/09/16 (c)
                                                                                                              D 0HHWLQJ'DWH          08/30/16
Period Ending: 12/08/21                                                                                      Claims Bar Date:               04/01/19

                                        1                                     2                             3                         4                   5                        6
                                                                                                   Estimated Net Value                                                        Asset Fully
                                                                           Petition/          (Value Determined By Trustee,        Property           Sale/Funds           Administered (FA)/
                                Asset Description                        Unscheduled             Less Liens, Exemptions,         Abandoned            Received by           Gross Value of
Ref #                (Scheduled And Unscheduled (u) Property)               Values                   and Other Costs)         2$  D $EDQGRQ       the Estate          Remaining Assets

 63     315 CHESTNUT STREET, ASHLAND, PA                                          Unknown                          Unknown           OA                             0.00          FA

 64     317 N. VINE STREE, MT. CARMEL, PA                                         Unknown                          Unknown           OA                             0.00          FA

 65     321 CHESTNUT STREET, SUNBURY, PA                                          Unknown                          Unknown                                      1,320.73          FA
        Docket 268
 66     323 W. SAYLOR STREET, MT. CARMEL, PA                                      Unknown                          Unknown                                          0.00          FA
        Property Transferred Prior to Bankruptcy
        Not Estate Property
 67     335 S. TURNPIKE STREET, MT. CARMEL, PA                                    Unknown                          Unknown                                          0.00          FA
        Property Transferred Prior to Bankruptcy
        Not Estate Property
 68     337 S. TURNPIKE STREET, MT. CARMEL PA                                     Unknown                          Unknown                                          0.00          FA
        Property Transferred Prior to Bankruptcy
        Not Estate Property
 69     34 THIRD STREET, ASHLAND, PA                                              Unknown                          Unknown                                          0.00          FA
        Docket 344 34 Third St and 34 Hoffman Blvd part of sale
 70     342 CAMP STREET, MT. CARMEL, PA                                           Unknown                          Unknown                                          0.00          FA
        Transfer to Northumberland Tax Claim Prior to Bankruptcy
 71     343 S. VINE STREET, MT. CARMEL,PA                                         Unknown                          Unknown                                          0.00          FA
        Property Transferred Prior to Bankruptcy
        Not Estate Property
 72     344 W. CHERRY STREET, MT. CARMEL, PA                                      Unknown                          Unknown                                          0.00          FA
        Transfer to Brill Prior to Bankruptcy
 73     346 NEWCASTLE STREET, MINERSVILLE, PA                                     Unknown                          Unknown                                          0.00          FA
        Property Transferred Prior to Bankruptcy
        Not Estate Property
 74     35 PRESTONE AVENUE, GIRARDSVILLE, PA                                      Unknown                          Unknown                                          0.00          FA
        Property Transferred Prior to Bankruptcy
        Not Estate Property
 75     400 E. COLUMBIA AVENUE, ATLAS, PA                                         Unknown                          Unknown                                          0.00          FA
        Transfer to Harry Brill Prior to Bankruptcy
 76     400 W. 3RD STREET, MT. CARMEL, PA                                         45,500.00                       45,500.00                                         0.00          FA
        Property Transferred Prior to Bankruptcy
        Not Estate Property
 77     401 WALNUT STREET, ASHLAND, PA                                            Unknown                          Unknown                                      3,079.61          FA


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                                                                                ASSET CASES
Case Number:       15-03964 MJC                                                                             Trustee:                        William G. Schwab
Case Name:         Apartments And Acquistions LP                                                            Filed (f) or Converted (c):     05/09/16 (c)
                                                                                                             D 0HHWLQJ'DWH           08/30/16
Period Ending: 12/08/21                                                                                     Claims Bar Date:                04/01/19

                                       1                                     2                             3                          4                   5                        6
                                                                                                  Estimated Net Value                                                         Asset Fully
                                                                          Petition/          (Value Determined By Trustee,         Property           Sale/Funds           Administered (FA)/
                               Asset Description                        Unscheduled             Less Liens, Exemptions,          Abandoned            Received by           Gross Value of
Ref #               (Scheduled And Unscheduled (u) Property)               Values                   and Other Costs)          2$  D $EDQGRQ       the Estate          Remaining Assets

 78     412 N. CHESTNUT STREET, MT. CARMEL, PA                                   Unknown                          Unknown                                           0.00          FA
        Transfer to Northumberland Tax Claim Prior to Bankruptcy
 79     413 WEST PINE STREET, SHAMOKIN, PA                                       Unknown                          Unknown            OA                             0.00          FA

 80     414 N. CHESTNUT STREET, MT. CARMEL, PA                                   Unknown                          Unknown                                           0.00          FA
        Sold Prior to Bankruptcy by AB Development to Updike
 81     416 NORTH 2ND STREET, SUNBURY, PA                                        Unknown                          Unknown                                           0.00          FA
        Northumberland County Tax Claim Bureau by Em Domain 3-24
        -16
 82     424 LAUREL STREET, MINERSVILLE, PA                                       Unknown                          Unknown                                           0.00          FA

 83     426 W. SPRUCE STREET, SHAMOKIN, PA                                       Unknown                          Unknown                                       3,939.20          FA
        Docket 273
 84     433 W. 3RD STREET, MT.CARMEL, PA                                         38,700.00                       38,700.00           OA                             0.00          FA
        Transfer to Brill Prior to Bankruptcy
 85     437 E. CAMP STREET, MT. CARMEL, PA                                       Unknown                          Unknown            OA                             0.00          FA

 86     437 EAST AVENUE, MT. CARMEL, PA                                          Unknown                          Unknown            OA                             0.00          FA
        Transfer to Brill Prior to Bankruptcy
 87     440 S. SHAMOKIN STREET, SHAMOKIN, PA                                     Unknown                               0.00                                     4,221.00          FA
        Docket 256
 88     441 EAST WATER STREET, MT. CARMEL, PA                                    Unknown                          Unknown                                       1,572.00          FA
        Docket 305
 89     46 N. LEHIGH STREET, FRACKVILLE, PA                                      Unknown                          Unknown            OA                             0.00          FA

 90     46 WEST MAIN STREET, GIRARDSVILLE, PA                                    Unknown                          Unknown                                       1,521.63          FA
        Docket 238
 91     48 N. LEHIGH AVENUE, FRACKVILLE, PA                                      Unknown                          Unknown            OA                             0.00          FA

 92     49 W. 2ND STREET, MT. CARMEL, PA                                         Unknown                          Unknown                                           0.00          FA
        Property Transferred Prior to Bankruptcy
        Not Estate Property
 93     50 OAKLAND AVENUE, ASHLAND, PA                                           Unknown                          Unknown                                       1,204.05          FA
        Docket Entry 237 Sold with Asset 98
 94     506 BEAR VALLEY, SHAMOKIN, PA                                            Unknown                          Unknown                                           0.00          FA
        Sold Prior to Bankruptcy



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Case Number:       15-03964 MJC                                                                             Trustee:                       William G. Schwab
Case Name:         Apartments And Acquistions LP                                                            Filed (f) or Converted (c):    05/09/16 (c)
                                                                                                             D 0HHWLQJ'DWH          08/30/16
Period Ending: 12/08/21                                                                                     Claims Bar Date:               04/01/19

                                       1                                     2                             3                         4                   5                        6
                                                                                                  Estimated Net Value                                                        Asset Fully
                                                                          Petition/          (Value Determined By Trustee,        Property           Sale/Funds           Administered (FA)/
                               Asset Description                        Unscheduled             Less Liens, Exemptions,         Abandoned            Received by           Gross Value of
Ref #               (Scheduled And Unscheduled (u) Property)               Values                   and Other Costs)         2$  D $EDQGRQ       the Estate          Remaining Assets

 95     51 NORTH OAK STREET, MT. CARMEL, PA                                  110,000.00                         110,000.00                                         0.00          FA
        Transfer to Brill Prior to Banrkuptcy
 96     516-520 W. MARKET STREET, MAHANOY CITY, PA                               Unknown                          Unknown                                      4,500.00          FA
        520 W. Market Street, Mahanoy City, PA was abandoned by
        order dated 9/26/2017
 97     549 S. 7TH STREET, SHAMOKIN, PA                                          Unknown                          Unknown                                          0.00          FA
        Transfer to Brill Prior to Bankruptcy
 98     58 OAKLAND STREET, ASHLAND, PA                                           Unknown                          Unknown                                      1,844.00          FA
        Docket 237 Sold with asset93
 99     608 BEAR VALLEY, SHAMOKIN, PA                                            Unknown                          Unknown                                          0.00          FA
        Sold Prior to Bankruptcy
 100    612 EAST PINE STREET, MAHANOY CITY, PA                                   Unknown                          Unknown           OA                             0.00          FA

 101    615 N 2ND STREET, SHAMOKIN, PA (u)                                       Unknown                          Unknown           OA                             0.00          FA

 102    619 NORTH 2ND STREET, SHAMOKIN, PA                                       Unknown                          Unknown           OA                             0.00          FA

 103    694 BEAR VALLEY STREET, SHAMOKIN, PA                                     Unknown                          Unknown                                       508.00           FA
        Docket 258
 104    696 BEAR VALLEY, SHAMOKIN, PA                                            Unknown                          Unknown                                          0.00          FA

 105    710 E. PINE STREET, MAHANOY CITY, PA                                     Unknown                          Unknown           OA                             0.00          FA

 106    712 WEST PINE STREET, SHAMOKIN, PA                                            0.00                        Unknown                                      4,958.73          FA
        Docket 319
 107    8 WEST HIGH STREET, COALDALE, PA                                         Unknown                          Unknown           OA                             0.00          FA

 108    805 E. COMMERECE STREET, SHAMOKIN, PA                                    Unknown                          Unknown           OA                             0.00          FA

 109    810 W. MULBERRY STREET, COAL TWSP., PA                                   Unknown                          Unknown                                      1,017.00          FA

 110    (VOIDED) (u)                                                             Unknown                          Unknown                                          0.00          FA

 111    812 W. MULBERRY STREET, COAL TWSP., PA                                   Unknown                          Unknown                                          0.00          FA
        Reported with asset 109 Docket 255




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                                                                                 ASSET CASES
Case Number:        15-03964 MJC                                                                             Trustee:                        William G. Schwab
Case Name:          Apartments And Acquistions LP                                                            Filed (f) or Converted (c):     05/09/16 (c)
                                                                                                              D 0HHWLQJ'DWH           08/30/16
Period Ending: 12/08/21                                                                                      Claims Bar Date:                04/01/19

                                        1                                     2                             3                          4                   5                        6
                                                                                                   Estimated Net Value                                                         Asset Fully
                                                                           Petition/          (Value Determined By Trustee,         Property           Sale/Funds           Administered (FA)/
                                Asset Description                        Unscheduled             Less Liens, Exemptions,          Abandoned            Received by           Gross Value of
Ref #                (Scheduled And Unscheduled (u) Property)               Values                   and Other Costs)          2$  D $EDQGRQ       the Estate          Remaining Assets

 112    825 MAHATONGO ST., POTTSVILLE (CONVENT BOUGHT                         300,000.00                         300,000.00                                          0.00          FA
        FROM ARCHDIOS
        Never Owned by Apartments and Acquistions LP - Owned by
        George Atiyeh and Now Owned by Brody Properties LP
 113    9 S. 19TH STREET, ASHLAND, PA                                             Unknown                          Unknown                                       1,531.80          FA
        docket 236
 114    904 N. SHAMOKIN STREET, SHAMOKIN, PA                                      Unknown                          Unknown                                       7,593.35          FA
        Docket 277
 115    914 N. SHAMOKIN STREET, SHAMOKIN, PA                                      Unknown                          Unknown                                       5,301.69          FA

 116    917-923 CENTER STREET, ASHLAND, PA                                        Unknown                         42,500.00                                    15,096.46           FA
        7/11/16 TR FILED NOM SELL - DOCKET #128
 117    921 WALNUT STREET, ASHLAND, PA                                            Unknown                          Unknown                                       7,214.61          FA
        Docket 233
 118    940 W. SPRUCE STREET, COAL TWSP., PA                                      Unknown                          Unknown            OA                             0.00          FA

 119    955-957 CHESTNUT STREET, KULPMON, PA                                      Unknown                          Unknown                                           0.00          FA
        Property Transferred Prior to Bankruptcy
        Not Estate Property
 120    2012 FORD EDGE SEL                                                        17,800.00                       15,934.27                                          0.00          FA
        Not owned by Debtor--titled in principal name
 121    315 WALNUT STREET, ASHLAND, PA (u)                                             0.00                        Unknown                                       7,887.12          FA
        Sold with 34 3rd Street and 36 Hoffman Blvd Ashland, PA
 122    ATTORNEY RETAINER (u)                                                          0.00                        3,150.00                                          0.00          FA

 123    MOUNT CARMEL BOROUGH ESCROW FOR 431-433 3RD                                 150.00                            150.00                                         0.00          FA
        ST., MT CARMEL (u)
        Applied per lien law to balance
 124    1143 W. Pine Street, Coal Township, PA (u)                                     0.00                        Unknown                                       4,959.05          FA
        Docket 269
 125    135 SOUTH FRANKLIN STREET, SHAMOKIN, PA 17872 (u)                              0.00                        Unknown                                       5,255.83          FA
        Docket 336
 126    921 REAR CENTER, ASHLAND, PA                                                   0.00                             0.00                                         0.00          FA
        sold with 917 Center St
 127    36 HOFFMAN BLVD., ASHLAND, PA                                                  0.00                             0.00                                         0.00          FA
        sold as part of 34 Third st and 315 walnut


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                                                                                 ASSET CASES
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Case Name:          Apartments And Acquistions LP                                                            Filed (f) or Converted (c):     05/09/16 (c)
                                                                                                              D 0HHWLQJ'DWH           08/30/16
Period Ending: 12/08/21                                                                                      Claims Bar Date:                04/01/19

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                                                                                                   Estimated Net Value                                                         Asset Fully
                                                                           Petition/          (Value Determined By Trustee,         Property           Sale/Funds           Administered (FA)/
                                Asset Description                        Unscheduled             Less Liens, Exemptions,          Abandoned            Received by           Gross Value of
Ref #                (Scheduled And Unscheduled (u) Property)               Values                   and Other Costs)          2$  D $EDQGRQ       the Estate          Remaining Assets

 128    27 NICE ST., FRACKVILLE, PA                                                    0.00                             0.00                                         0.00          FA
        Asset duplicate and reported under asset 57
 129    1212 MIDDLE ST., ASHLAND, PA                                                   0.00                             0.00                                         0.00          FA
        Sold with Asset # 24 1215 Walnut Street Ashland, PA
 130    718 WEST PINE STREET, SHAMOKIN, PA                                             0.00                             0.00                                     1,000.00          FA
        Sold Prior to Bankruptcy
 131    Parcel 11406-050-041 (Lot in Blakely, PA) (u)                                  0.00                             0.00                                         0.00          FA
        Not owned by Debtor
 132    32 Ann St., St. Clair                                                          0.00                             0.00                                     5,337.19          FA
        Docket 232
 133    951 W. Arch St., Coal Township                                                 0.00                             0.00                                     7,069.57          FA
        Docket 254
 134    1007 W. Walnut St., Coal Township                                              0.00                             0.00                                     1,551.25          FA
        Docket 278
 135    1426 W. Walnut St., Coal Township                                              0.00                             0.00                                     5,898.07          FA
        docket 253
 136    CLOSE OUT WELLS FARGO BANK ACCT. ENDING IN 8187                                0.00                             0.00                                      411.80           FA
        (u)
 137    61 WATER ST., NEW PHILADELPHIA                                                 0.00                             0.00                                     1,553.36          FA
        docket 304
 138    TURNOVER OF REFUNDS DUE TO THE DEBTOR (u)                                      0.00                             0.00                                      148.40           FA

 139    216 Pitt St, Tamaqua (u)                                                       0.00                             0.00          OA                             0.00          FA

 140    503 N 8th Street Shamokin PA (u)                                               0.00                             0.00          OA                             0.00          FA

 141    West Cameron Street Shamokin (u)                                               0.00                             0.00          OA                             0.00          FA

 142    17 S. West Street Shamokin PA (u)                                              0.00                             0.00          OA                             0.00          FA

 143    107 4th Street Tower City PA (u)                                               0.00                             0.00          OA                             0.00          FA

 144    Aristes Road Ringtown PA (u)                                                   0.00                             0.00          OA                             0.00          FA

 145    74-76 Water Street, New Philadelphia, PA (u)                                   0.00                             0.00          OA                             0.00          FA

 146    168 Kimber St., New Philadelphia, PA (u)                                       0.00                             0.00          OA                             0.00          FA


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                                                                                 ASSET CASES
Case Number:        15-03964 MJC                                                                                 Trustee:                        William G. Schwab
Case Name:          Apartments And Acquistions LP                                                                Filed (f) or Converted (c):     05/09/16 (c)
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Period Ending: 12/08/21                                                                                          Claims Bar Date:                04/01/19

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                                                                                                       Estimated Net Value                                                         Asset Fully
                                                                               Petition/          (Value Determined By Trustee,         Property           Sale/Funds           Administered (FA)/
                                Asset Description                            Unscheduled             Less Liens, Exemptions,          Abandoned            Received by           Gross Value of
Ref #                (Scheduled And Unscheduled (u) Property)                   Values                   and Other Costs)          2$  D $EDQGRQ       the Estate          Remaining Assets

 147    East Cameron Street, Shamokin (u)                                                  0.00                             0.00          OA                             0.00          FA

 148    Operating Chapter 7 Rents & Misc. Defaults (u)                                     0.00                             0.00                                140,644.16             FA

 149    (VOIDED) (u)                                                                       0.00                             0.00                                         0.00          FA

 150    RETAINED DEPOSITS AS A RESULT OF AGREEMENT OF                                 Unknown                               0.00                                     3,876.00          FA
        SALE DEFAULTS (u)
 151    113 N 2ND STREET, GIRARDVILLE, PA (u)                                              0.00                           750.00                                      812.91           FA

 152    601 NORTH FRANKLIN ST., SHAMOKIN                                                   0.00                             0.00                                     1,505.23          FA
        Docket
 153    134 MAIN ST., GIRARDVILLE                                                          0.00                             0.00          OA                             0.00          FA

 154    313-315 S Main Ave Scranton Litigation ADV #4;18-AP-2016                           0.00                             0.00                                     8,000.00          FA
        (u)
 155    BRILL SETTLEMENT OF ADVERSARY CASE #17-AP-00148                                    0.00                             0.00                                   48,787.38           FA
        (BRILL, BRODY PROPERTIES, LP) (u)
 156    SIngle Enterprise Litigation v Jamille et al (u)                              Unknown                               0.00                                         0.00          FA
        ADVERSARY 4:17-AP-0006 Reported as Assets 157-200 Per
        Bill Ziemer
 157    House Flex LLC, 426 Centre St., Ashland, PA 17921 (u)                              0.00                             0.00                                     6,000.00          FA
        Asset Acquired Via Asset 156 Adversary 17-AP-006. Detailed
        Separately Per Bill Ziemer to Allow Better Tracking of Property.
 158    House Flex LLC, 1510 Centre St., Ashland, PA 17921 (u)                             0.00                             0.00                                     3,000.00          FA
        Asset Acquired Via Asset 156 Adversary 17-AP-006. Detailed
        Separately Per Bill Ziemer to Allow Better Tracking of Property.
 159    House Flex LLC, 1027 West Centre St., Ashland, PA 17921 (u)                        0.00                             0.00                                     2,500.00          FA
        Asset Acquired Via Asset 156 Adversary 17-AP-006. Detailed
        Separately Per Bill Ziemer to Allow Better Tracking of Property.
 160    House Flex LLC, 29 Walnut St., Ashland, PA 17921 (u)                               0.00                             0.00                                     8,510.17          FA
        Asset Acquired Via Asset 156 Adversary 17-AP-006. Detailed
        Separately Per Bill Ziemer to Allow Better Tracking of Property.
 161    Jamilie LLC, 1334 Walnut St., Ashland, PA 17921 (u)                                0.00                             0.00                                     2,933.68          FA
        Asset Acquired Via Asset 156 Adversary 17-AP-006. Detailed
        Separately Per Bill Ziemer to Allow Better Tracking of Property.




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                                                                                 ASSET CASES
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Case Name:          Apartments And Acquistions LP                                                                Filed (f) or Converted (c):     05/09/16 (c)
                                                                                                                  D 0HHWLQJ'DWH           08/30/16
Period Ending: 12/08/21                                                                                          Claims Bar Date:                04/01/19

                                        1                                         2                             3                          4                   5                        6
                                                                                                       Estimated Net Value                                                         Asset Fully
                                                                               Petition/          (Value Determined By Trustee,         Property           Sale/Funds           Administered (FA)/
                                Asset Description                            Unscheduled             Less Liens, Exemptions,          Abandoned            Received by           Gross Value of
Ref #                (Scheduled And Unscheduled (u) Property)                   Values                   and Other Costs)          2$  D $EDQGRQ       the Estate          Remaining Assets

 162    Jamilie LLC, 1420 Walnut St., Ashland, PA 17921 (u)                                0.00                             0.00                                     2,500.00          FA
        Asset Acquired Via Asset 156 Adversary 17-AP-006. Detailed
        Separately Per Bill Ziemer to Allow Better Tracking of Property.
 163    House Flex LLC, 1529 -1531 Walnut St., Ashland, PA 17921                           0.00                             0.00                                     8,000.00          FA
        (u)
        Asset Acquired Via Asset 156 Adversary 17-AP-006. Detailed
        Separately Per Bill Ziemer to Allow Better Tracking of Property.
 164    Jamilie LLC, 1931 Walnut St., Ashland, PA 17921 (u)                                0.00                             0.00                                     2,848.97          FA
        Asset Acquired Via Asset 156 Adversary 17-AP-006. Detailed
        Separately Per Bill Ziemer to Allow Better Tracking of Property.
 165    Jamilie LLC, 1114 Brock St., Ashland, PA 17921 (u)                                 0.00                             0.00                                   33,666.67           FA
        Asset Acquired Via Asset 156 Adversary 17-AP-006. Detailed
        Separately Per Bill Ziemer to Allow Better Tracking of Property.
 166    House Flex LLC, 1208 Pine St., Ashland, PA 17921 (u)                               0.00                             0.00                                     2,985.01          FA
        Asset Acquired Via Asset 156 Adversary 17-AP-006. Detailed
        Separately Per Bill Ziemer to Allow Better Tracking of Property.
 167    Jamilie LLC, 0 Line St., Frackville, PA 17931 (u)                                  0.00                             0.00                                   43,500.00           FA
        Asset Acquired Via Asset 156 Adversary 17-AP-006. Detailed
        Separately Per Bill Ziemer to Allow Better Tracking of Property.
 168    Jamilie LLC, 26 North Lehigh Ave., Frackville, PA 17931 (u)                        0.00                             0.00                                     2,234.11          FA
        Asset Acquired Via Asset 156 Adversary 17-AP-006. Detailed
        Separately Per Bill Ziemer to Allow Better Tracking of Property.
 169    Jamilie LLC, 31 South Lehigh Ave., Frackville, PA 17931 (u)                        0.00                             0.00                                     7,103.55          FA
        Asset Acquired Via Asset 156 Adversary 17-AP-006. Detailed
        Separately Per Bill Ziemer to Allow Better Tracking of Property.
 170    House Flex LLC, 227 North Nice St., Frackville, PA 17931 (u)                       0.00                             0.00                                   12,917.18           FA
        Asset Acquired Via Asset 156 Adversary 17-AP-006. Detailed
        Separately Per Bill Ziemer to Allow Better Tracking of Property.
 171    House Flex LLC, 45 West 5th St., Mt. Carmel, PA 17851 (u)                          0.00                             0.00                                         0.00          FA
        Asset Acquired Via Asset 156 Adversary 17-AP-006. Detailed
        Separately Per Bill Ziemer to Allow Better Tracking of Property.
 172    House Flex LLC, 103 South Plum St., Mt. Carmel PA 17851 (u)                        0.00                             0.00                                      500.00           FA
        Asset Acquired Via Asset 156 Adversary 17-AP-006. Detailed
        Separately Per Bill Ziemer to Allow Better Tracking of Property.




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                                                                                    FORM 1                                                                                                  Exhibit 8
                                                                INDIVIDUAL ESTATE PROPERTY RECORD AND REPORT
                                                                                                                                                                                            Page: 12
                                                                                 ASSET CASES
Case Number:        15-03964 MJC                                                                                 Trustee:                        William G. Schwab
Case Name:          Apartments And Acquistions LP                                                                Filed (f) or Converted (c):     05/09/16 (c)
                                                                                                                  D 0HHWLQJ'DWH           08/30/16
Period Ending: 12/08/21                                                                                          Claims Bar Date:                04/01/19

                                        1                                         2                             3                          4                   5                        6
                                                                                                       Estimated Net Value                                                         Asset Fully
                                                                               Petition/          (Value Determined By Trustee,         Property           Sale/Funds           Administered (FA)/
                                Asset Description                            Unscheduled             Less Liens, Exemptions,          Abandoned            Received by           Gross Value of
Ref #                (Scheduled And Unscheduled (u) Property)                   Values                   and Other Costs)          2$  D $EDQGRQ       the Estate          Remaining Assets

 173    House Flex LLC, 151 West Saylor St., Mt. Carmel, PA 17851                          0.00                             0.00                                     4,900.00          FA
        (u)
        Asset Acquired Via Asset 156 Adversary 17-AP-006. Detailed
        Separately Per Bill Ziemer to Allow Better Tracking of Property.
 174    House Flex LLC, 341 South Beech St., Mt. Carmel, PA 17851                          0.00                             0.00                                     1,705.51          FA
        (u)
        Asset Acquired Via Asset 156 Adversary 17-AP-006. Detailed
        Separately Per Bill Ziemer to Allow Better Tracking of Property.
 175    House Flex LLC, 9 North Seventh St., Pottsville, PA 17901 (u)                      0.00                             0.00                                         0.00          FA
        Asset Acquired Via Asset 156 Adversary 17-AP-006. Detailed
        Separately Per Bill Ziemer to Allow Better Tracking of Property.
 176    House Flex LLC, 11 North Seventh St., Pottsville, PA 17901 (u)                     0.00                             0.00                                     6,351.79          FA
        Asset Acquired Via Asset 156 Adversary 17-AP-006. Detailed
        Separately Per Bill Ziemer to Allow Better Tracking of Property.
 177    House Flex LLC, 413 Adams St., Pottsville, PA 17901 (u)                            0.00                             0.00                                         0.00          FA
        Asset Acquired Via Asset 156 Adversary 17-AP-006. Detailed
        Separately Per Bill Ziemer to Allow Better Tracking of Property.
 178    House Flex LLC, 517 West Race St., Pottsville, PA 17901 (u)                        0.00                             0.00                                     2,385.99          FA
        Asset Acquired Via Asset 156 Adversary 17-AP-006. Detailed
        Separately Per Bill Ziemer to Allow Better Tracking of Property.
 179    Jamilie LLC, 525 East Norwegian St., Pottsville, PA 17901 (u)                      0.00                             0.00                                      500.00           FA
        Asset Acquired Via Asset 156 Adversary 17-AP-006. Detailed
        Separately Per Bill Ziemer to Allow Better Tracking of Property.
 180    House Flex LLC, 717 West Race St., Pottsville, PA 17901 (u)                        0.00                             0.00                                     1,500.00          FA
        Asset Acquired Via Asset 156 Adversary 17-AP-006. Detailed
        Separately Per Bill Ziemer to Allow Better Tracking of Property.
 181    House Flex LLC, 918 West Race St., Pottsville, PA 17901 (u)                        0.00                             0.00                                     2,700.00          FA
        Asset Acquired Via Asset 156 Adversary 17-AP-006. Detailed
        Separately Per Bill Ziemer to Allow Better Tracking of Property.
 182    House Flex LLC, 140 E. Sunbury St., Shamokin, PA 17872 (u)                         0.00                             0.00                                     1,975.82          FA
        Asset Acquired Via Asset 156 Adversary 17-AP-006. Detailed
        Separately Per Bill Ziemer to Allow Better Tracking of Property.
 183    House Flex LLC, 238 South 6th St., Shamokin, PA 17872 (u)                          0.00                       11,201.15                                      1,500.00          FA
        Asset Acquired Via Asset 156 Adversary 17-AP-006. Detailed
        Separately Per Bill Ziemer to Allow Better Tracking of Property.




                                 Case 4:15-bk-03964-MJC                    Doc 672 Filed 12/28/21 Entered 12/28/21 11:56:02                                 Desc
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                                                                                    FORM 1                                                                                                  Exhibit 8
                                                                INDIVIDUAL ESTATE PROPERTY RECORD AND REPORT
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                                                                                 ASSET CASES
Case Number:        15-03964 MJC                                                                                 Trustee:                        William G. Schwab
Case Name:          Apartments And Acquistions LP                                                                Filed (f) or Converted (c):     05/09/16 (c)
                                                                                                                  D 0HHWLQJ'DWH           08/30/16
Period Ending: 12/08/21                                                                                          Claims Bar Date:                04/01/19

                                        1                                         2                             3                          4                   5                        6
                                                                                                       Estimated Net Value                                                         Asset Fully
                                                                               Petition/          (Value Determined By Trustee,         Property           Sale/Funds           Administered (FA)/
                                Asset Description                            Unscheduled             Less Liens, Exemptions,          Abandoned            Received by           Gross Value of
Ref #                (Scheduled And Unscheduled (u) Property)                   Values                   and Other Costs)          2$  D $EDQGRQ       the Estate          Remaining Assets

 184    House Flex LLC, 911 North Vine St., Shamokin, PA 17872 (u)                         0.00                             0.00                                      500.00           FA
        Asset Acquired Via Asset 156 Adversary 17-AP-006. Detailed
        Separately Per Bill Ziemer to Allow Better Tracking of Property.
 185    House Flex LLC, 912 North Shamokin St., Shamokin, PA 17872                         0.00                             0.00                                     1,500.00          FA
        (u)
        Asset Acquired Via Asset 156 Adversary 17-AP-006. Detailed
        Separately Per Bill Ziemer to Allow Better Tracking of Property.
 186    924 North Orange St., Shamokin, PA 17872 (u)                                       0.00                       18,170.59                                      3,600.00          FA
        Asset Acquired Via Asset 156 Adversary 17-AP-006. Detailed
        Separately Per Bill Ziemer to Allow Better Tracking of Property.
 187    House Flex LLC, 19 Eagle Ave., Coal Township, PA 17866 (u)                         0.00                             0.00                                         0.00          FA
        Asset Acquired Via Asset 156 Adversary 17-AP-006. Detailed
        Separately Per Bill Ziemer to Allow Better Tracking of Property.
 188    House Flex LLC, 22 South 1st St., Coal Township, PA 17866                          0.00                             0.00                                      740.94           FA
        (u)
        Asset Acquired Via Asset 156 Adversary 17-AP-006. Detailed
        Separately Per Bill Ziemer to Allow Better Tracking of Property.
 189    House Flex LLC, 24 South 1st St., Coal Township, PA 17866                          0.00                             0.00                                         0.00          FA
        (u)
        Asset Acquired Via Asset 156 Adversary 17-AP-006. Detailed
        Separately Per Bill Ziemer to Allow Better Tracking of Property.
 190    House Flex LLC, 1103 West Fern St., Coal Township, PA                              0.00                             0.00                                     5,100.00          FA
        17866 (u)
        Asset Acquired Via Asset 156 Adversary 17-AP-006. Detailed
        Separately Per Bill Ziemer to Allow Better Tracking of Property.
 191    House Flex LLC, 1525 West Walnut St., Coal Township, PA                            0.00                             0.00                                     2,500.00          FA
        17866 (u)
        Asset Acquired Via Asset 156 Adversary 17-AP-006. Detailed
        Separately Per Bill Ziemer to Allow Better Tracking of Property.
 192    House Flex LLC, 1527 West Walnut St., Coal Township, PA                            0.00                             0.00                                         0.00          FA
        17866 (u)
        Asset Acquired Via Asset 156 Adversary 17-AP-006. Detailed
        Separately Per Bill Ziemer to Allow Better Tracking of Property.
 193    House Flex LLC, 1727 Park Ave., Coal Township, PA 17866 (u)                        0.00                             0.00                                   13,600.00           FA

        Asset Acquired Via Asset 156 Adversary 17-AP-006. Detailed
        Separately Per Bill Ziemer to Allow Better Tracking of Property.



                                 Case 4:15-bk-03964-MJC                    Doc 672 Filed 12/28/21 Entered 12/28/21 11:56:02                                 Desc
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                                                                INDIVIDUAL ESTATE PROPERTY RECORD AND REPORT
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                                                                                 ASSET CASES
Case Number:        15-03964 MJC                                                                                 Trustee:                        William G. Schwab
Case Name:          Apartments And Acquistions LP                                                                Filed (f) or Converted (c):     05/09/16 (c)
                                                                                                                  D 0HHWLQJ'DWH           08/30/16
Period Ending: 12/08/21                                                                                          Claims Bar Date:                04/01/19

                                        1                                         2                             3                          4                   5                         6
                                                                                                       Estimated Net Value                                                          Asset Fully
                                                                               Petition/          (Value Determined By Trustee,         Property           Sale/Funds            Administered (FA)/
                                Asset Description                            Unscheduled             Less Liens, Exemptions,          Abandoned            Received by            Gross Value of
Ref #                (Scheduled And Unscheduled (u) Property)                   Values                   and Other Costs)          2$  D $EDQGRQ       the Estate           Remaining Assets

 194    Jamilie/Houseflex Wells Fargo Bank Account (u)                                     0.00                             0.00                                         25.84          FA

 195    House Flex LLC, 209 Schuylkill Ave., Tamaqua, PA 18252 (u)                         0.00                             0.00                                          0.00          FA
        Asset Acquired Via Asset 156 Adversary 17-AP-006. Detailed
        Separately Per Bill Ziemer to Allow Better Tracking of Property.
 196    House Flex LLC, 135 East High St., Coaldale, PA 18218 (u)                          0.00                             0.00                                     5,200.00           FA
        Asset Acquired Via Asset 156 Adversary 17-AP-006. Detailed
        Separately Per Bill Ziemer to Allow Better Tracking of Property.
 197    House Flex LLC, 234 East High St., Coaldale, PA 18218 (u)                          0.00                             0.00                                     6,083.20           FA
        Asset Acquired Via Asset 156 Adversary 17-AP-006. Detailed
        Separately Per Bill Ziemer to Allow Better Tracking of Property.
 198    Jamilie LLC, 0 Mill St., St. Clair, PA 17970 (u)                                   0.00                             0.00                                   27,200.00            FA
        Asset Acquired Via Asset 156 Adversary 17-AP-006. Detailed
        Separately Per Bill Ziemer to Allow Better Tracking of Property.
 199    House Flex LLC, 134 North Third St., St. Clair, PA 17970 (u)                       0.00                             0.00                                     5,296.08           FA
        Asset Acquired Via Asset 156 Adversary 17-AP-006. Detailed
        Separately Per Bill Ziemer to Allow Better Tracking of Property.
 200    Jamilie LLC, 94 Coal St., Port Carbon, PA 17921 (u)                                0.00                             0.00                                     9,785.00           FA
        Asset Acquired Via Asset 156 Adversary 17-AP-006. Detailed
        Separately Per Bill Ziemer to Allow Better Tracking of Property.
 201    Jamilie LLC, 12 Wiggan St., New Philadelphia, PA 17050 (u)                         0.00                             0.00                                   54,500.00            FA
        Asset Acquired Via Asset 156 Adversary 17-AP-006. Detailed
        Separately Per Bill Ziemer to Allow Better Tracking of Property.
 202    Jamili LLC, 18 Wiggan St., New Philadephia, PA 17959 (u)                           0.00                             0.00                                          0.00          FA
        Asset Acquired Via Asset 156 Adversary 17-AP-006. Detailed
        Separately Per Bill Ziemer to Allow Better Tracking of Property.
 203    Jamilie LLC, 20 Wiggin St., New Philadelphia, PA 17959 (u)                         0.00                             0.00                                          0.00          FA
        Asset Acquired Via Asset 156 Adversary 17-AP-006. Detailed
        Separately Per Bill Ziemer to Allow Better Tracking of Property.
 204    Jamilie LLC, 22 Wiggin St., New Philadelphia, PA 17959 (u)                         0.00                             0.00                                          0.00          FA
        Asset Acquired Via Asset 156 Adversary 17-AP-006. Detailed
        Separately Per Bill Ziemer to Allow Better Tracking of Property.
 205    Jamili LLC, 50 Water St., New Philadelphia, PA 17959 (u)                           0.00                             0.00                                     3,226.75           FA
        Asset Acquired Via Asset 156 Adversary 17-AP-006. Detailed
        Separately Per Bill Ziemer to Allow Better Tracking of Property.
 206    MMJ (u)                                                                            0.00                             0.00                                     1,000.00           FA



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                                                                                 ASSET CASES
Case Number:        15-03964 MJC                                                                                   Trustee:                        William G. Schwab
Case Name:          Apartments And Acquistions LP                                                                  Filed (f) or Converted (c):     05/09/16 (c)
                                                                                                                    D 0HHWLQJ'DWH           08/30/16
Period Ending: 12/08/21                                                                                            Claims Bar Date:                04/01/19

                                        1                                           2                             3                          4                   5                        6
                                                                                                         Estimated Net Value                                                         Asset Fully
                                                                                 Petition/          (Value Determined By Trustee,         Property           Sale/Funds           Administered (FA)/
                                Asset Description                              Unscheduled             Less Liens, Exemptions,          Abandoned            Received by           Gross Value of
 Ref #               (Scheduled And Unscheduled (u) Property)                     Values                   and Other Costs)          2$  D $EDQGRQ       the Estate          Remaining Assets

 207     Greater Columbia Medical (u)                                                        0.00                             0.00                                     1,000.00          FA

TOTALS (Excluding Unknown Values)                                                   $512,150.00                      $586,056.01                                 $727,453.35                  $2,037.87
Major activities affecting case closing:
10-8-19- First Interim Fee App Filed for Compensation and Expenses for Trustee
Order -A & A v Donahue (Total Payment for Settlement is $10,000.00
06-24-19-Quarterly Review of Status of Case
7/26/17 - Order entered granting Motion for Sale of Property Free and Clear which is for last known properties belonging to Estate
6-30-16 TR INVESTIGATING VALUE OF R/E- COLLECTING RENTS AND LISTING FOR SALE
07-08-16- Quarterly Review of Status of Case
 [jschwab 2016-07-08 14:29:17]
2-20-19 Quarterly Review

Initial Projected Date of Final Report (TFR): December 31, 2019                                        Current Projected Date of Final Report (TFR): January 28, 2021

              December 08, 2021                                                                                          /s/ William G. Schwab
                   Date                                                                                                  William G. Schwab




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                                                      Cash Receipts and Disbursements Record                                                                               Page: 1

Case Number:          15-03964 MJC                                                             Trustee:                William G. Schwab
Case Name:            Apartments And Acquistions LP                                            Bank Name:              Eaglebank
                                                                                               Account:                ******0150 - Checking Account
Taxpayer ID#:         **-***4454                                                               Blanket Bond:           $6,889,586.00 (per case limit)
Period Ending:        12/08/21                                                                 Separate Bond:          N/A

   1             2                    3                                       4                                                 5                  6                  7

 Trans.    Check or                                                                                        Uniform           Receipts        Disbursements        Checking
  Date      Ref. #          Paid To / Received From               Description of Transaction              Tran. Code            $                  $           Account Balance

06/02/16 Asset #148 COLLEEN GILGORE                      RENT (1524 CENTRE ST., ASHLAND)                  1230-000                  425.00                                 425.00

06/03/16 Asset #148 DEENA SCHAARSCHMIDT                  RENT (401 WALNUT ST., ASHLAND)                   1230-000                  525.00                                 950.00

06/03/16 Asset #148 NEW BEGINNING CHURCH                 RENT (919-923 CENTRE ST., ASHLAND)               1230-000                  400.00                                1,350.00

06/06/16 Asset #148 KEVIN LAWSON                         RENT (315 WALNUT ST., ASHLAND)JUNE               1230-000                   86.00                                1,436.00
                                                         RENT

06/06/16 Asset #148 KAYLYN KUMANGAI                      RENT (27 NORTH NICE ST., 2NDFLOOR,               1230-000                  154.00                                1,590.00
                                                         FRACKVILLE)BALANCE OF JUNE RENT

06/06/16 Asset #148 SCHUYLKILL COUNTY HOUSING RENT (FOR 27 NORTH NICE ST.,                                1230-000                  716.00                                2,306.00
                    AUTHORITY                 2NDFLOOR, FRACKVILLE)(JUNE RENT)

06/07/16 Asset #148 RICHARD R. FEUDALE,                  RETURNING OF RETAINER                            1230-000               3,000.00                                 5,306.00
                    ESQUIRE
06/07/16 Asset #148 RICHARD R. FEUDALE,                  RETURN OF ESCROWRETURN OF                        1230-000                  150.00                                5,456.00
                    ESQUIRE                              ESCROW FROM MOUNT CARMEL
                                                         BOROUGHFOR 431-433 EAST THIRD
                                                         STREET, MOUNT CARMEL

06/08/16 Asset #148 JALYNN KAUFFMAN                      RENT (1027 BROCK ST., ASHLAND)JUNE               1230-000                  475.00                                5,931.00
                                                         RENT

06/09/16     101      TRUSTEE INSURANCE AGENCY INSURANCE PREMIUM (INVOICE NO.6750)                        6990-000                                  1,663.20              4,267.80

06/13/16 Asset #148 JEFF & KRISTEN WILSON                RENT (1143 WEST PINE ST.,                        1230-000                  125.00                                4,392.80
                                                         COALTWP.)PARTIAL JUNE RENT




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                                                      Cash Receipts and Disbursements Record                                                                                  Page: 2

Case Number:          15-03964 MJC                                                              Trustee:                William G. Schwab
Case Name:            Apartments And Acquistions LP                                             Bank Name:              Eaglebank
                                                                                                Account:                ******0150 - Checking Account
Taxpayer ID#:         **-***4454                                                                Blanket Bond:           $6,889,586.00 (per case limit)
Period Ending:        12/08/21                                                                  Separate Bond:          N/A

   1             2                    3                                        4                                                 5                  6                    7

 Trans.    Check or                                                                                         Uniform           Receipts        Disbursements          Checking
  Date      Ref. #          Paid To / Received From                Description of Transaction              Tran. Code            $                  $             Account Balance

06/13/16 Asset #148 LEIGHANN MAURER                      RENT (1513 WALNUT ST., ASHLAND)JUNE               1230-000                   86.00                                  4,478.80
                                                         BALANCE FROM HUD

06/13/16 Asset #148 WARREN CAMPBELL                      RENT (227 FRANKLIN ST., SHAMOKIN)JUNE             1230-000                  500.00                                  4,978.80
                                                         RENT

06/13/16 Asset #148 PHYLLIS KOONS                        RENT (1020 EAST SUNBURY                           1230-000                  250.00                                  5,228.80
                                                         ST.,SHAMOKIN)PARTIAL JUNE RENT

06/13/16 Asset #148 CAZIMIRO PEREIRA                     RENT (712 WEST PINE ST., COAL                     1230-000                  500.00                                  5,728.80
                                                         TWP.)JUNE RENT

06/14/16     102      UNITED STATES LIABILITY            LIABILITY INSURANCE PREMIUM                       2990-000                                  3,596.00                2,132.80
                      INSURANCE COMPANY                  FORPOLICY PERIOD 6-9-16 THROUGH 6-9-
                                                         17 (ACCT. NO. CL 1757395; POLICY NO. CL
                                                         1757395)

06/21/16 Asset #148 KIM & JOHN KANAS                     RENT (135 SOUTH FRANKLIN                          1230-000                  500.00                                  2,632.80
                                                         ST.,SHAMOKIN)JUNE RENT

06/21/16 Asset #148 NICHOLAS LOBESKI                     RENT (1407 WALNUT ST., ASHLAND)JUNE               1230-000                  400.00                                  3,032.80
                                                         RENT

06/21/16 Asset #148 SUZANNA ZAMUDIO                      RENT (921 REAR CENTER, ASHLAND)JUNE               1230-000                  430.00                                  3,462.80
                                                         RENT

06/21/16 Asset #148 CEIL COYLE                           RENT (921 WALNUT ST., ASHLAND)JUNE                1230-000                  500.00                                  3,962.80
                                                         RENT

06/22/16              BARRY J. SPIELES                   REIMBURSEMENT OF SUPPLIES (CODE                   2990-000                                      -91.03              4,053.83
                                                         ENFORECEMENT) Reversalcheck cut in
                                                         wrong case. BARRY J. SPIELES



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                                                      Cash Receipts and Disbursements Record                                                                                  Page: 3

Case Number:          15-03964 MJC                                                              Trustee:                William G. Schwab
Case Name:            Apartments And Acquistions LP                                             Bank Name:              Eaglebank
                                                                                                Account:                ******0150 - Checking Account
Taxpayer ID#:         **-***4454                                                                Blanket Bond:           $6,889,586.00 (per case limit)
Period Ending:        12/08/21                                                                  Separate Bond:          N/A

   1             2                    3                                        4                                                 5                  6                    7

 Trans.    Check or                                                                                         Uniform           Receipts        Disbursements          Checking
  Date      Ref. #          Paid To / Received From                Description of Transaction              Tran. Code            $                  $             Account Balance

06/22/16     103      BARRY J. SPIELES                   PROPERTY MAINTENANCE                              2990-000                                  1,160.00                2,893.83

06/22/16     104      BARRY J. SPIELES                   REIMBURSEMENT OF SUPPLIES                         2990-000                                       91.03              2,802.80
                                                         (CODEENFORECEMENT)

06/24/16     105      CARD SERVICES                      REIMBURSEMENT OF EXPENSES ( FEESTO                2990-000                                      100.00              2,702.80
                                                         PULL DEEDS FOR NORTHUMBERLAND
                                                         COUNTY PROPERTIES)

06/24/16     106      BUSINESS CARD SERVICES             REIMBURSEMENT OF EXPENSES                         2990-000                                       44.00              2,658.80
                                                         (COURTCALL FEES - ID 7608235)

06/28/16     107      BARRY J. SPIELES                   PROPERTY MAINTENANCE                              2990-000                                      460.00              2,198.80

07/01/16 Asset #148 KIRSTEN WILSON                       RENT (1143 WEST PINE ST.,                         1230-000                  250.00                                  2,448.80
                                                         COALTWP.)JUNE RENT

07/01/16 Asset #148 KAYLYN KUMANGAI                      RENT (27 NORTH NICE                               1230-000                  154.00                                  2,602.80
                                                         ST.,FRACKVILLE)JULY RENT

07/01/16 Asset #148 NEW BEGINNING CHURCH                 RENT (919 CENTRE ST., ASHLAND)JULY                1230-000                  400.00                                  3,002.80
                                                         RENT

07/05/16 Asset #148 PHYLLIS KOONS                        RENT (1020 EAST SUNBURY                           1230-000                  225.00                                  3,227.80
                                                         ST.,SHAMOKIN)JULY RENT

07/05/16 Asset #148 SCHUYLKILL COUNTY HOUSING RENT (27 NORTH NICE ST., 2NDFLOOR,                           1230-000                  716.00                                  3,943.80
                    AUTHORITY                 FRACKVILLE)JULY RENT (KAYLYN
                                              KUMANGAI)

07/07/16 Asset #148 DEENA SCHAARSCHMIDT                  RENT (401 WALNUT ST., ASHLAND)JULY                1230-000                  525.00                                  4,468.80
                                                         RENT


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                                                      Cash Receipts and Disbursements Record                                                                                  Page: 4

Case Number:          15-03964 MJC                                                              Trustee:                William G. Schwab
Case Name:            Apartments And Acquistions LP                                             Bank Name:              Eaglebank
                                                                                                Account:                ******0150 - Checking Account
Taxpayer ID#:         **-***4454                                                                Blanket Bond:           $6,889,586.00 (per case limit)
Period Ending:        12/08/21                                                                  Separate Bond:          N/A

   1             2                    3                                        4                                                 5                  6                    7

 Trans.    Check or                                                                                         Uniform           Receipts        Disbursements          Checking
  Date      Ref. #          Paid To / Received From                Description of Transaction              Tran. Code            $                  $             Account Balance

07/07/16 Asset #148 COLLEEN GILGORE                      RENT (1524 CENTRE ST., ASHLAND)JULY               1230-000                  425.00                                  4,893.80
                                                         RENT

07/07/16 Asset #148 GRACE DERR                           RENT (904 NORTH SHAMOKIN                          1230-000                  550.00                                  5,443.80
                                                         ST.,SHAMOKIN)JULY RENT

07/08/16     108      MAHANOY CITY SEWER                 SEWER BILL (516 W. MARKETST.)(ACCT.               2990-000                                      107.50              5,336.30
                      AUTHORITY                          NO. 107080)

07/08/16     109      BOROUGH OF ASHLAND                 MAINTENANCE FEE (HOPPER &                         2990-000                                      120.00              5,216.30
                                                         GARBAGEBAGS)(INVOICE NO. 06302016)

07/11/16 Asset #148 KEVIN LAWSON                         RENT (315 WALNUT ST., ASHLAND)JULY                1230-000                   86.00                                  5,302.30
                                                         RENT

07/11/16   Asset #12 SAMUEL BRESSI                       DOWN MONEY (1121-1123 WATER                       1110-000               1,000.00                                   6,302.30
                                                         ST.,SHAMOKIN)DOWN MONEY FOR 1121-
                                                         1123 WATER STREET, SHAMOKIN, PA

07/11/16     110      BARRY J. SPIELES                   PROPERTY MAINTENANCE                              2990-000                                       20.00              6,282.30

07/11/16     111      GALLAGHER REPORTING &              COURT REPORTER FEES (DEPOSITION                   2990-000                                      562.15              5,720.15
                      VIDEO, LLC                         OFMICHAEL J. MCCRYSTAL, ESQ., RONDA
                                                         LEFFERT & RICHARD FEUDALE, ESQ.)
                                                         (INVOICE NO. 7600)

07/11/16     112      GALLAGHER REPORTING &              COURT REPORTER FEES (DEPOSITION                   2990-000                                      711.95              5,008.20
                      VIDEO, LLC                         OFGEORGE ATIYEH) (INVOICE NO. 7616)

07/12/16 Asset #148 CAZIMIRP PEREIRA                     RENT (712 WEST PINE ST.,                          1230-000                  500.00                                  5,508.20
                                                         SHAMOKIN)JULY RENT




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                                                      Cash Receipts and Disbursements Record                                                                                  Page: 5

Case Number:          15-03964 MJC                                                              Trustee:                William G. Schwab
Case Name:            Apartments And Acquistions LP                                             Bank Name:              Eaglebank
                                                                                                Account:                ******0150 - Checking Account
Taxpayer ID#:         **-***4454                                                                Blanket Bond:           $6,889,586.00 (per case limit)
Period Ending:        12/08/21                                                                  Separate Bond:          N/A

   1             2                    3                                        4                                                 5                  6                    7

 Trans.    Check or                                                                                         Uniform           Receipts        Disbursements          Checking
  Date      Ref. #          Paid To / Received From                Description of Transaction              Tran. Code            $                  $             Account Balance

07/12/16 Asset #148 NICHOLAS LOBESKI                     RENT (1407 WALNUT ST., ASHLAND)JULY               1230-000                  400.00                                  5,908.20
                                                         RENT

07/12/16 Asset #148 CECILA COYLE                         RENT (921 WALNUT ST., ASHLAND)JULY                1230-000                  500.00                                  6,408.20
                                                         RENT

07/12/16     113      BARRY J. SPIELES                   PROPERTY MAINTENANCE                              2990-000                                      600.00              5,808.20

07/13/16 Asset #148 LEHIGH ANN MAURER                    RENT (1513 WALNUT ST., ASHLAND)JULY               1230-000                   86.00                                  5,894.20
                                                         RENT

07/13/16              Transfer to Acct # xxxxxx0154      Transfer of Funds - Down Moneyfrom Samuel         9999-000                                  1,000.00                4,894.20
                                                         Bressi

07/18/16 Asset #148 KIM KANAS                            RENT (135 SOUTH FRANKLIN                          1230-000                  500.00                                  5,394.20
                                                         ST.,SHAMOKIN)JULY RENT

07/19/16     114      SCHUYLKILL COUNTY CLERK            FiLING FEE (MAGISTERIAL DISTRICTNO.               2700-000                                       72.00              5,322.20
                      OF COURTS                          MJ-21201-0000041-2016)

07/19/16     115      SCHUYLKILL COUNTY CLERK            FiLING FEE (MAGISTERIAL DISTRICTNO.               2700-000                                       72.00              5,250.20
                      OF COURTS                          MJ-21201-0000039-2016)

07/20/16     116      BARRY J. SPIELES                   PROPERTY MAINTENANCE                              2990-000                                      500.00              4,750.20

07/20/16     117      BOROUGH OF ASHLAND                 MAINTENANCE FEE (INVOICE NO.000276;               2990-000                                       50.00              4,700.20
                                                         TRASH PICK UP)

07/25/16 Asset #148 J. KAUFFMAN                          RENT (1027 BROCK ST., ASHLAND)PARTIAL             1230-000                  200.00                                  4,900.20
                                                         OF JULY RENT




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                                                      Cash Receipts and Disbursements Record                                                                                  Page: 6

Case Number:          15-03964 MJC                                                              Trustee:                William G. Schwab
Case Name:            Apartments And Acquistions LP                                             Bank Name:              Eaglebank
                                                                                                Account:                ******0150 - Checking Account
Taxpayer ID#:         **-***4454                                                                Blanket Bond:           $6,889,586.00 (per case limit)
Period Ending:        12/08/21                                                                  Separate Bond:          N/A

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 Trans.    Check or                                                                                         Uniform           Receipts        Disbursements          Checking
  Date      Ref. #          Paid To / Received From                Description of Transaction              Tran. Code            $                  $             Account Balance

07/25/16 Asset #148 SCHUYLKILL COUNTY HOUSING RENT (315 WALNUT ST., ASHLAND)JUNE                           1230-000                  590.00                                  5,490.20
                    AUTHORITY                 AND JULY HUD RENT FOR KEVIN LAWSON

07/25/16 Asset #148 SCHUYLKILL HAVEN HOUSING             RENT (1513 WALNUT ST., ASHLAND)JUNE               1230-000               1,496.00                                   6,986.20
                    AUTHORITY                            AND JULY HUD RENT FOR LEIGH ANN
                                                         MAURER

07/25/16     118      PPL ELECTRIC UTILITIES             ELECTRIC BILL (ACCT. NO.11430-43119)              2990-000                                       50.00              6,936.20

07/25/16     119      PPL ELECTRIC UTILITIES             ELECTRIC BILL (ACCT. NO.72290-34081)              2990-000                                      233.85              6,702.35

07/25/16     120      TRUSTEE INSURANCE AGENCY INSURANCE PREMIUM (INVOICE NO.6943)                         6990-000                                  1,663.20                5,039.15

07/25/16     121      BOROUGH OF ASHLAND                 MAINTENANCE FEE (TRASH BAGS                       2990-000                                       60.00              4,979.15
                                                         FORTENANT CLEAN UP)

07/25/16     122      EHRLICH                            PEST CONTROL SERVICES (34,                        2990-000                                      932.80              4,046.35
                                                         36HOFFMAN BLVD., 315 WALNUT ST.,
                                                         ASHLAND)

07/26/16     123      BARRY J. SPIELES                   PROPERTY MAINTENANCE                              2990-000                                      460.00              3,586.35

07/27/16 Asset #148 KIRSTEN & JEFFERY WILSON             RENT (1143 WEST PINE ST.,                         1230-000                  250.00                                  3,836.35
                                                         COALTWP.)JULY RENT

07/28/16     124      BOROUGH OF ASHLAND                 WATER, SEWER, GARBAGE (ACCT.                      2990-000                                       60.15              3,776.20
                                                         NO.1633; 1027 BROCK ST., ASHLAND)

07/28/16     125      BOROUGH OF ASHLAND                 WATER, SEWER, GARBAGE (ACCT. NO.612;              2990-000                                      162.43              3,613.77
                                                         919-921 CENTRE ST., ASHLAND)




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                                                      Cash Receipts and Disbursements Record                                                                                  Page: 7

Case Number:          15-03964 MJC                                                              Trustee:                William G. Schwab
Case Name:            Apartments And Acquistions LP                                             Bank Name:              Eaglebank
                                                                                                Account:                ******0150 - Checking Account
Taxpayer ID#:         **-***4454                                                                Blanket Bond:           $6,889,586.00 (per case limit)
Period Ending:        12/08/21                                                                  Separate Bond:          N/A

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 Trans.    Check or                                                                                         Uniform           Receipts        Disbursements          Checking
  Date      Ref. #          Paid To / Received From                Description of Transaction              Tran. Code            $                  $             Account Balance

07/28/16     126      BOROUGH OF ASHLAND                 WATER, SEWER, GARBAGE (ACCT. NO.851;              2990-000                                       60.15              3,553.62
                                                         1524 CENTRE ST., ASHLAND)

07/28/16     127      BOROUGH OF ASHLAND                 WATER, SEWER, GARBAGE (ACCT.                      2990-000                                      281.23              3,272.39
                                                         NO.1987; 34 S. 3RD ST. APTS., ASHLAND)

07/28/16     128      BOROUGH OF ASHLAND                 WATER, SEWER, GARBAGE (ACCT.                      2990-000                                       85.17              3,187.22
                                                         NO.1089; 401 WALNUT ST., ASHLAND)

07/28/16     129      BOROUGH OF ASHLAND                 WATER, SEWER, GARBAGE (ACCT.                      2990-000                                       63.28              3,123.94
                                                         NO.1187; 921 WALNUT ST., ASHLAND)

07/28/16     130      BOROUGH OF ASHLAND                 WATER, SEWER, GARBAGE (ACCT.                      2990-000                                       57.03              3,066.91
                                                         NO.1285; 1407 WALNUT ST., ASHLAND)

07/28/16     131      BOROUGH OF ASHLAND                 WATER, SEWER, GARBAGE (ACCT.                      2990-000                                       69.52              2,997.39
                                                         NO.1317; 1513 WALNUT ST., ASHLAND)

07/28/16     132      UNITED STATES LIABILITY            LIABILITY INSURANCE PREMIUM (ACCT.NO. 2990-000                                              1,630.80                1,366.59
                      INSURANCE COMPANY                  CL1757395; POLICY NO. CL1757395)

08/02/16     133      BARRY J. SPIELES                   PROPERTY MAINTENANCE                              2990-000                                      460.00               906.59

08/02/16     134      BUSINESS CARD SERVICES             CHANGE OF ADDRESS VIA USPS ONLINE                 2990-000                                        3.00               903.59
                                                         (51 N. OAK ST., MT. CARMEL; 147 S. MAPLE
                                                         ST., MT. CARMEL)

08/02/16     135      BUSINESS CARD SERVICES             MAINTENANCE COSTS (HUD                            2990-000                                       37.07               866.52
                                                         INSPECTIONREPAIRS - FIRE ESCAPE
                                                         LADDER PURCHASE FOR 34 HOFFMAN
                                                         BLVD., ASHLAND)




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                                                      Cash Receipts and Disbursements Record                                                                             Page: 8

Case Number:          15-03964 MJC                                                             Trustee:                William G. Schwab
Case Name:            Apartments And Acquistions LP                                            Bank Name:              Eaglebank
                                                                                               Account:                ******0150 - Checking Account
Taxpayer ID#:         **-***4454                                                               Blanket Bond:           $6,889,586.00 (per case limit)
Period Ending:        12/08/21                                                                 Separate Bond:          N/A

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 Trans.    Check or                                                                                        Uniform           Receipts        Disbursements      Checking
  Date      Ref. #          Paid To / Received From               Description of Transaction              Tran. Code            $                  $         Account Balance

08/03/16 Asset #148 SCHUYLKILL COUNTY HOUSING RENT (36 HOFFMAN BLVD.,                                     1230-000               1,412.00                               2,278.52
                    AUTHORITY                 ASHLAND)JUNE/JULY RENT

08/03/16 Asset #148 KAYLYN J. KUMANGAI                   RENT (27 NORTH NICE ST., 2NDFLOOR,               1230-000                  154.00                              2,432.52
                                                         FRACKVILLE)AUGUST RENT

08/03/16 Asset #148 COLLEEN M. GILGORE                   RENT (1524 CENTRE ST.,                           1230-000                  425.00                              2,857.52
                                                         ASHLAND)AUGUST RENT

08/03/16 Asset #148 SCHUYLKILL COUNTY HOUSING RENT (315 WALNUT ST., ASHLAND)AUGUST 1230-000                                         295.00                              3,152.52
                    AUTHORITY                 RENT

08/03/16 Asset #148 SCHUYLKILL COUNTY HOUSING RENT (1513 WALNUT ST.,                                      1230-000                  748.00                              3,900.52
                    AUTHORITY                 ASHLAND)AUGUST RENT

08/03/16 Asset #148 SCHUYLKILL COUNTY HOUSING RENT (36 HOFFMAN BLVD.,                                     1230-000                  706.00                              4,606.52
                    AUTHORITY                 ASHLAND)AUGUST RENT

08/03/16 Asset #148 SCHUYLKILL COUNTY HOUSING RENT (27 NORTH NICE ST., 2NDFLOOR,                          1230-000                  716.00                              5,322.52
                    AUTHORITY                 FRACKVILLE)AUGUST RENT

08/04/16              JESUS CARMONA                      RENT (27 NICE ST., FRACKVILLE)JULY               1230-000                  400.00                              5,722.52
                                                         RENT

08/04/16 Asset #148 DANIEL LEARY                         RENT (1212 MIDDLE ST., ASHLAND)JUNE              1230-000                  380.00                              6,102.52
                                                         RENT

08/04/16 Asset #148 JOHN ADAMS                           RENT (921 CENTER ST. REAR,                       1230-000                  430.00                              6,532.52
                                                         ASHLAND)JULY RENT

08/05/16 Asset #148 JAYLYN & SHAWN KAUFFMAN              RENT (1027 BROCK ST., ASHLAND)AUGUST             1230-000                  500.00                              7,032.52
                                                         RENT


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                                                      Cash Receipts and Disbursements Record                                                                                  Page: 9

Case Number:          15-03964 MJC                                                              Trustee:                William G. Schwab
Case Name:            Apartments And Acquistions LP                                             Bank Name:              Eaglebank
                                                                                                Account:                ******0150 - Checking Account
Taxpayer ID#:         **-***4454                                                                Blanket Bond:           $6,889,586.00 (per case limit)
Period Ending:        12/08/21                                                                  Separate Bond:          N/A

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 Trans.    Check or                                                                                         Uniform           Receipts         Disbursements         Checking
  Date      Ref. #          Paid To / Received From                Description of Transaction              Tran. Code            $                   $            Account Balance

08/05/16     136      US TRUSTEE PAYMENT                 TRUSTEE QUARTERLY FEES                            2990-000                                   1,300.00               5,732.52
                      CENTER                             (2NDQUARTER)

08/08/16 Asset #148 NEW BEGINNING CHURCH                 RENT (919 CENTRE ST., ASHLAND)AUGUST              1230-000                  400.00                                  6,132.52
                                                         RENT

08/09/16     137      PPL ELECTRIC UTILITIES             ELECTRIC BILL (ACCT. NO.11430-43119)              2990-000                                       50.00              6,082.52

08/09/16     138      THE NEW BEGINNING CHURCH REIMBURSEMENT OF FUNDS (921 AND923                          2990-000                                      328.57              5,753.95
                                               CENTER ST. WATER BILL FOR PERIOD
                                               4/1/16 - 6/30/16)

08/09/16              JESUS CARMONA                      RENT (27 NICE ST., FRACKVILLE)                    1230-000                  -400.00                                 5,353.95
                                                         JULY RENT JESUS CARMONA

08/10/16 Asset #148 KIRSTEN & JEFF WILSON                RENT (1143 WEST PINE ST.,                         1230-000                  250.00                                  5,603.95
                                                         COALTWP.)PARTIAL JULY RENT

08/10/16 Asset #148 KEVIN LAWSON                         RENT (315 WALNUT ST., ASHLAND)AUGUST 1230-000                                86.00                                  5,689.95
                                                         RENT

08/10/16     139      BARRY J. SPIELES                   PROPERTY MAINTENANCE                              2990-000                                      380.00              5,309.95

08/11/16 Asset #148 JESUS CARMONA                        RENT (27 NICE ST., FRACKVILLE)RENT                1230-000                  820.00                                  6,129.95
                                                         (REPLACEMENT FOR BAD CHECK AND
                                                         SERVICE FEE FOR JULY RENT AND
                                                         AUGUST RENT PAYMENT)

08/11/16 Asset #148 CECILIA COYLE                        RENT (921 WALNUT ST., ASHLAND)AUGUST 1230-000                               500.00                                  6,629.95
                                                         RENT




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                                                      Cash Receipts and Disbursements Record                                                                                 Page: 10

Case Number:          15-03964 MJC                                                              Trustee:                William G. Schwab
Case Name:            Apartments And Acquistions LP                                             Bank Name:              Eaglebank
                                                                                                Account:                ******0150 - Checking Account
Taxpayer ID#:         **-***4454                                                                Blanket Bond:           $6,889,586.00 (per case limit)
Period Ending:        12/08/21                                                                  Separate Bond:          N/A

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 Trans.    Check or                                                                                         Uniform           Receipts        Disbursements          Checking
  Date      Ref. #          Paid To / Received From                Description of Transaction              Tran. Code            $                  $             Account Balance

08/11/16 Asset #148 CARIMIRO PERVIUS                     RENT (712 WEST PINE ST.,                          1230-000                  500.00                                  7,129.95
                                                         SHAMOKIN)AUGUST RENT

08/11/16 Asset #148 WARREN CAMPBELL                      RENT (227 NORTH FRANKLIN                          1230-000                  500.00                                  7,629.95
                                                         ST.,SHAMOKIN)AUGUST RENT

08/17/16 Asset #148 KIM & JOHN KANAS                     RENT (135 SOUTH FRANKLIN                          1230-000                  500.00                                  8,129.95
                                                         ST.,SHAMOKIN)AUGUST RENT

08/17/16     140      BARRY J. SPIELES                   PROPERTY MAINTENANCE                              2990-000                                      480.00              7,649.95

08/18/16 Asset #148 KIRSTEN & JEFF WILSON                RENT (1143 WEST PINE ST.,                         1230-000                  125.00                                  7,774.95
                                                         COALTWP.)JULY PARTIAL RENT

08/18/16     141      PPL ELECTRIC UTILITIES             ELECTRIC BILL (ACCT. NO.72290-34081;              2990-000                                      120.93              7,654.02
                                                         1513 WALNUT ST., ASHLAND)

08/18/16     142      BOROUGH OF ASHLAND                 PROPERTY MAINTENANCE (ACCT.                       2990-000                                       60.00              7,594.02
                                                         NO.001987) (TRASH BAGS FOR CLEAN UP -
                                                         34 S. THIRD ST., ASHLAND)

08/19/16     143      BUSINESS CARD SERVICES             FILING AND SERVICE FEES                           2990-000                                      827.60              6,766.42

08/23/16     144      BARRY J. SPIELES                   PROPERTY MAINTENANCE                              2990-000                                       80.00              6,686.42

08/25/16     145      BARRY J. SPIELES                   PROPERTY MAINTENANCE                              2990-000                                      300.00              6,386.42

08/26/16     146      BIXLER'S STUMP AND TREE            PROPERTY MAINTENANCE/TREE REMOVAL 6990-000                                                  1,500.00                4,886.42
                      SERVICE                            (217 S. 3RD ST., FRACKVILLE)

08/26/16     147      TRUSTEE INSURANCE AGENCY INSURANCE PREMIUM (INVOICE NO.7127)                         6990-000                                  1,734.88                3,151.54



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                                                      Cash Receipts and Disbursements Record                                                                                Page: 11

Case Number:          15-03964 MJC                                                             Trustee:                William G. Schwab
Case Name:            Apartments And Acquistions LP                                            Bank Name:              Eaglebank
                                                                                               Account:                ******0150 - Checking Account
Taxpayer ID#:         **-***4454                                                               Blanket Bond:           $6,889,586.00 (per case limit)
Period Ending:        12/08/21                                                                 Separate Bond:          N/A

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 Trans.    Check or                                                                                        Uniform           Receipts        Disbursements          Checking
  Date      Ref. #          Paid To / Received From               Description of Transaction              Tran. Code            $                  $             Account Balance

08/30/16     148      BARRY J. SPIELES                   PROPERTY MAINTENANCE                             2990-000                                      320.00              2,831.54

09/02/16     149      BOROUGH OF ASHLAND                 PROPERTY MAINTENANCE (TRASH                      2990-000                                       60.00              2,771.54
                                                         BAGSFOR CLEAN UP)

09/06/16 Asset #148 JALYNN KAUFFMAN                      RENT (1027 BROCK ST., ASHLAND)RENT               1230-000                  500.00                                  3,271.54
                                                         FOR 1027 BROCK STREET, ASHLAND, PA

09/06/16 Asset #148 LEHIGH ANN MAURER                    RENT (1513 WALNUT ST.,                           1230-000                   86.00                                  3,357.54
                                                         ASHLAND)AUGUST RENT FOR 1513
                                                         WALNUT STREET, ASHLAND, PA 17921

09/06/16 Asset #148 SCHUYLKILL COUNTY HOUSING RENT (HEATHER OSOWSKI - 36                                  1230-000                  706.00                                  4,063.54
                    AUTHORITY                 HOFFMANBLVD., ASHLAND)SEPTEMBER
                                              RENT FOR HEATHER OSOWSKI AT 36
                                              HOFFMAN BLVD., ASHLAND, PA

09/06/16 Asset #148 SCHUYLKILL HAVEN COUNTY              RENT (KEVIN LAWSON - 315 WALNUTST.,              1230-000                  295.00                                  4,358.54
                    AUTHORITY                            ASHLAND)SEPTEMBER RENT FOR KEVIN
                                                         LAWSON AT 315 WALNUT STREET,
                                                         ASHLAND, PA

09/06/16 Asset #148 SCHUYLKILL COUNTY HOUSING RENT (KUMANGAI - 27 NORTH NICEST.,                          1230-000                  716.00                                  5,074.54
                    AUTHORITY                 2ND FLOOR, FRACKVILLE)SEPTEMBER
                                              RENT FOR K. KUMANGAI AT 27 NORTH
                                              NICE STREET, 2ND FLOOR, FRACKVILLE,
                                              PA

09/06/16 Asset #148 SCHUYLKILL COUNTY HOUSING RENT (LEIGH ANN MAURER - 1513WALNUT                         1230-000                  748.00                                  5,822.54
                    AUTHORITY                 ST., ASHLAND)SEPTEMBER RENT FOR
                                              LEHIGH ANN MAURER AT 1513 WALNUT
                                              STREET, ASHLAND, PA




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                                                      Cash Receipts and Disbursements Record                                                                                 Page: 12

Case Number:          15-03964 MJC                                                              Trustee:                William G. Schwab
Case Name:            Apartments And Acquistions LP                                             Bank Name:              Eaglebank
                                                                                                Account:                ******0150 - Checking Account
Taxpayer ID#:         **-***4454                                                                Blanket Bond:           $6,889,586.00 (per case limit)
Period Ending:        12/08/21                                                                  Separate Bond:          N/A

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 Trans.    Check or                                                                                         Uniform           Receipts        Disbursements          Checking
  Date      Ref. #          Paid To / Received From                Description of Transaction              Tran. Code            $                  $             Account Balance

09/12/16 Asset #148 SHEILA CASE                          RENT (923 W. CENTRE ST., 2NDFLOOR,                1230-000                  100.00                                  5,922.54
                                                         ASHLAND)SEPTEMBER PARTIAL RENT
                                                         PAYMENT

09/12/16 Asset #148 KAYLYN J. KUMANGAI                   RENT PAYMENT (27 N. NICE                          1230-000                  154.00                                  6,076.54
                                                         ST.,FRACKVILLE)(SEPTEMBER RENT
                                                         PAYMENT)

09/12/16     150      BARRY J. SPIELES                   PROPERTY MAINTENANCE                              2990-000                                      380.00              5,696.54

09/12/16     151      PPL ELECTRIC UTILITIES             ELECTRIC BILL (ACCT. NO.11430-43119 -             2990-000                                       50.00              5,646.54
                                                         KEVIN LAWSON)

09/15/16 Asset #148 PHYLLLIS KOONS                       RENT (1020 EAST SUNBURY                           1230-000                  200.00                                  5,846.54
                                                         ST.,SHAMOKIN)RENT- JULY AND PART OF
                                                         AUGUST FOR 1020 EAST SUNBURY
                                                         STREET, SHAMOKIN, PA

09/15/16 Asset #148 KIRSTEN WILSON                       RENT (1143 WEST PINE ST.,                         1230-000                  250.00                                  6,096.54
                                                         COALTWP.)RENT - SEPTEMBER RENT FOR
                                                         1143 PINE STREET, COAL TOWNSHIP, PA

09/15/16 Asset #148 BRIDGETT O'CONNELL                   RENT (1252 CHEMUNG ST.,                           1230-000                  500.00                                  6,596.54
                                                         COALTOWNSHIP)RENT FOR JUNE, JULY &
                                                         AUGUST1252 CHEMUNG STREET, COAL
                                                         TOWNSHIP, PA

09/15/16 Asset #148 BRIDGETT O'CONNELL                   RENT (1252 CHEMUNG ST.,                           1230-000                  100.00                                  6,696.54
                                                         COALTOWNSHIP)RENT FOR JUNE, JULY &
                                                         AUGUST1252 CHEMUNG STREET, COAL
                                                         TOWNSHIP, PA




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                                                         Cash Receipts and Disbursements Record                                                                                Page: 13

Case Number:          15-03964 MJC                                                                Trustee:                William G. Schwab
Case Name:            Apartments And Acquistions LP                                               Bank Name:              Eaglebank
                                                                                                  Account:                ******0150 - Checking Account
Taxpayer ID#:         **-***4454                                                                  Blanket Bond:           $6,889,586.00 (per case limit)
Period Ending:        12/08/21                                                                    Separate Bond:          N/A

   1             2                     3                                         4                                                 5                  6                    7

 Trans.    Check or                                                                                           Uniform           Receipts        Disbursements          Checking
  Date      Ref. #           Paid To / Received From                 Description of Transaction              Tran. Code            $                  $             Account Balance

09/15/16 Asset #148 DANIEL LEARY                            RENT (1212 MIDDLE ST., ASHLAND)RENT              1230-000                  400.00                                  7,096.54
                                                            FOR AUGUST & PART OF SEPTEMBER FOR
                                                            1212 MIDDLE STREET, ASHLAND, PA

09/15/16 Asset #148 WARREN CAMPBELL                         RENT (227 NORTH FRANKLIN                         1230-000                  500.00                                  7,596.54
                                                            ST.,SHAMOKIN)RENT FOR 227 NORTH
                                                            FRANKLIN STREET, SHAMOKIN, PA

09/15/16 Asset #148 CASIMARER PEREIRA                       RENT (712 WEST PINE ST., COAL                    1230-000                  500.00                                  8,096.54
                                                            TWP.)RENT FOR 712 WEST PINE STREET,
                                                            COAL TOWNSHIP, PA

09/15/16 Asset #148 NICK LUBESKI                            RENT (1407 WALNUT ST., ASHLAND)RENT              1230-000                  400.00                                  8,496.54
                                                            FOR JULY FOR 1407 WALNUT STREET,
                                                            ASHLAND, PA

09/15/16 Asset #148 PHYLISS KOONS                           RENT (1020 EAST SUNBURY                          1230-000                  400.00                                  8,896.54
                                                            ST.,SHAMOKIN)RENT FOR JULY 7 PARTIAL
                                                            AUGUST 1020 EAST SUNBURY STREET,
                                                            SHAMOKIN, PA

09/16/16     152      Magisterial District No. 21-2-01      FiLING FEE                                       6990-000                                      178.88              8,717.66
                                                            (LANDLORD/TENANTCOMPLAINT)v. SHEILA
                                                            CASE & OCCUPANTS

09/16/16     153      Magisterial District No. 08-3-03      FiLING FEE                                       6990-000                                      170.50              8,547.16
                                                            (LANDLORD/TENANTCOMPLAINT)v. CHRIS
                                                            BURGESS

09/16/16     154      Magisterial District No. 08-3-03      FiLING FEE                                       6990-000                                      170.50              8,376.66
                                                            (LANDLORD/TENANTCOMPLAINT)v. ALYA
                                                            STONER




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                                                         Cash Receipts and Disbursements Record                                                                                 Page: 14

Case Number:          15-03964 MJC                                                                 Trustee:                William G. Schwab
Case Name:            Apartments And Acquistions LP                                                Bank Name:              Eaglebank
                                                                                                   Account:                ******0150 - Checking Account
Taxpayer ID#:         **-***4454                                                                   Blanket Bond:           $6,889,586.00 (per case limit)
Period Ending:        12/08/21                                                                     Separate Bond:          N/A

   1             2                     3                                          4                                                 5                  6                    7

 Trans.    Check or                                                                                            Uniform           Receipts        Disbursements          Checking
  Date      Ref. #           Paid To / Received From                  Description of Transaction              Tran. Code            $                  $             Account Balance

09/16/16     155      Magisterial District No. 08-3-03      FiLING FEE                                        6990-000                                      174.50              8,202.16
                                                            (LANDLORD/TENANTCOMPLAINT)v. Jennifer
                                                            Lowery

09/19/16 Asset #148 JIM & KIM KANAS                         RENT (135 SOUTH FRANKLIN                          1230-000                  500.00                                  8,702.16
                                                            ST.,SHAMOKIN)SEPTEMBER RENT FOR 135
                                                            SOUTH FRANKLIN STREET, SHAMOKIN, PA

09/19/16     156      PPL ELECTRIC UTILITIES                ELECTRIC BILL (ACCT. NO.39655-71076 27            2990-000                                       60.75              8,641.41
                                                            N. NICE ST., UNIT 2, APT. 2, FRACKVILLE)

09/19/16     157      PPL ELECTRIC UTILITIES                ELECTRIC BILL (ACCT. NO.87490-32155 27            2990-000                                       67.81              8,573.60
                                                            N. NICE ST., APT. 1FL, FRACKVILLE)

09/19/16     158      PPL ELECTRIC UTILITIES                ELECTRIC BILL (ACCT. NO.72290-34081               2990-000                                      130.46              8,443.14
                                                            1513 WALNUT ST., ASHLAND)

09/19/16     159      PENNSYLVANIA AMERICAN                 WATER BILL (ACCT. NO.1024-                        2990-000                                      237.09              8,206.05
                      WATER                                 220015919443)

09/19/16     160      CARD SERVICES                         MISCELLANEOUS FILING/SERVICINGFEES                2990-000                                  1,675.23                6,530.82
                                                            FOR REIMBURSEMENT

09/20/16     161      BARRY J. SPIELES                      PROPERTY MAINTENANCE                              2990-000                                      320.00              6,210.82

10/07/16              VARIOUS TENANTS                       RENT FOR NICK LOBESKI AT 1407                     1230-000               1,800.00                                   8,010.82
                                                            WALNUT STREET, ASHFILED, PA, JESUS
                                                            CARMONA AT 27 NORTH NICE STREET,
                                                            FRACKVILLE AND CECILA COYLE AT 921
                                                            WALNUT ST, ASHFILED, PA




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                                                       Cash Receipts and Disbursements Record                                                                                Page: 15

Case Number:          15-03964 MJC                                                                Trustee:                William G. Schwab
Case Name:            Apartments And Acquistions LP                                               Bank Name:              Eaglebank
                                                                                                  Account:                ******0150 - Checking Account
Taxpayer ID#:         **-***4454                                                                  Blanket Bond:           $6,889,586.00 (per case limit)
Period Ending:        12/08/21                                                                    Separate Bond:          N/A

   1             2                    3                                          4                                                 5                  6                  7

 Trans.    Check or                                                                                           Uniform           Receipts        Disbursements        Checking
  Date      Ref. #          Paid To / Received From                  Description of Transaction              Tran. Code            $                  $           Account Balance

10/07/16              VARIOUS TENANTS                     RENT FOR NICK LOBESKI AT 1407                      1230-000              -1,800.00                                 6,210.82
                                                          WALNUT STREET, ASHFILED, PA, JESUS
                                                          CARMONA AT 27 NORTH NICE STREET,
                                                          FRACKVILLE AND CECILA COYLE AT 921
                                                          WALNUT ST, ASHFILED, PA VARIOUS
                                                          TENANTS

10/07/16              Transfer to Texas Capital Bank      Transfer of funds to account ending 1656           9999-000                                  6,210.82                  0.00


                                                                                ACCOUNT TOTALS                                     34,577.00          34,577.00                 $0.00
                                                                                   Less: Bank Transfers                                 0.00           7,210.82

                                                                                Subtotal                                           34,577.00          27,366.18
                                                                                   Less: Payment to Debtors                                                0.00

                                                                                NET Receipts / Disbursements                     $34,577.00         $27,366.18




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                                                       Cash Receipts and Disbursements Record                                                                                  Page: 16

Case Number:          15-03964 MJC                                                                Trustee:                William G. Schwab
Case Name:            Apartments And Acquistions LP                                               Bank Name:              Eaglebank
                                                                                                  Account:                ******0154 - Real Estate Escrow
Taxpayer ID#:         **-***4454                                                                  Blanket Bond:           $6,889,586.00 (per case limit)
Period Ending:        12/08/21                                                                    Separate Bond:          N/A

   1             2                    3                                          4                                                 5                  6                    7

 Trans.    Check or                                                                                           Uniform           Receipts        Disbursements          Checking
  Date      Ref. #          Paid To / Received From                  Description of Transaction              Tran. Code            $                  $             Account Balance

07/07/16 Asset #116 NEW BEGINNING CHURCH                  DOWN MONEY (919-923 CENTRE                         1110-000               6,000.00                                   6,000.00
                                                          ST.,ASHLAND)

07/13/16              Transfer from Acct # xxxxxx0150     Transfer of Funds - Down Moneyfrom Samuel          9999-000               1,000.00                                   7,000.00
                                                          Bressi

08/12/16 Asset #130 TIMOTHY & PATRICIA                    DOWN MONEY (718 WEST PINE                          1110-000               1,000.00                                   8,000.00
                    WORHACZ                               ST.,SHAMOKIN)DOWN MONEY

08/15/16   Asset #1   BRIAN WOLFGANG                      DOWN MONEY (1018-1020                              1280-000               1,000.00                                   9,000.00
                                                          WESTINDEPENDENCE ST., COAL TWP)

08/19/16   Asset #6   MAINE FIRE COMPANY                  DOWN MONEY (1031 WEST                              1110-000               1,000.00                              10,000.00
                                                          INDEPENDENCEST., COAL TWP.)DOWN
                                                          MONEY FOR 1031 WEST INDEPENDENCE
                                                          STREET, COAL TOWNSHIP, PA

10/07/16              Transfer to Texas Capital Bank      Transfer of funds to account ending 1649           9999-000                                 10,000.00                    0.00


                                                                                ACCOUNT TOTALS                                     10,000.00          10,000.00                   $0.00
                                                                                   Less: Bank Transfers                             1,000.00          10,000.00

                                                                                Subtotal                                            9,000.00                 0.00
                                                                                   Less: Payment to Debtors                                                  0.00

                                                                                NET Receipts / Disbursements                       $9,000.00                $0.00




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                                                       Cash Receipts and Disbursements Record                                                                               Page: 17

Case Number:           15-03964 MJC                                                                Trustee:                William G. Schwab
Case Name:             Apartments And Acquistions LP                                               Bank Name:              Texas Capital Bank
                                                                                                   Account:                ******1649 - Escrow Account
Taxpayer ID#:          **-***4454                                                                  Blanket Bond:           $6,889,586.00 (per case limit)
Period Ending:         12/08/21                                                                    Separate Bond:          N/A

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 Trans.    Check or                                                                                            Uniform           Receipts        Disbursements      Checking
  Date      Ref. #           Paid To / Received From                  Description of Transaction              Tran. Code            $                  $         Account Balance

09/22/16     53001     BOROUGH OF ASHLAND                 Stop Payment on Check 53001 BOROUGH OF              1290-014                   60.00                                60.00
                                                          ASHLAND

10/07/16               Transfer from EagleBank            Transfer of funds                                   9999-000              10,000.00                          10,060.00

10/10/16   Asset #98 DANIEL GAUGHAN                       DOWN MONEY FOR 58 & 60 OAKLAND AVE., 1110-000                                 500.00                         10,560.00
                                                          ASHLAND, PA

10/10/16 Asset #117 RAYMOND COPE                          DOWN MONEY FOR 921 WALNUT ST.,                      1280-000               3,220.00                          13,780.00
                                                          ASHLAND, 1215 WALNUT ST., ASHLAND,
                                                          1027,1029 AND 1035 BROCK STREET,
                                                          ASHLAND, 1524 WEST CENTRE STREET,
                                                          ASHLAND AND 32 ANN STREET, ST. CLAIR,
                                                          PA

10/10/16               EASYMOOVES.COM, LLC                DOWN MONEY FOR 433 W. THIRD STREET,                                        1,500.00                          15,280.00
                                                          MT.CARMEL, 437 EAST CAMP STREET, MT.
                                                          CARMEL AND 437 EAST AVE, MT. CARMEL,
                                                          PA

10/10/16   Asset #86                                                                                  500.00 1110-000                                                  15,280.00
10/10/16   Asset #85                                                                                  500.00 1110-000                                                  15,280.00
10/10/16   Asset #84                                                                                  500.00 1110-000                                                  15,280.00
10/17/16               HOUSER AUCTIONEERS                 Down Money For 249& 248 East Moser Ave,                                    6,500.00                          21,780.00
                                                          516 W. Market St., 1407 Walnut St., 9 South
                                                          19th Street, 401 Walnut Street, 115 & 113
                                                          North 2nd Street, 46 West Main St. HOUSER
                                                          AUCTIONEERS




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                                                       Cash Receipts and Disbursements Record                                                                               Page: 18

Case Number:           15-03964 MJC                                                                Trustee:                William G. Schwab
Case Name:             Apartments And Acquistions LP                                               Bank Name:              Texas Capital Bank
                                                                                                   Account:                ******1649 - Escrow Account
Taxpayer ID#:          **-***4454                                                                  Blanket Bond:           $6,889,586.00 (per case limit)
Period Ending:         12/08/21                                                                    Separate Bond:          N/A

   1             2                     3                                          4                                                 5                    6              7

 Trans.    Check or                                                                                            Uniform           Receipts        Disbursements      Checking
  Date      Ref. #           Paid To / Received From                  Description of Transaction              Tran. Code            $                  $         Account Balance

10/17/16   Asset #77                                      Down Money For 249& 248                     500.00 1110-000                                                  21,780.00
                                                          East Moser Ave, 516 W.
                                                          Market St., 1407 Walnut St.,
                                                          9 South 19th Street, 401
                                                          Walnut Street, 115 & 113
                                                          North 2nd Street, 46 West
                                                          Main St. HOUSER
                                                          AUCTIONEERS

10/17/16   Asset #33                                      Down Money For 249& 248                   3,500.00 1110-000                                                  21,780.00
                                                          East Moser Ave, 516 W.
                                                          Market St., 1407 Walnut St.,
                                                          9 South 19th Street, 401
                                                          Walnut Street, 115 & 113
                                                          North 2nd Street, 46 West
                                                          Main St. HOUSER
                                                          AUCTIONEERS

10/17/16     53001     BOROUGH OF ASHLAND                 PROPERTY MAINTENANCE FEES (TRASH                    1290-014                  -60.00                         21,720.00
                                                          BAGS)

10/21/16   Asset #93 DANIEL GAUGHAN                       Additional Down Money (58 & 60 Oakland Ave., 1110-000                         500.00                         22,220.00
                                                          Ashland)

10/28/16   Asset #54                                      Down Money For 249& 248                   2,500.00 1110-000                                                  22,220.00
                                                          East Moser Ave, 516 W.
                                                          Market St., 1407 Walnut St.,
                                                          9 South 19th Street, 401
                                                          Walnut Street, 115 & 113
                                                          North 2nd Street, 46 West
                                                          Main St. HOUSER
                                                          AUCTIONEERS




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                                                       Cash Receipts and Disbursements Record                                                                               Page: 19

Case Number:           15-03964 MJC                                                                Trustee:                William G. Schwab
Case Name:             Apartments And Acquistions LP                                               Bank Name:              Texas Capital Bank
                                                                                                   Account:                ******1649 - Escrow Account
Taxpayer ID#:          **-***4454                                                                  Blanket Bond:           $6,889,586.00 (per case limit)
Period Ending:         12/08/21                                                                    Separate Bond:          N/A

   1             2                     3                                          4                                                 5                    6              7

 Trans.    Check or                                                                                            Uniform           Receipts        Disbursements      Checking
  Date      Ref. #           Paid To / Received From                  Description of Transaction              Tran. Code            $                  $         Account Balance

10/28/16   Asset #54 HOUSER AUCTIONEERS                   Down Money For 249 & 248 East Moser Ave,            1110-000               6,500.00                          28,720.00
                                                          516 W. Market St., 1407 Walnut St., 9 South
                                                          19th Street, 401 Walnut Street, 115 & 113
                                                          North 2nd Street, 46 West Main St.

10/28/16               HOUSER AUCTIONEERS                 Down Money For 249& 248 East Moser Ave,                                   -6,500.00                          22,220.00
                                                          516 W. Market St., 1407 Walnut St., 9 South
                                                          19th Street, 401 Walnut Street, 115 & 113
                                                          North 2nd Street, 46 West Main St. HOUSER
                                                          AUCTIONEERS

10/28/16   Asset #77                                      Down Money For 249& 248                    -500.00 1110-000                                                  22,220.00
                                                          East Moser Ave, 516 W.
                                                          Market St., 1407 Walnut St.,
                                                          9 South 19th Street, 401
                                                          Walnut Street, 115 & 113
                                                          North 2nd Street, 46 West
                                                          Main St. HOUSER
                                                          AUCTIONEERS

10/28/16   Asset #33                                      Down Money For 249& 248                   -3,500.00 1110-000                                                 22,220.00
                                                          East Moser Ave, 516 W.
                                                          Market St., 1407 Walnut St.,
                                                          9 South 19th Street, 401
                                                          Walnut Street, 115 & 113
                                                          North 2nd Street, 46 West
                                                          Main St. HOUSER
                                                          AUCTIONEERS




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                                                       Cash Receipts and Disbursements Record                                                                                Page: 20

Case Number:           15-03964 MJC                                                                Trustee:                William G. Schwab
Case Name:             Apartments And Acquistions LP                                               Bank Name:              Texas Capital Bank
                                                                                                   Account:                ******1649 - Escrow Account
Taxpayer ID#:          **-***4454                                                                  Blanket Bond:           $6,889,586.00 (per case limit)
Period Ending:         12/08/21                                                                    Separate Bond:          N/A

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 Trans.    Check or                                                                                            Uniform           Receipts         Disbursements      Checking
  Date      Ref. #           Paid To / Received From                  Description of Transaction              Tran. Code            $                   $         Account Balance

10/28/16   Asset #54                                      Down Money For 249& 248                   -2,500.00 1110-000                                                  22,220.00
                                                          East Moser Ave, 516 W.
                                                          Market St., 1407 Walnut St.,
                                                          9 South 19th Street, 401
                                                          Walnut Street, 115 & 113
                                                          North 2nd Street, 46 West
                                                          Main St. HOUSER
                                                          AUCTIONEERS

11/01/16   Asset #54 MICHAEL S. GREEK                     RETURN OF DEPOSIT (248-249 E. MOSER                 1280-000                  -500.00                         21,720.00
            53002                                         AVE., COALDALE)

11/04/16     53003     PENN NATIONAL ABSTRACT             RETURN OF DEPOSITS (50, 58-60 OAKLAND                                     -1,000.00                           20,720.00
                       SERVICES, INC.                     AVE., ASHLAND)

11/04/16   Asset #93                                                                                 -500.00 1110-000                                                   20,720.00
11/04/16   Asset #98                                                                                 -500.00 1110-000                                                   20,720.00
11/04/16   Asset #54 LAW OFFICE OF RICHARD R.             RETURN OF DEPOSITS (46 WEST MAIN ST.,               1280-000              -2,500.00                           18,220.00
            53004    FEUDALE                              113-115 NORTH 2ND ST., GIRARDVILLE,
                                                          AND 1407 WALNUT ST., 9 SOUTH 19TH ST.,
                                                          401 WALNUT ST., ASHLAND)

11/04/16   Asset #54 PENN NATIONAL ABSTRACT               RETURN OF DEPOSIT (516 W. MARKET                    1280-000              -3,500.00                           14,720.00
            53005    SERVICES, INC.                       STREET, MAHANOY CITY)

11/18/16 Asset #131 KIMBERLY & ALBERT BALDONI             DOWN MONEY FOR PARCEL IN BLAKELY,                   1210-000                  500.00                          15,220.00
                                                          PA

11/23/16 Asset #117 LIGHTHOUSE ABSTRACT, LTD.             RETURN OF DEPOSIT (32 ANN ST., SAINT                1280-000                  -500.00                         14,720.00
           53006                                          CLAIR)




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                                                       Cash Receipts and Disbursements Record                                                                               Page: 21

Case Number:           15-03964 MJC                                                               Trustee:                William G. Schwab
Case Name:             Apartments And Acquistions LP                                              Bank Name:              Texas Capital Bank
                                                                                                  Account:                ******1649 - Escrow Account
Taxpayer ID#:          **-***4454                                                                 Blanket Bond:           $6,889,586.00 (per case limit)
Period Ending:         12/08/21                                                                   Separate Bond:          N/A

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 Trans.    Check or                                                                                           Uniform           Receipts         Disbursements      Checking
  Date      Ref. #           Paid To / Received From                 Description of Transaction              Tran. Code            $                   $         Account Balance

11/23/16 Asset #117 LIGHTHOUSE ABSTRACT, LTD.             RETURN OF DEPOSIT (921 WALNUT ST.,                 1280-000                  -700.00                         14,020.00
           53007                                          ASHLAND)

11/23/16 Asset #117 LIGHTHOUSE ABSTRACT, LTD.             RETURN OF DEPOSIT (1524 W. CENTRE                  1280-000                  -500.00                         13,520.00
           53008                                          ST., ASHLAND)

11/23/16 Asset #117 LIGHTHOUSE ABSTRACT, LTD.             RETURN OF DEPOSIT (1207 & 1215                     1280-000              -1,020.00                           12,500.00
           53009                                          WALNUT ST., ASHLAND)

11/23/16 Asset #117 LIGHTHOUSE ABSTRACT, LTD.             RETURN OF DEPOSIT (1029, 1027 & 1035               1280-000                  -500.00                         12,000.00
           53010                                          BROCK ST., ASHLAND)

11/29/16   Asset #87 WILLIAM DUDECK                       DOWN MONEY FOR 440 SOUTH SHAMOKIN                  1110-000               1,000.00                           13,000.00
                                                          STREET, SHAMOKIN, PA

11/29/16 Asset #133 RYAN & JOSEPH QUINN                   DOWN MONEY FOR 951 ARCH STREET,                    1110-000               2,000.00                           15,000.00
                                                          COAL TWSP

11/29/16 Asset #150 EASYMOOVES.COM, LLC                   Down Money For 601 N. Franklin St., 1740 W.        1210-000               3,000.00                           18,000.00
                                                          Mohawk St., 135 S. Franklin St., 615 N. 2nd
                                                          St., 134 Main St., 520 W. Market Street and
                                                          1742 Mohawk Street

11/30/16 Asset #115 NAWAL ATIYEH                          DOWN MONEY FOR 117-119 S. MARKET                   1280-000               1,000.00                           19,000.00
                                                          STREET & 914 N. SHAMOKIN ST.,
                                                          SHAMOKIN, PA

12/01/16     53011     CHRIS MARTIN                       RETURN OF DEPOSIT (437 E. AVE., 437 E.                                   -1,500.00                           17,500.00
                                                          CAMP ST., & 433 W. THIRD ST., MT.
                                                          CARMEL)

12/01/16   Asset #84                                                                                -500.00 1280-000                                                   17,500.00



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                                                       Cash Receipts and Disbursements Record                                                                              Page: 22

Case Number:           15-03964 MJC                                                               Trustee:                William G. Schwab
Case Name:             Apartments And Acquistions LP                                              Bank Name:              Texas Capital Bank
                                                                                                  Account:                ******1649 - Escrow Account
Taxpayer ID#:          **-***4454                                                                 Blanket Bond:           $6,889,586.00 (per case limit)
Period Ending:         12/08/21                                                                   Separate Bond:          N/A

   1             2                     3                                         4                                                 5                    6              7

 Trans.    Check or                                                                                           Uniform           Receipts        Disbursements      Checking
  Date      Ref. #           Paid To / Received From                 Description of Transaction              Tran. Code            $                  $         Account Balance

12/01/16   Asset #86                                                                                -500.00 1280-000                                                  17,500.00
12/01/16   Asset #85                                                                                -500.00 1280-000                                                  17,500.00
12/02/16               HOUSER AUCTIONEERS                 Down Money for Various Properties in                                     10,000.00                          27,500.00
                                                          Shamokin and Coal Township

12/02/16                                                                                             500.00 1110-000                                                  27,500.00
12/02/16 Asset #103                                                                                  500.00 1110-000                                                  27,500.00
12/02/16 Asset #135                                                                                  500.00 1110-000                                                  27,500.00
12/02/16 Asset #109                                                                                1,000.00 1110-000                                                  27,500.00
12/02/16   Asset #36                                                                                 500.00 1110-000                                                  27,500.00
12/02/16   Asset #26                                                                                 500.00 1110-000                                                  27,500.00
12/02/16   Asset #25                                                                                 500.00 1110-000                                                  27,500.00
12/02/16 Asset #124                                                                                  500.00 1210-000                                                  27,500.00
12/02/16 Asset #114                                                                                  500.00 1110-000                                                  27,500.00
12/02/16   Asset #9                                                                                  500.00 1110-000                                                  27,500.00
12/02/16   Asset #8                                                                                  500.00 1110-000                                                  27,500.00
12/02/16   Asset #2                                                                                  500.00 1110-000                                                  27,500.00
12/02/16 Asset #134                                                                                  500.00 1110-000                                                  27,500.00
12/02/16 Asset #115                                                                                  500.00 1110-000                                                  27,500.00
12/02/16   Asset #83                                                                                 500.00 1110-000                                                  27,500.00
12/02/16   Asset #65                                                                                 500.00 1110-000                                                  27,500.00
12/02/16   Asset #51                                                                                 500.00 1110-000                                                  27,500.00
12/02/16   Asset #18                                                                                 500.00 1110-000                                                  27,500.00



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                                                       Cash Receipts and Disbursements Record                                                                             Page: 23

Case Number:           15-03964 MJC                                                             Trustee:                William G. Schwab
Case Name:             Apartments And Acquistions LP                                            Bank Name:              Texas Capital Bank
                                                                                                Account:                ******1649 - Escrow Account
Taxpayer ID#:          **-***4454                                                               Blanket Bond:           $6,889,586.00 (per case limit)
Period Ending:         12/08/21                                                                 Separate Bond:          N/A

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 Trans.    Check or                                                                                         Uniform           Receipts         Disbursements      Checking
  Date      Ref. #           Paid To / Received From               Description of Transaction              Tran. Code            $                   $         Account Balance

12/02/16   Asset #58                                                                               500.00 1110-000                                                   27,500.00
12/02/16 Asset #116 THE NEW BEGINNING CHURCH RETURN OF DEPOSIT (917-923 CENTER                             1110-000              -5,824.00                           21,676.00
           53012                             ST., ASHLAND)

12/16/16 Asset #133 MARKS, MCLAUGHLIN &                   RETURN OF DEPOSIT (SALE OF 951 W.                1110-000              -2,000.00                           19,676.00
           53013    DENNEHY                               ARCH ST., COAL TOWNSHIP)

12/20/16   Asset #87 MATTIS & MATTIS                      RETURN OF DEPOSIT (SALE OF 440 S.                1110-000              -1,000.00                           18,676.00
            53014                                         SHAMOKIN ST., SHAMOKIN)

12/20/16     53015     MATTIS & MATTIS                    RETURN OF DEPOSIT (SALE OF 108 S. 1ST            1280-000                  -500.00                         18,176.00
                                                          ST., SHAMOKIN)

12/20/16   Asset #21 MATTIS & MATTIS                      RETURN OF DEPOSIT (SALE OF 1204                  1280-000                  -500.00                         17,676.00
            53016                                         HEMLOCK ST., COAL TOWNSHIP)

12/20/16 Asset #103 MATTIS & MATTIS                       RETURN OF DEPOSIT (SALE OF 694-696               1110-000                  -500.00                         17,176.00
           53017                                          BEAR DR., SHAMOKIN)

12/20/16 Asset #109 MATTIS & MATTIS                       RETURN OF DEPOSIT (SALE OF 810-812 W.            1110-000              -1,000.00                           16,176.00
           53018                                          MULBERRY ST., COAL TOWNSHIP)

12/20/16 Asset #135 HOMETOWN ABSTRACT & REAL RETURN OF DEPOSIT (SALE OF 1426 W.                            1110-000                  -500.00                         15,676.00
           53019    ESTATE SERVICES          WALNUT ST., COAL TOWNSHIP)

01/09/17 Asset #134 LIGHTHOUSE ABSTRACT, LTD.             RETURN OF DEPOSIT (1007 W. WALNUT                1110-000                  -500.00                         15,176.00
           53020                                          ST., COAL TOWNSHIP)

01/09/17   Asset #83 LIGHTHOUSE ABSTRACT, LTD.            RETURN OF DEPOSIT (426 W. SPRUCE ST.,            1110-000                  -500.00                         14,676.00
            53021                                         SHAMOKIN)




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                                                      Cash Receipts and Disbursements Record                                                                             Page: 24

Case Number:          15-03964 MJC                                                             Trustee:                William G. Schwab
Case Name:            Apartments And Acquistions LP                                            Bank Name:              Texas Capital Bank
                                                                                               Account:                ******1649 - Escrow Account
Taxpayer ID#:         **-***4454                                                               Blanket Bond:           $6,889,586.00 (per case limit)
Period Ending:        12/08/21                                                                 Separate Bond:          N/A

   1             2                    3                                       4                                                 5                    6               7

 Trans.    Check or                                                                                        Uniform           Receipts         Disbursements      Checking
  Date      Ref. #          Paid To / Received From               Description of Transaction              Tran. Code            $                   $         Account Balance

01/09/17   Asset #36 LIGHTHOUSE ABSTRACT, LTD.           RETURN OF DEPOSIT (1508 WABASH ST.,              1110-000                  -500.00                         14,176.00
            53022                                        COAL TOWNSHIP)

01/09/17   Asset #8   LIGHTHOUSE ABSTRACT, LTD.          RETURN OF DEPOSIT (1046 W. ARCH ST.,             1110-000                  -500.00                         13,676.00
            53023                                        COAL TOWNSHIP)

01/09/17 Asset #114 LIGHTHOUSE ABSTRACT, LTD.            RETURN OF DEPOSIT (904 N. SHAMOKIN               1110-000                  -500.00                         13,176.00
           53024                                         ST., SHAMOKIN)

01/09/17   Asset #65 LIGHTHOUSE ABSTRACT, LTD.           RETURN OF DEPOSIT (321 CHESTNUT ST.,             1110-000                  -500.00                         12,676.00
            53025                                        SUNBURY)

01/09/17 Asset #124 LIGHTHOUSE ABSTRACT, LTD.            RETURN OF DEPOSIT (1143 W. PINE ST.,             1210-000                  -500.00                         12,176.00
           53026                                         COAL TOWNSHIP)

01/09/17   Asset #2   LIGHTHOUSE ABSTRACT, LTD.          RETURN OF DEPOSIT (1020 E. SUNBURY               1110-000                  -500.00                         11,676.00
            53027                                        ST., SHAMOKIN)

01/09/17   Asset #51 LIGHTHOUSE ABSTRACT, LTD.           RETURN OF DEPOSIT (227 N. SHAMOKIN               1110-000                  -500.00                         11,176.00
            53028                                        ST., SHAMOKIN)

01/09/17   Asset #58 LIGHTHOUSE ABSTRACT, LTD.           RETURN OF DEPOSIT (27-29 E. SUNBURY              1110-000                  -500.00                         10,676.00
            53029                                        ST., SHAMOKIN)

01/09/17   Asset #26 LIGHTHOUSE ABSTRACT, LTD.           RETURN OF DEPOSIT (1234 CHEMUNG ST.,             1110-000                  -500.00                         10,176.00
            53030                                        COAL TOWNSHIP)

01/09/17   Asset #25 LIGHTHOUSE ABSTRACT, LTD.           RETURN OF DEPOSIT (1224 PULASKI AVE.,            1110-000                  -500.00                              9,676.00
            53031                                        COAL TOWNSHIP)

01/09/17   Asset #18 LIGHTHOUSE ABSTRACT, LTD.           RETURN OF DEPOSIT (117-119 S. MARKET             1110-000                  -500.00                              9,176.00
            53032                                        ST., SHAMOKIN)


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                                                       Cash Receipts and Disbursements Record                                                                               Page: 25

Case Number:           15-03964 MJC                                                               Trustee:                William G. Schwab
Case Name:             Apartments And Acquistions LP                                              Bank Name:              Texas Capital Bank
                                                                                                  Account:                ******1649 - Escrow Account
Taxpayer ID#:          **-***4454                                                                 Blanket Bond:           $6,889,586.00 (per case limit)
Period Ending:         12/08/21                                                                   Separate Bond:          N/A

   1             2                     3                                         4                                                 5                    6               7

 Trans.    Check or                                                                                           Uniform           Receipts         Disbursements      Checking
  Date      Ref. #           Paid To / Received From                 Description of Transaction              Tran. Code            $                   $         Account Balance

01/09/17 Asset #115 LIGHTHOUSE ABSTRACT, LTD.             RETURN OF DEPOSIT (914 N. SHAMOKIN                 1110-000                  -500.00                              8,676.00
           53033                                          ST., SHAMOKIN)

01/09/17   Asset #9    LIGHTHOUSE ABSTRACT, LTD.          RETURN OF DEPOSIT (1050 W. ARCH ST.,               1110-000                  -500.00                              8,176.00
            53034                                         COAL TOWNSHIP)

01/23/17               MOUNT CARMEL BOROUGH               SALE OF REAL PROPERTY (441 E. WATER                                          200.00                               8,376.00
                                                          STREET, BOROUGH OF MT. CARMEL, PA)

01/23/17   Asset #88                                                                               1,572.00 1110-000                                                        8,376.00
01/23/17                                                  Forgiveness of taxes                     -1,372.00 2500-000                                                       8,376.00

02/16/17               Law Offices of RIchard A. Fanucci, RETURN OF DEPOSIT FOR DOWN MONEY                   1280-000                  500.00                               8,876.00
                       P.C.                               (PARCEL IN BLAKELY, PA) Law Offices of
                                                          RIchard A. Fanucci, P.C.

02/16/17   Asset #12 SCHLESINGER & KERSTETTER, RETURN OF DEPOSIT (SALE OF 1121 &                             1110-000              -1,000.00                                7,876.00
            53035    LLP                       1123 WATER ST., COAL TOWNSHIP)

02/16/17     53036     Law Offices of RIchard A. Fanucci, RETURN OF DEPOSIT FOR DOWN MONEY                   1280-000                  -500.00                              7,376.00
                       P.C.                               (PARCEL IN BLAKELY, PA)

02/16/17 Asset #131 Law Offices of RIchard A. Fanucci, RETURN OF DEPOSIT FOR DOWN MONEY                      1210-000                  -500.00                              6,876.00
           53037    P.C.                               (PARCEL IN BLAKELY, PA)

02/24/17     53038     STEWART ABSTRACT OF                RETURN OF DEPOSIT (SALE OF 134 MAIN                1280-003                  -500.00                              6,376.00
                       BERKS COUNTY, INC.                 ST., GIRARDVILLE)

02/24/17     53039     STEWART ABSTRACT OF                RETURN OF DEPOSIT (SALE OF 520 W.                  1280-003                  -500.00                              5,876.00
                       BERKS COUNTY, INC.                 MARKET ST., MAHANOY CITY)




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                                                      Cash Receipts and Disbursements Record                                                                             Page: 26

Case Number:          15-03964 MJC                                                             Trustee:                William G. Schwab
Case Name:            Apartments And Acquistions LP                                            Bank Name:              Texas Capital Bank
                                                                                               Account:                ******1649 - Escrow Account
Taxpayer ID#:         **-***4454                                                               Blanket Bond:           $6,889,586.00 (per case limit)
Period Ending:        12/08/21                                                                 Separate Bond:          N/A

   1             2                    3                                       4                                                 5                    6               7

 Trans.    Check or                                                                                        Uniform           Receipts         Disbursements      Checking
  Date      Ref. #          Paid To / Received From               Description of Transaction              Tran. Code            $                   $         Account Balance

02/24/17     53040    STEWART ABSTRACT OF                RETURN OF DEPOSIT (SALE OF 1740-1742             1280-003                  -500.00                              5,376.00
                      BERKS COUNTY, INC.                 W. MOHAWK ST., COAL TOWNSHIP)

02/24/17     53041    STEWART ABSTRACT OF                RETURN OF DEPOSIT (SALE OF 601 N.                1280-003                  -500.00                              4,876.00
                      BERKS COUNTY, INC.                 FRANKLIN ST., SHAMOKIN)

02/24/17     53042    STEWART ABSTRACT OF                RETURN OF DEPOSIT (SALE OF 615 N. 2ND            1280-003                  -500.00                              4,376.00
                      BERKS COUNTY, INC.                 ST., SHAMOKIN)

02/24/17     53043    STEWART ABSTRACT OF                RETURN OF DEPOSIT (SALE OF 135 S.                1280-003                  -500.00                              3,876.00
                      BERKS COUNTY, INC.                 FRANKLIN ST., SHAMOKIN)

03/06/17   Asset #29 BRIDGETT O'CONNELL                  PARTIAL DOWN MONEY FOR 1252                      1110-000              10,000.00                           13,876.00
                                                         CHEMUNG STREET, COAL TOWNSHIP

03/08/17   Asset #29 RICHARD R. FEUDALE,                 DOWN MONEY FOR BRIDGET O'CONNELL                 1110-000               1,000.00                           14,876.00
                     ESQUIRE                             FOR 1252 CHEMUNG STREET, COAL
                                                         TOWNSHIP, PA

03/08/17 Asset #106 SCHLESINGER & KERSTETTER, RETURN OF DEPOSIT (SALE OF 712 W.                           1280-000              -1,000.00                           13,876.00
           53044    LLP                       PINE ST., SHAMOKIN)(PER COURT ORDER
                                              DATED 12/16/16)

03/09/17   Asset #1   SCHLESINGER & KERSTETTER, RETURN OF DEPOSIT (SALE OF 1018-1020                      1280-000              -1,000.00                           12,876.00
            53045     LLP                       W. INDEPENDENCE ST., COAL TWP.)(PER
                                                COURT ORDER DATED 11/17/16)

04/03/17   Asset #6   ROBERT L. DLUGE, JR.               RETURN OF DEPOSIT FOR SALE OF 1031               1110-000              -1,000.00                           11,876.00
            53046                                        WEST INDEPENDENCE ST., COAL
                                                         TOWNSHIP (PER COURT ORDER DATED




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                                                      Cash Receipts and Disbursements Record                                                                             Page: 27

Case Number:          15-03964 MJC                                                             Trustee:                William G. Schwab
Case Name:            Apartments And Acquistions LP                                            Bank Name:              Texas Capital Bank
                                                                                               Account:                ******1649 - Escrow Account
Taxpayer ID#:         **-***4454                                                               Blanket Bond:           $6,889,586.00 (per case limit)
Period Ending:        12/08/21                                                                 Separate Bond:          N/A

   1             2                    3                                       4                                                 5                    6               7

 Trans.    Check or                                                                                        Uniform           Receipts         Disbursements      Checking
  Date      Ref. #          Paid To / Received From               Description of Transaction              Tran. Code            $                   $         Account Balance

04/07/17     53038    STEWART ABSTRACT OF                RETURN OF DEPOSIT (SALE OF 134 MAIN              1280-003                  500.00                          12,376.00
                      BERKS COUNTY, INC.                 ST., GIRARDVILLE) STEWART ABSTRACT
                                                         OF BERKS COUNTY, INC.

04/07/17     53039    STEWART ABSTRACT OF                RETURN OF DEPOSIT (SALE OF 520 W.                1280-003                  500.00                          12,876.00
                      BERKS COUNTY, INC.                 MARKET ST., MAHANOY CITY) STEWART
                                                         ABSTRACT OF BERKS COUNTY, INC.

04/07/17     53040    STEWART ABSTRACT OF                RETURN OF DEPOSIT (SALE OF 1740-1742             1280-003                  500.00                          13,376.00
                      BERKS COUNTY, INC.                 W. MOHAWK ST., COAL TOWNSHIP)
                                                         STEWART ABSTRACT OF BERKS COUNTY,
                                                         INC.

04/07/17     53041    STEWART ABSTRACT OF                RETURN OF DEPOSIT (SALE OF 601 N.                1280-003                  500.00                          13,876.00
                      BERKS COUNTY, INC.                 FRANKLIN ST., SHAMOKIN) STEWART
                                                         ABSTRACT OF BERKS COUNTY, INC.

04/07/17     53042    STEWART ABSTRACT OF                RETURN OF DEPOSIT (SALE OF 615 N. 2ND            1280-003                  500.00                          14,376.00
                      BERKS COUNTY, INC.                 ST., SHAMOKIN) STEWART ABSTRACT OF
                                                         BERKS COUNTY, INC.

04/07/17     53043    STEWART ABSTRACT OF                RETURN OF DEPOSIT (SALE OF 135 S.                1280-003                  500.00                          14,876.00
                      BERKS COUNTY, INC.                 FRANKLIN ST., SHAMOKIN) STEWART
                                                         ABSTRACT OF BERKS COUNTY, INC.

04/07/17 Asset #125 WILLIAM G. SCHWAB, TRUSTEE RETAINED DEPOSITS AS A RESULT OF                           1210-000                  -500.00                         14,376.00
           53047                               $*5((0(172)6$/('()$8/76 135 S.
                                               FRANKLIN ST., SHAMOKIN)

04/07/17   Asset #40 WILLIAM G. SCHWAB, TRUSTEE RETAINED DEPOSITS AS A RESULT OF                          1110-000                  -500.00                         13,876.00
            53048                               $*5((0(172)6$/('()$8/76 1740-
                                                1742 W. MOHAWK ST., COAL TWP.)




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                                                       Cash Receipts and Disbursements Record                                                                               Page: 28

Case Number:           15-03964 MJC                                                               Trustee:                William G. Schwab
Case Name:             Apartments And Acquistions LP                                              Bank Name:              Texas Capital Bank
                                                                                                  Account:                ******1649 - Escrow Account
Taxpayer ID#:          **-***4454                                                                 Blanket Bond:           $6,889,586.00 (per case limit)
Period Ending:         12/08/21                                                                   Separate Bond:          N/A

   1             2                     3                                         4                                                 5                    6               7

 Trans.    Check or                                                                                           Uniform           Receipts         Disbursements      Checking
  Date      Ref. #           Paid To / Received From                 Description of Transaction              Tran. Code            $                   $         Account Balance

04/07/17 Asset #152 WILLIAM G. SCHWAB, TRUSTEE RETAINED DEPOSITS AS A RESULT OF                              1110-000                  -500.00                         13,376.00
           53049                               $*5((0(172)6$/('()$8/76 601 N.
                                               FRANKLIN ST., SHAMOKIN)

04/07/17   Asset #96 WILLIAM G. SCHWAB, TRUSTEE RETAINED DEPOSITS AS A RESULT OF                             1110-000                  -500.00                         12,876.00
            53050                               $*5((0(172)6$/('()$8/76 520 W.
                                                MARKET ST., MAHANOY CITY)

04/07/17 Asset #101 WILLIAM G. SCHWAB, TRUSTEE RETAINED DEPOSITS AS A RESULT OF                              1280-000                  -500.00                         12,376.00
           53051                               $*5((0(172)6$/('()$8/76 615 N.
                                               2ND ST., SHAMOKIN)

04/07/17 Asset #153 WILLIAM G. SCHWAB, TRUSTEE RETAINED DEPOSITS AS A RESULT OF                              1110-000                  -500.00                         11,876.00
           53052                               $*5((0(172)6$/('()$8/76 134
                                               MAIN ST., GIRARDVILLE)

08/18/17               GEORGE ATIYEH                      DOWN MONEY (27 N. Nice St., Frackville; 135                               5,000.00                           16,876.00
                                                          S. Franklin St., Shamokin; 917-923 Centre St.,
                                                          Ashland; 601 N. Franklin St., Shamokin; 34
                                                          Third St., 34 Hoffman Blvd., & 315 Walnut St.,
                                                          Ashland)

08/18/17                                                                                           4,000.00 1280-000                                                   16,876.00
08/18/17   Asset #57                                                                               1,000.00 1110-000                                                   16,876.00
08/18/17   Asset #40 JENNIFER & MATTHEW                   DOWN MONEY FOR 1740-1742 MOHAWK                    1110-000               1,100.00                           17,976.00
                     SWARTZ                               STREET, COAL TOWNSHIP, PA

08/18/17   Asset #37 MARK J. SARACHIK                     DOWN MONEY FOR 1513 WALNUT STREET,                 1110-000               1,000.00                           18,976.00
                                                          ASHLAND, PA




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                                                      Cash Receipts and Disbursements Record                                                                             Page: 29

Case Number:          15-03964 MJC                                                              Trustee:                William G. Schwab
Case Name:            Apartments And Acquistions LP                                             Bank Name:              Texas Capital Bank
                                                                                                Account:                ******1649 - Escrow Account
Taxpayer ID#:         **-***4454                                                                Blanket Bond:           $6,889,586.00 (per case limit)
Period Ending:        12/08/21                                                                  Separate Bond:          N/A

   1             2                    3                                        4                                                 5                    6              7

 Trans.    Check or                                                                                         Uniform           Receipts        Disbursements      Checking
  Date      Ref. #          Paid To / Received From                Description of Transaction              Tran. Code            $                  $         Account Balance

08/31/17   Asset #57 LAW OFFICE OF RICHARD R.            RETURN OF DEPOSIT (SALE OF 27 N. NICE             1280-000              -1,000.00                          17,976.00
            53053    FEUDALE                             ST., FRACKVILLE)(PER COURT ORDER
                                                         DATED 7/26/17)

08/31/17     53054    LAW OFFICE OF RICHARD R.           RETURN OF DEPOSIT (SALE OF 135 S.                 1280-000              -1,000.00                          16,976.00
                      FEUDALE                            FRANKLIN ST., SHAMOKIN)(PER COURT
                                                         ORDER DATED 7/26/17)

08/31/17 Asset #116 LAW OFFICE OF RICHARD R.             RETURN OF DEPOSIT (SALE OF 917-919 &              1280-000              -1,000.00                          15,976.00
           53055    FEUDALE                              921-923 CENTER ST., ASHLAND)(PER
                                                         COURT ORDER DATED 7/26/17)

09/27/17     53056    LAW OFFICE OF RICHARD R.           RETURN OF DEPOSIT (SALE OF 315                    1280-000              -1,000.00                          14,976.00
                      FEUDALE                            WALNUT ST., A/K/A 34 THIRD ST., and 34
                                                         HOFFMAN BLVD., ASHLAND)(PER COURT
                                                         ORDER DATED 7/26/17)

09/27/17     53057    LAW OFFICE OF RICHARD R.           RETURN OF DEPOSIT (SALE OF 601 N.                 1280-000              -1,000.00                          13,976.00
                      FEUDALE                            FRANKLIN ST., ASHLAND)(PER COURT
                                                         ORDER DATED 7/26/17)

10/06/17   Asset #37 RUBRIGHT, DOMALAKES, TROY RETURN OF DEPOSIT (SALE OF 1513                             1280-000              -1,000.00                          12,976.00
            53058    & MCDONALD                WALNUT ST., ASHLAND)

12/06/17   Asset #40 SCHLESINGER & KERSTETTER, RETURN OF DEPOSIT (SALE OF 1740-1742                        1280-000              -1,100.00                          11,876.00
            53059    LLP                       W. MOHAWK ST., COAL TOWNSHIP)

04/03/18 Asset #152 APARTMENTS & ACQUISITIONS, Default of Sale of 615 N. 2nd St., Shamokin,                1110-000                  700.00                         12,576.00
                    LP                         135 S. Franklin St., Shamokin, 601 N. Franklin
                                               St., Shamokin, 1740-1742 W. Mohawk St.,
                                               Coal Township, 520 W. Market St., Mahanoy
                                               City, & 134 Main St., Girardville)
                                               APARTMENTS & ACQUISITIONS, LP



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                                                      Cash Receipts and Disbursements Record                                                                           Page: 30

Case Number:          15-03964 MJC                                                           Trustee:                William G. Schwab
Case Name:            Apartments And Acquistions LP                                          Bank Name:              Texas Capital Bank
                                                                                             Account:                ******1649 - Escrow Account
Taxpayer ID#:         **-***4454                                                             Blanket Bond:           $6,889,586.00 (per case limit)
Period Ending:        12/08/21                                                               Separate Bond:          N/A

   1             2                    3                                     4                                                 5                    6               7

 Trans.    Check or                                                                                      Uniform           Receipts         Disbursements      Checking
  Date      Ref. #          Paid To / Received From             Description of Transaction              Tran. Code            $                   $         Account Balance

04/03/18   Asset #29 APARTMENTS & ACQUISITIONS, Default of Sale of 1252 Chemung St., Coal               1110-000              11,000.00                           23,576.00
                     LP                         Township) APARTMENTS & ACQUISITIONS,
                                                LP

04/03/18 Asset #116 APARTMENTS & ACQUISITIONS, Default of Sale (919-923 Centre St., Ashland)            1110-000                  176.00                          23,752.00
                    LP                         (New Beginning Church) APARTMENTS &
                                               ACQUISITIONS, LP

04/03/18 Asset #116 APARTMENTS & ACQUISITIONS, Default of Sale (919-923 Centre St., Ashland)            1110-000                  -176.00                         23,576.00
           53060    LP                         (New Beginning Church)

04/03/18   Asset #29 APARTMENTS & ACQUISITIONS, Default of Sale of 1252 Chemung St., Coal               1110-000             -11,000.00                           12,576.00
            53061    LP                         Township)

04/03/18   Asset #96 APARTMENTS & ACQUISITIONS, Default of Sale of 615 N. 2nd St., Shamokin,            1280-000                  -700.00                         11,876.00
            53062    LP                         135 S. Franklin St., Shamokin, 601 N. Franklin
                                                St., Shamokin, 1740-1742 W. Mohawk St.,
                                                Coal Township, 520 W. Market St., Mahanoy
                                                City, & 134 Main St., Girardville)

04/03/18 Asset #152 APARTMENTS & ACQUISITIONS, Default of Sale of 615 N. 2nd St., Shamokin,             1110-000                  -700.00                         11,176.00
                    LP                         135 S. Franklin St., Shamokin, 601 N. Franklin
                                               St., Shamokin, 1740-1742 W. Mohawk St.,
                                               Coal Township, 520 W. Market St., Mahanoy
                                               City, & 134 Main St., Girardville)

04/03/18   Asset #29 APARTMENTS & ACQUISITIONS, Default of Sale of 1252 Chemung St., Coal               1110-000             -11,000.00                                 176.00
                     LP                         Township)

04/03/18 Asset #116 APARTMENTS & ACQUISITIONS, Default of Sale (919-923 Centre St., Ashland)            1110-000                  -176.00                                 0.00
                    LP                         (New Beginning Church)




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                                                      Cash Receipts and Disbursements Record                                                                                  Page: 31

Case Number:          15-03964 MJC                                                             Trustee:                William G. Schwab
Case Name:            Apartments And Acquistions LP                                            Bank Name:              Texas Capital Bank
                                                                                               Account:                ******1649 - Escrow Account
Taxpayer ID#:         **-***4454                                                               Blanket Bond:           $6,889,586.00 (per case limit)
Period Ending:        12/08/21                                                                 Separate Bond:          N/A

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 Trans.    Check or                                                                                        Uniform           Receipts         Disbursements           Checking
  Date      Ref. #          Paid To / Received From               Description of Transaction              Tran. Code            $                   $              Account Balance

07/10/18 Asset #148 BRIDGETT O'CONNELL                   BACK RENT FOR 1252 CHEMUNG ST.,                  1230-000                  150.00                                     150.00
                                                         COAL TWSP, PA

07/10/18 Asset #148 BRIDGETT O'CONNELL                   BACK RENT FOR 1252 CHEMUNG ST.,                  1230-000               1,000.00                                     1,150.00
                                                         COAL TWSP, PA

08/01/18 Asset #148 BRIDGETT O'CONNELL                   POST-PETITION RENT FOR 1252 CHEMUNG              1230-000                  500.00                                    1,650.00
                                                         STREET, COAL TWSP

08/02/18              COMMONWEALTH OF PA                 REFUND FROM LAND LORD TENANT                     2990-000                                       -108.60              1,758.60
                                                         COMPLAINT

01/02/19 Asset #148 BRIDGETT O'CONNELL                   BACK RENT FOR 1252 CHEMUNG ST.,                  1230-000                  -150.00                                   1,608.60
                                                         COAL TWSP, PA BRIDGETT O'CONNELL

01/02/19 Asset #148 BRIDGETT O'CONNELL                   BACK RENT FOR 1252 CHEMUNG ST.,                  1230-000              -1,000.00                                      608.60
                                                         COAL TWSP, PA BRIDGETT O'CONNELL

01/02/19 Asset #148 BRIDGETT O'CONNELL                   POST-PETITION RENT FOR 1252 CHEMUNG              1230-000                  -500.00                                    108.60
                                                         STREET, COAL TWSP BRIDGETT
                                                         O'CONNELL

01/02/19              COMMONWEALTH OF PA                 REFUND FROM LAND LORD TENANT                     2990-000                                       108.60                   0.00
                                                         COMPLAINT COMMONWEALTH OF PA

02/04/19 Asset #148 VARIOUS TENANTS                      RENT FOR 1420 WALNUT ST., ASHLAND &              1230-000                  680.00                                     680.00
                                                         426 CENTER ST., REAR

02/06/19              SCHUYLKILL COUNTY HOUSING FEBRUARY RENT (94 COAL ST., PORT                          1222-000               2,020.00                                     2,700.00
                      AUTHORITY                 CARBON, 406 CENTRE ST., ASHLAND & 22
                                                WIGGAN ST., NEW PHILDELPHIA, PA




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                                                      Cash Receipts and Disbursements Record                                                                                  Page: 32

Case Number:          15-03964 MJC                                                               Trustee:                William G. Schwab
Case Name:            Apartments And Acquistions LP                                              Bank Name:              Texas Capital Bank
                                                                                                 Account:                ******1649 - Escrow Account
Taxpayer ID#:         **-***4454                                                                 Blanket Bond:           $6,889,586.00 (per case limit)
Period Ending:        12/08/21                                                                   Separate Bond:          N/A

   1             2                    3                                         4                                                 5                    6                  7

 Trans.    Check or                                                                                          Uniform           Receipts         Disbursements         Checking
  Date      Ref. #          Paid To / Received From                 Description of Transaction              Tran. Code            $                   $            Account Balance

02/06/19 Asset #148 VARIOUS TENANTS                      RENT FOR 1420 WALNUT ST., ASHLAND &                1230-000                  -680.00                                 2,020.00
                                                         426 CENTER ST., REAR VARIOUS TENANTS

02/06/19              SCHUYLKILL COUNTY HOUSING FEBRUARY RENT (94 COAL ST., PORT                            1222-000              -2,020.00                                       0.00
                      AUTHORITY                 CARBON, 406 CENTRE ST., ASHLAND & 22
                                                WIGGAN ST., NEW PHILDELPHIA, PA
                                                SCHUYLKILL COUNTY HOUSING
                                                AUTHORITY

02/19/19 Asset #148 SHERRY MARCHEFSKY                    RENT FO R612 W. MARKET ST., 2ND                    1230-000                  200.00                                   200.00
                                                         FLOOR, POTTSVILLE, PA

03/04/19 Asset #148 Cari Bixler-Collins                  March Rent for 140 Walnut Street, Ashland, PA      1230-000                  400.00                                   600.00

04/04/19 Asset #148 THE ADVOCACY ALLIANCE                Cari Bixler Rent for 1420 Walnut St AAshland       1230-000                  400.00                                  1,000.00

07/17/19 Asset #148 SHERRY MARCHEFSKY                    RENT FO R612 W. MARKET ST., 2ND                    1230-000                  -200.00                                  800.00
                                                         FLOOR, POTTSVILLE, PA SHERRY
                                                         MARCHEFSKY

07/17/19 Asset #148 Cari Bixler-Collins                  March Rent for 140 Walnut Street, Ashland, PA      1230-000                  -400.00                                  400.00
                                                         Cari Bixler-Collins

07/17/19 Asset #148 THE ADVOCACY ALLIANCE                Cari Bixler Rent for 1420 Walnut St AAshland       1230-000                  -400.00                                     0.00
                                                         THE ADVOCACY ALLIANCE


                                                                               ACCOUNT TOTALS                                          0.00                 0.00                 $0.00
                                                                                  Less: Bank Transfers                            10,000.00                 0.00

                                                                               Subtotal                                          -10,000.00                 0.00
                                                                                  Less: Payment to Debtors                                                  0.00

                                                                               NET Receipts / Disbursements                     $-10,000.00                $0.00


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                                                      Cash Receipts and Disbursements Record                                                                                   Page: 33

Case Number:          15-03964 MJC                                                                Trustee:                William G. Schwab
Case Name:            Apartments And Acquistions LP                                               Bank Name:              Texas Capital Bank
                                                                                                  Account:                ******1656 - Checking Account
Taxpayer ID#:         **-***4454                                                                  Blanket Bond:           $6,889,586.00 (per case limit)
Period Ending:        12/08/21                                                                    Separate Bond:          N/A

   1             2                    3                                          4                                                 5                  6                    7

 Trans.    Check or                                                                                           Uniform           Receipts        Disbursements          Checking
  Date      Ref. #          Paid To / Received From                  Description of Transaction              Tran. Code            $                  $             Account Balance

10/06/16 Asset #148 KEVIN LAWSON                         OCTOBER RENT FOR 315 WALNUT                         1230-000                   86.00                                     86.00
                                                         STREET, ASHLAND, PA

10/07/16 Asset #148 VARIOUS TENANTS                      RENT FOR NICK LOBESKI AT 1407                       1230-000               1,800.00                                   1,886.00
                                                         WALNUT STREET, ASHFILED, PA, JESUS
                                                         CARMONA AT 27 NORTH NICE STREET,
                                                         FRACKVILLE AND CECILA COYLE AT 921
                                                         WALNUT ST, ASHFILED, PA

10/07/16 Asset #148 KAYLYN J. KUMANGAI                   OCTOBER RENT                                        1230-000                  154.00                                  2,040.00

10/07/16 Asset #148 SCHUYLKILL COUNTY HOUSING HUD OCTOBER Rents                                              1230-000               2,465.00                                   4,505.00
                    AUTHORITY
10/07/16              Transfer from EagleBank            Transfer of funds                                   9999-000               6,210.82                              10,715.82

10/10/16 Asset #148 JALYNN KAUFFMAN                      RENT FOR 1027 BROCK STREET,                         1230-000                  500.00                             11,215.82
                                                         ASHLAND, PA

10/10/16 Asset #148 DEENA SCHAARSCHMIDT                  AUG., SEPT., AND OCT RENT FOR 401                   1230-000               1,575.00                              12,790.82
                                                         WALNUT STREET, ASHLAND, PA

10/10/16     54001    BARRY J. SPIELES                   PROPERTY MAINTENANCE                                2990-000                                      480.00         12,310.82

10/10/16     54002    Mostik Brothers Disposal           15 Yard Container Fee (1224 Pulaskie Ave.,          2990-000                                      275.00         12,035.82
                                                         Coal Township)

10/10/16     54003    PPL ELECTRIC UTILITIES             Acct. No. 11430-43119; 315 Walnut St.,              2990-000                                       50.00         11,985.82
                                                         Ashland

10/12/16     54004    BARRY J. SPIELES                   PROPERTY MAINTENANCE                                2990-000                                      420.00         11,565.82




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                                                      Cash Receipts and Disbursements Record                                                                                  Page: 34

Case Number:          15-03964 MJC                                                               Trustee:                William G. Schwab
Case Name:            Apartments And Acquistions LP                                              Bank Name:              Texas Capital Bank
                                                                                                 Account:                ******1656 - Checking Account
Taxpayer ID#:         **-***4454                                                                 Blanket Bond:           $6,889,586.00 (per case limit)
Period Ending:        12/08/21                                                                   Separate Bond:          N/A

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 Trans.    Check or                                                                                          Uniform           Receipts        Disbursements          Checking
  Date      Ref. #          Paid To / Received From                 Description of Transaction              Tran. Code            $                  $             Account Balance

10/13/16 Asset #148 JEFF & KRISTEN WILSON                Rent For 1143 West Pine Street, Coal Twp.          1230-000                  125.00                             11,690.82

10/17/16 Asset #148 KIM & JOHN KANAS                     RENT FOR 135 S. FRANKLIN STREET,                   1230-000                  500.00                             12,190.82
                                                         SHAMOKIN, PA

10/17/16              COMMONWEALTH OF PA                 REFUND OF FILING FEES FOR BURGESS,                 2990-000                                      -49.30         12,240.12
                                                         STONER AND LOWERY

10/17/16 Asset #148 BRIDGETT O'CONNELL                   RENT AND FILING FEES FOR 1252                      1230-000                  275.00                             12,515.12
                                                         CHEMUNG STREET, COAL TWPS

10/17/16 Asset #148 BRIDGETT O'CONNELL                   RENT FOR 1252 CHEMUNG STREET, COAL                 1230-000                  500.00                             13,015.12
                                                         TOWNSHIP

10/17/16     54005    PPL ELECTRIC UTILITIES             UTILITY BILL (ACCT. NO. 72290-34081)(1513          2990-000                                       95.96         12,919.16
                                                         WALNUT ST., ASHLAND)

10/17/16     54006    PPL ELECTRIC UTILITIES             UTILITY BILL (ACCT. NO. 39655-71076; 27 N.         2990-000                                      154.28         12,764.88
                                                         NICE ST., FRACKVILLE)

10/17/16     54007    PPL ELECTRIC UTILITIES             UTILITY BILL (ACCT. NO. 87490-32155; 27 N.         2990-000                                       80.83         12,684.05
                                                         NICE ST., APT. 1 FLOOR, FRACKVILLE)

10/18/16     54008    BARRY J. SPIELES                   PROPERTY MAINTENANCE                               2990-000                                      320.00         12,364.05

10/18/16     54009    CARD SERVICES                      FILING & SERVICE FEE (ORDER FOR                    2990-000                                       92.40         12,271.65
                                                         EXPEDITED HEARING)

10/19/16              Transfer to Escrow Account                                                            5600-000                                  6,500.00                5,771.65
10/21/16     54010    UNITED STATES LIABILITY            LIABILITY INSURANCE PREMIUM (ACCT.                 2990-000                                  1,018.80                4,752.85
                      INSURANCE COMPANY                  NO. CL1757395; POLICY NO. CL1757395)



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                                                      Cash Receipts and Disbursements Record                                                                                  Page: 35

Case Number:          15-03964 MJC                                                               Trustee:                William G. Schwab
Case Name:            Apartments And Acquistions LP                                              Bank Name:              Texas Capital Bank
                                                                                                 Account:                ******1656 - Checking Account
Taxpayer ID#:         **-***4454                                                                 Blanket Bond:           $6,889,586.00 (per case limit)
Period Ending:        12/08/21                                                                   Separate Bond:          N/A

   1             2                    3                                         4                                                 5                  6                    7

 Trans.    Check or                                                                                          Uniform           Receipts        Disbursements          Checking
  Date      Ref. #          Paid To / Received From                 Description of Transaction              Tran. Code            $                  $             Account Balance

10/21/16     54011    PPL ELECTRIC UTILITIES             UTILITY BILL (ACCT. NO. 11030-43135 - 34           2990-000                                      629.60              4,123.25
                                                         HOFFMAN BLVD., ASHLAND)

10/21/16     54012    PPL ELECTRIC UTILITIES             UTILITY BILL (ACCT. NO. 11630-43099 - 34           2990-000                                       75.73              4,047.52
                                                         HOFFMAN BLVD., HOUSE METER,
                                                         ASHLAND)

10/24/16     54013    TRUSTEE INSURANCE AGENCY INSURANCE PREMIUM (INVOICE NO. 7513)                         2990-000                                  1,744.88                2,302.64

10/26/16              VARIOUS TENANTS                    WARREN CAMPBELL AT 227 N. FRANKLIN,                                       1,000.00                                   3,302.64
                                                         SHAMOKIN AND CASIMER PERIRA AT 712
                                                         W. PINE ST., SHAMOKIN, PA

10/26/16 Asset #148                                                                                 500.00 1230-000                                                           3,302.64
10/26/16 Asset #148                                                                                 500.00 1230-000                                                           3,302.64
10/26/16 Asset #148 SHEILA CASE                          BACK RENT FOR 923 W. CENTER ST.,                   1230-000               2,578.00                                   5,880.64
                                                         ASHLAND, PA

10/26/16     54014    BUSINESS CARD SERVICES             FILING FEE (REIMBURSEMENT TO CREDIT                2990-000                                      176.00              5,704.64
                                                         CARD)

10/28/16              Transfer to Escrow Account         Transfer to Escrow Account                         5600-000                                 -6,500.00           12,204.64

10/28/16     54015    BOROUGH OF ASHLAND                 WATER, SEWER, TRASH (ACCT. NO.                     2990-000                                      135.62         12,069.02
                                                         000851; 1524 CENTER ST., ASHLAND)

11/02/16 Asset #148 KAYLYN J. KUMANGAI                   NOVEMBER RENT FOR 27 N. NICE STREET,               1230-000                  154.00                             12,223.02
                                                         FRACKVILLE, PA

11/07/16              SCHUYLKILL COUNTY HOUSING RENT FOR KUMANGAI, OSOWSKI, LAWSON                                                 2,465.00                              14,688.02
                      AUTHORITY                 AND MAURER


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                                                       Cash Receipts and Disbursements Record                                                                            Page: 36

Case Number:           15-03964 MJC                                                             Trustee:                William G. Schwab
Case Name:             Apartments And Acquistions LP                                            Bank Name:              Texas Capital Bank
                                                                                                Account:                ******1656 - Checking Account
Taxpayer ID#:          **-***4454                                                               Blanket Bond:           $6,889,586.00 (per case limit)
Period Ending:         12/08/21                                                                 Separate Bond:          N/A

   1             2                     3                                       4                                                 5                  6                7

 Trans.    Check or                                                                                         Uniform           Receipts        Disbursements      Checking
  Date      Ref. #           Paid To / Received From               Description of Transaction              Tran. Code            $                  $         Account Balance

11/07/16 Asset #148                                                                                748.00 1230-000                                                  14,688.02
11/07/16 Asset #148                                                                                295.00 1230-000                                                  14,688.02
11/07/16 Asset #148                                                                                706.00 1230-000                                                  14,688.02
11/07/16 Asset #148                                                                                716.00 1230-000                                                  14,688.02
11/07/16 Asset #148 NEW BEGINNING CHURCH                  RENT FOR SPT, OCT., NOV FOR 919                  1230-000               1,200.00                          15,888.02
                                                          CENTRE ST., ASHLAND, PA

11/08/16   Asset #90 RICHARD R. FEUDALE                   SETTLEMENT PROCEEDS FROM SALE OF                 1110-000                  540.47                         16,428.49
                                                          46 W. MAIN ST., GIRARDVILLE

11/08/16               PENN NATIONAL ABSTRACT             REAL ESTATE COMMISSION FROM SALE                                           156.00                         16,584.49
                       SERVICES, INC.                     OF 516 W. MARKET ST., MAHANOY CITY

11/08/16   Asset #96                                                                             5,200.00 1110-000                                                  16,584.49
11/08/16                                                  CLOSING COSTS                            -57.00 2500-000                                                  16,584.49

11/08/16                                                                                          -452.86 5800-000                                                  16,584.49
11/08/16                                                                                         -1,302.11 5800-000                                                 16,584.49
11/08/16                                                                                         -1,428.80 5800-000                                                 16,584.49
11/08/16                                                                                          -802.62 5800-000                                                  16,584.49
11/08/16                                                                                          -500.61 5800-000                                                  16,584.49
11/08/16                                                                                          -500.00 3610-000                                                  16,584.49




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                                                       Cash Receipts and Disbursements Record                                                                                  Page: 37

Case Number:           15-03964 MJC                                                                   Trustee:                William G. Schwab
Case Name:             Apartments And Acquistions LP                                                  Bank Name:              Texas Capital Bank
                                                                                                      Account:                ******1656 - Checking Account
Taxpayer ID#:          **-***4454                                                                     Blanket Bond:           $6,889,586.00 (per case limit)
Period Ending:         12/08/21                                                                       Separate Bond:          N/A

   1             2                     3                                             4                                                 5                  6                7

 Trans.    Check or                                                                                               Uniform           Receipts        Disbursements      Checking
  Date      Ref. #           Paid To / Received From                     Description of Transaction              Tran. Code            $                  $         Account Balance

11/08/16               RICHARD R. FEUDALE                 SALE OF PROPERTIES AT AUCTION (113                                               285.00                         16,869.49
                                                          NORTH 2ND ST., GIRARDVILLE; 115 NORTH
                                                          2ND ST., GIRARDVILLE; 46 W. MAIN ST.,
                                                          GIRARDVILLE; 9 SOUTH 19TH ST.,
                                                          ASHLAND; 401 WALNUT ST., ASHLAND; and
                                                          1407 WALNUT ST., ASHLAND)

11/08/16   Asset #90                                      46 W 5th St                                    981.16 1110-000                                                  16,869.49

11/08/16 Asset #113                                       9 S. 19th St                                 1,531.80 1110-000                                                  16,869.49

11/08/16   Asset #33                                      1407 Walnut St                               1,756.95 1110-000                                                  16,869.49

11/08/16   Asset #77                                      401 Walnut St                                3,079.61 1110-000                                                  16,869.49

11/08/16   Asset #17                                      115 N 2nd St                                   762.15 1110-000                                                  16,869.49

11/08/16 Asset #151                                                                                      812.91 1210-000                                                  16,869.49
11/08/16                                                  113 N 2nd St                                   -96.17 5800-000                                                  16,869.49

11/08/16                                                  113 N 2nd St                                  -151.63 5800-000                                                  16,869.49

11/08/16                                                  113 N 2nd St                                  -230.11 5800-000                                                  16,869.49

11/08/16                                                  CLOSING COSTS- 113 N                           -12.50 2500-000                                                  16,869.49
                                                          2nd St

11/08/16                                                  113 N 2nd St                                  -300.00 3610-000                                                  16,869.49

11/08/16                                                  115 N 2nd St                                  -397.86 5800-000                                                  16,869.49



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                                                      Cash Receipts and Disbursements Record                                                                                  Page: 38

Case Number:          15-03964 MJC                                                                   Trustee:                William G. Schwab
Case Name:            Apartments And Acquistions LP                                                  Bank Name:              Texas Capital Bank
                                                                                                     Account:                ******1656 - Checking Account
Taxpayer ID#:         **-***4454                                                                     Blanket Bond:           $6,889,586.00 (per case limit)
Period Ending:        12/08/21                                                                       Separate Bond:          N/A

   1             2                    3                                             4                                                 5                  6                7

 Trans.    Check or                                                                                              Uniform           Receipts        Disbursements      Checking
  Date      Ref. #          Paid To / Received From                     Description of Transaction              Tran. Code            $                  $         Account Balance

11/08/16                                                 115 N 2nd St                                   -29.29 5800-000                                                  16,869.49

11/08/16                                                 closing costs- 115 N 2nd St                    -12.50 2500-000                                                  16,869.49

11/08/16                                                 115 N 2nd St                                  -300.00 3610-000                                                  16,869.49

11/08/16                                                 401 Walnut St                                -1,122.32 5800-000                                                 16,869.49

11/08/16                                                 401 Walnut St                                 -195.74 5800-000                                                  16,869.49

11/08/16                                                 401 Walnut St                                 -734.05 5800-000                                                  16,869.49

11/08/16                                                 401 Walnut St                                  -35.00 2500-000                                                  16,869.49

11/08/16                                                 401 Walnut St                                 -500.00 3610-000                                                  16,869.49

11/08/16                                                 1407 Walnut St                                -849.19 5800-000                                                  16,869.49

11/08/16                                                 1407 Walnut St                                -156.42 5800-000                                                  16,869.49

11/08/16                                                 1407 Walnut St                                -166.34 5800-000                                                  16,869.49

11/08/16                                                 1407 Walnut St- closing costs                  -25.00 2500-000                                                  16,869.49

11/08/16                                                 1407 Walnut St                                -500.00 3610-000                                                  16,869.49

11/08/16                                                 9 S. 19th St                                   -78.21 5800-000                                                  16,869.49

11/08/16                                                 9 S. 19th St                                  -640.10 5800-000                                                  16,869.49




                           Case 4:15-bk-03964-MJC              Doc 672 Filed 12/28/21 Entered 12/28/21 11:56:02                                    Desc
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                                                       Cash Receipts and Disbursements Record                                                                                  Page: 39

Case Number:           15-03964 MJC                                                                   Trustee:                William G. Schwab
Case Name:             Apartments And Acquistions LP                                                  Bank Name:              Texas Capital Bank
                                                                                                      Account:                ******1656 - Checking Account
Taxpayer ID#:          **-***4454                                                                     Blanket Bond:           $6,889,586.00 (per case limit)
Period Ending:         12/08/21                                                                       Separate Bond:          N/A

   1             2                     3                                             4                                                 5                  6                7

 Trans.    Check or                                                                                               Uniform           Receipts        Disbursements      Checking
  Date      Ref. #           Paid To / Received From                     Description of Transaction              Tran. Code            $                  $         Account Balance

11/08/16                                                  9 S. 19th St                                  -248.49 5800-000                                                  16,869.49

11/08/16                                                  9 S. 19th St- closing costs                    -20.00 2500-000                                                  16,869.49

11/08/16                                                  9 S. 19th St                                  -500.00 3610-000                                                  16,869.49

11/08/16                                                  46 W 5th St                                    -52.16 5800-000                                                  16,869.49

11/08/16                                                  46 W 5th St                                   -364.00 5800-000                                                  16,869.49

11/08/16                                                  46 W 5th St-closing costs                      -20.00 2500-000                                                  16,869.49

11/08/16                                                  46 W 5th St                                   -500.00 3610-000                                                  16,869.49

11/08/16 Asset #148                                       401 Walniut Rent                              -402.50 1230-000                                                  16,869.49

11/08/16               PENN NATIONAL ABSTRACT             SALE PROCEEDS FROM SALE OF 50, 58-60                                             315.69                         17,185.18
                       SERVICES, INC.                     OAKLAND AVE., ASHLAND

11/08/16   Asset #98                                                                                   1,844.00 1110-000                                                  17,185.18
11/08/16   Asset #93                                                                                   1,048.05 1110-000                                                  17,185.18
11/08/16                                                                                                -130.78 5800-000                                                  17,185.18
11/08/16                                                                                               -1,880.58 4700-000                                                 17,185.18
11/08/16                                                  CLOSING COSTS                                  -65.00 2500-000                                                  17,185.18

11/08/16                                                                                                -500.00 3610-000                                                  17,185.18
11/08/16   Asset #93 PENN NATIONAL ABSTRACT               REAL ESTATE COMMISSION (SALE OF 50,                    1110-000                  156.00                         17,341.18
                     SERVICES, INC.                       58-60 OAKLAND AVE., ASHLAND)



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                                                       Cash Receipts and Disbursements Record                                                                                   Page: 40

Case Number:           15-03964 MJC                                                                Trustee:                William G. Schwab
Case Name:             Apartments And Acquistions LP                                               Bank Name:              Texas Capital Bank
                                                                                                   Account:                ******1656 - Checking Account
Taxpayer ID#:          **-***4454                                                                  Blanket Bond:           $6,889,586.00 (per case limit)
Period Ending:         12/08/21                                                                    Separate Bond:          N/A

   1             2                     3                                          4                                                 5                  6                    7

 Trans.    Check or                                                                                            Uniform           Receipts        Disbursements          Checking
  Date      Ref. #           Paid To / Received From                  Description of Transaction              Tran. Code            $                  $             Account Balance

11/10/16               MICHAEL S. GREEK                   SETTLEMENT PROCEEDS FROM SALE OF                                              297.13                             17,638.31
                                                          PROPERTY (248 & 249 EAST MOSER AVE.,
                                                          COALDALE)

11/10/16   Asset #54                                                                                2,540.39 1110-000                                                      17,638.31
11/10/16                                                                                             -180.00 5800-000                                                      17,638.31
11/10/16                                                                                             -161.74 4700-000                                                      17,638.31
11/10/16                                                                                            -1,282.56 5800-000                                                     17,638.31
11/10/16                                                                                              -84.96 5800-000                                                      17,638.31
11/10/16                                                  closing costs                               -34.00 2500-000                                                      17,638.31

11/10/16                                                                                             -500.00 3610-000                                                      17,638.31
11/11/16     54016     BARRY J. SPIELES                   PROPERTY MAINTENANCE                                2990-000                                      520.00         17,118.31

11/15/16 Asset #148 JAYLYN & SHAWN KAUFFMAN               RENT                                                1230-000                  500.00                             17,618.31

11/15/16 Asset #148 KEVIN LAWSON                          RENT                                                1230-000                   86.00                             17,704.31

11/15/16     54017     BOROUGH OF ASHLAND                 Tenant Clean Up (Hoffman Blvd. & Walnut St.)        2990-000                                       60.00         17,644.31

11/15/16     54018     PENNSYLVANIA AMERICAN              WATER BILL (ACCT. NO. 1024-                         2990-000                                      217.12         17,427.19
                       WATER                              220015919443)

11/15/16     54019     PPL ELECTRIC UTILITIES             UTILITY BILL (ACCT. NO. 47554-96054; 921            2990-000                                       15.11         17,412.08
                                                          CENTRE ST., 1ST FLOOR FRONT,
                                                          ASHLAND)

11/15/16     54020     PPL ELECTRIC UTILITIES             UTILITY BILL (ACCT. NO. 36230-44050; S.             2990-000                                      248.98         17,163.10
                                                          HOFFMAN BLVD., ASHLAND)


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                                                      Cash Receipts and Disbursements Record                                                                                  Page: 41

Case Number:          15-03964 MJC                                                               Trustee:                William G. Schwab
Case Name:            Apartments And Acquistions LP                                              Bank Name:              Texas Capital Bank
                                                                                                 Account:                ******1656 - Checking Account
Taxpayer ID#:         **-***4454                                                                 Blanket Bond:           $6,889,586.00 (per case limit)
Period Ending:        12/08/21                                                                   Separate Bond:          N/A

   1             2                    3                                         4                                                 5                  6                    7

 Trans.    Check or                                                                                          Uniform           Receipts        Disbursements          Checking
  Date      Ref. #          Paid To / Received From                 Description of Transaction              Tran. Code            $                  $             Account Balance

11/15/16     54021    PPL ELECTRIC UTILITIES             UTILITY BILL (ACCT. NO. 11430-43119; 315           2990-000                                       50.83         17,112.27
                                                         WALNUT ST., ASHLAND)

11/15/16     54022    PPL ELECTRIC UTILITIES             UTILITY BILL (ACCT. NO. 11030-43135; 34            2990-000                                      134.94         16,977.33
                                                         HOFFMAN BLVD., ASHLAND)

11/15/16     54023    PPL ELECTRIC UTILITIES             UTILITY BILL (ACCT. NO. 11630-43099; 34            2990-000                                      166.72         16,810.61
                                                         HOFFMAN BLVD., HOUSE METER,
                                                         ASHLAND)

11/17/16              VARIOUS TENANTS                    Rent for Phyliss Koons at 1020 East Sunbury                               1,800.00                              18,610.61
                                                         St., Jesus Carmona at 27 N. Nice Street,
                                                         Frackville, Cazimira Perira at 712 West Pine
                                                         Street, Shamokin and Warren Campbell at 227
                                                         N. Franklin Street, Shamokin

11/17/16 Asset #148                                                                                 400.00 1230-000                                                      18,610.61
11/17/16 Asset #148                                                                                 400.00 1230-000                                                      18,610.61
11/17/16 Asset #148                                                                                 500.00 1230-000                                                      18,610.61
11/17/16 Asset #148                                                                                 500.00 1230-000                                                      18,610.61
11/17/16     54024    HOUSER AUCTIONEERS                 AUCTIONEER ADVERTISING & SERVICE                   3620-000                                      679.51         17,931.10
                                                         FEES (PER COURT ORDER DATED 10-3-16)

11/17/16     54025    CBRE-608844                        INVOICE NO. ASV0536381P                            5500-004                                  4,521.82           13,409.28

11/17/16     54026    CBRE-608844                        INVOICE NO. ASV0539950P                            5500-004                                  4,521.80                8,887.48

11/17/16     54027    CBRE-608844                        INVOICE NO. ASV0546079P                            5500-004                                  4,521.80                4,365.68




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                                                      Cash Receipts and Disbursements Record                                                                                  Page: 42

Case Number:          15-03964 MJC                                                               Trustee:                William G. Schwab
Case Name:            Apartments And Acquistions LP                                              Bank Name:              Texas Capital Bank
                                                                                                 Account:                ******1656 - Checking Account
Taxpayer ID#:         **-***4454                                                                 Blanket Bond:           $6,889,586.00 (per case limit)
Period Ending:        12/08/21                                                                   Separate Bond:          N/A

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 Trans.    Check or                                                                                          Uniform           Receipts        Disbursements          Checking
  Date      Ref. #          Paid To / Received From                 Description of Transaction              Tran. Code            $                  $             Account Balance

11/17/16     54028    CARD SERVICES                      FILING & SERVICE FEE (NOTICE - MOTION              2990-000                                      193.83              4,171.85
                                                         TO SELL NORTHUMBERLAND COUNTY
                                                         PROPERTIES)

11/18/16     54025    CBRE-608844                        Stop Payment on Check 54025 CBRE-608844            5500-004                                 -4,521.82                8,693.67

11/18/16     54026    CBRE-608844                        Stop Payment on Check 54026 CBRE-608844            5500-004                                 -4,521.80           13,215.47

11/18/16     54027    CBRE-608844                        Stop Payment on Check 54027 CBRE-608844            5500-004                                 -4,521.80           17,737.27

11/22/16 Asset #148 JIM & KIM KANAS                      Rent for 135 S. Franklin St., Shamokin, PA         1230-000                  500.00                             18,237.27

11/22/16     54029    PENNSYLVANIA AMERICAN              WATER BILL (ACCT. NO. 1024-                        2990-000                                      135.19         18,102.08
                      WATER                              220015919443)

11/22/16     54030    BARRY J. SPIELES                   PROPERTY MAINTENANCE                               2990-000                                      620.00         17,482.08

11/23/16 Asset #148 BRIDGETT O'CONNELL                   RENT AND FILING FEES FOR 1252                      1230-000                  601.00                             18,083.08
                                                         CHEMUNG STREET, COAL TWSP

11/28/16 Asset #117 LIGHTHOUSE ABSTRACT, LTD             SALE OF REAL PROPERTY-921 WALNUT    1110-000                                 210.00                             18,293.08
                                                         STREET, ASHLAND, PA PER COURT ORDER
                                                         DATED 10-03-16

11/28/16              LIGHTHOUSE ABSTRACT, LDT.          SALE OF REAL PROPERTY -921 WALNUT                                         2,614.72                              20,907.80
                                                         STREET, ASHLAND, PA PER COURT ORDER
                                                         DATED 10-03-16

11/28/16 Asset #117                                                                               7,004.61 1110-000                                                      20,907.80
11/28/16                                                                                          -3,227.67 5800-000                                                     20,907.80
11/28/16                                                                                           -587.22 5800-000                                                      20,907.80


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                                                      Cash Receipts and Disbursements Record                                                                               Page: 43

Case Number:          15-03964 MJC                                                                Trustee:                William G. Schwab
Case Name:            Apartments And Acquistions LP                                               Bank Name:              Texas Capital Bank
                                                                                                  Account:                ******1656 - Checking Account
Taxpayer ID#:         **-***4454                                                                  Blanket Bond:           $6,889,586.00 (per case limit)
Period Ending:        12/08/21                                                                    Separate Bond:          N/A

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 Trans.    Check or                                                                                           Uniform           Receipts        Disbursements      Checking
  Date      Ref. #          Paid To / Received From                  Description of Transaction              Tran. Code            $                  $         Account Balance

11/28/16                                                 closing costs                               -75.00 2500-000                                                  20,907.80

11/28/16                                                                                            -500.00 3610-000                                                  20,907.80
11/28/16              LIGHTHOUSE ABSTRACT, LTD           SALE OF REAL PROPERTY- 32 ANN                                                 150.00                         21,057.80
                                                         STREET, ST. CLAIR, PA PER COURT
                                                         ORDER DATE 10-03-16

11/28/16 Asset #132                                                                                5,337.19 1110-000                                                  21,057.80
11/28/16                                                                                           -2,777.39 4700-000                                                 21,057.80
11/28/16                                                                                            -993.05 5800-000                                                  21,057.80
11/28/16                                                                                            -861.75 5800-000                                                  21,057.80
11/28/16                                                 closing costs                               -55.00 2500-000                                                  21,057.80

11/28/16                                                                                            -500.00 3610-000                                                  21,057.80
11/28/16              LIGHTHOUSE ABSTRACT, LTD           SALE OF REAL PROPERTY-1027 , 1029 AND                                          93.00                         21,150.80
                                                         1035 BROCK STREET, ASHLAND, PA PER
                                                         COURT ORDER DATE 10-03-16

11/28/16   Asset #7                                      5                                             1.00 1110-000                                                  21,150.80

11/28/16   Asset #5                                                                                    1.00 1110-000                                                  21,150.80
11/28/16   Asset #4                                                                                3,198.27 1110-000                                                  21,150.80
11/28/16                                                 CURRENT TAXES                              -274.38 5800-000                                                  21,150.80

11/28/16                                                 DEL TAXES                                 -2,276.16 4700-000                                                 21,150.80

11/28/16                                                 CLOSING COSTS                               -56.73 2500-000                                                  21,150.80




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                                                       Cash Receipts and Disbursements Record                                                                               Page: 44

Case Number:           15-03964 MJC                                                                Trustee:                William G. Schwab
Case Name:             Apartments And Acquistions LP                                               Bank Name:              Texas Capital Bank
                                                                                                   Account:                ******1656 - Checking Account
Taxpayer ID#:          **-***4454                                                                  Blanket Bond:           $6,889,586.00 (per case limit)
Period Ending:         12/08/21                                                                    Separate Bond:          N/A

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 Trans.    Check or                                                                                            Uniform           Receipts        Disbursements      Checking
  Date      Ref. #           Paid To / Received From                  Description of Transaction              Tran. Code            $                  $         Account Balance

11/28/16                                                                                             -500.00 3610-000                                                  21,150.80
11/28/16               LIGHTHOUSE ABSTRACT, LDT           SALE OF REAL PROPERTY-1524 W.                                                  90.00                         21,240.80
                                                          CENTRE ST., ASHALND, PA PER COURT
                                                          ORDER DATED 10-03-16

11/28/16   Asset #38                                                                                3,373.55 1110-000                                                  21,240.80
11/28/16                                                                                            -1,726.41 5800-000                                                 21,240.80
11/28/16                                                                                            -1,022.14 5800-000                                                 21,240.80
11/28/16                                                  closing costs                               -35.00 2500-000                                                  21,240.80

11/28/16                                                                                             -500.00 3610-000                                                  21,240.80
11/28/16               LIGHTHOUSE ABSTRACT, LTD           SALE OF REAL PROPERTY -1215 WALNUT                                         6,199.55                          27,440.35
                                                          STREET ASHLAND, PA PER COURT ORDER
                                                          DATED 10-03-16

11/28/16   Asset #24                                                                                9,997.70 1110-000                                                  27,440.35
11/28/16                                                                                            -1,240.09 4700-000                                                 27,440.35
11/28/16                                                                                            -1,588.90 5800-000                                                 27,440.35
11/28/16                                                                                             -352.16 5800-000                                                  27,440.35
11/28/16                                                  closing costs                              -107.00 2500-000                                                  27,440.35

11/28/16                                                                                             -510.00 3610-000                                                  27,440.35
11/29/16   Asset #24 LIGHTHOUSE ABSTRACT, LTD             SALE OF REAL PROPERTY-1215 WALNUT   1110-000                                  331.00                         27,771.35
                                                          STREET, ASHLAND, PA PER COURT ORDER
                                                          DATED 10-03-16




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Case Number:          15-03964 MJC                                                              Trustee:                William G. Schwab
Case Name:            Apartments And Acquistions LP                                             Bank Name:              Texas Capital Bank
                                                                                                Account:                ******1656 - Checking Account
Taxpayer ID#:         **-***4454                                                                Blanket Bond:           $6,889,586.00 (per case limit)
Period Ending:        12/08/21                                                                  Separate Bond:          N/A

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 Trans.    Check or                                                                                         Uniform           Receipts        Disbursements          Checking
  Date      Ref. #          Paid To / Received From                Description of Transaction              Tran. Code            $                  $             Account Balance

11/29/16 Asset #148 KAYLYN J. KUMANGAI                   DEC RENT FOR 27 N. NICE STREET,                   1230-000                  637.00                             28,408.35
                                                         FRACKVILLE, PA

11/29/16     54031    BUSINESS CARD SERVICES             FILING FEE FOR MTN. TO SELL 441 E.                2990-000                                      176.00         28,232.35
                                                         WATER ST., MT. CARMEL
                                                         (REIMBURSEMENT TO CREDIT CARD)

11/29/16     54032    BARRY J. SPIELES                   PROPERTY MAINTENANCE                              2990-000                                      520.00         27,712.35

12/02/16     54033    BOROUGH OF ASHLAND                 PROPERTY MAINTENANCE FEES                         2990-000                                       60.00         27,652.35
                                                         (PACKAGES OF TRASH BAGS FOR TENANT
                                                         CLEAN UP)

12/05/16              SCHUYLKILL COUNTY HOUSING RENT FOR LAWSON, MAURER AND                                                       1,749.00                              29,401.35
                      AUTHORITY                 OSOWSKI

12/05/16 Asset #148                                                                                706.00 1230-000                                                      29,401.35
12/05/16 Asset #148                                                                                748.00 1230-000                                                      29,401.35
12/05/16 Asset #148                                                                                295.00 1230-000                                                      29,401.35
12/07/16     54034    TRUSTEE INSURANCE AGENCY INSURANCE PREMIUM (INVOICE NO. 7624)                        2990-000                                  1,323.82           28,077.53

12/07/16     54035    PPL ELECTRIC UTILITIES             UTILITY BILL (ACCT. NO. 36230-44050; S.           2990-000                                       41.31         28,036.22
                                                         HOFFMAN BLVD., ASHLAND)

12/07/16     54036    PPL ELECTRIC UTILITIES             UTILITY BILL (ACCT. NO. 11430-43119; 315          2990-004                                  5,000.00           23,036.22
                                                         WALNUT ST., ASHLAND)

12/08/16 Asset #148 NEW BEGINNING CHURCH                 RENT FOR 919-921 CENTER ST., ASHLAND,             1230-000                  400.00                             23,436.22
                                                         PA




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                                                      Cash Receipts and Disbursements Record                                                                                 Page: 46

Case Number:          15-03964 MJC                                                              Trustee:                William G. Schwab
Case Name:            Apartments And Acquistions LP                                             Bank Name:              Texas Capital Bank
                                                                                                Account:                ******1656 - Checking Account
Taxpayer ID#:         **-***4454                                                                Blanket Bond:           $6,889,586.00 (per case limit)
Period Ending:        12/08/21                                                                  Separate Bond:          N/A

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 Trans.    Check or                                                                                         Uniform           Receipts        Disbursements          Checking
  Date      Ref. #          Paid To / Received From                Description of Transaction              Tran. Code            $                  $             Account Balance

12/13/16     54036    PPL ELECTRIC UTILITIES             Stop Payment on Check 54036 PPL                   2990-004                                 -5,000.00           28,436.22
                                                         ELECTRIC UTILITIES

12/13/16     54037    PPL ELECTRIC UTILITIES             UTILITY BILL (ACCT. NO. 47554-96054; 921          2990-000                                       16.15         28,420.07
                                                         CENTRE ST., 1ST FLOOR, ASHLAND)

12/13/16     54038    PPL ELECTRIC UTILITIES             UTILITY BILL (ACCT. NO. 411030-43135; 34          2990-000                                       15.37         28,404.70
                                                         HOFFMAN BLVD., ASHLAND)

12/13/16     54039    BARRY J. SPIELES                   PROPERTY MAINTENANCE                              2990-000                                      520.00         27,884.70

12/13/16     54040    PPL ELECTRIC UTILITIES             UTILITY BILL (ACCT. NO. 11430-43119; 315          2990-000                                       50.83         27,833.87
                                                         WALNUT ST., ASHLAND - KEVIN LAWSON)

12/14/16     54041    BOROUGH OF ASHLAND                 PROPERTY MAINTENANCE FEES (TENANT                 2990-000                                       60.00         27,773.87
                                                         CLEAN UP)

12/14/16     54042    HOUSER AUCTIONEERS                 AUCTIONEER ADVERTISING & SERVICE                  3620-000                                      775.74         26,998.13
                                                         FEES

12/14/16     54043    DENA M. KISTLER, NOTARY            NOTARIAL SERVICES (TRUSTEE DEED FOR               2990-000                                        5.00         26,993.13
                                                         SALE OF 248-249 E. MOSER AVE.,
                                                         COALDALE)

12/15/16              VARIOUS TENANTS                    RENT FOR 712 WEST PINE STREET & 227                                      1,000.00                              27,993.13
                                                         NORTH FRANKLIN ST., SHAMOKIN

12/15/16 Asset #148                                                                                500.00 1230-000                                                      27,993.13
12/15/16 Asset #148                                                                                500.00 1230-000                                                      27,993.13
12/15/16 Asset #148 ASHLAND MINISTERIAL ASSOC RENT FOR LEHIGH ANN MAUER AT 1513                            1230-000                  344.00                             28,337.13
                                              WALNUT ST., ASHLAND, PA


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                                                      Cash Receipts and Disbursements Record                                                                                   Page: 47

Case Number:          15-03964 MJC                                                                Trustee:                William G. Schwab
Case Name:            Apartments And Acquistions LP                                               Bank Name:              Texas Capital Bank
                                                                                                  Account:                ******1656 - Checking Account
Taxpayer ID#:         **-***4454                                                                  Blanket Bond:           $6,889,586.00 (per case limit)
Period Ending:        12/08/21                                                                    Separate Bond:          N/A

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 Trans.    Check or                                                                                           Uniform           Receipts        Disbursements          Checking
  Date      Ref. #          Paid To / Received From                  Description of Transaction              Tran. Code            $                  $             Account Balance

12/15/16     54044    CARD SERVICES                      FILING & SERVICE FEES (441 E. WATER                 2990-000                                      970.44         27,366.69
                                                         ST., MT. CARMEL, BLAKELY PARCEL, 61
                                                         WATER ST., NEW PHILADELPHIA)

12/16/16     54045    PPL ELECTRIC UTILITIES             UTILITY BILL (ACCT. NO. 72290-34081; 1513           2990-000                                      700.55         26,666.14
                                                         WALNUT ST., ASHLAND - LEIGHANN
                                                         MAURER)

12/16/16     54046    PPL ELECTRIC UTILITIES             UTILITY BILL (ACCT. NO. 87490-32155 - 27            2990-000                                      579.78         26,086.36
                                                         N. NICE ST., APRT. 1FL, FRACKVILLE)

12/16/16     54047    PPL ELECTRIC UTILITIES             UTILITY BILL (ACCT. NO. 39655-71076 - 27            2990-000                                      952.61         25,133.75
                                                         N. NICE ST., UNIT 2, APT. 2, FRACKVILLE)

12/19/16 Asset #148 JIM & KIM KANAS                      RENT FOR 135 FRANKLIN ST., SHAMOKIN,                1230-000                  500.00                             25,633.75
                                                         PA

12/20/16     54048    BARRY J. SPIELES                   PROPERTY MAINTENANCE                                2990-000                                      560.00         25,073.75

12/20/16     54049    THE NEW BEGINNING CHURCH REFUND (PAYMENT OF WATER/SEWER                                2990-000                                      393.15         24,680.60
                                               BILL)(ACCT. NO. 612; 919-921 CENTRE ST.,
                                               ASHLAND)

12/27/16              MATTIS & MATTIS                    SALE OF REAL PROPERTY- 694-996 BEAR                                            30.00                             24,710.60
                                                         VALLEY AVE., SHAMOKIN, PA - PER COURT
                                                         ORDER DATED 11-17-16

12/27/16 Asset #103                                                                                  508.00 1110-000                                                      24,710.60
12/27/16                                                                                            -317.44 4700-000                                                      24,710.60
12/27/16                                                                                             -50.56 5800-000                                                      24,710.60
12/27/16                                                 clsoing costs                               -10.00 2500-000                                                      24,710.60


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                                                       Cash Receipts and Disbursements Record                                                                            Page: 48

Case Number:           15-03964 MJC                                                             Trustee:                William G. Schwab
Case Name:             Apartments And Acquistions LP                                            Bank Name:              Texas Capital Bank
                                                                                                Account:                ******1656 - Checking Account
Taxpayer ID#:          **-***4454                                                               Blanket Bond:           $6,889,586.00 (per case limit)
Period Ending:         12/08/21                                                                 Separate Bond:          N/A

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 Trans.    Check or                                                                                         Uniform           Receipts        Disbursements      Checking
  Date      Ref. #           Paid To / Received From               Description of Transaction              Tran. Code            $                  $         Account Balance

12/27/16                                                                                          -100.00 3610-000                                                  24,710.60
12/27/16               MATTIS & MATTIS                    SALE OF REAL PROPERTY- 108 S. FIRST                                         15.00                         24,725.60
                                                          STRET, COAL TOWNSHIP, PA - PER COURT
                                                          ORDER DATED 11-17-16

12/27/16   Asset #10                                                                               507.00 1110-000                                                  24,725.60
12/27/16                                                                                           -33.60 5800-000                                                  24,725.60
12/27/16                                                                                          -348.40 5800-000                                                  24,725.60
12/27/16                                                                                           -10.00 2500-000                                                  24,725.60
12/27/16                                                                                          -100.00 3610-000                                                  24,725.60
12/27/16               MATTIS & MATTIS                    SALE OF REAL PROPERTY-440 S.                                               123.00                         24,848.60
                                                          SHAMOKIN STREET, SHAMOKIN, PA - PER
                                                          COURT ORDER DATED 11-17-16

12/27/16   Asset #87                                                                             4,221.00 1110-000                                                  24,848.60
12/27/16                                                                                          -705.66 5800-000                                                  24,848.60
12/27/16                                                                                         -2,114.98 5800-000                                                 24,848.60
12/27/16                                                  CLOSING COSTS                            -46.00 2500-000                                                  24,848.60

12/27/16                                                                                          -500.00 3610-000                                                  24,848.60
12/27/16                                                                                          -681.86 5800-000                                                  24,848.60
12/27/16                                                                                           -49.50 2690-000                                                  24,848.60
12/27/16               MATTIS & MATTIS                    SALE OF REAL PROPERTY -810-812 WEST                                         30.00                         24,878.60
                                                          MULBERRY STREET, COAL TOWNSHIP-
                                                          PER COURT ORDER DATED 11-17-16

12/27/16 Asset #109                                                                              1,017.00 1110-000                                                  24,878.60


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                                                      Cash Receipts and Disbursements Record                                                                               Page: 49

Case Number:          15-03964 MJC                                                                Trustee:                William G. Schwab
Case Name:            Apartments And Acquistions LP                                               Bank Name:              Texas Capital Bank
                                                                                                  Account:                ******1656 - Checking Account
Taxpayer ID#:         **-***4454                                                                  Blanket Bond:           $6,889,586.00 (per case limit)
Period Ending:        12/08/21                                                                    Separate Bond:          N/A

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 Trans.    Check or                                                                                           Uniform           Receipts        Disbursements      Checking
  Date      Ref. #          Paid To / Received From                  Description of Transaction              Tran. Code            $                  $         Account Balance

12/27/16                                                                                            -587.99 5800-000                                                  24,878.60
12/27/16                                                                                             -84.01 5800-000                                                  24,878.60
12/27/16                                                 closing costs                               -15.00 2500-000                                                  24,878.60

12/27/16                                                                                            -300.00 3610-000                                                  24,878.60
12/27/16              LAW OFFICES OF MARKS,              SALE OF REAL PROPERTY- 951 WEST                                            1,704.87                          26,583.47
                      MCLAUGHLIN & DENNEHY               ARCH STREET, COAL TOWNSHIP - PER
                                                         COURT ORDER DATED 11-17-16

12/27/16 Asset #133                                      Balance of Sale Deposit 40                6,847.57 1110-000                                                  26,583.47

12/27/16                                                                                           -1,444.43 4700-000                                                 26,583.47
12/27/16                                                                                           -2,074.40 5800-000                                                 26,583.47
12/27/16                                                                                            -500.00 3610-000                                                  26,583.47
12/27/16                                                 closing costs & escrow of                 -1,123.87 2500-000                                                 26,583.47
                                                         $1029.87 for PA Tax Lien

12/27/16 Asset #133 LAW OFFICES OF MARKS,                TRUSTEE COMMISSION FOR SALE OF                      1110-000                  222.00                         26,805.47
                    MCLAUGHLIN & DENNEHY                 REAL PROPERTY PER COURT ORDER
                                                         DATED 11/17/16 (951 W. ARCH ST., COAL
                                                         TOWNSHIP)

12/27/16 Asset #135 HOMETOWN ABSTRACT & REAL TRUSTEE COMMISSION FOR SALE OF                                  1110-000                  174.00                         26,979.47
                    ESTATE SERVICES, INC     REAL PROPERTY -1426 WEST WALNUT
                                             STREET, COAL TOWNSHIP- PER COURT
                                             ORDER DATED 11-17-16




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                                                       Cash Receipts and Disbursements Record                                                                                   Page: 50

Case Number:           15-03964 MJC                                                                Trustee:                William G. Schwab
Case Name:             Apartments And Acquistions LP                                               Bank Name:              Texas Capital Bank
                                                                                                   Account:                ******1656 - Checking Account
Taxpayer ID#:          **-***4454                                                                  Blanket Bond:           $6,889,586.00 (per case limit)
Period Ending:         12/08/21                                                                    Separate Bond:          N/A

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 Trans.    Check or                                                                                            Uniform           Receipts        Disbursements          Checking
  Date      Ref. #           Paid To / Received From                  Description of Transaction              Tran. Code            $                  $             Account Balance

12/27/16               HOMETOWN ABSTRACT & REAL SALE OF REAL PROPERTY PER COURT                                                      2,148.58                              29,128.05
                       ESTATE SERVICES, INC     ORDER DATED 11-17-16 (1426 W. WALNUT
                                                ST., COAL TOWNSHIP)

12/27/16 Asset #135                                                                                 5,724.07 1110-000                                                      29,128.05
12/27/16                                                                                             -866.25 5800-000                                                      29,128.05
12/27/16                                                                                            -1,683.29 5800-000                                                     29,128.05
12/27/16                                                                                             -447.95 5800-000                                                      29,128.05
12/27/16                                                  closing costs                               -78.00 2500-000                                                      29,128.05

12/27/16                                                                                             -500.00 3610-000                                                      29,128.05
12/27/16   Asset #21 MATTIS & MATTIS                      TRUSTEE COMMISSION FOR SALE OF                      1110-000                   33.00                             29,161.05
                                                          REAL PROPERTY- 1204 HEMLOCK ST.,
                                                          COAL TOWNSHIP PER COURT ORDER
                                                          DATED 11-17-16

12/27/16               MATTIS & MATTIS                    SALE OF REAL PROPERTY -1204 HEMLOCK                                           218.28                             29,379.33
                                                          STREET, COAL TOWNSHIP, PA - PER
                                                          COURT ORDER DATED 11-17-16

12/27/16   Asset #21                                                                                1,078.00 1110-000                                                      29,379.33
12/27/16                                                                                             -491.45 4700-000                                                      29,379.33
12/27/16                                                                                              -52.27 5800-000                                                      29,379.33
12/27/16                                                                                              -16.00 2500-000                                                      29,379.33
12/27/16                                                                                             -300.00 3610-000                                                      29,379.33
12/27/16     54050     Mostik Brothers Disposal           15 Yard Container Fee (Maple St., Shamokin)         2990-000                                      275.00         29,104.33




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                                                      Cash Receipts and Disbursements Record                                                                                 Page: 51

Case Number:          15-03964 MJC                                                              Trustee:                William G. Schwab
Case Name:            Apartments And Acquistions LP                                             Bank Name:              Texas Capital Bank
                                                                                                Account:                ******1656 - Checking Account
Taxpayer ID#:         **-***4454                                                                Blanket Bond:           $6,889,586.00 (per case limit)
Period Ending:        12/08/21                                                                  Separate Bond:          N/A

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 Trans.    Check or                                                                                         Uniform           Receipts        Disbursements          Checking
  Date      Ref. #          Paid To / Received From                Description of Transaction              Tran. Code            $                  $             Account Balance

12/29/16     54051    BUSINESS CARD SERVICES             COURT CALL FEE (COURTCALL ID NO.                  2990-000                                       44.00         29,060.33
                                                         7970393)

12/29/16     54052    UNITED STATES LIABILITY            LIABILITY INSURANCE PREMIUM (ACCT.                2990-000                                  1,018.80           28,041.53
                      INSURANCE COMPANY                  NO. CL1757395; POLICY NO. CL1757395)

01/03/17 Asset #148 KAYLYN J. KUMANGAI                   RENT FOR 27 N. NICE STREET,                       1230-000                  635.00                             28,676.53
                                                         FRACKVILLE, PA

01/03/17 Asset #148 SHEILA CASE                          RENT FOR 923 W. CENTER STREET,                    1230-000                  200.00                             28,876.53
                                                         ASHLAND, PA

01/03/17     54053    BARRY J. SPIELES                   PROPERTY MAINTENANCE                              2990-000                                      480.00         28,396.53

01/04/17     54054    TRUSTEE INSURANCE AGENCY INSURANCE PREMIUM (INVOICE NO. 7786)                        2990-000                                  1,227.97           27,168.56

01/05/17 Asset #148 BRIDGETT O'CONNELL                   RENT FOR 1252 CHEMUNG STREET, COAL                1230-000                  500.00                             27,668.56
                                                         TWSP

01/05/17              SCHUYLKILL COUNTY HOUSING JANUARY RENTS FOR 34 HOFFMAN BLVD.,                                               1,689.00                              29,357.56
                      AUTHORITY                 ASHLAND, PA, 27 N. NICE STREET, 2ND
                                                FLOOR, FRACKVILLE AND 1513 WALNUT
                                                STREET, ASHLAND, PA

01/05/17 Asset #148                                                                                235.00 1230-000                                                      29,357.56
01/05/17 Asset #148                                                                                706.00 1230-000                                                      29,357.56
01/05/17 Asset #148                                                                                748.00 1230-000                                                      29,357.56
01/05/17 Asset #148 SCHUYLKILL COUNTY HOUSING DECEMBER RENT FOR 27 N. NICE STREET                          1230-000                  235.00                             29,592.56
                    AUTHORITY                 2ND FLOOR, FRACKVILLE




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                                                       Cash Receipts and Disbursements Record                                                                              Page: 52

Case Number:           15-03964 MJC                                                            Trustee:                William G. Schwab
Case Name:             Apartments And Acquistions LP                                           Bank Name:              Texas Capital Bank
                                                                                               Account:                ******1656 - Checking Account
Taxpayer ID#:          **-***4454                                                              Blanket Bond:           $6,889,586.00 (per case limit)
Period Ending:         12/08/21                                                                Separate Bond:          N/A

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 Trans.    Check or                                                                                        Uniform           Receipts        Disbursements         Checking
  Date      Ref. #           Paid To / Received From              Description of Transaction              Tran. Code            $                  $            Account Balance

01/05/17     54055     BOROUGH OF ASHLAND                 PROPERTY MAINTENANCE FEES (TRASH                2990-000                                      60.00         29,532.56
                                                          BAGS FOR TENANT CLEAN UP)

01/10/17               LIGHTHOUSE ABSTRACT, LTD           SALE OF REAL PROPERTY ON N. SECOND                                         45.00                            29,577.56
                                                          ST ORDER DATED 11-17-16

01/10/17 Asset #134                                                                             1,551.25 1110-000                                                     29,577.56
01/10/17                                                                                         -772.08 4700-000                                                     29,577.56
01/10/17                                                                                         -214.17 4700-000                                                     29,577.56
01/10/17                                                  CLOSING COSTS                           -20.00 2500-000                                                     29,577.56

01/10/17                                                                                         -500.00 3610-000                                                     29,577.56
01/10/17               LIGHTHOUSE ABSTRACT, LTD           SALE OF REAL PROPERTY ON 426 WEST                                         114.00                            29,691.56
                                                          SPRUCE STREET, SHAMOKIN PER ORDER
                                                          DATED 11-17-16

01/10/17   Asset #83                                                                            3,939.20 1110-000                                                     29,691.56
01/10/17                                                                                        -2,558.78 4700-000                                                    29,691.56
01/10/17                                                                                         -723.42 5800-000                                                     29,691.56
01/10/17                                                  CLOSING COSTS                           -43.00 2500-000                                                     29,691.56

01/10/17                                                                                         -500.00 3610-000                                                     29,691.56
01/10/17   Asset #36 LIGHTHOUSE ABSTRACT, LTD             SALE OF REAL PROPERTY ON 1508      1110-000                               135.00                            29,826.56
                                                          WABASH STREET, COAL TWSP PER COURT
                                                          ORDER DATED 11-17-16




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                                                       Cash Receipts and Disbursements Record                                                                               Page: 53

Case Number:           15-03964 MJC                                                                Trustee:                William G. Schwab
Case Name:             Apartments And Acquistions LP                                               Bank Name:              Texas Capital Bank
                                                                                                   Account:                ******1656 - Checking Account
Taxpayer ID#:          **-***4454                                                                  Blanket Bond:           $6,889,586.00 (per case limit)
Period Ending:         12/08/21                                                                    Separate Bond:          N/A

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 Trans.    Check or                                                                                            Uniform           Receipts        Disbursements      Checking
  Date      Ref. #           Paid To / Received From                  Description of Transaction              Tran. Code            $                  $         Account Balance

01/10/17               LIGHTHOUSE ABSTRACT, LTD           SALE OF REAL PROPERTY ON 1508                                                 305.41                         30,131.97
                                                          WABASH STREET, COAL TWSP PER COURT
                                                          ORDER DATED 11-17-16

01/10/17   Asset #36                                                                                4,506.57 1110-000                                                  30,131.97
01/10/17                                                                                            -2,809.57 4700-000                                                 30,131.97
01/10/17                                                                                             -841.59 5800-000                                                  30,131.97
01/10/17                                                  closing costs                               -50.00 2500-000                                                  30,131.97

01/10/17                                                                                             -500.00 3610-000                                                  30,131.97
01/10/17               LIGHTHOUSE ABSTRACT, LTD           SALE OF REAL PROPERTY ON 1046-1048                                             97.50                         30,229.47
                                                          WEST ARCH STREET, COAL TWSP, PER
                                                          COURT ORDER DATED 11-17-16

01/10/17   Asset #8                                                                                 3,429.59 1110-000                                                  30,229.47
01/10/17                                                                                            -2,168.88 4700-000                                                 30,229.47
01/10/17                                                                                             -625.71 5800-000                                                  30,229.47
01/10/17                                                  CLOSING COSTS                               -37.50 2500-000                                                  30,229.47

01/10/17                                                                                             -500.00 3610-000                                                  30,229.47
01/10/17 Asset #114 LIGHTHOUSE ABSTRACT, LTD              SALE OF REAL PROPERTY ON 904 NORTH                  1110-000                  225.00                         30,454.47
                                                          SHAMOKIN STREET, SHAMOKIN PER
                                                          COURT ORDER DATED 11-17-16

01/10/17               LIGHTHOUSE ABSTRACT, LTD           SALE OF REAL PROPERTY ON 904 NORTH                                         3,514.08                          33,968.55
                                                          SHAMOKIN STREET, SHAMOKIN PER
                                                          COURT ORDER DATED 11-17-16

01/10/17 Asset #114                                                                                 7,368.35 1110-000                                                  33,968.55


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                                                       Cash Receipts and Disbursements Record                                                                           Page: 54

Case Number:           15-03964 MJC                                                            Trustee:                William G. Schwab
Case Name:             Apartments And Acquistions LP                                           Bank Name:              Texas Capital Bank
                                                                                               Account:                ******1656 - Checking Account
Taxpayer ID#:          **-***4454                                                              Blanket Bond:           $6,889,586.00 (per case limit)
Period Ending:         12/08/21                                                                Separate Bond:          N/A

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 Trans.    Check or                                                                                        Uniform           Receipts        Disbursements      Checking
  Date      Ref. #           Paid To / Received From              Description of Transaction              Tran. Code            $                  $         Account Balance

01/10/17                                                                                        -2,542.17 4700-000                                                 33,968.55
01/10/17                                                                                         -732.10 5800-000                                                  33,968.55
01/10/17                                                                                          -80.00 2500-000                                                  33,968.55
01/10/17                                                                                         -500.00 3610-000                                                  33,968.55
01/10/17               LIGHTHOUSE ABSTRACT, LTD           SALE OF REAL PROPERTY ON 321                                               30.00                         33,998.55
                                                          CHESTNUT STREET, SUNBURY PER
                                                          COURT ORDER DATED 11-17-16

01/10/17   Asset #65                                                                            1,320.73 1110-000                                                  33,998.55
01/10/17                                                                                         -785.30 4700-000                                                  33,998.55
01/10/17                                                                                         -190.43 5800-000                                                  33,998.55
01/10/17                                                  CLSOING COSTS                           -15.00 2500-000                                                  33,998.55

01/10/17                                                                                         -300.00 3610-000                                                  33,998.55
01/10/17 Asset #124 LIGHTHOUSE ABSTRACT, LTD              SALE OF REAL PROPERTY ON 1143 WEST              1210-000                  147.00                         34,145.55
                                                          PINE STREET, COAL TWSP PER COURT
                                                          ORDER DATED 11-17-16

01/10/17               LIGHTHOUSE ABSTRACT, LTD           SALE OF REAL PROPERTY ON 1143 WEST                                     2,525.75                          36,671.30
                                                          PINE STREET, COAL TWSP PER COURT
                                                          ORDER DATED 11-17-16

01/10/17 Asset #124                                                                             4,812.05 1210-000                                                  36,671.30
01/10/17                                                                                        -1,366.67 4700-000                                                 36,671.30
01/10/17                                                                                         -365.63 5800-000                                                  36,671.30
01/10/17                                                  CLOSING COSTS                           -54.00 2500-000                                                  36,671.30




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                                                       Cash Receipts and Disbursements Record                                                                               Page: 55

Case Number:           15-03964 MJC                                                                Trustee:                William G. Schwab
Case Name:             Apartments And Acquistions LP                                               Bank Name:              Texas Capital Bank
                                                                                                   Account:                ******1656 - Checking Account
Taxpayer ID#:          **-***4454                                                                  Blanket Bond:           $6,889,586.00 (per case limit)
Period Ending:         12/08/21                                                                    Separate Bond:          N/A

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 Trans.    Check or                                                                                            Uniform           Receipts        Disbursements      Checking
  Date      Ref. #           Paid To / Received From                  Description of Transaction              Tran. Code            $                  $         Account Balance

01/10/17                                                                                             -500.00 3610-000                                                  36,671.30
01/10/17               LIGHTHOUSE ABSTRACT, LTD           SALE OF REAL PROPERTY ON 1020 EAST                                             96.00                         36,767.30
                                                          SUNBURY STREET, SHAMOKIN PER COURT
                                                          ORDER DATED 11-17-16

01/10/17   Asset #2                                                                                 3,303.36 1110-000                                                  36,767.30
01/10/17                                                                                             -500.00 3610-000                                                  36,767.30
01/10/17                                                  Closing Costs                               -37.00 2500-000                                                  36,767.30

01/10/17                                                                                            -2,670.36 4700-000                                                 36,767.30
01/10/17               LIGHTHOUSE ABSTRACT, LTD           SALE OF REAL PROPERTY ON 227 NORTH                                         3,842.90                          40,610.20
                                                          FRANKIN STREET, SHAMOKIN PER COURT
                                                          ORDER DATED 11-17-16

01/10/17   Asset #51                                                                                7,858.36 1110-000                                                  40,610.20
01/10/17                                                                                            -2,660.47 4700-000                                                 40,610.20
01/10/17                                                                                             -769.99 5800-000                                                  40,610.20
01/10/17                                                  closing costs                               -85.00 2500-000                                                  40,610.20

01/10/17                                                                                             -500.00 3610-000                                                  40,610.20
01/10/17   Asset #51 LIGHTHOUSE ABSTRACT, LTD             SALE OF REAL PROPERTY ON 227 NORTH                  1110-000                  240.00                         40,850.20
                                                          FRANKLIN STREET PER COURT ORDER
                                                          DATED 11-17-16

01/10/17               LIGHTHOUSE ABSTRACT, LTD           SALE OF REAL PROPERTY ON 27-29 EAST                                           201.00                         41,051.20
                                                          SUNBURY STREET, SHAMOKIN PER COURT
                                                          ORDER DATED 11-17-16

01/10/17   Asset #58                                                                                6,914.22 1110-000                                                  41,051.20


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                                                       Cash Receipts and Disbursements Record                                                                               Page: 56

Case Number:           15-03964 MJC                                                                Trustee:                William G. Schwab
Case Name:             Apartments And Acquistions LP                                               Bank Name:              Texas Capital Bank
                                                                                                   Account:                ******1656 - Checking Account
Taxpayer ID#:          **-***4454                                                                  Blanket Bond:           $6,889,586.00 (per case limit)
Period Ending:         12/08/21                                                                    Separate Bond:          N/A

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 Trans.    Check or                                                                                            Uniform           Receipts        Disbursements      Checking
  Date      Ref. #           Paid To / Received From                  Description of Transaction              Tran. Code            $                  $         Account Balance

01/10/17                                                                                            -1,557.64 5800-000                                                 41,051.20
01/10/17                                                                                            -4,583.58 4700-000                                                 41,051.20
01/10/17                                                  CLOSING COSTS                               -72.00 2500-000                                                  41,051.20

01/10/17                                                                                             -500.00 3610-000                                                  41,051.20
01/10/17               LIGHTHOUSE ABSTRACT, LTD           SALE OF REAL PROPERTY ON 1234                                                  60.00                         41,111.20
                                                          CHEMUNG STREET, COAL TWSP PER
                                                          COURT ORDER DATED 11-17-16

01/10/17   Asset #26                                                                                2,067.95 1110-000                                                  41,111.20
01/10/17                                                                                             -274.77 5800-000                                                  41,111.20
01/10/17                                                                                            -1,208.18 4700-000                                                 41,111.20
01/10/17                                                                                              -25.00 2500-000                                                  41,111.20
01/10/17                                                                                             -500.00 3610-000                                                  41,111.20
01/10/17   Asset #25 LIGHTHOUSE ABSTRACT, LTD             SALE OF REAL PROPERTY ON 1224                       1110-000                  144.00                         41,255.20
                                                          PULASKI AVE, COAL TWSP PER COURT
                                                          ORDER DATED 11-17-16

01/10/17               LIGHTHOUSE ABSTRACT, LTD           SALE OF REAL PROPERTY ON 1224                                              1,637.65                          42,892.85
                                                          PULASKI AVE, COAL TWSP PER COURT
                                                          ORDER DATED 11-17-16

01/10/17   Asset #25                                                                                4,750.66 1110-000                                                  42,892.85
01/10/17                                                                                             -570.93 5800-000                                                  42,892.85
01/10/17                                                                                            -1,989.08 4700-000                                                 42,892.85
01/10/17                                                  closing costs                               -53.00 2500-000                                                  42,892.85




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                                                       Cash Receipts and Disbursements Record                                                                               Page: 57

Case Number:           15-03964 MJC                                                                Trustee:                William G. Schwab
Case Name:             Apartments And Acquistions LP                                               Bank Name:              Texas Capital Bank
                                                                                                   Account:                ******1656 - Checking Account
Taxpayer ID#:          **-***4454                                                                  Blanket Bond:           $6,889,586.00 (per case limit)
Period Ending:         12/08/21                                                                    Separate Bond:          N/A

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 Trans.    Check or                                                                                            Uniform           Receipts        Disbursements      Checking
  Date      Ref. #           Paid To / Received From                  Description of Transaction              Tran. Code            $                  $         Account Balance

01/10/17                                                                                             -500.00 3610-000                                                  42,892.85
01/10/17               LIGHTHOUSE ABSTRACT, LTD           SALE OF REAL PROPERTY ON 117-119 S.                                            90.00                         42,982.85
                                                          MARKET STREET, SHAMOKIN PER COURT
                                                          ORDER DATED 11-17-16

01/10/17   Asset #18                                                                                3,238.39 1110-000                                                  42,982.85
01/10/17                                                                                            -1,982.76 4700-000                                                 42,982.85
01/10/17                                                                                             -630.63 5800-000                                                  42,982.85
01/10/17                                                  closing costs                               -35.00 2500-000                                                  42,982.85

01/10/17                                                                                             -500.00 3610-000                                                  42,982.85
01/10/17 Asset #115 LIGHTHOUSE ABSTRACT, LTD              SALE OF REAL PROPERTY ON 914 NORTH                  1110-000                  126.00                         43,108.85
                                                          SHAMOKIN ST., SHAMOKIN PER COURT
                                                          ORDER DATED 11-17-16

01/10/17               LIGHTHOUSE ABSTRACT, LTD           SALE OF REAL PROPERTY ON 914 NORTH                                             94.12                         43,202.97
                                                          SHAMOKIN ST, SHAMOKIN, PER COURT
                                                          ORDER DATED 11-17-16

01/10/17 Asset #115                                                                                 4,175.69 1110-000                                                  43,202.97
01/10/17                                                                                            -2,739.33 5800-000                                                 43,202.97
01/10/17                                                                                             -795.24 4700-000                                                  43,202.97
01/10/17                                                  closing costs                               -47.00 2500-000                                                  43,202.97

01/10/17                                                                                             -500.00 3610-000                                                  43,202.97
01/10/17   Asset #9    LIGHTHOUSE ABSTRACT, LTD           SALE OF REAL PROPERTY ON 1050 WEST                  1110-000                  108.00                         43,310.97
                                                          ARCH STREET, COAL TWSP PER COURT
                                                          ORDER DATED 11-17-16



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                                                      Cash Receipts and Disbursements Record                                                                                  Page: 58

Case Number:          15-03964 MJC                                                               Trustee:                William G. Schwab
Case Name:            Apartments And Acquistions LP                                              Bank Name:              Texas Capital Bank
                                                                                                 Account:                ******1656 - Checking Account
Taxpayer ID#:         **-***4454                                                                 Blanket Bond:           $6,889,586.00 (per case limit)
Period Ending:        12/08/21                                                                   Separate Bond:          N/A

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 Trans.    Check or                                                                                          Uniform           Receipts        Disbursements          Checking
  Date      Ref. #          Paid To / Received From                 Description of Transaction              Tran. Code            $                  $             Account Balance

01/10/17              LIGHTHOUSE ABSTRACT, LDT           SALE OF REAL PROPERTY ON 1050 WEST                                           431.69                             43,742.66
                                                         ARCH STREET, COAL TOWNSHIP PER
                                                         COURT ORDER DATED 11-17-16

01/10/17   Asset #9                                                                               3,589.08 1110-000                                                      43,742.66
01/10/17                                                                                          -2,616.39 4700-000                                                     43,742.66
01/10/17                                                 CLOSING COSTS                              -41.00 2500-000                                                      43,742.66

01/10/17                                                                                           -500.00 3610-000                                                      43,742.66
01/11/17 Asset #148 SHEILA CASE                          RENT FOR 923 W. CENTER ST., 2ND                    1230-000                  200.00                             43,942.66
                                                         FLOOR, ASHLAND

01/11/17 Asset #148 KIM & JOHN KANAS                     RENT FOR 135 S. FRANKLIN ST.,                      1230-000                  500.00                             44,442.66
                                                         SHAMOKIN, PA

01/12/17              VARIOUS TENANTS                    RENT FOR JESUS CARMONA AT 27 NICE                                         1,400.00                              45,842.66
                                                         STREET, FRACKVILLE, CAZIMIRA PEIRA AT
                                                         712 WEST PINE STREET, SHAMOKIN AND
                                                         WARREN CAMPBELL AT 227 NORTH
                                                         FRANKLIN STREET, SHAMOKIN

01/12/17 Asset #148                                                                                 500.00 1230-000                                                      45,842.66
01/12/17 Asset #148                                                                                 500.00 1230-000                                                      45,842.66
01/12/17 Asset #148                                                                                 400.00 1230-000                                                      45,842.66
01/13/17     54056    US POSTMASTER                      REIMBURSEMENT OF POSTAGE                           2990-000                                      194.66         45,648.00
                                                         (MISCELLANEOUS FILINGS AND SERVICES)

01/13/17     54057    Mostik Brothers Disposal           15 Yard Container Fee (Maple St., Shamokin)        2990-000                                      275.00         45,373.00




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                                                      Cash Receipts and Disbursements Record                                                                                  Page: 59

Case Number:          15-03964 MJC                                                              Trustee:                William G. Schwab
Case Name:            Apartments And Acquistions LP                                             Bank Name:              Texas Capital Bank
                                                                                                Account:                ******1656 - Checking Account
Taxpayer ID#:         **-***4454                                                                Blanket Bond:           $6,889,586.00 (per case limit)
Period Ending:        12/08/21                                                                  Separate Bond:          N/A

   1             2                    3                                        4                                                 5                  6                     7

 Trans.    Check or                                                                                         Uniform           Receipts        Disbursements           Checking
  Date      Ref. #          Paid To / Received From                Description of Transaction              Tran. Code            $                  $              Account Balance

01/16/17     54058    PPL ELECTRIC UTILITIES             UTILITY BILL (ACCT. NO. 47554-96054; 921          2990-000                                       15.59          45,357.41
                                                         CENTRE ST., 1 FL. FRONT, ASHLAND)

01/16/17     54059    PPL ELECTRIC UTILITIES             UTILITY BILL (ACCT. NO. 11430-43128; 315          2990-000                                       57.57          45,299.84
                                                         WALNUT ST., ASHLAND)

01/16/17     54060    PPL ELECTRIC UTILITIES             UTILITY BILL (ACCT. NO. 11030-43135; 34           2990-000                                       15.46          45,284.38
                                                         HOFFMAN BLVD., ASHLAND)

01/16/17     54061    PPL ELECTRIC UTILITIES             UTILITY BILL (ACCT. NO. 36230-44050; S.           2990-000                                       85.30          45,199.08
                                                         HOFFMAN BLVD., ASHLAND)

01/16/17     54062    PENNSYLVANIA AMERICAN              WATER BILL (ACCT. NO. 1024-                       2990-000                                       39.43          45,159.65
                      WATER                              220015919443; 27 N. NICE ST.)

01/17/17     54063    BARRY J. SPIELES                   PROPERTY MAINTENANCE                              2990-000                                      320.00          44,839.65

01/18/17     54064    CARD SERVICES                      FILING & SERVICE FEES                             2990-000                                       57.60          44,782.05

01/26/17 Asset #136 WELLS FARGO BANK                     CLOSE OUT BANK ACCOUNT                            1229-000                  411.80                              45,193.85

01/26/17     54065    DENA M. KISTLER, NOTARY            NOTARIAL SERVICES (TRUSTEE DEED FOR               2990-000                                        5.00          45,188.85
                                                         SALE OF 441 E. WATER ST., MT. CARMEL)

01/31/17     54066    BARRY J. SPIELES                   PROPERTY MAINTENANCE                              2990-003                                      320.00          44,868.85

01/31/17     54066    BARRY J. SPIELES                   PROPERTY MAINTENANCE BARRY J.                     2990-003                                      -320.00         45,188.85
                                                         SPIELES

01/31/17     54067    BARRY J. SPIELES                   PROPERTY MAINTENANCE                              2990-000                                      320.00          44,868.85




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                                                      Cash Receipts and Disbursements Record                                                                                 Page: 60

Case Number:          15-03964 MJC                                                              Trustee:                William G. Schwab
Case Name:            Apartments And Acquistions LP                                             Bank Name:              Texas Capital Bank
                                                                                                Account:                ******1656 - Checking Account
Taxpayer ID#:         **-***4454                                                                Blanket Bond:           $6,889,586.00 (per case limit)
Period Ending:        12/08/21                                                                  Separate Bond:          N/A

   1             2                    3                                        4                                                 5                  6                    7

 Trans.    Check or                                                                                         Uniform           Receipts        Disbursements          Checking
  Date      Ref. #          Paid To / Received From                Description of Transaction              Tran. Code            $                  $             Account Balance

02/01/17 Asset #148 KAYLYN J. KUMANGAI                   RENT (27 N. NICE ST., FRACKVILLE)                 1230-000                  635.00                             45,503.85

02/02/17     54068    PPL ELECTRIC UTILITIES             UTILITY BILL (ACCT. NO. 39655-71076; 27 N.        2990-000                                      700.31         44,803.54
                                                         NICE ST., UNIT 2, APT. 2, FRACKVILLE)

02/02/17     54069    PPL ELECTRIC UTILITIES             UTILITY BILL (ACCT. NO. 87490-32155; 27 N.        2990-000                                      538.34         44,265.20
                                                         NICE ST., APT. 1FL, FRACKVILLE)

02/02/17     54070    PPL ELECTRIC UTILITIES             UTILITY BILL (ACCT. NO. 72290-34081; 1513         2990-000                                      565.70         43,699.50
                                                         WALNUT ST., ASHLAND)

02/02/17     54071    PPL ELECTRIC UTILITIES             UTILITY BILL (ACCT. NO. 11630-43099; 34           2990-000                                      506.58         43,192.92
                                                         HOFFMAN BLVD., HOUSE METER,
                                                         ASHLAND)

02/03/17              SCHUYLKILL COUNTY HOUSING RENT FOR 1513 WALNUT STREETM                                                      1,689.00                              44,881.92
                      AUTHORITY                 ASHLAND, PA, 27 N. NICE STREET ,
                                                FRACKVILLE, PA AND 34 HOFFMAN BLVD.,
                                                ASHLAND, PA

02/03/17 Asset #148                                                                                706.00 1230-000                                                      44,881.92
02/03/17 Asset #148                                                                                235.00 1230-000                                                      44,881.92
02/03/17 Asset #148                                                                                748.00 1230-000                                                      44,881.92
02/06/17 Asset #148 SHEILA CASE                          RENT FOR 923 W. CENTER STREET,                    1230-000                  100.00                             44,981.92
                                                         ASHLAND, PA

02/06/17     54072    PPL ELECTRIC UTILITIES             UTILITY BILL (ACCT. NO. 11430-43128; 315          2990-000                                      114.96         44,866.96
                                                         WALNUT ST., ASHLAND)

02/06/17     54073    PENNSYLVANIA AMERICAN              WATER BILL (ACCT. NO. 1024-               2990-000                                               62.75         44,804.21
                      WATER                              220015919443; 27 N. NICE ST., FRACKVILLE)


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                                                       Cash Receipts and Disbursements Record                                                                                   Page: 61

Case Number:           15-03964 MJC                                                                Trustee:                William G. Schwab
Case Name:             Apartments And Acquistions LP                                               Bank Name:              Texas Capital Bank
                                                                                                   Account:                ******1656 - Checking Account
Taxpayer ID#:          **-***4454                                                                  Blanket Bond:           $6,889,586.00 (per case limit)
Period Ending:         12/08/21                                                                    Separate Bond:          N/A

   1             2                     3                                            4                                               5                  6                    7

 Trans.    Check or                                                                                            Uniform           Receipts        Disbursements          Checking
  Date      Ref. #           Paid To / Received From                  Description of Transaction              Tran. Code            $                  $             Account Balance

02/10/17 Asset #148 KIM & JOHN KANAS                      RENT FOR 135 S. FRANKLIN STREET,                    1230-000                  500.00                             45,304.21
                                                          SHAMOKIN, PA

02/10/17               BOROUGH OF NEW                     SALE OF REAL PROPERTY- 61 WATER                                               200.00                             45,504.21
                       PHILADELPHIA                       STREET, NEW PHILADELPHIA, PA PER
                                                          COURT ORDER DATED 01-26-17

02/10/17 Asset #137                                                                                 1,553.36 1110-000                                                      45,504.21
02/10/17                                                  Forgiveness of liens and                  -1,353.36 4700-000                                                     45,504.21
                                                          taxes

02/10/17     54074     PPL ELECTRIC UTILITIES             UTILITY BILL (ACCT. NO. 47554-96054; 921            2690-000                                       16.21         45,488.00
                                                          CENTRE ST., ASHLAND)

02/14/17     54075     CARD SERVICES                      FILING & SERVICE FEES (ADVERSARY                    2690-000                                      537.20         44,950.80
                                                          COMPLAINT FEE AND NOTICE OF SALE OF
                                                          1121 & 1123 WATER ST., COAL TWP.)

02/21/17 Asset #138 UNITED STATES LIABILITY               REFUND                                              1290-000                   73.40                             45,024.20
                    INSURANCE
02/21/17               SCLEISINGER & KERSTETTER, SALE OF REAL PROPERTY PER COURT                                                        281.00                             45,305.20
                       LLP                       ORDER DATED 1/27/17 (1121 & 1123 W.
                                                 WATER ST., COAL TOWNSHIP)

02/21/17   Asset #12                                                                                3,500.00 1110-000                                                      45,305.20
02/21/17                                                                                            -1,265.50 5800-000                                                     45,305.20
02/21/17                                                  tax adjustment with tax                   -1,165.87 4700-000                                                     45,305.20
                                                          credits

02/21/17                                                                                             -782.63 5800-000                                                      45,305.20



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                                                      Cash Receipts and Disbursements Record                                                                                 Page: 62

Case Number:          15-03964 MJC                                                              Trustee:                William G. Schwab
Case Name:            Apartments And Acquistions LP                                             Bank Name:              Texas Capital Bank
                                                                                                Account:                ******1656 - Checking Account
Taxpayer ID#:         **-***4454                                                                Blanket Bond:           $6,889,586.00 (per case limit)
Period Ending:        12/08/21                                                                  Separate Bond:          N/A

   1             2                    3                                        4                                                 5                   6                   7

 Trans.    Check or                                                                                         Uniform           Receipts         Disbursements         Checking
  Date      Ref. #          Paid To / Received From                Description of Transaction              Tran. Code            $                   $            Account Balance

02/21/17                                                 CLOSING COSTS                               -5.00 2500-000                                                     45,305.20

02/21/17     54076    DENA M. KISTLER, NOTARY            NOTARIAL SERVICES (TRUSTEE DEED FOR               2690-000                                        5.00         45,300.20
                                                         SALE OF 61 WATER ST., NEW
                                                         PHILADELPHIA)

02/23/17     54077    BUSINESS CARD SERVICES             COURT CALL FEE (ID NO. 8113406)                   2690-000                                       37.00         45,263.20

02/27/17     54078    TRUSTEE INSURANCE AGENCY INSURANCE PREMIUM (INVOICE NO. 8101)                        2690-000                                      538.20         44,725.00

02/28/17 Asset #148 SHEILA CASE                          RENT                                              1230-000                  500.00                             45,225.00

02/28/17 Asset #148 SHEILA CASE                          RENT                                              1230-000                  500.00                             45,725.00

03/01/17 Asset #148 KAYLYN J. KUMANGAI                   RENT FOR 27 N. NICE STREET,                       1230-000                  635.00                             46,360.00
                                                         FRACKVILLE

03/03/17              SCHUYLKILL COUNTY HOUSING RENT FOR 36 HOFFMAN BLVD, ASHLAND,                                                1,689.00                              48,049.00
                      AUTHORITY                 1513 WALNUT STREET, ASHLAND AND 27
                                                N. NICE STREET, 2ND FLOOR, FRACKVILLE,
                                                PA

03/03/17 Asset #148                                                                                235.00 1230-000                                                      48,049.00
03/03/17 Asset #148                                                                                748.00 1230-000                                                      48,049.00
03/03/17 Asset #148                                                                                706.00 1230-000                                                      48,049.00
03/06/17 Asset #148 BRIDGETT O'CONNELL                   RENT FOR 1252 CHEMUNG STREET, COAL                1230-000               1,000.00                              49,049.00
                                                         TOWNSHIP

03/06/17 Asset #148 BRIDGET O'CONNELL                    REIMBURSEMENT OF SEWER REPAIRS                    1230-000                  -800.00                            48,249.00
           54079                                         (HOME IMPROVEMENTS - PA047982)



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                                                      Cash Receipts and Disbursements Record                                                                                 Page: 63

Case Number:          15-03964 MJC                                                               Trustee:                William G. Schwab
Case Name:            Apartments And Acquistions LP                                              Bank Name:              Texas Capital Bank
                                                                                                 Account:                ******1656 - Checking Account
Taxpayer ID#:         **-***4454                                                                 Blanket Bond:           $6,889,586.00 (per case limit)
Period Ending:        12/08/21                                                                   Separate Bond:          N/A

   1             2                    3                                          4                                                5                  6                   7

 Trans.    Check or                                                                                          Uniform           Receipts        Disbursements         Checking
  Date      Ref. #          Paid To / Received From                 Description of Transaction              Tran. Code            $                  $            Account Balance

03/07/17     54080    BOROUGH OF ASHLAND                 PROPERTY MAINTENANCE FEES (TRASH                   2690-000                                      60.00         48,189.00
                                                         BAGS FOR TENANT CLEAN UP)

03/09/17              VARIOUS TENANTS                    RENT FROM JOHN HOLLOWAY AT 27 NICE                                           900.00                            49,089.00
                                                         STREET, AND PEREIRA CASIMER FOR 712
                                                         WEST PINE STREET

03/09/17 Asset #148                                                                                 500.00 1230-000                                                     49,089.00
03/09/17 Asset #148                                                                                 400.00 1230-000                                                     49,089.00
03/10/17              SCHLESINGE R &                     SALE OF REAL PROPERTY-1018-1020 W.                                        1,397.16                             50,486.16
                      KERSTETTER,LLP                     INDEPENDENCE ST, COAL TWSP- PER
                                                         COURT ORDER DATED 09-21-16

03/10/17   Asset #1                                      Include sale of 1020                     2,251.66 1110-000                                                     50,486.16
                                                         Independence (bal see
                                                         deposit 84)

03/10/17                                                 Taxes due buyer                              -2.62 2500-000                                                    50,486.16

03/10/17                                                 closing Expenses                           -35.00 2500-000                                                     50,486.16

03/10/17                                                 Delinquent Taxes                          -816.88 4700-000                                                     50,486.16

03/10/17   Asset #1   SCHLESINGE R &                     SALE OF REAL PROPERTY-1018-1020 W.                 1110-000                  251.00                            50,737.16
                      KERSTETTER,LLP                     INDEPENDENCE STREET, COAL TWSP-
                                                         PER COURT ORDER DATED 09-21-16

03/10/17              SCHLESINGE R &                     SALE OF REAL PROPERTY-712 WEST PINE                                       2,758.33                             53,495.49
                      KERSTETTER,LLP                     STREET-PER COURT ORDER DATED 12-16-
                                                         16

03/10/17 Asset #106                                                                               5,602.73 1110-000                                                     53,495.49

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                                                      Cash Receipts and Disbursements Record                                                                                   Page: 64

Case Number:          15-03964 MJC                                                                Trustee:                William G. Schwab
Case Name:            Apartments And Acquistions LP                                               Bank Name:              Texas Capital Bank
                                                                                                  Account:                ******1656 - Checking Account
Taxpayer ID#:         **-***4454                                                                  Blanket Bond:           $6,889,586.00 (per case limit)
Period Ending:        12/08/21                                                                    Separate Bond:          N/A

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 Trans.    Check or                                                                                           Uniform           Receipts        Disbursements          Checking
  Date      Ref. #          Paid To / Received From                  Description of Transaction              Tran. Code            $                  $             Account Balance

03/10/17                                                                                            -452.90 5800-000                                                      53,495.49
03/10/17                                                                                           -2,386.50 5800-000                                                     53,495.49
03/10/17                                                 closing costs                                 -5.00 2500-000                                                     53,495.49

03/10/17 Asset #106 SCHLESINGE R &                       SALE OF REAL PROPERTY-712 WEST PINE                 1110-000                  356.00                             53,851.49
                    KERSTETTER,LLP                       STREET, SHAMOKIN, PA PER COURT
                                                         ORDER DATED 12-16-16

03/13/17     54081    BARRY J. SPIELES                   PROPERTY MAINTENANCE                                2690-000                                      400.00         53,451.49

03/15/17     54082    PENNSYLVANIA AMERICAN              WATER BILL (ACCT. NO. 1024-               2690-000                                                 58.52         53,392.97
                      WATER                              220015919443; 27 N. NICE ST., FRACKVILLE)

03/15/17     54083    PPL ELECTRIC UTILITIES             UTILITY BILL (ACCT. NO. 11030-43135; 34             2690-000                                       32.33         53,360.64
                                                         HOFFMAN BLVD., ASHLAND)

03/15/17     54084    PPL ELECTRIC UTILITIES             UTILITY BILL (ACCT. NO. 11430-43128; 315            2690-000                                      137.36         53,223.28
                                                         WALNUT ST., ASHLAND)

03/15/17     54085    PPL ELECTRIC UTILITIES             UTILITY BILL (ACCT. NO. 36230-4050; S.              2690-000                                      138.10         53,085.18
                                                         HOFFMAN BLVD., ASHLAND)

03/15/17     54086    CARD SERVICES                      FILING/SERVICE FEES (MISCELLANEOUS                  2690-000                                      830.69         52,254.49
                                                         COURT DOCUMENTS)

03/20/17     54087    PPL ELECTRIC UTILITIES             UTILITY BILL (ACCT. NO. 87490-32155)(27 N.          2690-000                                      933.52         51,320.97
                                                         NICE ST., APT. 1 FL., FRACKVILLE)

03/20/17     54088    PPL ELECTRIC UTILITIES             UTILITY BILL (ACCT. NO. 39655-71076)(27 N.          2690-000                                  1,104.69           50,216.28
                                                         NICE ST., UNIT 2, APT 2., FRACKVILLE)




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                                                      Cash Receipts and Disbursements Record                                                                                 Page: 65

Case Number:          15-03964 MJC                                                              Trustee:                William G. Schwab
Case Name:            Apartments And Acquistions LP                                             Bank Name:              Texas Capital Bank
                                                                                                Account:                ******1656 - Checking Account
Taxpayer ID#:         **-***4454                                                                Blanket Bond:           $6,889,586.00 (per case limit)
Period Ending:        12/08/21                                                                  Separate Bond:          N/A

   1             2                    3                                        4                                                 5                  6                    7

 Trans.    Check or                                                                                         Uniform           Receipts        Disbursements          Checking
  Date      Ref. #          Paid To / Received From                Description of Transaction              Tran. Code            $                  $             Account Balance

03/20/17     54089    PPL ELECTRIC UTILITIES             UTILITY BILL (ACCT. NO. 72290-34081)(1513         2690-000                                      916.32         49,299.96
                                                         WALNUT ST., ASHLAND)

03/20/17     54090    PPL ELECTRIC UTILITIES             UTILITY BILL (ACCT. NO. 72290-34081)(921          2690-000                                       16.07         49,283.89
                                                         CENTRE ST., 1 FL. FRONT, ASHLAND)

03/20/17     54091    BARRY J. SPIELES                   PROPERTY MAINTENANCE                              2690-000                                      400.00         48,883.89

03/22/17 Asset #148 KIM & JOHN KANAS                     RENT FOR 135 S. FRANKLIN ST.,                     1230-000                  500.00                             49,383.89
                                                         SHAMOKIN, PA

03/27/17 Asset #148 SHEILA CASE                          RENT FOR 923 W. CENTER STREET,                    1230-000                  100.00                             49,483.89
                                                         ASHLAND, PA

04/03/17 Asset #148 KAYLYN J. KUMANGAI                   RENT FOR 27 N. NICE STREET,                       1230-000                  635.00                             50,118.89
                                                         FRACKVILLE, PA

04/05/17              SCHUYLKILL COUNTY HOUSING RENTS FOR 27 NORTH NICE ST.,                                                         941.00                             51,059.89
                      AUTHORITY                 FRACKVILLE, PA & 34 HOFFMAN BLVD.,
                                                ASHLAND, PA

04/05/17 Asset #148                                                                                706.00 1230-000                                                      51,059.89
04/05/17 Asset #148                                                                                235.00 1230-000                                                      51,059.89
04/07/17   Asset #6   ROBERT DLUGE, ESQUIRE              SALE OF REAL PROPERTY-1031 W.                     1110-000                   87.00                             51,146.89
                                                         INDEPENDENCE ST., COAL TWSP-PER
                                                         COURT ORDER DATE 11-17-16

04/07/17              ROBERT L. DLUGE, ESQUIRE           SALE OF REAL PROPERTY- 1031 W.                                           2,397.20                              53,544.09
                                                         INDEPENDENCE ST., COAL TWSP , PER
                                                         COURT ORDER DATED 11-17-16

04/07/17   Asset #6                                                                              2,813.00 1110-000                                                      53,544.09

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                                                      Cash Receipts and Disbursements Record                                                                                  Page: 66

Case Number:          15-03964 MJC                                                               Trustee:                William G. Schwab
Case Name:            Apartments And Acquistions LP                                              Bank Name:              Texas Capital Bank
                                                                                                 Account:                ******1656 - Checking Account
Taxpayer ID#:         **-***4454                                                                 Blanket Bond:           $6,889,586.00 (per case limit)
Period Ending:        12/08/21                                                                   Separate Bond:          N/A

   1             2                    3                                         4                                                 5                   6                   7

 Trans.    Check or                                                                                          Uniform           Receipts         Disbursements         Checking
  Date      Ref. #          Paid To / Received From                 Description of Transaction              Tran. Code            $                   $            Account Balance

04/07/17                                                                                           -415.80 4700-000                                                      53,544.09
04/07/17   Asset #17 George Atiyeh                       George Atiyeh - 115 N. 2nd St.                     1110-000                  750.00                             54,294.09

04/07/17   Asset #1   Brian D. Wolfgang                  Brian D. Wolfgang (1018 W. Independence St.,       1110-000               2,500.00                              56,794.09
                                                         Coal Twp)

04/07/17     54092    PPL ELECTRIC UTILITIES             UTILITY BILL (ACCT. NO. 11430-43128; 315           2690-000                                      143.00         56,651.09
                                                         WALNUT ST., ASHLAND)

04/07/17     54093    PPL ELECTRIC UTILITIES             UTILITY BILL (ACCT. NO. 11030-43135; 34            2690-000                                       16.05         56,635.04
                                                         HOFFMAN BLVD., ASHLAND)

04/07/17     54094    PPL ELECTRIC UTILITIES             UTILITY BILL (ACCT. NO. 36230-4050; S.             2690-000                                       46.70         56,588.34
                                                         HOFFMAN BLVD., ASHLAND)

04/07/17     54095    PENNSYLVANIA AMERICAN              WATER BILL (ACCT. NO. 1024-               2690-000                                                56.40         56,531.94
                      WATER                              220015919443; 27 N. NICE ST., FRACKVILLE)

04/07/17   Asset #1   Brian D. Wolfgang                  Brian D. Wolfgang                                  1110-000              -2,500.00                              54,031.94

04/07/17   Asset #17 George Atiyeh                       George Atiyeh                                      1110-000                  -750.00                            53,281.94

04/10/17 Asset #125 WILLIAM G. SCHWAB, ESCROW RETAINED DEPOSITS AS A RESULT OF                              1210-000                  500.00                             53,781.94
                    ACCT                      AGREEMENT ON 135 S. FRANKLIN ST.,
                                              SHAMOKIN PA

04/10/17   Asset #40 WILLIAM G. SCHWAB, ESCROW RETAINED DEPOSIT AS A RESULT OF                              1110-000                  500.00                             54,281.94
                     ACCT                      AGREEMENT OF SALE DEFAULT ON 1740-
                                               1742 W. MOHAWK STREET, COAL TWSP.




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                                                      Cash Receipts and Disbursements Record                                                                                 Page: 67

Case Number:          15-03964 MJC                                                              Trustee:                William G. Schwab
Case Name:            Apartments And Acquistions LP                                             Bank Name:              Texas Capital Bank
                                                                                                Account:                ******1656 - Checking Account
Taxpayer ID#:         **-***4454                                                                Blanket Bond:           $6,889,586.00 (per case limit)
Period Ending:        12/08/21                                                                  Separate Bond:          N/A

   1             2                    3                                        4                                                 5                   6                   7

 Trans.    Check or                                                                                         Uniform           Receipts         Disbursements         Checking
  Date      Ref. #          Paid To / Received From                Description of Transaction              Tran. Code            $                   $            Account Balance

04/10/17 Asset #152 WILLIAM G. SCHWAB, ESCROW RETAINED DEPOSIT AS A RESULT OF                              1110-000                  500.00                             54,781.94
                    ACCT                      AGREEMENT OF SALES DEFAULT 601
                                              NORTH FRANKLIN STREET, SHAMOKIN, PA

04/10/17   Asset #96 WILLIAM G. SCHWAB, TRUSTEE RETAINED DEPOSITS AS RESULT OF                             1110-000                  500.00                             55,281.94
                                                AGREEMENT OF SALE DEFAULTS ON 520
                                                WEST MARKET STREET, MAHANOY CITY

04/10/17 Asset #101 WILLIAM G. SCHWAB, TRUSTEE RETAINED DEPOSIT AS A RESULT OF     1280-000                                          500.00                             55,781.94
                                               AGREEMENT OF SALE DEFAULTS ON 615 N
                                               2ND STREET, SHAMOKIN,

04/10/17 Asset #153 WILLIAM G. SCHWAB, TRUSTEE RETAINED DEPOSIT AS A RESULT OF                             1110-000                  500.00                             56,281.94
                                               AGREEMENT OF SALE DEFAULTS ON 134
                                               MAIN STREET, GIRARDVILLE

04/10/17   Asset #40 WILLIAM G. SCHWAB, TRUSTEE RETAINED DEPOSIT AS A RESULT OF                            1110-000                  500.00                             56,781.94
                                                AGREEMENT OF SALE DEFAULT ON 1740-
                                                1742 W. MOHAWK STREET, COAL TWSP.

04/10/17   Asset #40 WILLIAM G. SCHWAB, TRUSTEE RETAINED DEPOSIT AS A RESULT OF                            1110-000                  -500.00                            56,281.94
                                                AGREEMENT OF SALE DEFAULT ON 1740-
                                                1742 W. MOHAWK STREET, COAL TWSP.
                                                WILLIAM G. SCHWAB, TRUSTEE

04/13/17     54096    BARRY J. SPIELES                   PROPERTY MAINTENANCE                              2690-000                                      400.00         55,881.94

04/13/17     54097    BOROUGH OF ASHLAND                 PROPERTY MAINTENANCE FEES (TRASH                  2690-000                                       30.00         55,851.94
                                                         BAGS)

04/13/17     54098    PPL ELECTRIC UTILITIES             UTILITY BILL (ACCT. NO. 11630-43099; 34           2690-000                                      631.76         55,220.18
                                                         HOFFMAN BLVD., ASHLAND, HOUSE
                                                         METER)


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                                                      Cash Receipts and Disbursements Record                                                                                 Page: 68

Case Number:          15-03964 MJC                                                              Trustee:                William G. Schwab
Case Name:            Apartments And Acquistions LP                                             Bank Name:              Texas Capital Bank
                                                                                                Account:                ******1656 - Checking Account
Taxpayer ID#:         **-***4454                                                                Blanket Bond:           $6,889,586.00 (per case limit)
Period Ending:        12/08/21                                                                  Separate Bond:          N/A

   1             2                    3                                        4                                                 5                  6                    7

 Trans.    Check or                                                                                         Uniform           Receipts        Disbursements          Checking
  Date      Ref. #          Paid To / Received From                Description of Transaction              Tran. Code            $                  $             Account Balance

04/13/17     54099    PPL ELECTRIC UTILITIES             UTILITY BILL (ACCT. NO. 47554-96054; 921          2690-000                                       16.14         55,204.04
                                                         CENTRE ST., 1FLOOR FRONT, ASHLAND)

04/19/17 Asset #148 KIM & JOHN KANAS                     RENT - 135 S. FRANKLIN ST., SHAMOKIN              1230-000                  500.00                             55,704.04

04/19/17     54100    PPL ELECTRIC UTILITIES             UTILITY BILL (ACCT. NO. 39655-71076; 27 N.        2690-000                                      431.42         55,272.62
                                                         NICE ST., UNIT 2, APT. 2, FRACKVILLE)

04/19/17     54101    PPL ELECTRIC UTILITIES             UTILITY BILL (ACCT. NO. 72290-34081; 1513         2690-000                                      397.12         54,875.50
                                                         WALNUT ST., ASHLAND)

04/19/17     54102    PPL ELECTRIC UTILITIES             UTILITY BILL (ACCT. NO. 87490-32155; 27 N.        2690-000                                      431.94         54,443.56
                                                         NICE ST., APT. 1 FL., FRACKVILLE)

04/26/17     54103    BARRY J. SPIELES                   PROPERTY MAINTENANCE                              2690-000                                      340.00         54,103.56

04/27/17 Asset #148 SCHUYLKILL COUNTY HOUSING RENT FOR 1513 WALNUT STREET,                                 1230-000                  748.00                             54,851.56
                    AUTHORITY                 ASHLAND, PA

05/01/17     54104    ROBERT S. FRYCKLUND,               FINAL COMPENSATION TO ATTORNEY FOR                3210-000                                  4,235.00           50,616.56
                      ESQUIRE                            TRUSTEE (PER COURT ORDER DATED
                                                         4/28/17)

05/03/17              SCHUYLKILL COUNTY HOUSING RENT FOR 27 NORTH NICE ST.,                                                          983.00                             51,599.56
                      AUTHORITY                 FRACKVILLE AND 1513 WALNUT ST.,
                                                ASHLAND, PA

05/03/17 Asset #148                                                                                748.00 1230-000                                                      51,599.56
05/03/17 Asset #148                                                                                235.00 1230-000                                                      51,599.56
05/08/17 Asset #148 KAYLYN J. KUMANGAI                   RENT FOR 27 NORTH NICE ST.,                       1230-000                  635.00                             52,234.56
                                                         FRACKVILLE, PA


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                                                      Cash Receipts and Disbursements Record                                                                                 Page: 69

Case Number:          15-03964 MJC                                                              Trustee:                William G. Schwab
Case Name:            Apartments And Acquistions LP                                             Bank Name:              Texas Capital Bank
                                                                                                Account:                ******1656 - Checking Account
Taxpayer ID#:         **-***4454                                                                Blanket Bond:           $6,889,586.00 (per case limit)
Period Ending:        12/08/21                                                                  Separate Bond:          N/A

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 Trans.    Check or                                                                                         Uniform           Receipts        Disbursements          Checking
  Date      Ref. #          Paid To / Received From                Description of Transaction              Tran. Code            $                  $             Account Balance

05/08/17     54105    PENNSYLVANIA AMERICAN              WATER BILL (ACCT. NO. 1024-               2690-000                                               48.98         52,185.58
                      WATER                              220015919443; 27 N. NICE ST., FRACKVILLE)

05/10/17     54106    ASHLAND BOROUGH                    WATER, SEWER, GARBAGE, FIRE                       2690-000                                      811.80         51,373.78
                                                         PROTECTION SERVICES 1/1/17 TO 3/31/17
                                                         (919-921 CENTRE ST., ASHLAND)(ACCT.
                                                         NO. 000612)

05/10/17     54107    PPL ELECTRIC UTILITIES             UTILITY BILL (ACCT. NO. 11430-43128; 315          2690-000                                       58.71         51,315.07
                                                         WALNUT ST., ASHLAND)

05/10/17     54108    PPL ELECTRIC UTILITIES             UTILITY BILL (ACCT. NO. 11030-43135; 34           2690-000                                       16.58         51,298.49
                                                         HOFFMAN BLVD., ASHLAND)

05/10/17     54109    PPL ELECTRIC UTILITIES             UTILITY BILL (ACCT. NO. 36230-44050; S.           2690-000                                       47.61         51,250.88
                                                         HOFFMAN BLVD., ASHLAND)

05/10/17     54110    PPL ELECTRIC UTILITIES             UTILITY BILL (ACCT. NO. 11630-43099; 34           2690-000                                      143.10         51,107.78
                                                         HOFFMAN BLVD., ASHLAND, HOUSE
                                                         METER)

05/16/17     54111    LARRY MCCULLION & SON              ELECTRICAL SERVICES (34 HOFFMAN                   2690-000                                      305.00         50,802.78
                                                         BLVD., ASHLAND)

05/16/17     54112    PPL ELECTRIC UTILITIES             UTILITY BILL (ACCT. NO. 39655-71076; 27 N.        2690-000                                      129.21         50,673.57
                                                         NICE ST., UNIT 2, APT, 2., FRACKVILLE)

05/16/17     54113    PPL ELECTRIC UTILITIES             UTILITY BILL (ACCT. NO. 87490-32155; 27 N.        2690-000                                      194.48         50,479.09
                                                         NICE ST., APT. 1 FL., FRACKVILLE)

05/16/17     54114    PPL ELECTRIC UTILITIES             UTILITY BILL (ACCT. NO. 72290-34081; 1513         2690-000                                      118.52         50,360.57
                                                         WALNUT ST., ASHLAND)



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                                                      Cash Receipts and Disbursements Record                                                                                 Page: 70

Case Number:          15-03964 MJC                                                              Trustee:                William G. Schwab
Case Name:            Apartments And Acquistions LP                                             Bank Name:              Texas Capital Bank
                                                                                                Account:                ******1656 - Checking Account
Taxpayer ID#:         **-***4454                                                                Blanket Bond:           $6,889,586.00 (per case limit)
Period Ending:        12/08/21                                                                  Separate Bond:          N/A

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 Trans.    Check or                                                                                         Uniform           Receipts        Disbursements          Checking
  Date      Ref. #          Paid To / Received From                Description of Transaction              Tran. Code            $                  $             Account Balance

05/16/17     54115    MAGISTERIAL DISTRICT COURT FILING FEE (LANDLORD/TENANT                               2690-000                                      213.13         50,147.44
                      21-2-1                     COMPLAINT - 34 SOUTH HOFFMAN BLVD.,
                                                 ASHLAND)

05/16/17     54116    PPL ELECTRIC UTILITIES             UTILITY BILL (ACCT. NO. 47554-96054; 921          2690-000                                       30.25         50,117.19
                                                         CENTRE ST., 1FLOOR FRONT, ASHLAND)

05/16/17     54117    BOROUGH OF ASHLAND                 PROPERTY MAINTENANCE FEES (TRASH                  2690-000                                       30.00         50,087.19
                                                         BAGS)

05/23/17 Asset #148 KIM & JOHN KANAS                     RENT FOR 135 SOUTH FRANKLIN STREET,               1230-000                  500.00                             50,587.19
                                                         SHAMOKIN PA

05/24/17              VARIOUS TENANTS                    RENT FOR 919 CENTER STREET, REAR,                                           800.00                             51,387.19
                                                         ASHLAND, PA AND 27 NORTH NICE
                                                         STREET, FRACKVILLE, PA

05/24/17 Asset #148                                                                                400.00 1230-000                                                      51,387.19
05/24/17 Asset #148                                                                                400.00 1230-000                                                      51,387.19
05/24/17     54118    BARRY J. SPIELES                   PROPERTY MAINTENANCE                              2690-000                                      280.00         51,107.19

05/25/17     54119    TRUSTEE INSURANCE AGENCY INSURANCE PREMIUM (INVOICE NO. 2963)                        2690-000                                  5,721.88           45,385.31

05/30/17 Asset #148 SHEILA CASE                          RENT FOR 923 W. CENTER ST, ASHLAND,               1230-000                  200.00                             45,585.31
                                                         PA

06/02/17 Asset #148 KAYLYN J. KUMANGAI                   RENT FOR 27 N.NICE STREET,                        1230-000                  709.00                             46,294.31
                                                         FRACKVILLE, PA

06/02/17     54120    BOROUGH OF ASHLAND                 PROPERTY MAINTENANCE FEES (TRASH                  2690-000                                       60.00         46,234.31
                                                         BAGS)


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                                                       Cash Receipts and Disbursements Record                                                                                 Page: 71

Case Number:          15-03964 MJC                                                                Trustee:                William G. Schwab
Case Name:            Apartments And Acquistions LP                                               Bank Name:              Texas Capital Bank
                                                                                                  Account:                ******1656 - Checking Account
Taxpayer ID#:         **-***4454                                                                  Blanket Bond:           $6,889,586.00 (per case limit)
Period Ending:        12/08/21                                                                    Separate Bond:          N/A

   1             2                      3                                        4                                                 5                  6                   7

 Trans.    Check or                                                                                           Uniform           Receipts        Disbursements         Checking
  Date      Ref. #           Paid To / Received From                 Description of Transaction              Tran. Code            $                  $            Account Balance

06/05/17              SCHUYLKILL COUNTY HOUSING RENT FOR 1513 WALNUT STREET,                                                           909.00                            47,143.31
                      AUTHORITY                 ASHLAND & 27 N. NICE STREET,
                                                FRACKVILLE. PA

06/05/17 Asset #148                                                                                  161.00 1230-000                                                     47,143.31
06/05/17 Asset #148                                                                                  748.00 1230-000                                                     47,143.31
06/06/17     54121    Pennsylvania American Water         WATER BILL (ACCT. NO. 1024-                        7100-000                                      48.98         47,094.33
                                                          220015919443)

06/06/17     54122    PPL Electric Utilities              ELECTRIC BILL (ACCT. NO. 11030-43135)(34           2990-000                                      16.58         47,077.75
                                                          HOFFMAN BLVD., ASHLAND)

06/06/17     54123    PPL Electric Utilities              ELECTRIC BILL (ACCT. NO. 36230-44050)(S            2990-000                                      38.11         47,039.64
                                                          HOFFMAN BLVD., ASHLAND)

06/06/17     54124    PPL Electric Utilities              ELECTRIC BILL (ACCT. NO. 11630-43099)(34           2990-000                                  2,423.14          44,616.50
                                                          HOFFMAN BLVD., HOUSE METER,
                                                          ASHLAND)

06/07/17     54125    US POSTMASTER                       REIMBURSEMENT OF POSTAGE                           2690-000                                      95.70         44,520.80
                                                          (MISCELLANEOUS FILINGS AND SERVICES)

06/08/17     54126    UNITED STATES LIABILITY             LIABILITY INSURANCE PAYMENT (ACCT.                 2690-000                                  1,656.80          42,864.00
                      INSURANCE COMPANY                   NO. CL1757395; POLICY NO. CL1757395A)

06/12/17     54127    PPL Electric Utilities              ELECTRIC BILL (ACCT. NO. 47554-96054)              2990-000                                      43.79         42,820.21
                                                          (921 Centre St., 1 Floor, Front, Ashland)

06/12/17     54128    PPL Electric Utilities              ELECTRIC BILL (ACCT. NO. 11430-43128)              2990-000                                      16.58         42,803.63
                                                          (315 Walnut St., Ashland)




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                                                       Cash Receipts and Disbursements Record                                                                                  Page: 72

Case Number:          15-03964 MJC                                                                Trustee:                William G. Schwab
Case Name:            Apartments And Acquistions LP                                               Bank Name:              Texas Capital Bank
                                                                                                  Account:                ******1656 - Checking Account
Taxpayer ID#:         **-***4454                                                                  Blanket Bond:           $6,889,586.00 (per case limit)
Period Ending:        12/08/21                                                                    Separate Bond:          N/A

   1             2                      3                                        4                                                 5                  6                    7

 Trans.    Check or                                                                                           Uniform           Receipts        Disbursements          Checking
  Date      Ref. #           Paid To / Received From                 Description of Transaction              Tran. Code            $                  $             Account Balance

06/15/17     54129    SHAMOKIN COAL TWP JOINT             SEWER BILL (1252 CHEMUNG ST., COAL                 2690-000                                      297.00         42,506.63
                      SEWER AUTHORITY-ADMIN               TWP.)

06/16/17 Asset #148 LEIGHANN MAURER                       RENT FOR 1513 WALNUT STREET,                       1230-000                   40.00                             42,546.63
                                                          ASHLAND ,PA

06/19/17     54130    PPL Electric Utilities              ELECTRIC BILL (ACCT. NO. 72290-34081;              2990-000                                      108.95         42,437.68
                                                          1513 WALNUT ST., ASHLAND)

06/19/17     54131    PPL Electric Utilities              ELECTRIC BILL (ACCT. NO. 87490-32155; 27           2990-000                                      152.88         42,284.80
                                                          N. NICE ST., APT. 1FL., FRACKVILLE)

06/19/17     54132    PPL Electric Utilities              ELECTRIC BILL (ACCT. NO. 39655-71076; 27           2990-000                                       93.71         42,191.09
                                                          N. NICE ST., UNIT 2, APT. 2., FRACKVILLE)

06/20/17     54133    BARRY J. SPIELES                    PROPERTY MAINTENANCE                               2690-000                                      560.00         41,631.09

06/21/17     54134    BOROUGH OF ASHLAND                  PROPERTY MAINTENANCE FEES (TRASH                   2690-000                                       60.00         41,571.09
                                                          BAGS)

06/22/17 Asset #148 KIM & JOHN KANAS                      RENT FOR 135 S. FRANKLIN ST.,                      1230-000                  500.00                             42,071.09
                                                          SHAMOKIN

06/27/17     54135    TRUSTEE INSURANCE AGENCY INSURANCE PREMIUM (INVOICE NO. 8740)                          2690-000                                      403.20         41,667.89

06/27/17     54136    US POSTMASTER                       REIMBURSEMENT OF POSTAGE (Servicing                2690-000                                       40.20         41,627.69
                                                          of Documents Upon List of Respondents -
                                                          Motion to Sell Remaining Northumberland &
                                                          Schuylkill County Properties & Order Setting
                                                          Hearing Date)




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                                                       Cash Receipts and Disbursements Record                                                                                 Page: 73

Case Number:          15-03964 MJC                                                               Trustee:                William G. Schwab
Case Name:            Apartments And Acquistions LP                                              Bank Name:              Texas Capital Bank
                                                                                                 Account:                ******1656 - Checking Account
Taxpayer ID#:         **-***4454                                                                 Blanket Bond:           $6,889,586.00 (per case limit)
Period Ending:        12/08/21                                                                   Separate Bond:          N/A

   1             2                      3                                       4                                                 5                  6                    7

 Trans.    Check or                                                                                          Uniform           Receipts        Disbursements          Checking
  Date      Ref. #           Paid To / Received From                Description of Transaction              Tran. Code            $                  $             Account Balance

07/06/17 Asset #148 KAYLYN J. KUMANGAI                    RENT FOR 27 NORTH NICE STREET,                    1230-000                  709.00                             42,336.69
                                                          FRACKVILE, PA

07/06/17              SCHUYLKILL COUNTY HOUSING RENT FOR 27 N. NICE STREET,                                                           909.00                             43,245.69
                      AUTHORITY                 FRACKVILLE & 1513 WALNUT STREET,
                                                ASHLAND, PA

07/06/17 Asset #148                                                                                 748.00 1230-000                                                      43,245.69
07/06/17 Asset #148                                                                                 161.00 1230-000                                                      43,245.69
07/11/17     54137    PPL Electric Utilities              ELECTRIC BILL (ACCT. NO. 11630-43099)(34          2990-000                                       35.28         43,210.41
                                                          HOFFMAN BLVD., HOUSE METER,
                                                          ASHLAND)

07/11/17     54138    PPL Electric Utilities              ELECTRIC BILL (ACCT. NO. 11030-43135)(34          2990-000                                       16.74         43,193.67
                                                          HOFFMAN BLVD., ASHLAND)

07/11/17     54139    PPL Electric Utilities              ELECTRIC BILL (ACCT. NO. 36230-44050)(S           2990-000                                       43.47         43,150.20
                                                          HOFFMAN BLVD., ASHLAND)

07/11/17     54140    PPL Electric Utilities              ELECTRIC BILL (ACCT. NO. 11430-43128)             2990-000                                       16.74         43,133.46
                                                          (315 Walnut St., Ashland)

07/12/17     54141    US POSTMASTER                       REIMBURSEMENT OF POSTAGE                          2690-000                                       36.19         43,097.27
                                                          (MISCELLANEOUS FILINGS & SERVICES
                                                          and MAILINGS)

07/14/17     54142    BARRY J. SPIELES                    PROPERTY MAINTENANCE                              2690-000                                      240.00         42,857.27




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                                                       Cash Receipts and Disbursements Record                                                                                   Page: 74

Case Number:          15-03964 MJC                                                                Trustee:                William G. Schwab
Case Name:            Apartments And Acquistions LP                                               Bank Name:              Texas Capital Bank
                                                                                                  Account:                ******1656 - Checking Account
Taxpayer ID#:         **-***4454                                                                  Blanket Bond:           $6,889,586.00 (per case limit)
Period Ending:        12/08/21                                                                    Separate Bond:          N/A

   1             2                      3                                        4                                                 5                  6                     7

 Trans.    Check or                                                                                           Uniform           Receipts        Disbursements           Checking
  Date      Ref. #           Paid To / Received From                 Description of Transaction              Tran. Code            $                  $              Account Balance

07/17/17              VARIOUS TENANTS                     RENT FROM 921 REAR CENTER ST.,                                            1,560.00                               44,417.27
                                                          ASHLAND (June, July & August Rent), 1513
                                                          WALNUT ST., ASHLAND (May Rent), 27 N.
                                                          NICE ST., FRACKVILLE (May & June Rent)

07/17/17 Asset #148                                                                                  800.00 1230-000                                                       44,417.27
07/17/17 Asset #148                                                                                   60.00 1230-000                                                       44,417.27
07/17/17 Asset #148                                                                                  700.00 1230-000                                                       44,417.27
07/17/17     54143    PPL Electric Utilities              ELECTRIC BILL (ACCT. NO. 87490-32155; 27           2990-000                                       55.07          44,362.20
                                                          N. NICE ST., APT. 1FL., FRACKVILLE)

07/17/17     54144    PPL Electric Utilities              ELECTRIC BILL (ACCT. NO. 72290-34081;              2990-000                                      148.07          44,214.13
                                                          1513 WALNUT ST., ASHLAND)

07/17/17     54145    PPL Electric Utilities              ELECTRIC BILL (ACCT. NO. 39655-71076; 27           2990-000                                       87.74          44,126.39
                                                          N. NICE ST., UNIT 2, APT. 2., FRACKVILLE)

07/17/17     54146    PPL Electric Utilities              ELECTRIC BILL (ACCT. NO. 47554-96054)              2990-000                                       47.47          44,078.92
                                                          (921 Centre St., 1 Floor, Front, Ashland)

07/17/17     54147    PENNSYLVANIA AMERICAN               WATER BILL (ACCT. NO. 1024-               2690-000                                                52.16          44,026.76
                      WATER                               220015919443; 27 N. NICE ST., FRACKVILLE)

07/17/17     54148    CARD SERVICES                       FILING & SERVICE FEES (MTN. TO SELL                2990-000                                      406.72          43,620.04
                                                          PROPERTIES AT AUCTION; SERVICE OF
                                                          MTN. TO SELL PROPERTIES AT AUCTION)

07/18/17              UNITED STATES LIABILITY             REFUND (PROPERTY INSURANCE)                        2690-000                                      -704.80         44,324.84
                      INSURANCE




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                                                      Cash Receipts and Disbursements Record                                                                                  Page: 75

Case Number:          15-03964 MJC                                                              Trustee:                William G. Schwab
Case Name:            Apartments And Acquistions LP                                             Bank Name:              Texas Capital Bank
                                                                                                Account:                ******1656 - Checking Account
Taxpayer ID#:         **-***4454                                                                Blanket Bond:           $6,889,586.00 (per case limit)
Period Ending:        12/08/21                                                                  Separate Bond:          N/A

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 Trans.    Check or                                                                                         Uniform           Receipts        Disbursements           Checking
  Date      Ref. #          Paid To / Received From                Description of Transaction              Tran. Code            $                  $              Account Balance

07/20/17     54149    ASHLAND BOROUGH                    WATER, SEWER, GARBAGE, FIRE                       2690-003                                      811.80          43,513.04
                                                         PROTECTION SERVICES 4/1/17 - 6/30/17
                                                         (1513 WALNUT ST., ASHLAND)(ACCT. NO.
                                                         001317)

07/20/17     54149    ASHLAND BOROUGH                    WATER, SEWER, GARBAGE, FIRE                       2690-003                                      -811.80         44,324.84
                                                         PROTECTION SERVICES 4/1/17 - 6/30/17
                                                         (1513 WALNUT ST., ASHLAND)(ACCT. NO.
                                                         001317) ASHLAND BOROUGH

07/20/17     54150    ASHLAND BOROUGH                    WATER, SEWER, GARBAGE, FIRE                       2690-000                                      294.85          44,029.99
                                                         PROTECTION SERVICES 4/1/17 - 6/30/17
                                                         (1513 WALNUT ST., ASHLAND)(ACCT. NO.
                                                         001317)

07/20/17     54151    ASHLAND BOROUGH                    WATER, SEWER, GARBAGE, FIRE                       2690-000                                      885.65          43,144.34
                                                         PROTECTION SERVICES 4/1/17 - 6/30/17 (34
                                                          SOUTH THIRD ST., ASHLAND)(ACCT. NO.
                                                         001987)

07/20/17     54152    ASHLAND BOROUGH                    WATER, SEWER, GARBAGE, FIRE                       2690-000                                      359.85          42,784.49
                                                         PROTECTION SERVICES 4/1/17 - 6/30/17
                                                         (919-921 CENTRE ST., ASHLAND)(ACCT.
                                                         NO. 000612)

07/21/17 Asset #148 KIM & JOHN KANAS                     RENT FOR 135 S. FRANKLIN STREET,                  1230-000                  500.00                              43,284.49
                                                         SHAMOKIN, PA

07/21/17     54153    BARRY J. SPIELES                   PROPERTY MAINTENANCE                              2690-000                                      280.00          43,004.49

07/24/17 Asset #148 LEHIGH ANN MAURER                    RENT FOR 1513 WALNUT STREET,                      1230-000                   40.00                              43,044.49
                                                         ASHLAND, PA




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                                                       Cash Receipts and Disbursements Record                                                                                   Page: 76

Case Number:          15-03964 MJC                                                                 Trustee:                William G. Schwab
Case Name:            Apartments And Acquistions LP                                                Bank Name:              Texas Capital Bank
                                                                                                   Account:                ******1656 - Checking Account
Taxpayer ID#:         **-***4454                                                                   Blanket Bond:           $6,889,586.00 (per case limit)
Period Ending:        12/08/21                                                                     Separate Bond:          N/A

   1             2                      3                                         4                                                 5                  6                    7

 Trans.    Check or                                                                                            Uniform           Receipts        Disbursements          Checking
  Date      Ref. #           Paid To / Received From                  Description of Transaction              Tran. Code            $                  $             Account Balance

07/28/17     54154    TRUSTEE INSURANCE AGENCY INSURANCE PREMIUM (INVOICE NO. 8889)                           2690-000                                      493.20         42,551.29

08/03/17              SCHUYLKILL COUNTY HOUSING RENT FOR 1513 WALNUT STREET,                                                            909.00                             43,460.29
                      AUTHORITY                 ASHLAND AND 27 N. NICE STREET,
                                                FRACKVILLE, PA

08/03/17 Asset #148                                                                                   161.00 1230-000                                                      43,460.29
08/03/17 Asset #148                                                                                   748.00 1230-000                                                      43,460.29
08/07/17 Asset #148 KAYLYN J. KUMANGAI                    Rent (27 N Nice Street, Frackville)                 1230-000                  709.00                             44,169.29

08/07/17     54155    BARRY J. SPIELES                    PROPERTY MAINTENANCE                                2690-000                                      480.00         43,689.29

08/07/17     54156    Pennsylvania American Water         WATER BILL (ACCT. NO. 1024-               2990-000                                                 43.68         43,645.61
                                                          220015919443; 27 N. NICE ST., FRACKVILLE)

08/07/17     54157    PPL Electric Utilities              ELECTRIC BILL (ACCT. NO. 11630-43099)(34            2990-000                                       21.32         43,624.29
                                                          HOFFMAN BLVD., HOUSE METER,
                                                          ASHLAND)

08/07/17     54158    PPL Electric Utilities              ELECTRIC BILL (ACCT. NO. 11430-43128)               2990-000                                       17.19         43,607.10
                                                          (315 Walnut St., Ashland)

08/07/17     54159    PPL Electric Utilities              ELECTRIC BILL (ACCT. NO. 11030-43135)(34            2990-000                                       17.19         43,589.91
                                                          HOFFMAN BLVD., ASHLAND)

08/07/17     54160    PPL Electric Utilities              ELECTRIC BILL (ACCT. NO. 36230-44050)(S             2990-000                                       39.17         43,550.74
                                                          HOFFMAN BLVD., ASHLAND)

08/10/17     54161    BOROUGH OF ASHLAND                  PROPERTY MAINTENANCE FEES (TRASH                    2690-000                                       30.00         43,520.74
                                                          BAGS - LEANNE MAURER - 1513 WALNUT
                                                          ST.)


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Case Number:          15-03964 MJC                                                               Trustee:                William G. Schwab
Case Name:            Apartments And Acquistions LP                                              Bank Name:              Texas Capital Bank
                                                                                                 Account:                ******1656 - Checking Account
Taxpayer ID#:         **-***4454                                                                 Blanket Bond:           $6,889,586.00 (per case limit)
Period Ending:        12/08/21                                                                   Separate Bond:          N/A

   1             2                      3                                       4                                                 5                  6                     7

 Trans.    Check or                                                                                          Uniform           Receipts        Disbursements           Checking
  Date      Ref. #           Paid To / Received From                Description of Transaction              Tran. Code            $                  $              Account Balance

08/14/17     54162    PPL Electric Utilities              ELECTRIC BILL (ACCT. NO. 47554-96054)             2990-000                                       44.24          43,476.50
                                                          (921 CENTRE ST., ASHLAND)

08/15/17     54163    PPL Electric Utilities              ELECTRIC BILL (ACCT. NO. 72290-34081;             2990-000                                      141.86          43,334.64
                                                          1513 WALNUT ST., ASHLAND)

08/15/17     54164    PPL Electric Utilities              ELECTRIC BILL (ACCT. NO. 87490-32155; 27          2990-000                                       55.37          43,279.27
                                                          N. NICE ST., APT. 1FL., FRACKVILLE)

08/15/17     54165    PPL Electric Utilities              ELECTRIC BILL (ACCT. NO. 39655-71076; 27          2990-000                                       86.81          43,192.46
                                                          N. NICE ST., UNIT 2, APT. 2., FRACKVILLE)

08/18/17   Asset #40 JENNIFER & MATTHEW                   DOWN MONEY FOR 1740-1742 MOHAWK                   1110-000               1,100.00                               44,292.46
                     SWARTZ                               STREET, COAL TOWNSHIP, PA

08/18/17   Asset #40 JENNIFER & MATTHEW                   DOWN MONEY FOR 1740-1742 MOHAWK                   1110-000              -1,100.00                               43,192.46
                     SWARTZ                               STREET, COAL TOWNSHIP, PA JENNIFER &
                                                          MATTHEW SWARTZ

08/22/17     54166    BARRY J. SPIELES                    PROPERTY MAINTENANCE                              2690-000                                      600.00          42,592.46

09/01/17     54167    TRUSTEE INSURANCE AGENCY INSURANCE PREMIUM (INVOICE NO. 9061);                        2690-003                                      181.20          42,411.26
                                               Voided on 09/01/2017

09/01/17     54167    TRUSTEE INSURANCE AGENCY INSURANCE PREMIUM (INVOICE NO. 9061);                        2690-003                                      -181.20         42,592.46
                                               Voided: Check issued on 09/01/2017

09/01/17     54168    TRUSTEE INSURANCE AGENCY INSURANCE PREMIUM (INVOICE NO. 9061)                         2690-000                                      181.20          42,411.26

09/05/17 Asset #148 KAYLYN J. KUMANGAI                    RENT FOR 27 NORTH NICE STREET,                    1230-000                  709.00                              43,120.26
                                                          FRACKVILLE, PA



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                                                      Cash Receipts and Disbursements Record                                                                                   Page: 78

Case Number:          15-03964 MJC                                                               Trustee:                William G. Schwab
Case Name:            Apartments And Acquistions LP                                              Bank Name:              Texas Capital Bank
                                                                                                 Account:                ******1656 - Checking Account
Taxpayer ID#:         **-***4454                                                                 Blanket Bond:           $6,889,586.00 (per case limit)
Period Ending:        12/08/21                                                                   Separate Bond:          N/A

   1             2                    3                                         4                                                 5                  6                     7

 Trans.    Check or                                                                                          Uniform           Receipts        Disbursements           Checking
  Date      Ref. #          Paid To / Received From                 Description of Transaction              Tran. Code            $                  $              Account Balance

09/05/17              SCHUYLKILL COUNTY HOUSING RENT FOR 27 NORTH NICE STREET,                                                        909.00                              44,029.26
                      AUTHORITY                 FRACKVILLE, PA AND 15 13 WALNUT ST.,
                                                ASHLAND , PA

09/05/17 Asset #148                                                                                 748.00 1230-000                                                       44,029.26
09/05/17 Asset #148                                                                                 161.00 1230-000                                                       44,029.26
09/05/17 Asset #116 RICHARD R. FEUDALE,                  SALE OF REAL ESTATE ON 917-923                     1110-000                  465.00                              44,494.26
                    ESQUIRE                              CENTRE ST., ASHALAND, PA PER COURT
                                                         ORDER DATED 07-27-17

09/05/17              RICHARD R. FEUDALE,                SALE OF REAL ESTATE ON 917-923                                            5,500.97                               49,995.23
                      ESQUIRE                            CENTRE ST., ASHALAND, PA PER COURT
                                                         ORDER DATED 07-27-17

09/05/17 Asset #116                                      Balance of purchcase in                 15,631.46 1110-000                                                       49,995.23
                                                         deposit 122

09/05/17                                                 Delinquent Taxes                         -7,716.73 4700-000                                                      49,995.23

09/05/17                                                 Sewer/Water Trash                         -711.25 2690-000                                                       49,995.23

09/05/17                                                 2017 School Taxes                         -502.90 2690-000                                                       49,995.23

09/05/17                                                 2017 County Taxes                         -539.61 2690-000                                                       49,995.23

09/05/17                                                                                           -160.00 2500-000                                                       49,995.23
09/05/17                                                                                           -500.00 3610-000                                                       49,995.23
09/05/17              Richard Feudale, Esquire           SALE OF REAL ESTATE ON 27 NORTH NICE               2500-000                                      -420.00         50,415.23
                                                         STREET, FRACKVILLE, PA PER COURT
                                                         ORDER DATED 07-27-17



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                                                       Cash Receipts and Disbursements Record                                                                                Page: 79

Case Number:           15-03964 MJC                                                                 Trustee:                William G. Schwab
Case Name:             Apartments And Acquistions LP                                                Bank Name:              Texas Capital Bank
                                                                                                    Account:                ******1656 - Checking Account
Taxpayer ID#:          **-***4454                                                                   Blanket Bond:           $6,889,586.00 (per case limit)
Period Ending:         12/08/21                                                                     Separate Bond:          N/A

   1             2                     3                                           4                                                 5                  6                7

 Trans.    Check or                                                                                             Uniform           Receipts        Disbursements      Checking
  Date      Ref. #           Paid To / Received From                   Description of Transaction              Tran. Code            $                  $         Account Balance

09/05/17               RICHARD R. FEUDALE,                SALE OF REAL ESTATE ON 27 NORTH NICE                                        4,614.69                          55,029.92
                       ESQUIRE                            STREET, FRACKVILLE, PA PER COURT
                                                          ORDER DATED 07-27-17

09/05/17   Asset #57                                      Balance of Purchase Price                 12,900.00 1110-000                                                  55,029.92
                                                          Dep 57

09/05/17                                                  Current Sewer Bill                          -661.25 2990-000                                                  55,029.92

09/05/17                                                  Current Taxes                               -996.36 2820-000                                                  55,029.92

09/05/17                                                                                             -1,118.61 5800-000                                                 55,029.92
09/05/17                                                                                             -2,130.12 5800-000                                                 55,029.92
09/05/17                                                                                             -2,733.97 4700-000                                                 55,029.92
09/05/17                                                                                              -145.00 2500-000                                                  55,029.92
09/05/17                                                                                              -500.00 3610-000                                                  55,029.92
09/05/17               RICHARD R. FEUDALE,                SALE OF REAL ESTATE ON 135 SOUTH                                               317.15                         55,347.07
                       ESQUIRE                            FRANKLIN STREET, SHAMOKIN, PA PER
                                                          COURT ORDER DATED 07-27-17

09/05/17 Asset #125                                                                                  5,105.83 1210-000                                                  55,347.07
09/05/17                                                  2016 Taxes                                  -630.08 2690-000                                                  55,347.07

09/05/17                                                  2013 2014 Taxes                            -1,543.37 4700-000                                                 55,347.07

09/05/17                                                  2015 Taxes                                  -656.34 5800-000                                                  55,347.07

09/05/17                                                  Current Taxes                               -559.91 2690-000                                                  55,347.07



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                                                      Cash Receipts and Disbursements Record                                                                                  Page: 80

Case Number:          15-03964 MJC                                                               Trustee:                William G. Schwab
Case Name:            Apartments And Acquistions LP                                              Bank Name:              Texas Capital Bank
                                                                                                 Account:                ******1656 - Checking Account
Taxpayer ID#:         **-***4454                                                                 Blanket Bond:           $6,889,586.00 (per case limit)
Period Ending:        12/08/21                                                                   Separate Bond:          N/A

   1             2                    3                                         4                                                 5                   6                   7

 Trans.    Check or                                                                                          Uniform           Receipts         Disbursements         Checking
  Date      Ref. #          Paid To / Received From                 Description of Transaction              Tran. Code            $                   $            Account Balance

09/05/17                                                                                           -843.98 2690-000                                                      55,347.07
09/05/17                                                 Closing Costs                              -55.00 2500-000                                                      55,347.07

09/05/17                                                                                           -500.00 3610-000                                                      55,347.07
09/05/17 Asset #125 RICHARD R. FEUDALE,                  SALE OF REAL ESTATE ON 135 SOUTH                   1210-000                  150.00                             55,497.07
                    ESQUIRE                              FRANKLIN STREET, SHAMOKIN, PA PER
                                                         COURT ORDER DATED 07-27-17

09/05/17     54169    HOUSER AUCTIONEERS                 AUCTIONEER ADVERTISING & SERVICE                   3610-000                                      759.48         54,737.59
                                                         FEES

09/06/17 Asset #148 ACORN ESTATES, LLC                   FORWARD OF SEPTEMBER RENT                          1230-000                  -870.00                            53,867.59
           54170                                         PAYMENTS RECEIVED FROM K. KUMANGAI
                                                         & SCHUYLKILL COUNTY HOUSING
                                                         AUTHORITY

09/07/17              VARIOUS TENANTS                    RENT (JOHN HALLOWAY AT 27 N. NICE ST.,                                       800.00                             54,667.59
                                                         Frackville & BARB MCCGURL AT 921 REAR
                                                         CENTRE ST., Ashland)

09/07/17 Asset #148                                                                                 400.00 1230-000                                                      54,667.59
09/07/17 Asset #148                                                                                 400.00 1230-000                                                      54,667.59
09/07/17              POTTSVILLE INTERNIST ASSOC ADJUSTMENT - FUNDS DEPOSITED INTO              1110-000                          11,317.81                              65,985.40
                                                 WRONG BANK ACCOUNT (Deposited into PIA
                                                 Acct. - Should be A&A Acct.) (Apartments &
                                                 Acquisitions Funds from Proceeds - Sale of 135
                                                 S. Franklin St.,, Shamokin 917-919 & 921-923
                                                 Center St., Ashland, & 27 N. Nice St.,
                                                 Frackville)




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                                                       Cash Receipts and Disbursements Record                                                                                  Page: 81

Case Number:          15-03964 MJC                                                               Trustee:                William G. Schwab
Case Name:            Apartments And Acquistions LP                                              Bank Name:              Texas Capital Bank
                                                                                                 Account:                ******1656 - Checking Account
Taxpayer ID#:         **-***4454                                                                 Blanket Bond:           $6,889,586.00 (per case limit)
Period Ending:        12/08/21                                                                   Separate Bond:          N/A

   1             2                      3                                       4                                                 5                  6                     7

 Trans.    Check or                                                                                          Uniform           Receipts        Disbursements           Checking
  Date      Ref. #           Paid To / Received From                Description of Transaction              Tran. Code            $                  $              Account Balance

09/07/17     54171    PPL Electric Utilities              ELECTRIC BILL (ACCT. NO. 36230-44050)(S           2990-003                                      300.27          65,685.13
                                                          HOFFMAN BLVD., ASHLAND)

09/07/17     54171    PPL Electric Utilities              ELECTRIC BILL (ACCT. NO. 36230-44050)(S           2990-003                                      -300.27         65,985.40
                                                          HOFFMAN BLVD., ASHLAND) PPL Electric
                                                          Utilities

09/07/17     54172    PPL Electric Utilities              ELECTRIC BILL (ACCT. NO. 36230-44050)(S           2990-000                                       39.27          65,946.13
                                                          HOFFMAN BLVD., ASHLAND)

09/07/17     54173    PPL Electric Utilities              ELECTRIC BILL (ACCT. NO. 11030-43135)(34          2990-000                                       17.16          65,928.97
                                                          HOFFMAN BLVD., ASHLAND)

09/07/17     54174    PPL Electric Utilities              ELECTRIC BILL (ACCT. NO. 11630-43099)(34          2990-000                                       21.42          65,907.55
                                                          HOFFMAN BLVD., HOUSE METER,
                                                          ASHLAND)

09/07/17     54175    PPL Electric Utilities              ELECTRIC BILL (ACCT. NO. 11430-43128)             2990-000                                       17.16          65,890.39
                                                          (315 Walnut St., Ashland)

09/08/17     54176    Pennsylvania American Water         WATER BILL (ACCT. NO. 1024-               2990-000                                               50.04          65,840.35
                                                          220015919443; 27 N. NICE ST., FRACKVILLE)

09/13/17     54177    BARRY J. SPIELES                    PROPERTY MAINTENANCE                              2690-000                                      240.00          65,600.35

09/13/17     54178    PPL Electric Utilities              ELECTRIC BILL (ACCT. NO. 47554-96054)             2990-000                                       46.24          65,554.11
                                                          (921 CENTRE ST., ASHLAND)

09/18/17 Asset #148 LEIGHANN MAURER                       PARTIAL PAYMENT OF PAST DUE RENT                  1230-000                  317.00                              65,871.11

09/19/17 Asset #148 BRIDGETT O'CONNELL                    RENT FROM MAY TO AUGUST 2017                      1230-000               1,000.00                               66,871.11



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                                                       Cash Receipts and Disbursements Record                                                                                      Page: 82

Case Number:          15-03964 MJC                                                                    Trustee:                William G. Schwab
Case Name:            Apartments And Acquistions LP                                                   Bank Name:              Texas Capital Bank
                                                                                                      Account:                ******1656 - Checking Account
Taxpayer ID#:         **-***4454                                                                      Blanket Bond:           $6,889,586.00 (per case limit)
Period Ending:        12/08/21                                                                        Separate Bond:          N/A

   1             2                      3                                            4                                                 5                  6                    7

 Trans.    Check or                                                                                               Uniform           Receipts        Disbursements          Checking
  Date      Ref. #           Paid To / Received From                     Description of Transaction              Tran. Code            $                  $             Account Balance

09/19/17 Asset #148 BRIDGETT O'CONNELL                    RENT FROM MAY TO AUGUST 2017                           1230-000               1,000.00                              67,871.11

09/19/17     54179    PPL Electric Utilities              ELECTRIC BILL (ACCT. NO. 72290-34081;                  2990-000                                      139.68         67,731.43
                                                          1513 WALNUT ST., ASHLAND)

09/21/17     54180    BOROUGH OF ASHLAND                  PROPERTY MAINTENANCE FEES (TRASH                       2690-000                                       30.00         67,701.43
                                                          BAGS)(1513 Walnut St., Ashland)

09/21/17     54181    CARD SERVICES                       FILING & SERVICE FEES (Notice & Motion to              2990-000                                      104.94         67,596.49
                                                          Abandon Remaining Properties)

09/25/17     54182    Pennsylvania American Water         WATER BILL (ACCT. NO. 1024-               2990-000                                                    27.03         67,569.46
                                                          220015919443; 27 N. NICE ST., FRACKVILLE)

09/27/17     54183    TRUSTEE INSURANCE AGENCY INSURANCE PREMIUM (INVOICE NO. 9205)                              2690-000                                      181.20         67,388.26

10/02/17              RICHARD R. FEUDALE,                 SALE OF REAL PROPERTY- 601 NORTH                                                 39.00                              67,427.26
                      ESQUIRE                             FRANKLIN ST., SHAMOKIN PER CT ORDER
                                                          DATED 07-27-17

10/02/17 Asset #152                                                                                    1,505.23 1110-000                                                      67,427.26
10/02/17                                                                                                -168.28 2690-000                                                      67,427.26
10/02/17                                                                                                -238.74 5800-000                                                      67,427.26
10/02/17                                                                                                -541.21 5800-000                                                      67,427.26
10/02/17                                                  transfer tax                                   -13.00 2500-000                                                      67,427.26

10/02/17                                                  notary fees                                      -5.00 2500-000                                                     67,427.26

10/02/17                                                                                                -500.00 3610-000                                                      67,427.26



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                                                      Cash Receipts and Disbursements Record                                                                               Page: 83

Case Number:          15-03964 MJC                                                                Trustee:                William G. Schwab
Case Name:            Apartments And Acquistions LP                                               Bank Name:              Texas Capital Bank
                                                                                                  Account:                ******1656 - Checking Account
Taxpayer ID#:         **-***4454                                                                  Blanket Bond:           $6,889,586.00 (per case limit)
Period Ending:        12/08/21                                                                    Separate Bond:          N/A

   1             2                    3                                          4                                                 5                  6                7

 Trans.    Check or                                                                                           Uniform           Receipts        Disbursements      Checking
  Date      Ref. #          Paid To / Received From                  Description of Transaction              Tran. Code            $                  $         Account Balance

10/02/17              RICHARD R. FEUDALE,                SALE OF REAL PROPERTY -34 THIRD ST-                                           225.00                         67,652.26
                      ESQUIRE                            A/K/A 315 WALNUT ST, ASHLAND PA PER
                                                         CT ORDER DATED 07-27-17

10/02/17 Asset #121                                      a/k/a 34 Third St., Ashland &             7,887.12 1210-000                                                  67,652.26
                                                         34 Hoffman Blvd., Ashland

10/02/17                                                                                           -2,476.20 5800-000                                                 67,652.26
10/02/17                                                 current taxes                              -783.64 2690-000                                                  67,652.26

10/02/17                                                                                           -3,822.28 5800-000                                                 67,652.26
10/02/17                                                 Transfer Tax                                -75.00 2500-000                                                  67,652.26

10/02/17                                                 Dena Kistler-Notary                           -5.00 2500-000                                                 67,652.26

10/02/17                                                                                            -500.00 3610-000                                                  67,652.26
10/02/17 Asset #148 LEHIGH ANN MAURER                    RENT FOR 1513 WALNUT ST, ASHLAND                    1230-000                  403.00                         68,055.26
                                                         (past-due rents)

10/04/17              POTTSVILLE INTERNIST ASSOC ADJUSTMENT - FUNDS DEPOSITED INTO              1110-000                          -11,317.81                          56,737.45
                                                 WRONG BANK ACCOUNT (Deposited into PIA
                                                 Acct. - Should be A&A Acct.) (Apartments &
                                                 Acquisitions Funds from Proceeds - Sale of 135
                                                 S. Franklin St.,, Shamokin 917-919 & 921-923
                                                 Center St., Ashland, & 27 N. Nice St.,
                                                 Frackville) POTTSVILLE INTERNIST ASSOC

10/05/17 Asset #148 SCHUYLKILL COUNTY HOUSING RENT FOR 1513 WALNUT STREET,                                   1230-000                  748.00                         57,485.45
                    AUTHORITY                 ASHLAND, PA




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                                                       Cash Receipts and Disbursements Record                                                                                  Page: 84

Case Number:           15-03964 MJC                                                               Trustee:                William G. Schwab
Case Name:             Apartments And Acquistions LP                                              Bank Name:              Texas Capital Bank
                                                                                                  Account:                ******1656 - Checking Account
Taxpayer ID#:          **-***4454                                                                 Blanket Bond:           $6,889,586.00 (per case limit)
Period Ending:         12/08/21                                                                   Separate Bond:          N/A

   1             2                     3                                          4                                                5                  6                    7

 Trans.    Check or                                                                                           Uniform           Receipts        Disbursements          Checking
  Date      Ref. #           Paid To / Received From                 Description of Transaction              Tran. Code            $                  $             Account Balance

10/09/17     54184     Pennsylvania Department of         PAYMENT TO SECURED CREDITOR - CLAIM 4700-000                                                     730.00         56,755.45
                       Revenue                            2B (2012 TAX LIEN NO. CV-15-2114)

10/10/17               RUBRIGHT DOMALAKES TROY            SALE OF REAL PROPERTY- 1513 WALNUT                                           270.00                             57,025.45
                                                          STREET, ASHLAND, PA PER COURT ORDER
                                                          DATED 07-26-17

10/10/17   Asset #37                                      Gross Sales Including                    9,082.37 1110-000                                                      57,025.45
                                                          Trustee Reserve

10/10/17                                                  J-5136-2014                                -57.64 4700-000                                                      57,025.45

10/10/17                                                  Delinquent Sewer                         -1,677.40 4700-000                                                     57,025.45

10/10/17                                                  J-5138-2014                                -57.64 4700-000                                                      57,025.45

10/10/17                                                  J-2356-2013                              -1,726.90 4120-000                                                     57,025.45

10/10/17                                                  J-3949-2013                               -289.69 4700-000                                                      57,025.45

10/10/17                                                  J-3262-2012                               -354.74 4700-000                                                      57,025.45

10/10/17                                                  Tax Judgment                              -379.19 4700-000                                                      57,025.45

10/10/17                                                  Current Taxes                             -176.03 2690-000                                                      57,025.45

10/10/17                                                  Tax Lien                                  -237.74 4700-000                                                      57,025.45

10/10/17                                                  Ashland Sewer Delinquent                 -2,063.49 5800-000                                                     57,025.45
                                                          Acct




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                                                       Cash Receipts and Disbursements Record                                                                                 Page: 85

Case Number:          15-03964 MJC                                                                Trustee:                William G. Schwab
Case Name:            Apartments And Acquistions LP                                               Bank Name:              Texas Capital Bank
                                                                                                  Account:                ******1656 - Checking Account
Taxpayer ID#:         **-***4454                                                                  Blanket Bond:           $6,889,586.00 (per case limit)
Period Ending:        12/08/21                                                                    Separate Bond:          N/A

   1             2                      3                                        4                                                 5                   6                  7

 Trans.    Check or                                                                                           Uniform           Receipts         Disbursements        Checking
  Date      Ref. #           Paid To / Received From                 Description of Transaction              Tran. Code            $                   $           Account Balance

10/10/17                                                  Ashland Sewer                            -1,196.91 4700-000                                                    57,025.45

10/10/17                                                  Misc Closing Costs and                     -95.00 2500-000                                                     57,025.45
                                                          Transfer Taxes

10/10/17                                                                                            -500.00 3610-000                                                     57,025.45
10/11/17 Asset #148 MARK J. SARACHIK                      PRO-RATED RENT TO RETURN TO BUYER                  1230-000                  -591.88                           56,433.57
           54185                                          (1513 WALNUT ST., ASHLAND)

10/19/17     54186    US POSTMASTER                       REIMBURSEMENT OF POSTAGE                           2690-000                                       8.05         56,425.52
                                                          (MISCELLANEOUS FILINGS & SERVICES
                                                          and MAILINGS)

10/26/17     54187    PPL Electric Utilities              ELECTRIC BILL (ACCT. NO. 11430-43128)              2990-000                                      27.23         56,398.29
                                                          (315 Walnut St., Ashland)

10/27/17     54188    TRUSTEE INSURANCE AGENCY INSURANCE PREMIUM (INVOICE NO. 9366)                          2690-000                                      60.00         56,338.29

11/07/17     54189    PPL Electric Utilities              ELECTRIC BILL (ACCT. NO. 47554-96054)              2990-000                                      72.15         56,266.14
                                                          (921 CENTRE ST., ASHLAND)

11/07/17     54190    PPL Electric Utilities              ELECTRIC BILL (ACCT. NO. 36230-44050)(S            2990-000                                      79.75         56,186.39
                                                          HOFFMAN BLVD., ASHLAND)

11/07/17     54191    PPL Electric Utilities              ELECTRIC BILL (ACCT. NO. 11030-43135)(34           2990-000                                      30.37         56,156.02
                                                          HOFFMAN BLVD., ASHLAND)

11/07/17     54192    PPL Electric Utilities              ELECTRIC BILL (ACCT. NO. 11630-43099)(34           2990-000                                      52.79         56,103.23
                                                          HOFFMAN BLVD., HOUSE METER,
                                                          ASHLAND)




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                                                        Cash Receipts and Disbursements Record                                                                                   Page: 86

Case Number:           15-03964 MJC                                                                 Trustee:                William G. Schwab
Case Name:             Apartments And Acquistions LP                                                Bank Name:              Texas Capital Bank
                                                                                                    Account:                ******1656 - Checking Account
Taxpayer ID#:          **-***4454                                                                   Blanket Bond:           $6,889,586.00 (per case limit)
Period Ending:         12/08/21                                                                     Separate Bond:          N/A

   1             2                       3                                         4                                                 5                  6                    7

 Trans.    Check or                                                                                             Uniform           Receipts        Disbursements          Checking
  Date      Ref. #            Paid To / Received From                  Description of Transaction              Tran. Code            $                  $             Account Balance

11/07/17     54193     PPL Electric Utilities              ELECTRIC BILL (ACCT. NO. 39655-71076; 27            2990-000                                      198.32         55,904.91
                                                           N. NICE ST., UNIT 2, APT. 2., FRACKVILLE)

11/07/17     54194     PPL Electric Utilities              ELECTRIC BILL (ACCT. NO. 72290-34081;               2990-000                                      159.70         55,745.21
                                                           1513 WALNUT ST., ASHLAND)

11/07/17     54195     PPL Electric Utilities              ELECTRIC BILL (ACCT. NO. 87490-32155; 27            2990-000                                      229.87         55,515.34
                                                           N. NICE ST., APT. 1FL., FRACKVILLE)

12/04/17     54196     BARRY J. SPIELES                    PROPERTY MAINTENANCE                                2690-000                                       40.00         55,475.34

12/11/17               SCHLESINGER &                       SALE OF REAL PROPERTY -1740-1742                                              209.00                             55,684.34
                       KERSTETTER,LLP                      MOHAWK STREET, COAL TWP. (PER
                                                           COURT ORDER DATED 07-26-17)

12/11/17   Asset #41                                       1740-172 W. Mohawk St.,                   1,129.69 1110-000                                                      55,684.34
                                                           Coal Township

12/11/17                                                   Current Real Estate Taxes                  -122.97 5800-000                                                      55,684.34

12/11/17                                                   Tax Certifications                          -50.00 2500-000                                                      55,684.34

12/11/17                                                   Real Estate Taxes                          -631.72 5800-000                                                      55,684.34

12/11/17                                                   Transfer Taxes                              -11.00 2500-000                                                      55,684.34

12/11/17                                                   Notary Fees-Dena Kistler                      -5.00 2500-000                                                     55,684.34

12/11/17                                                   auctioneer fees                            -100.00 3610-000                                                      55,684.34




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Case Number:          15-03964 MJC                                                             Trustee:                William G. Schwab
Case Name:            Apartments And Acquistions LP                                            Bank Name:              Texas Capital Bank
                                                                                               Account:                ******1656 - Checking Account
Taxpayer ID#:         **-***4454                                                               Blanket Bond:           $6,889,586.00 (per case limit)
Period Ending:        12/08/21                                                                 Separate Bond:          N/A

   1             2                    3                                       4                                                 5                  6                    7

 Trans.    Check or                                                                                        Uniform           Receipts        Disbursements          Checking
  Date      Ref. #          Paid To / Received From               Description of Transaction              Tran. Code            $                  $             Account Balance

01/16/18     54197    CARD SERVICES                      FILING/SERVICE FEE (NOTICE OF THE                2990-000                                       82.84         55,601.50
                                                         MOTION TO COMPEL)

01/17/18 Asset #138 WELLS FARGO BANK                     REFUND OF CLOSED BANK ACCOUNT                    1290-000                  75.00                              55,676.50
                                                         (XX6898)

01/29/18     54198    TRUSTEE INSURANCE AGENCY INSURANCE PREMIUM (INVOICE NO. 9765)                       2690-000                                       60.00         55,616.50

02/01/18     54199    TRUSTEE INSURANCE AGENCY INSURANCE PREMIUM (INVOICE NO. 9515)                       2690-000                                       60.00         55,556.50
                                               (December)

02/01/18     54200    TRUSTEE INSURANCE AGENCY INSURANCE PREMIUM (INVOICE NO. 9639)                       2690-000                                       60.00         55,496.50
                                               (January)

02/20/18     54201    CARD SERVICES                      FILING/SERVICE FEE (NOTICE OF THE                2990-000                                       83.93         55,412.57
                                                         MOTION TO COMPEL SETTLEMENT &
                                                         APPROVE SETTLEMENT AGREEMENT)

02/26/18     54202    TRUSTEE INSURANCE AGENCY INSURANCE PREMIUM (INVOICE NO. 9911)                       2690-000                                       60.00         55,352.57

02/27/18     54203    BUSINESS CARD SERVICES             FILING FEE (COMPLAINT V. GERALD                  2690-000                                      350.00         55,002.57
                                                         DONAHUE D/B/A DONAHUE FUNERAL
                                                         HOME & JOHN DOE & JOHN DOE CORP.)

03/12/18     54204    US POSTMASTER                      REIMBURSEMENT OF POSTAGE                         2690-000                                       10.74         54,991.83
                                                         (MISCELLANEOUS FILINGS & SERVICES)
                                                         (Complaint & Summons v. Donahue)

03/15/18     54205    CARD SERVICES                      FILING/SERVICE FEE (NOTICE OF THE                2990-000                                       74.69         54,917.14
                                                         MOTION TO APPROVE SETTLEMENT V.
                                                         HARRY Z. BRILL, ZVI LAND & BRODY
                                                         PROPERTY)



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                                                      Cash Receipts and Disbursements Record                                                                                  Page: 88

Case Number:          15-03964 MJC                                                               Trustee:                William G. Schwab
Case Name:            Apartments And Acquistions LP                                              Bank Name:              Texas Capital Bank
                                                                                                 Account:                ******1656 - Checking Account
Taxpayer ID#:         **-***4454                                                                 Blanket Bond:           $6,889,586.00 (per case limit)
Period Ending:        12/08/21                                                                   Separate Bond:          N/A

   1             2                    3                                         4                                                 5                  6                    7

 Trans.    Check or                                                                                          Uniform           Receipts        Disbursements          Checking
  Date      Ref. #          Paid To / Received From                 Description of Transaction              Tran. Code            $                  $             Account Balance

04/02/18     54206    TRUSTEE INSURANCE AGENCY INSURANCE PREMIUM (INVOICE NO. 10046)                        2690-000                                       60.00         54,857.14

04/05/18 Asset #150 WILLIAM G. SCHWAB, ESCROW DEFAULT ON ASSET #150-912-923 CENTRE                          1210-000                  176.00                             55,033.14
                    ACCT                      ST., ASHLAND, PA

04/05/18   Asset #29 WILLIAM G. SCHWAB, ESCROW PARTIAL PAYMENT -DEFAULT ON 1251                             1110-000              11,000.00                              66,033.14
                     ACCT                      CHEMUNG STREET, COAL TWP.

04/05/18              WILLIAM G. SCHWAB, ESCROW DEFAULT ON ASSET # 150- CHRIS                                                         700.00                             66,733.14
                      ACCT                      MARTIN-615 N. 2ND ST, 135 S. FRANKLIN
                                                ST. & 601 N. FRANKLIN ST, SHAMOKIN, PA

04/05/18                                                                                            200.00 9999-000                                                      66,733.14
04/05/18 Asset #150                                                                                 700.00 1210-000                                                      66,733.14
04/23/18     54207    US POSTMASTER                      REIMBURSEMENT OF POSTAGE                           2690-000                                       36.50         66,696.64
                                                         (MISCELLANEOUS FILINGS & SERVICES)

04/24/18     54208    BUSINESS CARD SERVICES             COURT CALL FEE (COURTCALL ID NO.                   2990-000                                       30.00         66,666.64
                                                         8969891

04/27/18     54209    TRUSTEE INSURANCE AGENCY INSURANCE PREMIUM (INVOICE NO. 10185)                        2690-000                                       60.00         66,606.64

05/04/18     54210    District Judge, John Gembic        Landlord/Tenant Complaint v. Bridget               2990-000                                      216.75         66,389.89
                                                         O'Connell (1252 Chemung St., Coal Township)

05/08/18 Asset #155 INCOMING WIRE TRANSFER               INCOMING WIRE TRANSFER (SETTLEMENT                 1249-000              48,787.38                             115,177.27
                                                         OF ADVERSARY PROCEEDING #17-
                                                         AP-00148 - V. BRODY PROPERTIES, LP &
                                                         BRILL)




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                                                      Cash Receipts and Disbursements Record                                                                                Page: 89

Case Number:          15-03964 MJC                                                             Trustee:                William G. Schwab
Case Name:            Apartments And Acquistions LP                                            Bank Name:              Texas Capital Bank
                                                                                               Account:                ******1656 - Checking Account
Taxpayer ID#:         **-***4454                                                               Blanket Bond:           $6,889,586.00 (per case limit)
Period Ending:        12/08/21                                                                 Separate Bond:          N/A

   1             2                       3                                    4                                                 5                  6                    7

 Trans.    Check or                                                                                        Uniform           Receipts        Disbursements          Checking
  Date      Ref. #          Paid To / Received From               Description of Transaction              Tran. Code            $                  $             Account Balance

05/18/18     54211    Eagle Lake Community               PAYMENT OF CLAIM FROM SETTLEMENT                 7100-000                                  1,512.00          113,665.27
                      Association, Inc                   OF SCHWAB, TRUSTEE V. HARRY Z. BRILL,
                                                         ADV. #17-AP-00148 (PER THE COURT
                                                         ORDER DATED 5/1/18)

05/18/18     54212    City Of Scranton                   PAYMENT OF CLAIM FROM SETTLEMENT                 4700-004                                  9,904.69          103,760.58
                                                         OF SCHWAB, TRUSTEE V. HARRY Z. BRILL,
                                                         ADV. #17-AP-00148 (PER THE COURT
                                                         ORDER DATED 5/1/18)

05/18/18     54213    Lackwanna County TCB               PAYMENT OF CLAIM FROM SETTLEMENT                 4700-000                                  1,827.97          101,932.61
                                                         OF SCHWAB, TRUSTEE V. HARRY Z. BRILL,
                                                         ADV. #17-AP-00148 (PER THE COURT
                                                         ORDER DATED 5/1/18)

05/18/18     54214    Lackwanna County TCB               PAYMENT OF CLAIM FROM SETTLEMENT                 4700-000                                  3,483.82           98,448.79
                                                         OF SCHWAB, TRUSTEE V. HARRY Z. BRILL,
                                                         ADV. #17-AP-00148 (PER THE COURT
                                                         ORDER DATED 5/1/18)

05/18/18     54215    PLUM CREEK MUA                     PAYMENT OF CLAIM FROM SETTLEMENT                 7100-000                                  2,030.40           96,418.39
                                                         OF SCHWAB, TRUSTEE V. HARRY Z. BRILL,
                                                         ADV. #17-AP-00148 (PER THE COURT
                                                         ORDER DATED 5/1/18)

05/23/18     54216    BUSINESS CARD SERVICES             COURT CALL FEE (COURT CALL ID#                   2990-000                                      37.00          96,381.39
                                                         9044369)

05/25/18     54217    TRUSTEE INSURANCE AGENCY INSURANCE PREMIUM (INVOICE NO. 10315)                      2690-000                                      60.00          96,321.39

05/29/18              COMMONWEALTH OF PA                 REFUND - LAND LORD TENANT (BRIDGET               2990-000                                      -19.05         96,340.44
                                                         O'CONNELL)




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Case Number:          15-03964 MJC                                                                  Trustee:                William G. Schwab
Case Name:            Apartments And Acquistions LP                                                 Bank Name:              Texas Capital Bank
                                                                                                    Account:                ******1656 - Checking Account
Taxpayer ID#:         **-***4454                                                                    Blanket Bond:           $6,889,586.00 (per case limit)
Period Ending:        12/08/21                                                                      Separate Bond:          N/A

   1             2                       3                                         4                                                 5                  6                    7

 Trans.    Check or                                                                                             Uniform           Receipts        Disbursements          Checking
  Date      Ref. #           Paid To / Received From                   Description of Transaction              Tran. Code            $                  $             Account Balance

05/30/18     54212    City Of Scranton                      Stop Payment on Check 54212 City Of                4700-004                                 -9,904.69          106,245.13
                                                            Scranton

06/26/18     54218    BUSINESS CARD SERVICES                COURT CALL FEE (COURT CALL ID#                     2990-000                                       48.00        106,197.13
                                                            9093024) & LEGAL RESEARCH FEE
                                                            (secretary of commonwealth - corporate docs)

06/27/18     54219    TRUSTEE INSURANCE AGENCY INSURANCE PREMIUM (INVOICE NO. 10452)                           2690-000                                       60.00        106,137.13

07/03/18     54220    Magisterial District No. 08-3-03      FILING FEE (REQUEST FOR ORDER FOR                  2990-000                                      140.00        105,997.13
                                                            POSSESSION) (v. Bridget O'Connell - 1252
                                                            Chemung St., Coal Township)

07/10/18 Asset #148 BRIDGETT O'CONNELL                      BACK RENT FOR 1252 CHEMUNG ST.,                    1230-000               1,000.00                             106,997.13
                                                            COAL TWSP, PA

07/10/18 Asset #148 BRIDGETT O'CONNELL                      BACK RENT FOR 1252 CHEMUNG ST.,                    1230-000                  150.00                            107,147.13
                                                            COAL TWSP, PA

07/10/18 Asset #148 BRIDGETT O'CONNELL                      BACK RENT FOR 1252 CHEMUNG ST.,                    1230-000               1,000.00                             108,147.13
                                                            COAL TWSP, PA

07/10/18 Asset #148 BRIDGETT O'CONNELL                      BACK RENT FOR 1252 CHEMUNG ST.,                    1230-000               1,000.00                             109,147.13
                                                            COAL TWSP, PA

07/10/18 Asset #148 BRIDGETT O'CONNELL                      BACK RENT FOR 1252 CHEMUNG ST.,                    1230-000              -1,000.00                             108,147.13
                                                            COAL TWSP, PA BRIDGETT O'CONNELL

07/16/18     54221    US POSTMASTER                         Reimbursement of Postage & Filing Fees             2990-000                                       16.98        108,130.15
                                                            (Miscellaneous Mailings)




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Case Number:          15-03964 MJC                                                             Trustee:                William G. Schwab
Case Name:            Apartments And Acquistions LP                                            Bank Name:              Texas Capital Bank
                                                                                               Account:                ******1656 - Checking Account
Taxpayer ID#:         **-***4454                                                               Blanket Bond:           $6,889,586.00 (per case limit)
Period Ending:        12/08/21                                                                 Separate Bond:          N/A

   1             2                    3                                       4                                                 5                  6                     7

 Trans.    Check or                                                                                        Uniform           Receipts        Disbursements           Checking
  Date      Ref. #          Paid To / Received From               Description of Transaction              Tran. Code            $                  $              Account Balance

07/27/18     54222    TRUSTEE INSURANCE AGENCY INSURANCE PREMIUM (INVOICE NO. 10578)                      2690-000                                       60.00         108,070.15
                                               (AUGUST)

08/02/18 Asset #148 BRIDGETT O'CONNELL                   POST PETITION RENT FOR 1252 CHEMUNG              1230-000                  500.00                             108,570.15
                                                         STREET, COAL TWSP

08/02/18              COMMONWEALTH OF PA                 REFUND FROM LAND LORD TENANT                     2990-000                                      -108.60        108,678.75
                                                         COMPLAINT

08/03/18              LAW OFFICES OF MARKS,              ESCROW FUNDS RETURN- TAX LIEN ON                 2990-000                                 -1,029.87           109,708.62
                      MCLAUGHLIN & DENNEHY               951 WEST ARCH STREET, COAL TWSP, PA

08/21/18     54223    BARCLAYS                           MISCELLANEOUS FILING/SERVICING FEES              2990-003                                        1.22         109,707.40
                                                         (REIMBURSE CREDIT CARD CHARGES)

08/21/18     54223    BARCLAYS                           MISCELLANEOUS FILING/SERVICING FEES              2990-003                                        -1.22        109,708.62
                                                         (REIMBURSE CREDIT CARD CHARGES)
                                                         BARCLAYS

08/21/18     54224    BARCLAYS                           MISCELLANEOUS FILING/SERVICING FEES              2990-000                                      189.22         109,519.40
                                                         (REIMBURSE CREDIT CARD CHARGES)

08/24/18     54225    TRUSTEE INSURANCE AGENCY INSURANCE PREMIUM (INVOICE NO. 10699)                      2690-000                                       60.00         109,459.40
                                               (SEPTEMBER)

08/28/18     54226    US POSTMASTER                      REIMBURSEMENT OF POSTAGE                         2690-000                                       13.94         109,445.46
                                                         (MISCELLANEOUS FILINGS & SERVICES)

09/04/18 Asset #148 BRIDGETT O'CONNELL                   RENT FOR 1252 CHEMUNG ST., COAL                  1230-000                  500.00                             109,945.46
                                                         TWSP




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                                                      Cash Receipts and Disbursements Record                                                                                Page: 92

Case Number:          15-03964 MJC                                                             Trustee:                William G. Schwab
Case Name:            Apartments And Acquistions LP                                            Bank Name:              Texas Capital Bank
                                                                                               Account:                ******1656 - Checking Account
Taxpayer ID#:         **-***4454                                                               Blanket Bond:           $6,889,586.00 (per case limit)
Period Ending:        12/08/21                                                                 Separate Bond:          N/A

   1             2                    3                                       4                                                 5                  6                    7

 Trans.    Check or                                                                                        Uniform           Receipts        Disbursements          Checking
  Date      Ref. #          Paid To / Received From               Description of Transaction              Tran. Code            $                  $             Account Balance

09/18/18   Asset #29 BRIDGETT O'CONNELL                  PAYMENT ON PURCHASE OF 1252                      1110-000               1,000.00                             110,945.46
                                                         CHEMUNG ST., COAL TWP., PA

09/24/18     54227    BUSINESS CARD SERVICES             COURT CALL FEE (COURT CALL ID#                   2990-000                                       51.00        110,894.46
                                                         9262499)

10/09/18 Asset #148 BRIDGETT O'CONNELL                   RENT (1252 CHEMUNG STREET, COAL                  1230-000                  500.00                            111,394.46
                                                         TWSP)

10/22/18     54228    BUSINESS CARD SERVICES             US LAND RECORD SEARCH FEES                       2990-000                                       16.50        111,377.96
                                                         (REIMBURSEMENT TO CREDIT CARD
                                                         CHARGES) (REVIEW OF & PULL DEEDS)

10/25/18   Asset #29 BRIDGETT O'CONNELL                  PAYMENT FOR PURCHASE OF 1252                     1110-000                  700.00                            112,077.96
                                                         CHEMUNG STREET, COAL TOWNSHIP

10/25/18     54229    MICHAEL J. MCCRYSTAL,              WITNESS/SUBPOENA FEE                             2990-000                                      116.25        111,961.71
                      ESQUIRE
10/26/18     54230    TRUSTEE INSURANCE AGENCY INSURANCE PREMIUM (INVOICE NO. 10950)                      2690-000                                      120.00        111,841.71
                                               (October & November)

10/26/18     54231    US POSTMASTER                      REIMBURSEMENT OF POSTAGE                         2690-000                                        6.54        111,835.17
                                                         (MISCELLANEOUS MAILINGS)

11/07/18     54232    US POSTMASTER                      REIMBURSEMENT OF POSTAGE                         2690-000                                       45.30        111,789.87
                                                         (MISCELLANEOUS MAILINGS)

11/12/18 Asset #148 BRIDGETT O'CONNELL                   RENT FOR 1252 CHEMUNG ST., COAL                  1230-000                  800.00                            112,589.87
                                                         TWSP

11/28/18     54233    TRUSTEE INSURANCE AGENCY INSURANCE PREMIUM (INVOICE NO. 11106)                      2690-000                                       60.00        112,529.87
                                               (December)


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Case Number:          15-03964 MJC                                                               Trustee:                William G. Schwab
Case Name:            Apartments And Acquistions LP                                              Bank Name:              Texas Capital Bank
                                                                                                 Account:                ******1656 - Checking Account
Taxpayer ID#:         **-***4454                                                                 Blanket Bond:           $6,889,586.00 (per case limit)
Period Ending:        12/08/21                                                                   Separate Bond:          N/A

   1             2                    3                                         4                                                 5                    6                  7

 Trans.    Check or                                                                                          Uniform           Receipts          Disbursements        Checking
  Date      Ref. #          Paid To / Received From                 Description of Transaction              Tran. Code            $                    $           Account Balance

11/28/18     54234    BUSINESS CARD SERVICES             US LAND RECORD/LANDEX SEARCH FEES                  2990-000                                       50.00        112,479.87
                                                         (REIMBURSEMENT TO CREDIT CARD
                                                         CHARGES) (REVIEW OF & PULL DEEDS)

12/10/18   Asset #29 BRIDGETT O'CONNELL                  NOVEMBER DOWN PAYMENT FOR 1252                     1110-000               1,000.00                             113,479.87
                                                         CHEMUNG ST., COAL TWSP

12/10/18     54235    TRUSTEE INSURANCE AGENCY INSURANCE PREMIUM (Re-Adjusted                               2690-000                                    1,611.00        111,868.87
                                               Premium - Apartments & Acquisitions, LP,
                                               Jamilie & House Flex Properties)

12/24/18     54236    BUSINESS CARD SERVICES             COURT CALL FEE (COURT CALL                         2990-000                                       79.00        111,789.87
                                                         ID#9455356)

12/26/18 Asset #148 SCHUYLKILL COUNTY HOUSING Jamilie/ Houseflex Rents                                      1230-000               1,926.00                             113,715.87
                    AUTHORITY
12/26/18 Asset #194 WELLS FARGO BANK                     Closeout Bank Account - Jamilie Wells Fargo        1229-000                   22.32                            113,738.19
                                                         Acct.

12/26/18 Asset #194 WELLS FARGO BANK                     Closeout Bank Account - HouseFlex Wells            1229-000                      3.52                          113,741.71
                                                         Fargo acct.

01/02/19 Asset #148 DAVID VIDZICKI                       JAN RENT FOR 20 WIGGIN STREET, NEW                 1230-000                  525.00                            114,266.71
                                                         PHILADELPHIA, PA

01/02/19     54237    TRUSTEE INSURANCE AGENCY INSURANCE PREMIUM (Apartments &                              2690-000                                    1,236.24        113,030.47
                                               Acquisitions, LP, Jamilie & House Flex
                                               Properties)

01/02/19     54238    TRUSTEE INSURANCE AGENCY INSURANCE PREMIUM (INVOICE NO. 11229                         2690-000                                       60.00        112,970.47
                                               - January Payment for 1252 Chemung St., Coal
                                               Township)



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                                                      Cash Receipts and Disbursements Record                                                                                Page: 94

Case Number:          15-03964 MJC                                                             Trustee:                William G. Schwab
Case Name:            Apartments And Acquistions LP                                            Bank Name:              Texas Capital Bank
                                                                                               Account:                ******1656 - Checking Account
Taxpayer ID#:         **-***4454                                                               Blanket Bond:           $6,889,586.00 (per case limit)
Period Ending:        12/08/21                                                                 Separate Bond:          N/A

   1             2                    3                                       4                                                 5                  6                    7

 Trans.    Check or                                                                                        Uniform           Receipts        Disbursements          Checking
  Date      Ref. #          Paid To / Received From               Description of Transaction              Tran. Code            $                  $             Account Balance

01/04/19 Asset #148 SCHUYLKILL COUNTY HOUSING JAN. RENT (0 LINE STREET, FRACKVILLE,                       1230-000                  883.00                            113,853.47
                    AUTHORITY                 PA)

01/04/19 Asset #148 SCHUYLKILL COUNTY HOUSING JAN. RENT (1334 WALNUT STREET,                              1230-000                  405.00                            114,258.47
                    AUTHORITY                 ASHLAND, PA)

01/04/19 Asset #148 SCHUYLKILL COUNTY HOUSING JAN. RENT (94 COAL STREET, PORT                             1230-000                  655.00                            114,913.47
                    AUTHORITY                 CARBON, PA)

01/04/19 Asset #148 SCHUYLKILL COUNTY HOUSING JAN. RENT (22 WIGGIN STREET, NEW                            1230-000                  575.00                            115,488.47
                    AUTHORITY                 PHILADELPHIA, , PA)

01/04/19 Asset #148 SCHUYLKILL COUNTY HOUSING JAN. RENT (406 CENTRE STREET,                               1230-000                  807.00                            116,295.47
                    AUTHORITY                 ASHLAND, PA)

01/07/19     54239    MR. BARRY SPIELES                  PROPERTY MAINTENANCE                             2990-000                                      560.00        115,735.47

01/08/19 Asset #148 KEITH HICKOK                         JANUARY RENT FOR 227 NORTH NICE                  1230-000                  475.00                            116,210.47
                                                         STREET, FRACKVILE,PA

01/08/19 Asset #148 RONI CARL                            JANUARY RENT FOR 302 S. LINE STREET,             1230-000                  500.00                            116,710.47
                                                         FRACKVILLE, PA

01/08/19 Asset #148 DANIEL WACHTL                        JAN RENT FOR 300 S. LINE STREET,                 1230-000                  400.00                            117,110.47
                                                         FRACKVILLE, PA

01/08/19 Asset #148 JENNIFER WYCHINAS                    JANUARY RENT FOR 29 WALNUT STREET,               1230-000                  400.00                            117,510.47
                                                         ASHLAND, PA

01/08/19 Asset #148 AMBER CRIST                          DECEMBER RENT FOR 426 CENTER                     1230-000                  212.00                            117,722.47
                                                         STREET, ASHLAND, PA



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                                                      Cash Receipts and Disbursements Record                                                                                Page: 95

Case Number:          15-03964 MJC                                                             Trustee:                William G. Schwab
Case Name:            Apartments And Acquistions LP                                            Bank Name:              Texas Capital Bank
                                                                                               Account:                ******1656 - Checking Account
Taxpayer ID#:         **-***4454                                                               Blanket Bond:           $6,889,586.00 (per case limit)
Period Ending:        12/08/21                                                                 Separate Bond:          N/A

   1             2                    3                                       4                                                 5                   6                   7

 Trans.    Check or                                                                                        Uniform           Receipts         Disbursements         Checking
  Date      Ref. #          Paid To / Received From               Description of Transaction              Tran. Code            $                   $            Account Balance

01/08/19 Asset #148 AMBER CRIST                          JANUARY RENT FOR 426 CENTER STREET,              1230-000                  212.00                            117,934.47
                                                         ASHLAND, PA

01/08/19     54240    FAMILY SEARCH, LLC                 CURRENT OWNER SEARCHES                           2990-000                                   1,085.00         116,849.47
                                                         (HOUSEFLEX & JAMILIE)

01/08/19     54241    US POSTMASTER                      REIMBURSEMENT OF POSTAGE                         2690-000                                       10.73        116,838.74
                                                         (MISCELLANEOUS MAILINGS/SERVICES)

01/10/19 Asset #148 JOSEPH COYLE                         JANUARY RENT FOR 1510 CENTER                     1230-000                  500.00                            117,338.74
                                                         STREET, ASHLAND, PA

01/11/19     54242    KURTZMAN/STEADY, LLC               FIRST INTERIM COMPENSATION TO                    3210-000                                 17,328.00          100,010.74
                                                         SPECIAL LITIGATION COUNSEL (PER
                                                         COURT ORDER DATED 1/10/19)

01/11/19     54243    KURTZMAN STEADY, LLC               OUT-OF-POCKET EXPENSES TO SPECIAL                3220-000                                      212.40         99,798.34
                                                         LITIGATION COUNSEL (PER COURT ORDER
                                                         DATED 1/10/19)

01/11/19 Asset #148 SCHUYLKILL COUNTY HOUSING REFUND OF HUD PAYMENT (check no.                            1230-000                  -655.00                            99,143.34
           54244    AUTHORITY                 00159199) (JESSICA ACCARDI)

01/14/19 Asset #148 SCHUYLKILL COUNTY HOUSING JANUARY RENT- J. ACCARDI                                    1230-000                  638.00                             99,781.34
                    AUTHORITY
01/14/19 Asset #148 BRIAN DUNLAP                         JANUARY RENT FOR 18 WIGGAN STREET,               1230-000                  200.00                             99,981.34
                                                         NEW PHILADELPHIA

01/16/19     54245    MR. BARRY SPIELES                  PROPERTY MAINTENANCE                             2690-000                                      420.00         99,561.34

01/17/19 Asset #148 MELISSA DAVIS                        NOVEMBER RENT 14 1/2 WIGGAN ST., NEW             1230-000                   16.00                             99,577.34
                                                         PHILADELPHIA


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                                                      Cash Receipts and Disbursements Record                                                                                   Page: 96

Case Number:          15-03964 MJC                                                                Trustee:                William G. Schwab
Case Name:            Apartments And Acquistions LP                                               Bank Name:              Texas Capital Bank
                                                                                                  Account:                ******1656 - Checking Account
Taxpayer ID#:         **-***4454                                                                  Blanket Bond:           $6,889,586.00 (per case limit)
Period Ending:        12/08/21                                                                    Separate Bond:          N/A

   1             2                    3                                          4                                                 5                  6                    7

 Trans.    Check or                                                                                           Uniform           Receipts        Disbursements          Checking
  Date      Ref. #          Paid To / Received From                  Description of Transaction              Tran. Code            $                  $             Account Balance

01/17/19 Asset #148 MELISSA DAVIS                        JANUARY RENT FOR 14 1/2 WIGGAN ST.,                 1230-000                   16.00                             99,593.34
                                                         NEW PHILADELPHIA

01/17/19 Asset #148 MELISSA DAVIS                        DECEMBER RENT FOR 14 1/2 WIGGAN ST.,                1230-000                   16.00                             99,609.34
                                                         NEW PHILADELPHIA

01/17/19 Asset #148 BARB & ROBERT RUPPERT                JANUARY RENT FOR 14 WIGGAN ST., NEW                 1230-000                  400.00                            100,009.34
                                                         PHILADELPHIA

01/21/19 Asset #148 Jason R. Sponseller                  January Rent 254 N. Mill Street St. Clair PA        1230-000                  340.00                            100,349.34

01/21/19     54246    MR. BARRY SPIELES                  PROPERTY MAINTENANCE                                2690-000                                      580.00         99,769.34

01/22/19 Asset #148 ISAMAR HERTZOG                       JAN RENT- 151 W. SAYLOR ST., NT.                    1230-000                  450.00                            100,219.34
                                                         CARMEL, PA

01/22/19 Asset #148 THELMA STEWART                       PARTIAL LEASE PAYMENT FOR 924 N.                    1230-000                  300.00                            100,519.34
                                                         ORANGE ST., SHAMOKIN, PA

01/22/19 Asset #148 THELMA STEWART                       PARTIAL LEASE PAYMENT FOR 924 N.                    1230-000                  300.00                            100,819.34
                                                         ORANGE ST., SHAMOKIN, PA

01/23/19     54247    BUSINESS CARD SERVICES             COURT CALL FEE (COURT CALL                          2990-000                                       51.00        100,768.34
                                                         ID#9500573)

01/28/19     54248    TRUSTEE INSURANCE AGENCY INSURANCE PREMIUM (Apartments &                               2690-000                                  2,034.04           98,734.30
                                               Acquisitions, LP, Jamilie & House Flex
                                               Properties)

01/29/19     54249    MR. BARRY SPIELES                  PROPERTY MAINTENANCE                                2690-000                                  1,000.00           97,734.30




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                                                      Cash Receipts and Disbursements Record                                                                                  Page: 97

Case Number:          15-03964 MJC                                                              Trustee:                William G. Schwab
Case Name:            Apartments And Acquistions LP                                             Bank Name:              Texas Capital Bank
                                                                                                Account:                ******1656 - Checking Account
Taxpayer ID#:         **-***4454                                                                Blanket Bond:           $6,889,586.00 (per case limit)
Period Ending:        12/08/21                                                                  Separate Bond:          N/A

   1             2                    3                                        4                                                 5                  6                     7

 Trans.    Check or                                                                                         Uniform           Receipts        Disbursements           Checking
  Date      Ref. #          Paid To / Received From                Description of Transaction              Tran. Code            $                  $              Account Balance

02/01/19     54250    MR. BARRY SPIELES                  REIMBURSEMENT OF OUT-OF-POCKET                    2690-000                                      114.51          97,619.79
                                                         EXPENSES (PROPERTY MAINTENANCE)

02/04/19 Asset #148 ROSE KAISER                          303 S. BROAD ST.                                  1230-000                  400.00                              98,019.79

02/04/19 Asset #148 DANIEL WACHTL                        RENT FOR 300 S. LINE ST., FRACKVILLE,             1230-000                  400.00                              98,419.79
                                                         PA

02/04/19 Asset #148 KEITH HICKOK                         RENT FOR 227 N. NICE ST., FRACKVILLE              1230-000                  475.00                              98,894.79

02/04/19 Asset #148 MAKJAH DIXON                         RENT FOR 918 RACE STREET, POTTSVILLE              1230-000                  400.00                              99,294.79

02/04/19 Asset #148 KRYSTYNA KAKOL                       RENT FRO 1208 PINE ST., ASHLAND                   1230-000                  250.00                              99,544.79

02/04/19 Asset #148 KENNETH EBONY                        RENT FOR 16 WIGGAN STREET, NEW                    1230-000                  500.00                             100,044.79
                                                         PHILADELPHIA

02/04/19     54251    BOROUGH OF ASHLAND                 PROPERTY MAINTENANCE SUPPLIES                     2990-000                                       60.00          99,984.79
                                                         (GARBAGE BAGS)

02/04/19     54252    BOROUGH OF ASHLAND                 WATER, SEWER, GARBAGE, FIRE (1/3                  2990-000                                      498.50          99,486.29
                                                         payment of outstanding bills)

02/05/19              Richard Feudale, Esquire           ESCROW FUNDS (HOUSEFLEX) for 912 N.               2500-000                                      -319.47         99,805.76
                                                         SHAMOKIN STREET, SHAMOKIN

02/05/19 Asset #148 VARIOUS TENANTS                      RENT FOR 1420 WALNUT ST., ASHLAND &               1230-000                  680.00                             100,485.76
                                                         426 CENTER ST., REAR

02/05/19     54253    MR. BARRY SPIELES                  PROPERTY MAINTENANCE                              2690-000                                      880.00          99,605.76




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                                                      Cash Receipts and Disbursements Record                                                                                 Page: 98

Case Number:          15-03964 MJC                                                              Trustee:                William G. Schwab
Case Name:            Apartments And Acquistions LP                                             Bank Name:              Texas Capital Bank
                                                                                                Account:                ******1656 - Checking Account
Taxpayer ID#:         **-***4454                                                                Blanket Bond:           $6,889,586.00 (per case limit)
Period Ending:        12/08/21                                                                  Separate Bond:          N/A

   1             2                    3                                        4                                                 5                   6                   7

 Trans.    Check or                                                                                         Uniform           Receipts         Disbursements         Checking
  Date      Ref. #          Paid To / Received From                Description of Transaction              Tran. Code            $                   $            Account Balance

02/05/19 Asset #185 RICHARD FEUDALE, ESQUIRE             ESCROW FUNDS (HOUSEFLEX) for 912 N.               1210-000                  -319.47                            99,286.29
                                                         SHAMOKIN STREET, SHAMOKIN RICHARD
                                                         FEUDALE, ESQUIRE

02/06/19 Asset #148 SCHUYLKILL COUNTY HOUSING FEBRUARY RENT FOR (94 COAL ST., PORT                         1230-000               2,020.00                             101,306.29
                    AUTHORITY                 CARBON, 406 CENTRE ST., ASHLAND & 22
                                              WIGGAN ST., NEW PHILDELPHIA)

02/06/19     54254    MR. BARRY SPIELES                  REIMBURSEMENT OF OUT-OF-POCKET                    2690-000                                       39.13        101,267.16
                                                         EXPENSES (PROPERTY MAINTENANCE)

02/06/19     54255    MR. CHARLES MATERN                 PROPERTY MAINTENANCE (HEATING OIL &               2990-000                                      495.00        100,772.16
                                                         PUMP)

02/06/19     54256    SCHUYLKILL COUNTY                  WATER BILL (254 N. MILL ST.) (ACCT. NO.           2990-000                                       31.20        100,740.96
                      MUNICIPAL AUTHORITY                08003700)

02/06/19     54257    SCHUYLKILL COUNTY                  WATER BILL (2717 W. RACE ST.) (ACCT.              2990-000                                       15.60        100,725.36
                      MUNICIPAL AUTHORITY                NO. 03701420)

02/06/19     54258    SCHUYLKILL COUNTY                  WATER BILL (918 W. RACE ST.) (ACCT. NO.           2990-000                                      109.20        100,616.16
                      MUNICIPAL AUTHORITY                03705530)

02/06/19     54259    SCHUYLKILL COUNTY                  WATER BILL (254 N. MILL ST.) (ACCT. NO.           2990-000                                       13.00        100,603.16
                      MUNICIPAL AUTHORITY                08003700)

02/07/19 Asset #148 JOSEPH COYLE                         FEB RENT FOR 1510 CENTRE ST.,                     1230-000                  500.00                            101,103.16
                                                         ASHLAND, PA

02/07/19 Asset #148 THELMA STEWART                       RENT FOR 924 N, ORANGE STREET,                    1230-000                  300.00                            101,403.16
                                                         SHAMOKIN, PA




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                                                      Cash Receipts and Disbursements Record                                                                                 Page: 99

Case Number:          15-03964 MJC                                                              Trustee:                William G. Schwab
Case Name:            Apartments And Acquistions LP                                             Bank Name:              Texas Capital Bank
                                                                                                Account:                ******1656 - Checking Account
Taxpayer ID#:         **-***4454                                                                Blanket Bond:           $6,889,586.00 (per case limit)
Period Ending:        12/08/21                                                                  Separate Bond:          N/A

   1             2                    3                                        4                                                 5                  6                    7

 Trans.    Check or                                                                                         Uniform           Receipts        Disbursements          Checking
  Date      Ref. #          Paid To / Received From                Description of Transaction              Tran. Code            $                  $             Account Balance

02/07/19 Asset #148 THELMA STEWART                       RENT FOR 924 N. ORANGE ST., SHAMOKIN,             1230-000                  300.00                            101,703.16
                                                         PA

02/08/19 Asset #148 RONI CARL                            FEB RENT FOR 302 S. LINE ST.,                     1230-000                  400.00                            102,103.16
                                                         FRACKVILLE, PA

02/08/19 Asset #148 T. DAVIS                             FEB RENT FOR 12 WIGGAN ST., NEW                   1230-000                  200.00                            102,303.16
                                                         PHILADELPHIA

02/08/19 Asset #148 JENNIFER WYCHINAS                    FEB RENT FOR 29 WALNUT ST., ASHLAND,              1230-000                  400.00                            102,703.16
                                                         PA

02/08/19 Asset #148 VARIOUS TENANTS                      FEB RENT FOR (18 WIGGAN ST., NEW                  1230-000               1,200.00                             103,903.16
                                                         PHILADELPHIA, 135 EAST HIGH ST.,
                                                         COALDALE, 1114 BROCK ST., ASHLAND, 14
                                                         WIGGAN ST., NEW PHILADELPHIA

02/13/19     54260    MR. BARRY SPIELES                  PROPERTY MAINTENANCE                              2690-000                                      960.00        102,943.16

02/13/19     54261    BOROUGH OF ASHLAND                 PROPERTY MAINTENANCE SUPPLIES                     2990-000                                       60.00        102,883.16
                                                         (GARBAGE BAGS)

02/19/19     54262    MR. BARRY SPIELES                  PROPERTY MAINTENANCE                              2690-000                                      760.00        102,123.16

02/19/19     54263    SCTJSA                             SEWER BILL (924 N. ORANGE ST.,                    2990-000                                      158.40        101,964.76
                                                         SHAMOKIN (ACCT. NO. CR3-3628-7364)

02/19/19     54264    MAGISTERIAL DISTRICT COURT FILING FEE (LANDLORD/TENANT                               2690-004                                      161.39        101,803.37
                      21-3-06                    COMPLAINT - 234 E. HIGH ST., COALDALE,
                                                 PA)




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                                                      Cash Receipts and Disbursements Record                                                                             Page: 100

Case Number:          15-03964 MJC                                                             Trustee:                William G. Schwab
Case Name:            Apartments And Acquistions LP                                            Bank Name:              Texas Capital Bank
                                                                                               Account:                ******1656 - Checking Account
Taxpayer ID#:         **-***4454                                                               Blanket Bond:           $6,889,586.00 (per case limit)
Period Ending:        12/08/21                                                                 Separate Bond:          N/A

   1             2                    3                                       4                                                 5                  6                     7

 Trans.    Check or                                                                                        Uniform           Receipts        Disbursements           Checking
  Date      Ref. #          Paid To / Received From               Description of Transaction              Tran. Code            $                  $              Account Balance

02/19/19     54265    MAGISTERIAL DISTRICT COURT FILING FEE (LANDLORD/TENANT                              2690-000                                      171.75         101,631.62
                      21-2-01                    COMPLAINT - 1334 WALNUT STREET,
                                                 ASHLAND, PA)

02/19/19     54266    MAGISTERIAL DISTRICT COURT FILING FEE (LANDLORD/TENANT                              2690-000                                      225.75         101,405.87
                      21-2-01                    COMPLAINT - 426 CENTRE STREET,
                                                 ASHLAND, PA)

02/19/19     54267    MAGISTERIAL DISTRICT COURT FILING FEE (LANDLORD/TENANT                              2690-000                                      161.39         101,244.48
                      21-3-06                    COMPLAINT - 234 E. HIGH STREET, 3RD
                                                 FLOOR, COALDALE, PA)

02/20/19 Asset #148 SHERRY MARCHEFSKY                    RENT FO R612 W. MARKET ST., 2ND                  1230-000                  200.00                             101,444.48
                                                         FLOOR, POTTSVILLE, PA

02/25/19 Asset #148 LILLIAN RIOS                         JANUARY RENT FOR 234 HIGH ST.,                   1230-000                  450.00                             101,894.48
                                                         COALDALE, PA

02/25/19 Asset #148 LILLIAN RIOS                         FEBRUARY RENT FOR 234 HIGH ST.,                  1230-000                  450.00                             102,344.48
                                                         COALDALE PA

02/25/19     54264    MAGISTERIAL DISTRICT COURT Stop Payment on Check 54264 MAGISTERIAL                  2690-004                                      -161.39        102,505.87
                      21-3-06                    DISTRICT COURT 21-3-06

02/25/19     54268    US POSTMASTER                      REIMBURSEMENT OF POSTAGE                         2690-000                                       65.00         102,440.87
                                                         (MAILING/SERVICING FEES - MOTION TO
                                                         SELL PROPERTY AT PUBLIC AUCTION &
                                                         ORDER SETTING HEARING DATE FOR
                                                         SAME)

02/25/19     54269    TRUSTEE INSURANCE AGENCY INSURANCE PREMIUM (Apartments &                            2690-000                                  1,881.00           100,559.87
                                               Acquisitions, LP, Jamilie & House Flex
                                               Properties)


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                                                      Cash Receipts and Disbursements Record                                                                             Page: 101

Case Number:          15-03964 MJC                                                              Trustee:                William G. Schwab
Case Name:            Apartments And Acquistions LP                                             Bank Name:              Texas Capital Bank
                                                                                                Account:                ******1656 - Checking Account
Taxpayer ID#:         **-***4454                                                                Blanket Bond:           $6,889,586.00 (per case limit)
Period Ending:        12/08/21                                                                  Separate Bond:          N/A

   1             2                    3                                        4                                                 5                  6                    7

 Trans.    Check or                                                                                         Uniform           Receipts        Disbursements          Checking
  Date      Ref. #          Paid To / Received From                Description of Transaction              Tran. Code            $                  $             Account Balance

02/25/19     54270    BUSINESS CARD SERVICES             REIMBURSEMENT TO CREDIT CARD (USPS                2990-000                                        4.20        100,555.67
                                                         CHANGE OF ADDRESS SERVICES
                                                         CHARGES)

02/25/19     54271    BUSINESS CARD SERVICES             REIMBURSEMENT TO CREDIT CARD                      2990-000                                       44.00        100,511.67
                                                         (COURT CALL FEE)

02/25/19     54272    SCHUYLKILL COUNTY                  WATER BILL (94 S. COAL ST.) (ACCT. NO.            2990-000                                       72.20        100,439.47
                      MUNICIPAL AUTHORITY                00400850)

02/25/19     54273    ST. CLAIR SEWER AUTHORITY          SEWER BILL (ACCT. NO. 340202-0)(134 N.            2990-000                                      161.68        100,277.79
                                                         THIRD ST.)

02/25/19     54274    ST. CLAIR SEWER AUTHORITY          SEWER BILL (ACCT. NO. 340202-0)(254 N.            2990-000                                      161.68        100,116.11
                                                         MILL ST. REC.)

02/25/19     54275    ST. CLAIR BOROUGH ELECTRIC JANUARY UTILITY BILL (ACCT. NO. 7650200                   2990-000                                       18.00        100,098.11
                      LIGHT DEPT.                -0; PIN. 3121)(254 N. MILL ST.)

02/25/19     54276    ST. CLAIR BOROUGH ELECTRIC FEBRUARY UTILITY BILL (ACCT. NO.                          2990-000                                       36.00        100,062.11
                      LIGHT DEPT.                7650200-0; PIN. 3121)(254 N. MILL ST.)

02/25/19     54277    ST. CLAIR BOROUGH ELECTRIC UTILITY BILL (ACCT. NO. 340203-0; PIN.                    2990-000                                      262.14         99,799.97
                      LIGHT DEPT.                6951)(134 NORTH THIRD ST.)

02/26/19     54278    ST. CLAIR BOROUGH ELECTRIC JANUARY UTILITY BILL (ACCT. NO. 340203-                   2990-000                                      152.60         99,647.37
                      LIGHT DEPT.                0)(134 North Third Street)




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                                                       Cash Receipts and Disbursements Record                                                                              Page: 102

Case Number:          15-03964 MJC                                                                Trustee:                William G. Schwab
Case Name:            Apartments And Acquistions LP                                               Bank Name:              Texas Capital Bank
                                                                                                  Account:                ******1656 - Checking Account
Taxpayer ID#:         **-***4454                                                                  Blanket Bond:           $6,889,586.00 (per case limit)
Period Ending:        12/08/21                                                                    Separate Bond:          N/A

   1             2                      3                                        4                                                 5                  6                    7

 Trans.    Check or                                                                                           Uniform           Receipts        Disbursements          Checking
  Date      Ref. #           Paid To / Received From                 Description of Transaction              Tran. Code            $                  $             Account Balance

02/27/19     54279    US POSTMASTER                       REIMBURSEMENT OF POSTAGE                           2690-000                                       45.50         99,601.87
                                                          (MAILING/SERVICING FEES - ORDER
                                                          SETTING RESPONSE DEADLINE &
                                                          HEARING DATE FOR THE MOTION TO SELL
                                                          PROPERTY AT PUBLIC AUCTION)

02/27/19     54280    MR. BARRY SPIELES                   PROPERTY MAINTENANCE                               2690-000                                      880.00         98,721.87

02/28/19     54281    BOROUGH OF ASHLAND                  PROPERTY MAINTENANCE SUPPLIES                      2990-000                                       90.00         98,631.87
                                                          (GARBAGE BAGS)

03/04/19 Asset #148 DANIEL WACHTL                         MARCH RENT FOR 300 S. LINE ST.,                    1230-000                  400.00                             99,031.87
                                                          FRACKVILLE,PA

03/04/19 Asset #148 Cari Bixler-Collins                   March Rent for 140 Walnut Street, Ashland, PA      1230-000                  400.00                             99,431.87

03/04/19     54282    PPL Electric Utilities              ELECTRIC BILL (ACCT. NO. 90700-38077)              2990-000                                      940.40         98,491.47
                                                          (301 S. BROAD MOUNTAIN AVE., UNIT 1,
                                                          FRACKVILLE)

03/04/19     54283    MR. BARRY SPIELES                   PROPERTY MAINTENANCE                               2690-000                                      680.00         97,811.47

03/05/19 Asset #148 SCHUYLKILL COUNTY HOUSING RENT FOR 22 WIGGAN ST. NEW                                     1230-000               2,020.00                              99,831.47
                    AUTHORITY                 PHILADELPHIA, 406 CENTR ST., ASHLAND
                                              AND 94 COAL ST., PORT CARBON

03/06/19 Asset #148 VARIOUS TENANTS                       RENTS FOR ROSE KEISER AT 303 BROADT                1230-000               1,460.00                             101,291.47
                                                          ST., FRACKVILLE, JESSICA DENNIS AT 301
                                                          S. BROAD ST., FRACKVILLE, SHIRLEY
                                                          GONZALES AT 135 HIGH ST., COALDALE
                                                          AND BOB RUPPERT AT 14 WIGGAN ST.,
                                                          NEW PHILADELPHIA



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                                                      Cash Receipts and Disbursements Record                                                                            Page: 103

Case Number:          15-03964 MJC                                                             Trustee:                William G. Schwab
Case Name:            Apartments And Acquistions LP                                            Bank Name:              Texas Capital Bank
                                                                                               Account:                ******1656 - Checking Account
Taxpayer ID#:         **-***4454                                                               Blanket Bond:           $6,889,586.00 (per case limit)
Period Ending:        12/08/21                                                                 Separate Bond:          N/A

   1             2                    3                                       4                                                 5                  6                    7

 Trans.    Check or                                                                                        Uniform           Receipts        Disbursements          Checking
  Date      Ref. #          Paid To / Received From               Description of Transaction              Tran. Code            $                  $             Account Balance

03/06/19 Asset #148 ISMAR HERTZOG                        MARCH RENT FOR 151 W. SAYLOR ST., MT.            1230-000                  450.00                            101,741.47
                                                         CARMEL

03/06/19 Asset #148 ISMAR HERTZOG                        FEB RENT FOR 151 W. SAYLOR ST., MT               1230-000                  450.00                            102,191.47
                                                         CARMEL,PA

03/06/19 Asset #148 AMBER CRIST                          FEB RENT FOR 426 CENTER ST., ASHLAND,            1230-000                  200.00                            102,391.47
                                                         PA

03/06/19 Asset #148 RONI CARL                            MARCH RENT FOR 302 S. LINE ST.,                  1230-000                  400.00                            102,791.47
                                                         FRACKVILLE, PA

03/06/19 Asset #148 MELISSA DAVIS                        MARCH RENT FOR 14 1/2 WIGGAN ST.,                1230-000                   16.00                            102,807.47
                                                         NEW PHILADELPHIA

03/06/19 Asset #148 EDWARD WYCHUMAS                      MARCH RENT FOR 29 WALNUT ST.,                    1230-000                  400.00                            103,207.47
                                                         ASHLAND, PA

03/06/19 Asset #148 KEITH HICKOK                         MARCH RENT FOR 227 N.NICE STREET,                1230-000                  475.00                            103,682.47
                                                         FRACKVILLE, PA

03/06/19     54284    MR. BARRY SPIELES                  REIMBURSEMENT OF OUT-OF-POCKET                   2690-000                                      239.25        103,443.22
                                                         EXPENSES (PROPERTY MAINTENANCE)

03/07/19 Asset #148 ADJUSTMENT IN - AMBER                ADJUSTMENT IN - $12.00 TO BE INCLUDED            1230-000                   12.00                            103,455.22
                    CRIST.                               ON DEPOSIT NO. 208 (FEB RENT FOR 426
                                                         CENTER ST., ASHLAND, PA)

03/07/19              ADJUSTMENT IN - AMBER              ADJUSTMENT IN - $12.00 TO BE INCLUDED            1230-000                   12.00                            103,467.22
                      CRIST.                             ON DEPOSIT NO. 208 (FEB RENT FOR 426
                                                         CENTER ST., ASHLAND, PA)




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                                                      Cash Receipts and Disbursements Record                                                                            Page: 104

Case Number:          15-03964 MJC                                                             Trustee:                William G. Schwab
Case Name:            Apartments And Acquistions LP                                            Bank Name:              Texas Capital Bank
                                                                                               Account:                ******1656 - Checking Account
Taxpayer ID#:         **-***4454                                                               Blanket Bond:           $6,889,586.00 (per case limit)
Period Ending:        12/08/21                                                                 Separate Bond:          N/A

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 Trans.    Check or                                                                                        Uniform           Receipts        Disbursements          Checking
  Date      Ref. #          Paid To / Received From               Description of Transaction              Tran. Code            $                  $             Account Balance

03/07/19              ADJUSTMENT IN - AMBER              ADJUSTMENT IN - $12.00 TO BE INCLUDED            1230-000                                                    103,467.22
                      CRIST.                             ON DEPOSIT NO. 208 (FEB RENT FOR 426
                                                         CENTER ST., ASHLAND, PA) ADJUSTMENT
                                                         IN - AMBER CRIST.

03/07/19              ADJUSTMENT IN - AMBER              ADJUSTMENT IN - $12.00 TO BE INCLUDED            1230-000                                                    103,467.22
                      CRIST.                             ON DEPOSIT NO. 208 (FEB RENT FOR 426
                                                         CENTER ST., ASHLAND, PA)

03/07/19              ADJUSTMENT IN - AMBER              ADJUSTMENT IN - $12.00 TO BE INCLUDED            1230-000                  -12.00                            103,455.22
                      CRIST.                             ON DEPOSIT NO. 208 (FEB RENT FOR 426
                                                         CENTER ST., ASHLAND, PA) ADJUSTMENT
                                                         IN - AMBER CRIST.

03/11/19 Asset #148 SCHUYLKILL COUNTY HOUSING FEB & MARCH RENT FOR 301 S. BROAD                           1230-000               1,766.00                             105,221.22
                    AUTHORITY                 ST., FRACKVILLE, PA

03/11/19 Asset #148 LILLIAN RIOS                         MATCH RENT FOR 234 E. HIGH ST, APT 2,            1230-000                  450.00                            105,671.22
                                                         COALDALE, PA

03/11/19 Asset #148 JOSEPH COYLE                         MARCH RENT FOR 1510 CENTRE ST., PA               1230-000                  400.00                            106,071.22

03/11/19 Asset #148 THELMA STEWART                       HOUSE PAYMENT FOR 924 ORANGE ST.,                1230-000                  100.00                            106,171.22
                                                         SHAMOKIN, PA

03/11/19 Asset #148 THELMA STEWART                       HOUSE PAYMENT FOR 924 ORANGE ST.,                1230-000                  500.00                            106,671.22
                                                         SHAMOKIN, PA

03/12/19 Asset #148 FRANCES HECKMAN                      JAN & FEB RENT FOR 234 EAST HIGH ST.,            1230-000                  663.00                            107,334.22
                                                         COALDALE, PA

03/12/19     54285    MR. BARRY SPIELES                  PROPERTY MAINTENANCE                             2690-000                                      720.00        106,614.22



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                                                        Cash Receipts and Disbursements Record                                                                              Page: 105

Case Number:           15-03964 MJC                                                                Trustee:                William G. Schwab
Case Name:             Apartments And Acquistions LP                                               Bank Name:              Texas Capital Bank
                                                                                                   Account:                ******1656 - Checking Account
Taxpayer ID#:          **-***4454                                                                  Blanket Bond:           $6,889,586.00 (per case limit)
Period Ending:         12/08/21                                                                    Separate Bond:          N/A

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 Trans.    Check or                                                                                            Uniform           Receipts        Disbursements          Checking
  Date      Ref. #            Paid To / Received From                 Description of Transaction              Tran. Code            $                  $             Account Balance

03/18/19 Asset #148 THE ADVOCACY ALLIANCE                  FEB. RENT FOR COLLINS BIXLER                       1230-000                  400.00                            107,014.22

03/18/19     54286     BOROUGH OF PORT CARBON              2019 TRASH FEE (94 COAL STREET)                    2990-000                                       45.00        106,969.22

03/18/19     54287     SCHUYLKILL COUNTY                   WATER BILL (254 N. MILL STREET)                    2990-000                                        0.60        106,968.62
                       MUNICIPAL AUTHORITY
03/19/19     54288     PPL Electric Utilities              ELECTRIC BILL (ACCT. NO. 90700-38077)              2990-000                                      663.08        106,305.54
                                                           (301 S. BROAD MOUNTAIN AVE., UNIT 1,
                                                           FRACKVILLE)

03/19/19     54289     BARCLAYS                            REIMBURSEMENT OF CREDIT CARD                       2990-000                                      647.75        105,657.79
                                                           CHARGES (MISCELLANEOUS
                                                           FILING/SERVICING FEES)

03/19/19     54290     MR. BARRY SPIELES                   PROPERTY MAINTENANCE                               2690-000                                      640.00        105,017.79

03/25/19 Asset #148 JULIANA LESNIAK                        RENT FOR 22 WIGGAN ST., NEW                        1230-000                  600.00                            105,617.79
                                                           PHILADELPHIA, PA

03/26/19               BRIDGET O'CONNELL                   BACK RENT AND PURCHASE PAYMENT                                            3,500.00                             109,117.79
                                                           FOR 1252 CHEMUNG ST., COAL TWSP

03/26/19   Asset #29                                       payment toward purchase of               1,500.00 1110-000                                                     109,117.79
                                                           home

03/26/19 Asset #148                                        back due rent                            2,000.00 1230-000                                                     109,117.79

03/26/19     54291     MR. BARRY SPIELES                   PROPERTY MAINTENANCE                               2690-000                                      840.00        108,277.79




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                                                      Cash Receipts and Disbursements Record                                                                              Page: 106

Case Number:          15-03964 MJC                                                               Trustee:                William G. Schwab
Case Name:            Apartments And Acquistions LP                                              Bank Name:              Texas Capital Bank
                                                                                                 Account:                ******1656 - Checking Account
Taxpayer ID#:         **-***4454                                                                 Blanket Bond:           $6,889,586.00 (per case limit)
Period Ending:        12/08/21                                                                   Separate Bond:          N/A

   1             2                    3                                         4                                                 5                  6                    7

 Trans.    Check or                                                                                          Uniform           Receipts        Disbursements          Checking
  Date      Ref. #          Paid To / Received From                 Description of Transaction              Tran. Code            $                  $             Account Balance

03/27/19     54292    TRUSTEE INSURANCE AGENCY INSURANCE PREMIUM (Invoice No. 11624)                        2690-000                                  1,881.00          106,396.79
                                               (Apartments & Acquisitions, LP, Jamilie &
                                               House Flex Properties)

03/27/19     54293    HOUSER AUCTIONEERS                 ADVERTISING FEE - Morning Call, Times              3620-000                                      792.98        105,603.81
                                                         News, Standard Speaker, Republican Herald,
                                                         Auction Zip (SALE OF REAL ESTATE AT
                                                         PUBLIC AUCTION)

03/27/19     54294    HOUSER AUCTIONEERS                 AUCTIONEER FEES - RENT - West End Fire             3620-000                                      300.00        105,303.81
                                                         Co. & Zion's Reformed Church (SALE OF
                                                         REAL ESTATE AT PUBLIC AUCTION)

04/01/19 Asset #148 DANIEL WACHTL                        APRIL RENT FOR 300 S. LINE ST.,                    1230-000                  400.00                            105,703.81
                                                         FRACKVILLE, PA

04/01/19     54295    MR. BARRY SPIELES                  PROPERTY MAINTENANCE                               2690-000                                      280.00        105,423.81

04/02/19     54296    COALDALE BOROUGH                   TRASH COLLECTION (234 E. HIGH ST.)                 2690-000                                       71.50        105,352.31
                                                         (ACCOUNT NO. 01155A-4)

04/02/19     54297    COALDALE BOROUGH                   TRASH COLLECTION (234 E. HIGH ST.)                 2690-000                                       71.50        105,280.81
                                                         (ACCOUNT NO. 01155C-1)

04/02/19     54298    COALDALE BOROUGH                   TRASH COLLECTION (135 E. HIGH ST.)                 2690-000                                       65.00        105,215.81
                                                         (ACCOUNT NO. 00576)

04/02/19     54299    SCHUYLKILL VALLEY SEWER            SEWER BILL (12-18 WIGGIN ST., NEW      2690-000                                                  765.00        104,450.81
                      AUTHORITY                          PHILADELPHIA) (ACCOUNT NO. S 54208700)

04/02/19     54300    FRACKVILLE AREA MUNICIPAL          SEWER BILL (24-26 N. LEHIGH AVE.)                  2690-000                                      112.50        104,338.31
                      AUTHORITY                          (ACCOUNT NO. 2126.SEWER)



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                                                      Cash Receipts and Disbursements Record                                                                              Page: 107

Case Number:          15-03964 MJC                                                               Trustee:                William G. Schwab
Case Name:            Apartments And Acquistions LP                                              Bank Name:              Texas Capital Bank
                                                                                                 Account:                ******1656 - Checking Account
Taxpayer ID#:         **-***4454                                                                 Blanket Bond:           $6,889,586.00 (per case limit)
Period Ending:        12/08/21                                                                   Separate Bond:          N/A

   1             2                    3                                         4                                                 5                  6                    7

 Trans.    Check or                                                                                          Uniform           Receipts        Disbursements          Checking
  Date      Ref. #          Paid To / Received From                 Description of Transaction              Tran. Code            $                  $             Account Balance

04/02/19     54301    FRACKVILLE AREA MUNICIPAL          SEWER BILL (302 S. LINE ST.)(ACCOUNT               2690-000                                      112.50        104,225.81
                      AUTHORITY                          NO. 2333.SEWER)

04/02/19     54302    FRACKVILLE AREA MUNICIPAL          SEWER BILL (301 S. BROAD MOUNTAIN                  2690-000                                      112.50        104,113.31
                      AUTHORITY                          AVE.)(ACCOUNT NO. 2157.SEWER)

04/02/19     54303    FRACKVILLE AREA MUNICIPAL          SEWER BILL (227 N. NICE ST.)(ACCOUNT               2690-000                                      112.50        104,000.81
                      AUTHORITY                          NO. 0203.SEWER)

04/02/19     54304    FRACKVILLE AREA MUNICIPAL          SEWER BILL (31-33 S. LEHIGH AVE.)                  2690-000                                      337.50        103,663.31
                      AUTHORITY                          (ACCOUNT NO. 1603.SEWER)

04/02/19     54305    FRACKVILLE AREA MUNICIPAL          SEWER BILL (300 S. LINE ST.)(ACCOUNT               2690-000                                      112.50        103,550.81
                      AUTHORITY                          NO. 2332.SEWER)

04/02/19     54306    FRACKVILLE AREA MUNICIPAL          SEWER BILL (303 S. BROAD MOUNTAIN                  2690-000                                      112.50        103,438.31
                      AUTHORITY                          AVE.)(ACCOUNT NO. 2331.SEWER)

04/02/19     54307    LANSFORD-COALDALE JOINT            WATER BILL (234 E. HIGH ST.)(ACCOUNT               2690-000                                      151.86        103,286.45
                      WATER AUTHORITY                    NO. C-12-40)

04/02/19     54308    LANSFORD-COALDALE JOINT            WATER BILL (135 E. HIGH ST.)(ACCOUNT               2690-000                                      155.56        103,130.89
                      WATER AUTHORITY                    NO. C-11-27)

04/03/19 Asset #148 SCHUYLKILL COUNTY HOUSING HUD Rent for 301 S Broad Mt Ave 22 Wiggan                     1230-000               3,210.00                             106,340.89
                    AUTHORITY                 St 426 Centre Street 94 Coal Street 14 1/2
                                              Wiggan Street

04/08/19 Asset #148 THE ADVOCACY ALLIANCE                Cari Bixler Rent 1420 Walnut St AAshland           1230-000                  400.00                            106,740.89

04/08/19     54309    MR. BARRY SPIELES                  PROPERTY MAINTENANCE                               2690-000                                      480.00        106,260.89



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                                                       Cash Receipts and Disbursements Record                                                                              Page: 108

Case Number:          15-03964 MJC                                                                Trustee:                William G. Schwab
Case Name:            Apartments And Acquistions LP                                               Bank Name:              Texas Capital Bank
                                                                                                  Account:                ******1656 - Checking Account
Taxpayer ID#:         **-***4454                                                                  Blanket Bond:           $6,889,586.00 (per case limit)
Period Ending:        12/08/21                                                                    Separate Bond:          N/A

   1             2                     3                                         4                                                 5                  6                    7

 Trans.    Check or                                                                                           Uniform           Receipts        Disbursements          Checking
  Date      Ref. #           Paid To / Received From                 Description of Transaction              Tran. Code            $                  $             Account Balance

04/08/19     54310    BTMA                                MUNICIPAL CHARGES (ACCT. #1402740)(20              2690-000                                       90.00        106,170.89
                                                          WIGGAN ST.)

04/08/19     54311    BTMA                                MUNICIPAL CHARGES (ACCT. #1402880)(22              2690-000                                       90.00        106,080.89
                                                          WIGGAN ST.)

04/08/19     54312    BTMA                                MUNICIPAL CHARGES (ACCT. #1401965)(12- 2690-000                                                  649.29        105,431.60
                                                          14-16-18 WIGGAN ST.)

04/08/19     54313    BOROUGH OF FRACKVILLE               SOLID WASTE (ACCT. NO. 203)(INVOICE                2690-000                                       77.00        105,354.60
                                                          NO. 223970)(227 N. NICE ST.)

04/08/19     54314    BOROUGH OF FRACKVILLE               SOLID WASTE (ACCT. NO. 2333)(INVOICE               2690-000                                       77.00        105,277.60
                                                          NO. 223806)(302 S. LINE)

04/08/19     54315    BOROUGH OF FRACKVILLE               SOLID WASTE (ACCT. NO. 2157)(INVOICE               2690-000                                       77.00        105,200.60
                                                          NO. 225410)(301 S. BROAD MT. AVE.)

04/08/19     54316    BOROUGH OF FRACKVILLE               SOLID WASTE (ACCT. NO. 2332)(INVOICE               2690-000                                       77.00        105,123.60
                                                          NO. 223805)(300 S. LINE ST.)

04/08/19     54317    BOROUGH OF FRACKVILLE               SOLID WASTE (ACCT. NO. 2331)(INVOICE               2690-000                                       77.00        105,046.60
                                                          NO. 223804)(303 S.BROAD MT. AVE.)

04/08/19     54318    SCHUYLKILL COUNTY                   WATER BILL (ACCT. NO. 08003700-0)(25 N.            2690-000                                       31.80        105,014.80
                      MUNICIPAL AUTHORITY                 MILL ST.)

04/08/19     54319    BOROUGH OF ASHLAND                  PROPERTY MAINTENANCE SUPPLIES                      2990-000                                      120.00        104,894.80
                                                          (Hopper Pick-Ups - 1931 Walnut St. & 426
                                                          Centre St.)




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                                                      Cash Receipts and Disbursements Record                                                                             Page: 109

Case Number:          15-03964 MJC                                                              Trustee:                William G. Schwab
Case Name:            Apartments And Acquistions LP                                             Bank Name:              Texas Capital Bank
                                                                                                Account:                ******1656 - Checking Account
Taxpayer ID#:         **-***4454                                                                Blanket Bond:           $6,889,586.00 (per case limit)
Period Ending:        12/08/21                                                                  Separate Bond:          N/A

   1             2                    3                                        4                                                 5                  6                    7

 Trans.    Check or                                                                                         Uniform           Receipts        Disbursements          Checking
  Date      Ref. #          Paid To / Received From                Description of Transaction              Tran. Code            $                  $             Account Balance

04/09/19 Asset #148 AMBER CRIST                          APRIL RENT FOR 426 CENTER ST.,                    1230-000                  212.00                            105,106.80
                                                         ASHLAND, PA

04/09/19 Asset #148 VARIOUS TENANTS                      RENT FOR : 20 WIGGAN ST, 135 E. HIGH      1230-000                       4,936.00                             110,042.80
                                                         ST., 918 RACE ST., 302 PINE ST, 303 BROAD
                                                         ST., 14 WIGGAN ST., 18 WIGGAN ST., 234
                                                         EAST HIGH ST., 18 WIGGAN ST, 16 WIGGAN
                                                         ST AND 94 COAL ST.

04/09/19     54320    MR. BARRY SPIELES                  REIMBURSEMENT OF OUT-OF-POCKET                    2690-000                                      150.40        109,892.40
                                                         EXPENSES

04/11/19 Asset #148 LILLIAN RIOS                         RENT FOR 234 EAST HIGH ST., APT 2,                1230-000                  450.00                            110,342.40
                                                         COALDALE, PA

04/16/19     54321    MR. BARRY SPIELES                  PROPERTY MAINTENANCE                              2690-000                                      480.00        109,862.40

04/17/19 Asset #148 FRANCES HECKMAN                      RENT FOR 234 E. HIGH ST APT 3,                    1230-000                  550.00                            110,412.40
                                                         COALDALE, PA

04/17/19     54322    BARCLAYS                           REIMBURSEMENT OF CREDIT CARD                      2690-000                                        9.00        110,403.40
                                                         CHARGES (NOTICE OF MTN. TO APPROVE
                                                         SETTLEMENT V. DONAHUE)

04/22/19 Asset #148 SHERRY MARCHEFSKY                    APRIL RENT FOR 612 W. MARKET ST. 2ND              1230-000                  200.00                            110,603.40
                                                         FLOOR, POTTSVILLE, PA

04/23/19     54323    MR. BARRY SPIELES                  PROPERTY MAINTENANCE                              2690-000                                      640.00        109,963.40

04/24/19 Asset #148 LAW OFFICE OF RICHARD R.             ALLOCATION OF APRIL RENT RECEIVED                 1230-000                  -53.32                            109,910.08
           54324    FEUDALE                              (SALE OF 1420 WALNUT ST., ASHLAND)




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                                                      Cash Receipts and Disbursements Record                                                                              Page: 110

Case Number:          15-03964 MJC                                                               Trustee:                William G. Schwab
Case Name:            Apartments And Acquistions LP                                              Bank Name:              Texas Capital Bank
                                                                                                 Account:                ******1656 - Checking Account
Taxpayer ID#:         **-***4454                                                                 Blanket Bond:           $6,889,586.00 (per case limit)
Period Ending:        12/08/21                                                                   Separate Bond:          N/A

   1             2                    3                                         4                                                 5                   6                   7

 Trans.    Check or                                                                                          Uniform           Receipts         Disbursements         Checking
  Date      Ref. #          Paid To / Received From                 Description of Transaction              Tran. Code            $                   $            Account Balance

04/24/19 Asset #148 LAW OFFICE OF RICHARD R.             ALLOCATION OF APRIL RENT RECEIVED                  1230-000                  -135.88                           109,774.20
           54325    FEUDALE                              (SALE OF 426 CENTRE ST., ASHLAND)

04/24/19     54326    BUSINESS CARD SERVICES             REIMBURSEMENT TO CREDIT CARD                       2990-000                                       37.00        109,737.20
                                                         (COURT CALL FEE)

04/26/19     54327    HOUSER AUCTIONEERS                 ADVERTISING FEE - Morning Call, Times              3620-000                                      792.98        108,944.22
                                                         News, Standard Speaker, Republican Herald,
                                                         Auction Zip (SALE OF REAL ESTATE AT
                                                         PUBLIC AUCTION)

04/26/19     54328    TRUSTEE INSURANCE AGENCY INSURANCE PREMIUM (Invoice No. 11741)                        2690-000                                   1,881.00         107,063.22
                                               (Apartments & Acquisitions, LP, Jamilie &
                                               House Flex Properties)

04/29/19              RICHARD FEUDALE, ESQUIRE           PROCEEDS FOR 1529-1531 WALNUT                                             2,537.74                             109,600.96
                                                         STREET, ASHLAND, PA (PER COURT
                                                         ORDER DATED 3-15-19)

04/29/19 Asset #163                                                                               8,000.00 1210-000                                                     109,600.96
04/29/19                                                 Trustee Reserve                           -240.00 2500-000                                                     109,600.96

04/29/19                                                 Houser Auctioneers                        -500.00 3620-000                                                     109,600.96

04/29/19                                                 Water, Sewer and Trash                     -65.25 2500-000                                                     109,600.96

04/29/19                                                 Tax Collector                              -80.72 2500-000                                                     109,600.96

04/29/19                                                                                          -1,117.96 4700-000                                                    109,600.96
04/29/19                                                                                          -1,705.74 4700-000                                                    109,600.96
04/29/19                                                                                           -942.95 4700-000                                                     109,600.96


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                                                      Cash Receipts and Disbursements Record                                                                               Page: 111

Case Number:          15-03964 MJC                                                               Trustee:                William G. Schwab
Case Name:            Apartments And Acquistions LP                                              Bank Name:              Texas Capital Bank
                                                                                                 Account:                ******1656 - Checking Account
Taxpayer ID#:         **-***4454                                                                 Blanket Bond:           $6,889,586.00 (per case limit)
Period Ending:        12/08/21                                                                   Separate Bond:          N/A

   1             2                    3                                           4                                               5                  6                     7

 Trans.    Check or                                                                                          Uniform           Receipts        Disbursements           Checking
  Date      Ref. #          Paid To / Received From                 Description of Transaction              Tran. Code            $                  $              Account Balance

04/29/19                                                                                           -804.64 4700-000                                                      109,600.96
04/29/19                                                 Dena Kistler-Notary Public                   -5.00 2500-000                                                     109,600.96

04/29/19              Richard Feudale, Esquire           PROCEEDS FOR 1529-1531 WALNUT                      2500-000                                      -240.00        109,840.96
                                                         STREET, ASHLAND, PA (PER COURT
                                                         ORDER DATED 3-15-19)

04/29/19 Asset #160 RICHARD FEUDALE, ESQUIRE             PROCEEDS FOR 29 WALNUT STREET,                     1210-000                  237.00                             110,077.96
                                                         ASHLAND, PA (PER COURT ORDER DATED
                                                         3-15-19)

04/29/19              RICHARD FEUDALE, ESQUIRE           PROCEEDS FOR 29 WALNUT STREET,                                            2,128.28                              112,206.24
                                                         ASHLAND, PA (PER COURT ORDER DATED
                                                         3-15-19)

04/29/19 Asset #160                                                                               8,510.17 1210-000                                                      112,206.24
04/29/19                                                 Water, sewer and trash                    -217.30 2500-000                                                      112,206.24

04/29/19                                                 Tax Claim Bureau                         -1,238.29 5800-000                                                     112,206.24

04/29/19                                                 Tax Claim Bureau                         -1,725.11 5800-000                                                     112,206.24

04/29/19                                                 Tax Claim Bureau                          -952.34 5800-000                                                      112,206.24

04/29/19                                                 Tax Claim Bureau                          -814.87 5800-000                                                      112,206.24

04/29/19                                                 Tax Collector                             -691.98 2500-000                                                      112,206.24

04/29/19                                                 Dena Kistler                                 -5.00 2500-000                                                     112,206.24




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                                                      Cash Receipts and Disbursements Record                                                                            Page: 112

Case Number:          15-03964 MJC                                                                 Trustee:                William G. Schwab
Case Name:            Apartments And Acquistions LP                                                Bank Name:              Texas Capital Bank
                                                                                                   Account:                ******1656 - Checking Account
Taxpayer ID#:         **-***4454                                                                   Blanket Bond:           $6,889,586.00 (per case limit)
Period Ending:        12/08/21                                                                     Separate Bond:          N/A

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 Trans.    Check or                                                                                            Uniform           Receipts        Disbursements      Checking
  Date      Ref. #          Paid To / Received From                   Description of Transaction              Tran. Code            $                  $         Account Balance

04/29/19                                                 Houser Auctioneeer                          -500.00 3610-000                                                 112,206.24

04/29/19 Asset #160                                      Trustee Reserve                             -237.00 1210-000                                                 112,206.24

04/29/19              RICHARD FEUDALE, ESQUIRE           PROCEEDS FOR 911 NORTH VINE STREET,                                             15.00                        112,221.24
                                                         SHAMOKIN, PA (PER COURT ORDER
                                                         DATED 3-15-19)

04/29/19 Asset #184                                                                                   500.00 1210-000                                                 112,221.24
04/29/19                                                 Auctioneer Premium                          -480.00 3610-000                                                 112,221.24

04/29/19                                                 Notary Public                                  -5.00 2500-000                                                112,221.24

04/29/19              RICHARD FEUDALE, ESQUIRE           PROCEEDS FOR 31 SOUTH LEHIGH AVE.,                                             195.00                        112,416.24
                                                         FRACKVILLE, PA (PER COURT ORDER
                                                         DATED 3-15-19)

04/29/19 Asset #169                                                                                 7,103.55 1210-000                                                 112,416.24
04/29/19                                                 Tax Claim Bureau                            -473.06 5800-000                                                 112,416.24

04/29/19                                                 Tax Claim Bureau                            -422.40 5800-000                                                 112,416.24

04/29/19                                                 Tax Claim Bureau                            -427.70 5800-000                                                 112,416.24

04/29/19                                                 Tax Claim Bureau                            -321.02 5800-000                                                 112,416.24

04/29/19                                                 Tax Claim Bureau                            -330.71 5800-000                                                 112,416.24

04/29/19                                                 2019 Taxes                                  -211.23 2500-000                                                 112,416.24




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                                                      Cash Receipts and Disbursements Record                                                                                Page: 113

Case Number:          15-03964 MJC                                                                Trustee:                William G. Schwab
Case Name:            Apartments And Acquistions LP                                               Bank Name:              Texas Capital Bank
                                                                                                  Account:                ******1656 - Checking Account
Taxpayer ID#:         **-***4454                                                                  Blanket Bond:           $6,889,586.00 (per case limit)
Period Ending:        12/08/21                                                                    Separate Bond:          N/A

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 Trans.    Check or                                                                                           Uniform           Receipts        Disbursements           Checking
  Date      Ref. #          Paid To / Received From                  Description of Transaction              Tran. Code            $                  $              Account Balance

04/29/19                                                 Frackville Muncipal Authority              -453.75 4700-000                                                      112,416.24

04/29/19                                                 Frackville Borough -Solid                 -3,763.68 4700-000                                                     112,416.24
                                                         Waste

04/29/19                                                 Dena Kistler                                  -5.00 2500-000                                                     112,416.24

04/29/19                                                 Auction Premium                            -500.00 3610-000                                                      112,416.24

04/29/19              Richard Feudale, Esquire           PROCEEDS FOR 924 N. ORANGE ST.,                     2500-000                                      -108.00        112,524.24
                                                         SHAMOKIN, PA (PER COURT ORDER
                                                         DATED 3-15-19)

04/29/19              RICHARD FEUDALE, ESQUIRE           PROCEEDS FOR 924 N. ORANGE ST.,                                            2,739.04                              115,263.28
                                                         SHAMOKIN, PA (PER COURT ORDER
                                                         DATED 3-15-19)

04/29/19 Asset #186                                                                                3,600.00 1210-000                                                      115,263.28
04/29/19                                                 Dena Kistler                                  -5.00 2500-000                                                     115,263.28

04/29/19                                                 Tax Collector                              -144.01 3991-000                                                      115,263.28

04/29/19                                                 Shamokin/Coal Twp Sewer                    -103.95 2500-000                                                      115,263.28

04/29/19                                                 Trustee Reserve                            -108.00 2500-000                                                      115,263.28

04/29/19                                                 Auctioneers Commission                     -500.00 3610-000                                                      115,263.28

04/29/19              RICHARD FEUDALE, ESQUIRE           PROCEEDS FOR 1334 WALNUT STREET,                                              75.00                              115,338.28
                                                         ASHLAND, PA (PER COURT ORDER DATED
                                                         3-15-19)


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                                                      Cash Receipts and Disbursements Record                                                                          Page: 114

Case Number:          15-03964 MJC                                                               Trustee:                William G. Schwab
Case Name:            Apartments And Acquistions LP                                              Bank Name:              Texas Capital Bank
                                                                                                 Account:                ******1656 - Checking Account
Taxpayer ID#:         **-***4454                                                                 Blanket Bond:           $6,889,586.00 (per case limit)
Period Ending:        12/08/21                                                                   Separate Bond:          N/A

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 Trans.    Check or                                                                                          Uniform           Receipts        Disbursements      Checking
  Date      Ref. #          Paid To / Received From                 Description of Transaction              Tran. Code            $                  $         Account Balance

04/29/19 Asset #161                                                                               2,933.68 1210-000                                                 115,338.28
04/29/19                                                 Ashland Borough Water,                    -129.88 2500-000                                                 115,338.28
                                                         Sewer, & Trash

04/29/19                                                 Trash Collection Bureau                   -569.43 4700-000                                                 115,338.28

04/29/19                                                 Trash Collection Bureau                   -480.69 5800-000                                                 115,338.28

04/29/19                                                 Tax Collection Bureau                     -458.80 5800-000                                                 115,338.28

04/29/19                                                 Tax Collection Bureau                     -223.05 5800-000                                                 115,338.28

04/29/19                                                 Tax Collector                             -491.83 2990-000                                                 115,338.28

04/29/19                                                 Houser Auctioneer                         -500.00 3610-000                                                 115,338.28

04/29/19                                                 Dena Kistler                                 -5.00 2500-000                                                115,338.28

04/29/19              RICHARD FEUDALE, ESQUIRE           PROCEEDS FOR 1420 WALNUT ST.,                                                75.00                         115,413.28
                                                         ASHLAND, PA (PER COURT ORDER DATED
                                                         3-15-19)

04/29/19 Asset #162                                                                               2,500.00 1229-000                                                 115,413.28
04/29/19                                                 Tax Claim Bureau                          -550.80 4700-000                                                 115,413.28

04/29/19                                                 Tax Claim Bureau                          -431.56 4700-000                                                 115,413.28

04/29/19                                                 Tax Claim Bureau                          -415.09 4700-000                                                 115,413.28

04/29/19                                                 Tax Claim Bureau                          -181.35 4700-000                                                 115,413.28


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                                                      Cash Receipts and Disbursements Record                                                                          Page: 115

Case Number:          15-03964 MJC                                                               Trustee:                William G. Schwab
Case Name:            Apartments And Acquistions LP                                              Bank Name:              Texas Capital Bank
                                                                                                 Account:                ******1656 - Checking Account
Taxpayer ID#:         **-***4454                                                                 Blanket Bond:           $6,889,586.00 (per case limit)
Period Ending:        12/08/21                                                                   Separate Bond:          N/A

   1             2                    3                                         4                                                 5                  6                7

 Trans.    Check or                                                                                          Uniform           Receipts        Disbursements      Checking
  Date      Ref. #          Paid To / Received From                 Description of Transaction              Tran. Code            $                  $         Account Balance

04/29/19                                                 Ashland Borough Water,                    -258.69 4700-000                                                 115,413.28
                                                         Sewer & Trash

04/29/19                                                 Tax Collector                              -82.51 2500-000                                                 115,413.28

04/29/19                                                 Houser Auctioneers                        -500.00 3610-000                                                 115,413.28

04/29/19                                                 Dena Kistler                                 -5.00 2500-000                                                115,413.28

04/29/19              RICHARD FEUDALE, ESQUIRE           PROCEED FOR 1208 PINE STREET,                                                75.00                         115,488.28
                                                         ASHLAND, PA (PER COURT ORDER DATED
                                                         3-15-19)

04/29/19 Asset #166                                                                               2,985.01 1210-000                                                 115,488.28
04/29/19                                                 Tax Claim Bureau                          -472.50 4700-000                                                 115,488.28

04/29/19                                                 Tax Claim Bureau                          -628.16 4700-000                                                 115,488.28

04/29/19                                                 Tax Claim Bureau                          -355.63 4700-000                                                 115,488.28

04/29/19                                                 Tax Claim Bureau                          -289.50 4700-000                                                 115,488.28

04/29/19                                                 Current Taxes                             -550.05 2500-000                                                 115,488.28

04/29/19                                                 Partiall Payment Water, Swer              -109.17 4700-000                                                 115,488.28
                                                         and Trash

04/29/19                                                 Dena Kistler                                 -5.00 2500-000                                                115,488.28

04/29/19                                                 Houser Auctioneer                         -500.00 3610-000                                                 115,488.28



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                                                      Cash Receipts and Disbursements Record                                                                          Page: 116

Case Number:          15-03964 MJC                                                               Trustee:                William G. Schwab
Case Name:            Apartments And Acquistions LP                                              Bank Name:              Texas Capital Bank
                                                                                                 Account:                ******1656 - Checking Account
Taxpayer ID#:         **-***4454                                                                 Blanket Bond:           $6,889,586.00 (per case limit)
Period Ending:        12/08/21                                                                   Separate Bond:          N/A

   1             2                    3                                         4                                                 5                  6                7

 Trans.    Check or                                                                                          Uniform           Receipts        Disbursements      Checking
  Date      Ref. #          Paid To / Received From                 Description of Transaction              Tran. Code            $                  $         Account Balance

04/29/19              RICHARD FEUDALE, ESQUIRE           PROCEEDS FOR 1931 WALNUT ST.,                                                75.00                         115,563.28
                                                         ASHLAND, PA (PER COURT ORDER DATED
                                                         3-15-19)

04/29/19 Asset #164                                                                               2,848.97 1210-000                                                 115,563.28
04/29/19                                                 Tx Claim Bureau                           -634.98 4700-000                                                 115,563.28

04/29/19                                                 Tax Claim Bureau                          -524.69 4700-000                                                 115,563.28

04/29/19                                                 Tax Claim Bureau                          -501.87 4700-000                                                 115,563.28

04/29/19                                                 Tax Claim Bureau                          -237.02 4700-000                                                 115,563.28

04/29/19                                                 Tax Collector                             -271.07 2500-000                                                 115,563.28

04/29/19                                                 Ashland Borough                            -99.34 2500-000                                                 115,563.28

04/29/19                                                 Houser Auctioneers                        -500.00 3610-000                                                 115,563.28

04/29/19                                                                                              -5.00 2500-000                                                115,563.28
04/29/19 Asset #164 RICHARD FEUDALE, ESQUIRE             PROCEEDS FOR 1931 WALNUT ST.,                      1210-000                  75.00                         115,638.28
                                                         ASHLAND, PA (PER COURT ORDER DATED
                                                         3-15-19)

04/29/19              RICHARD FEUDALE, ESQUIRE           PROCEEDS FOR 426 CENTRE ST.,                                              4,415.10                         120,053.38
                                                         ASHLAND, PA (PER COURT ODER DATED 3-
                                                         15-19)

04/29/19 Asset #157                                                                               6,000.00 1210-000                                                 120,053.38
04/29/19                                                 Trustee Commission Reserve                -180.00 2500-000                                                 120,053.38


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                                                      Cash Receipts and Disbursements Record                                                                                  Page: 117

Case Number:          15-03964 MJC                                                                  Trustee:                William G. Schwab
Case Name:            Apartments And Acquistions LP                                                 Bank Name:              Texas Capital Bank
                                                                                                    Account:                ******1656 - Checking Account
Taxpayer ID#:         **-***4454                                                                    Blanket Bond:           $6,889,586.00 (per case limit)
Period Ending:        12/08/21                                                                      Separate Bond:          N/A

   1             2                    3                                            4                                                 5                  6                     7

 Trans.    Check or                                                                                             Uniform           Receipts        Disbursements           Checking
  Date      Ref. #          Paid To / Received From                    Description of Transaction              Tran. Code            $                  $              Account Balance

04/29/19                                                 Rents                                        -135.87 2410-000                                                      120,053.38

04/29/19                                                 Ashland Borough Water                        -676.27 4700-000                                                      120,053.38
                                                         Sewer & Trash

04/29/19                                                 Tax Claim Bureau                              -56.90 4700-000                                                      120,053.38

04/29/19                                                 Tax Collector                                 -30.86 2500-000                                                      120,053.38

04/29/19                                                 Houser Auctioneer                            -500.00 3610-000                                                      120,053.38

04/29/19                                                 Dena Kister                                     -5.00 2500-000                                                     120,053.38

04/29/19              Richard Feudale, Esquire           PROCEEDS FOR 426 CENTRE ST.,           2500-000                                                     -180.00        120,233.38
                                                         ASHLAND, PA (Report of sale dated
                                                         4/30/2019) (PER COURT ORDER DATED 3-15
                                                         -19)

04/29/19              Richard Feudale, Esquire           PROCEEDS FOR 1027 CENTRE ST.,                         2500-000                                       -75.00        120,308.38
                                                         ASHLAND, PA (PER COURT ORDER DATED
                                                         3-15-19)

04/29/19              RICHARD FEUDALE, ESQUIRE           PROCEEDS FOR 1027 CENTER ST.,                                                1,551.70                              121,860.08
                                                         ASHLAND, PA (PER COURT ORDER DATED
                                                         3-15-19) (Report of sale dated 4/30/2019: Doc
                                                         #529)

04/29/19 Asset #159                                                                                  2,500.00 1210-000                                                      121,860.08
04/29/19                                                 Trustee Commission                            -75.00 2500-000                                                      121,860.08




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                                                      Cash Receipts and Disbursements Record                                                                              Page: 118

Case Number:          15-03964 MJC                                                               Trustee:                William G. Schwab
Case Name:            Apartments And Acquistions LP                                              Bank Name:              Texas Capital Bank
                                                                                                 Account:                ******1656 - Checking Account
Taxpayer ID#:         **-***4454                                                                 Blanket Bond:           $6,889,586.00 (per case limit)
Period Ending:        12/08/21                                                                   Separate Bond:          N/A

   1             2                    3                                         4                                                 5                  6                    7

 Trans.    Check or                                                                                          Uniform           Receipts        Disbursements          Checking
  Date      Ref. #          Paid To / Received From                 Description of Transaction              Tran. Code            $                  $             Account Balance

04/29/19                                                 Ashland Boro Water, Sewer                 -293.13 4700-000                                                     121,860.08
                                                         and TRash

04/29/19                                                 Tax Claim Bureau                           -72.74 4700-000                                                     121,860.08

04/29/19                                                 Tax Collector                                -2.43 2500-000                                                    121,860.08

04/29/19                                                 Houser Auctioneers                        -500.00 3610-000                                                     121,860.08

04/29/19                                                 Dena Kistler                                 -5.00 2500-000                                                    121,860.08

04/29/19              Richard Feudale, Esquire           PROCEEDS FOR 1510 CENTRE ST.,                      2500-000                                      -90.00        121,950.08
                                                         ASHLAND PA (PER COURT ORDER DATED
                                                         3-15-19)

04/29/19              RICHARD FEUDALE, ESQUIRE           PROCEEDS FOR 1510 CENTRE ST.,                                             1,984.20                             123,934.28
                                                         ASHLAND, PA (PER COURT ORDER DATED
                                                         3-15-19) (Report of sale dated 4/30/2019: Doc
                                                         #532)

04/29/19 Asset #158                                                                               3,000.00 1210-000                                                     123,934.28
04/29/19                                                 Trustee Commission                         -90.00 2500-000                                                     123,934.28

04/29/19                                                 Ashland Boro Water Sewer &                -345.63 4700-000                                                     123,934.28
                                                         Trash

04/29/19                                                 Tax Claim Bureau                           -72.74 4700-000                                                     123,934.28

04/29/19                                                 Tax Collector                                -2.43 2500-000                                                    123,934.28

04/29/19                                                 Houser Auctioneer                         -500.00 3610-000                                                     123,934.28


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                                                      Cash Receipts and Disbursements Record                                                                           Page: 119

Case Number:          15-03964 MJC                                                                Trustee:                William G. Schwab
Case Name:            Apartments And Acquistions LP                                               Bank Name:              Texas Capital Bank
                                                                                                  Account:                ******1656 - Checking Account
Taxpayer ID#:         **-***4454                                                                  Blanket Bond:           $6,889,586.00 (per case limit)
Period Ending:        12/08/21                                                                    Separate Bond:          N/A

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 Trans.    Check or                                                                                           Uniform           Receipts        Disbursements      Checking
  Date      Ref. #          Paid To / Received From                  Description of Transaction              Tran. Code            $                  $         Account Balance

04/29/19                                                 Dena Kistler                                  -5.00 2500-000                                                123,934.28

04/29/19              RICHARD FEUDALE, ESQUIRE           PROCEEDS FOR 26 NORTH LEHIGH AVE.,                                            60.00                         123,994.28
                                                         FRACKVILLE,PA (PER COURT ORDER
                                                         DATED 3-15-19)

04/29/19 Asset #168                                                                                2,234.11 1249-000                                                 123,994.28
04/29/19                                                 Tax Claim Bureau                           -111.18 4700-000                                                 123,994.28

04/29/19                                                 Tax Claim Bureau                            -70.19 4700-000                                                 123,994.28

04/29/19                                                 Tax Claim Bureau                            -61.41 4700-000                                                 123,994.28

04/29/19                                                 Tac Claim Bureau                            -63.12 4700-000                                                 123,994.28

04/29/19                                                 Frackville Boro                           -1,103.58 4700-000                                                123,994.28

04/29/19                                                 Tax Collector                              -105.63 2500-000                                                 123,994.28

04/29/19                                                 Frackville Municipal Auhtority             -154.00 2500-000                                                 123,994.28

04/29/19                                                 Houser Auctioneer                          -500.00 3610-000                                                 123,994.28

04/29/19                                                 Dena Kistler                                  -5.00 2500-000                                                123,994.28

05/03/19              NORTHEAST EDGE                     PROCEEDS FOR 301 SOUTH BROAD                                              27,987.22                         151,981.50
                      ASSOCIATES                         MOUNTAIN AVE, FRACKVILLE, PER COURT
                                                         ORDER DATED 3-15-19

05/03/19 Asset #167                                                                               43,500.00 1210-000                                                 151,981.50



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                                                      Cash Receipts and Disbursements Record                                                                           Page: 120

Case Number:          15-03964 MJC                                                                Trustee:                William G. Schwab
Case Name:            Apartments And Acquistions LP                                               Bank Name:              Texas Capital Bank
                                                                                                  Account:                ******1656 - Checking Account
Taxpayer ID#:         **-***4454                                                                  Blanket Bond:           $6,889,586.00 (per case limit)
Period Ending:        12/08/21                                                                    Separate Bond:          N/A

   1             2                    3                                           4                                                5                  6                7

 Trans.    Check or                                                                                           Uniform           Receipts        Disbursements      Checking
  Date      Ref. #          Paid To / Received From                  Description of Transaction              Tran. Code            $                  $         Account Balance

05/03/19 Asset #167                                      Trustee Commission                        -1,305.00 1210-000                                                151,981.50

05/03/19                                                 Borough of Frackville                       -45.87 4800-000                                                 151,981.50

05/03/19                                                 Frackkville Area Sewer                     -585.75 4800-000                                                 151,981.50

05/03/19                                                 Porntoff Law Offices                      -3,991.50 4800-000                                                151,981.50

05/03/19                                                 Schuylkill County Tax Claim               -7,386.80 4800-000                                                151,981.50
                                                         Bureau

05/03/19                                                 2019 0County Taxes                         -842.86 2990-000                                                 151,981.50

05/03/19                                                 Prepaid Expenses                            -50.00 2100-000                                                 151,981.50

05/03/19                                                 Houser Auctioneers                        -1,305.00 3610-000                                                151,981.50

05/03/19 Asset #167 NORTHEAST EDGE                       PROCEEDS FOR 301 S. BROAD MOUNTAIN                  1210-000               1,305.00                         153,286.50
                    ASSOCIATES                           AVE, FRACKVILLE, PA PER COURT ORDER
                                                         DATED 3-15-19

05/03/19              ATTORNEY PAUL DOMALAKES            PROCEEDS FOR 227 NORTH NICE STREET,                                       10,375.00                         163,661.50
                                                         FRACKVILLE, PER COURT ORDER DATED 3
                                                         -15-19

05/03/19 Asset #170                                                                               12,917.18 1210-000                                                 163,661.50
05/03/19                                                 Delinquent Tax Liens                       -235.68 4700-000                                                 163,661.50

05/03/19                                                 Delinquent Tax Liens                      -1,776.70 4700-000                                                163,661.50




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                                                      Cash Receipts and Disbursements Record                                                                           Page: 121

Case Number:          15-03964 MJC                                                                Trustee:                William G. Schwab
Case Name:            Apartments And Acquistions LP                                               Bank Name:              Texas Capital Bank
                                                                                                  Account:                ******1656 - Checking Account
Taxpayer ID#:         **-***4454                                                                  Blanket Bond:           $6,889,586.00 (per case limit)
Period Ending:        12/08/21                                                                    Separate Bond:          N/A

   1             2                    3                                          4                                                 5                  6                7

 Trans.    Check or                                                                                           Uniform           Receipts        Disbursements      Checking
  Date      Ref. #          Paid To / Received From                  Description of Transaction              Tran. Code            $                  $         Account Balance

05/03/19                                                 Tax Collector                               -24.80 2820-000                                                 163,661.50

05/03/19                                                 Dena Kistler                                  -5.00 2500-000                                                163,661.50

05/03/19                                                 Houser Auctioneers                         -500.00 3620-000                                                 163,661.50

05/03/19 Asset #148 ATTORNEY PAUL DOMALAKES              RENT - 29 DAYS PRO RATED ON 227                     1230-000                  459.07                        164,120.57
                                                         NORTH NICE STREET, FRACKVILLE, PA

05/03/19              RICHARD FEUDALE, ESQUIRE           PROCEEDS FOR 1525-1527 WEST WALNUT                                             45.00                        164,165.57
                                                         STRETE, COAL TOWNSHIP, PA PER COURT
                                                         ORDER DATED 3-15-19

05/03/19 Asset #191                                                                                1,500.00 1210-000                                                 164,165.57
05/03/19              William G. Schwab, Trustee                                                      45.00 2500-000                                                 164,165.57
05/03/19                                                 Closing costs                             -1,500.00 2500-000                                                164,165.57

05/03/19              RICHARD FEUDALE, ESQUIRE           PROCEEDS FOR 341 SOUTH BEECH                                                   45.00                        164,210.57
                                                         STREET, MT. CARMEL, PA PER COURT
                                                         ORDER DATED 3-15-19

05/03/19 Asset #174                                                                                1,705.51 1210-000                                                 164,210.57
05/03/19                                                 Delinquent Taxes                           -147.96 4700-000                                                 164,210.57

05/03/19                                                 Delinquent Taxes                           -757.68 4700-000                                                 164,210.57

05/03/19                                                 Current Taxes                              -249.87 2500-000                                                 164,210.57

05/03/19                                                 Dena Kistler, Notary Public                   -5.00 2500-000                                                164,210.57




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                                                      Cash Receipts and Disbursements Record                                                                           Page: 122

Case Number:          15-03964 MJC                                                                Trustee:                William G. Schwab
Case Name:            Apartments And Acquistions LP                                               Bank Name:              Texas Capital Bank
                                                                                                  Account:                ******1656 - Checking Account
Taxpayer ID#:         **-***4454                                                                  Blanket Bond:           $6,889,586.00 (per case limit)
Period Ending:        12/08/21                                                                    Separate Bond:          N/A

   1             2                    3                                          4                                                 5                  6                7

 Trans.    Check or                                                                                           Uniform           Receipts        Disbursements      Checking
  Date      Ref. #          Paid To / Received From                  Description of Transaction              Tran. Code            $                  $         Account Balance

05/03/19                                                 houser Auctioneers                         -500.00 3610-000                                                 164,210.57

05/03/19              RICHARD FEUDALE, ESQUIRE           PROCEEDS FOR 912 NORTH SHAMOKIN                                               45.00                         164,255.57
                                                         STREET, SHAMOKIN, PA PER COURT
                                                         ORDER DATED 3-15-19

05/03/19 Asset #185                                                                                1,500.00 1210-000                                                 164,255.57
05/03/19                                                 Shamokin-Coal Twp Swere                     -57.65 4700-000                                                 164,255.57

05/03/19                                                 Delinqunet Northumberland                  -766.88 4700-000                                                 164,255.57
                                                         Co Tax Claim

05/03/19                                                 Current Taxes                              -125.47 2500-000                                                 164,255.57

05/03/19                                                 Dena Kistler, Notary Public                   -5.00 2500-000                                                164,255.57

05/03/19                                                 Houser Auctioneer                          -500.00 3610-000                                                 164,255.57

05/03/19              RICHARD FEUDALE, ESQUIRE           PROCEEDS FOR 140 EAST SUNBURY                                                 45.00                         164,300.57
                                                         STREET, SHAMOKIN, PA PER COURT
                                                         ORDER DATED 3-15-19

05/03/19 Asset #182                                                                                1,975.82 1210-000                                                 164,300.57
05/03/19                                                 Delinquent Sewer                           -191.16 4700-000                                                 164,300.57

05/03/19                                                 Delinquent Taxes                           -589.93 4700-000                                                 164,300.57

05/03/19                                                 Current Taxes                              -644.73 2500-000                                                 164,300.57

05/03/19                                                 Dena Kistler, Notary Public                   -5.00 2500-000                                                164,300.57



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                                                      Cash Receipts and Disbursements Record                                                                               Page: 123

Case Number:          15-03964 MJC                                                                Trustee:                William G. Schwab
Case Name:            Apartments And Acquistions LP                                               Bank Name:              Texas Capital Bank
                                                                                                  Account:                ******1656 - Checking Account
Taxpayer ID#:         **-***4454                                                                  Blanket Bond:           $6,889,586.00 (per case limit)
Period Ending:        12/08/21                                                                    Separate Bond:          N/A

   1             2                    3                                          4                                                 5                  6                    7

 Trans.    Check or                                                                                           Uniform           Receipts        Disbursements          Checking
  Date      Ref. #          Paid To / Received From                  Description of Transaction              Tran. Code            $                  $             Account Balance

05/03/19                                                 Houser Auctioneer                          -500.00 3610-000                                                     164,300.57

05/03/19              Richard Feudale, Esquire           PROCEEDS FOR 238 SOUTH 6TH STREET,                  2500-000                                      -45.00        164,345.57
                                                         SHAMOKIN, PA PER COURT ORDER DATED
                                                         3-15-19

05/03/19              RICHARD FEUDALE, ESQUIRE           PROCEEDS FOR 238 SOUTH 6TH STREET,                                            588.57                            164,934.14
                                                         SHAMOKIN, PA PER COURT ORDER DATED
                                                         3-15-19

05/03/19 Asset #183                                                                                1,500.00 1210-000                                                     164,934.14
05/03/19                                                 Current Sewer                               -30.23 2500-000                                                     164,934.14

05/03/19                                                 Current Taxes                              -331.20 2500-000                                                     164,934.14

05/03/19                                                 Trustee Reserve                             -45.00 2500-000                                                     164,934.14

05/03/19                                                 Dena Kistler, Notary Public                   -5.00 2500-000                                                    164,934.14

05/03/19                                                 Houser Auctioneer                          -500.00 3610-000                                                     164,934.14

05/03/19              RICHARD FEUDALE, ESQUIRE           PROCEEDS FOR 50-52 WATER STREET,                                               93.00                            165,027.14
                                                         NEW PHILADELPHIA, PA PER COURT
                                                         ORDER DATED 3-15-19

05/03/19 Asset #205                                                                                3,226.75 1210-000                                                     165,027.14
05/03/19                                                 2019 RE Taxes                              -148.24 2500-000                                                     165,027.14

05/03/19                                                 Trash                                       -72.34 2500-000                                                     165,027.14




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                                                      Cash Receipts and Disbursements Record                                                                            Page: 124

Case Number:          15-03964 MJC                                                                 Trustee:                William G. Schwab
Case Name:            Apartments And Acquistions LP                                                Bank Name:              Texas Capital Bank
                                                                                                   Account:                ******1656 - Checking Account
Taxpayer ID#:         **-***4454                                                                   Blanket Bond:           $6,889,586.00 (per case limit)
Period Ending:        12/08/21                                                                     Separate Bond:          N/A

   1             2                    3                                           4                                                 5                  6                7

 Trans.    Check or                                                                                            Uniform           Receipts        Disbursements      Checking
  Date      Ref. #          Paid To / Received From                   Description of Transaction              Tran. Code            $                  $         Account Balance

05/03/19                                                 Delinquent Trash                             -86.96 4700-000                                                 165,027.14

05/03/19                                                 Delinquent Sewer                           -2,051.48 4700-000                                                165,027.14

05/03/19                                                 Delinqnent Water                             -56.88 4700-000                                                 165,027.14


05/03/19                                                 Delinquent Taxes                            -212.85 4700-000                                                 165,027.14

05/03/19                                                 Notary Public                                  -5.00 2500-000                                                165,027.14

05/03/19                                                 Houser Auctioneer                           -500.00 3610-000                                                 165,027.14

05/03/19              RICHARD FEUDALE, ESQUIRE           PROCEEDS FOR 0 MILL (254 MILL ST) ST.                                      18,369.63                         183,396.77
                                                         CALIR, PA PER COURT ORDER DATED 3-
                                                         151-9

05/03/19 Asset #198                                                                                27,200.00 1210-000                                                 183,396.77
05/03/19                                                 Protnoff Law & Associates                  -3,921.52 4700-000                                                183,396.77

05/03/19                                                 Current 2019 Real Estate                    -218.19 2500-000                                                 183,396.77
                                                         Taxes

05/03/19                                                 Schuylkilll County Tax                     -1,229.32 4700-000                                                183,396.77
                                                         Collection

05/03/19                                                 St Clair Garbage Delinquent                 -882.00 4700-000                                                 183,396.77

05/03/19                                                 St Clair Electric                           -317.21 2500-000                                                 183,396.77




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                                                      Cash Receipts and Disbursements Record                                                                               Page: 125

Case Number:          15-03964 MJC                                                               Trustee:                William G. Schwab
Case Name:            Apartments And Acquistions LP                                              Bank Name:              Texas Capital Bank
                                                                                                 Account:                ******1656 - Checking Account
Taxpayer ID#:         **-***4454                                                                 Blanket Bond:           $6,889,586.00 (per case limit)
Period Ending:        12/08/21                                                                   Separate Bond:          N/A

   1             2                    3                                         4                                                 5                  6                     7

 Trans.    Check or                                                                                          Uniform           Receipts        Disbursements           Checking
  Date      Ref. #          Paid To / Received From                 Description of Transaction              Tran. Code            $                  $              Account Balance

05/03/19                                                 St Clair Sewer Delinquent                -1,295.00 4700-000                                                     183,396.77

05/03/19                                                 Water                                      -30.74 2500-000                                                      183,396.77

05/03/19                                                 Notary Public                                -5.00 2500-000                                                     183,396.77

05/03/19                                                 Trustee Reserve                           -431.39 2500-000                                                      183,396.77

05/03/19                                                 Houser Auctioneer                         -500.00 3610-000                                                      183,396.77

05/03/19              Richard Feudale, Esquire           PROCEEDS FOR 0 MILL (254 MILL ST) ST.              2500-000                                      -816.00        184,212.77
                                                         CLAIR, PA PER COURT ORDER DATED 3-15
                                                         -19

05/03/19              RICHARD FEUDALE, ESQUIRE           PROCEEDS FOR 135 EAST HIGH STREET,                                        2,877.73                              187,090.50
                                                         COALDALE, PA PER COURT ORDER DATED
                                                         3-15-19

05/03/19 Asset #196                                                                               5,200.00 1210-000                                                      187,090.50
05/03/19                                                 Sewer                                     -193.20 2500-000                                                      187,090.50

05/03/19                                                 Water                                     -116.50 2500-000                                                      187,090.50

05/03/19                                                 Portnoff Law Associates                  -1,156.65 4700-000                                                     187,090.50

05/03/19                                                 Schuylkill County Tax Claim               -138.01 4700-000                                                      187,090.50

05/03/19                                                 Current Taxes                              -56.91 2500-000                                                      187,090.50

05/03/19                                                 Notar yPublic                                -5.00 2500-000                                                     187,090.50



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                                                      Cash Receipts and Disbursements Record                                                                               Page: 126

Case Number:          15-03964 MJC                                                               Trustee:                William G. Schwab
Case Name:            Apartments And Acquistions LP                                              Bank Name:              Texas Capital Bank
                                                                                                 Account:                ******1656 - Checking Account
Taxpayer ID#:         **-***4454                                                                 Blanket Bond:           $6,889,586.00 (per case limit)
Period Ending:        12/08/21                                                                   Separate Bond:          N/A

   1             2                    3                                         4                                                 5                  6                     7

 Trans.    Check or                                                                                          Uniform           Receipts        Disbursements           Checking
  Date      Ref. #          Paid To / Received From                 Description of Transaction              Tran. Code            $                  $              Account Balance

05/03/19                                                 Trustee Reserve                           -156.00 2500-000                                                      187,090.50

05/03/19                                                 Houser Auctioneer                         -500.00 3610-000                                                      187,090.50

05/03/19              Richard Feudale, Esquire           PROCEEDS FOR 135 EAST HIGH STREET,                 2500-000                                      -156.00        187,246.50
                                                         COALDALE, PA PER COURT ORDER DATED
                                                         5-1-19

05/03/19              RICHARD FEUDALE, ESQUIRE           PROCEEDS FOR 234 EAST HIGH STREET,                                           162.00                             187,408.50
                                                         COALDALE, PA PER COUR ORDER DATED
                                                         3-15-19

05/03/19 Asset #197                                                                               6,083.20 1210-000                                                      187,408.50
05/03/19                                                 Delinquent Taxes-Protnoff                -3,007.31 4700-000                                                     187,408.50

05/03/19                                                 Delinquent Taxes                         -1,107.76 4700-000                                                     187,408.50

05/03/19                                                 Current Trash                             -273.00 2500-000                                                      187,408.50

05/03/19                                                 Current Sewer                             -158.96 2500-000                                                      187,408.50

05/03/19                                                 Current Water                              -81.45 2500-000                                                      187,408.50

05/03/19                                                 Current Taxes                             -787.72 2500-000                                                      187,408.50

05/03/19                                                 Notary Public                                -5.00 2500-000                                                     187,408.50

05/03/19                                                 Houser Auctioneer                         -500.00 3610-000                                                      187,408.50




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                                                      Cash Receipts and Disbursements Record                                                                               Page: 127

Case Number:          15-03964 MJC                                                               Trustee:                William G. Schwab
Case Name:            Apartments And Acquistions LP                                              Bank Name:              Texas Capital Bank
                                                                                                 Account:                ******1656 - Checking Account
Taxpayer ID#:         **-***4454                                                                 Blanket Bond:           $6,889,586.00 (per case limit)
Period Ending:        12/08/21                                                                   Separate Bond:          N/A

   1             2                    3                                         4                                                 5                  6                     7

 Trans.    Check or                                                                                          Uniform           Receipts        Disbursements           Checking
  Date      Ref. #          Paid To / Received From                 Description of Transaction              Tran. Code            $                  $              Account Balance

05/03/19 Asset #148 RICHARD FEUDALE, ESQUIRE             PRO RATION OF RENT FOR 1420 WALNUT                 1230-000                   53.32                             187,461.82
                                                         STREET, ASHLAND, PA

05/03/19 Asset #148 RICHARD FEUDALE, ESQUIRE             PRO RATION OF RENT FOR 426 CENTRE                  1230-000                  135.88                             187,597.70
                                                         STREET, ASHLAND, PA

05/03/19              Richard Feudale, Esquire           PROCEEDS FOR 1103 WEST FERN STREET, 2500-000                                                     -329.00        187,926.70
                                                         COAL TOWNSHIP, PER COURT ORDER
                                                         DATED 3-15-19

05/03/19              SCHLESINGE R &                     PROCEEDS FOR 1103 WEST FERN STREET,                                          860.34                             188,787.04
                      KERSTETTER,LLP                     COAL TOWNSHIP, PER COURT ORDER
                                                         DATED 3-15-19

05/03/19 Asset #190                                                                               5,100.00 1210-000                                                      188,787.04
05/03/19 Asset #190                                      Excess deposit                            -510.00 1210-000                                                      188,787.04

05/03/19                                                 Closing costs                            -3,729.66 2500-000                                                     188,787.04

05/06/19 Asset #148 SCHUYLKILL COUNTY HOUSING RENT FOR (406 CENTRE ST., ASHLAND, 22                         1230-000               3,210.00                              191,997.04
                    AUTHORITY                 WIGGAN ST, NEW PHILADELPHIA, 94 COAL
                                              ST., PORT CARBON, 1334 WALNUT
                                              STREET, ASHLAND AND 0 LINE STREET,
                                              FRACKVILLE

05/06/19 Asset #148 THE ADVOCACY ALLIANCE                RENT FOR 1421 WALNUT STREET,                       1230-000                  400.00                             192,397.04
                                                         ASHLAND, PA

05/07/19              LAW OFFICE OF COLE                 PROCEEDS FOR 151 WEST SAYLOR                                                 760.88                             193,157.92
                                                         STREET, ATLAS, PA PER COURT ORDER
                                                         DATED 3-15-19




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                                                      Cash Receipts and Disbursements Record                                                                                 Page: 128

Case Number:          15-03964 MJC                                                                 Trustee:                William G. Schwab
Case Name:            Apartments And Acquistions LP                                                Bank Name:              Texas Capital Bank
                                                                                                   Account:                ******1656 - Checking Account
Taxpayer ID#:         **-***4454                                                                   Blanket Bond:           $6,889,586.00 (per case limit)
Period Ending:        12/08/21                                                                     Separate Bond:          N/A

   1             2                    3                                           4                                                 5                  6                     7

 Trans.    Check or                                                                                            Uniform           Receipts        Disbursements           Checking
  Date      Ref. #          Paid To / Received From                   Description of Transaction              Tran. Code            $                  $              Account Balance

05/07/19 Asset #173                                                                                 4,900.00 1210-000                                                      193,157.92
05/07/19                                                 Tax Certification Fee                        -20.00 2500-000                                                      193,157.92

05/07/19                                                 Northumberland Tax Claim                   -3,161.25 4700-000                                                     193,157.92

05/07/19                                                 Sewer Bill                                  -119.79 2500-000                                                      193,157.92

05/07/19                                                 2019 County Real Estate                     -186.08 2500-000                                                      193,157.92
                                                         Taxes

05/07/19                                                 Trustee Reserve                             -147.00 2500-000                                                      193,157.92

05/07/19                                                 Notary Public                                  -5.00 2500-000                                                     193,157.92

05/07/19                                                 Houser Auctioneer                           -500.00 3610-000                                                      193,157.92

05/07/19              Law Office of Cole                 PROCEEDS FOR 151 WEST SAYLOR                         2500-000                                      -147.00        193,304.92
                                                         STREET, ATLAS, PA PER COURT ORDER
                                                         DATED 3-15-19

05/07/19              Richard Feudale, Esquire           PROCEEDS FOR 1727 PARK AVE, COAL                     2500-000                                      -408.00        193,712.92
                                                         TOWNSHIP, PA PER COURT ORDER DATED
                                                         3-15-19

05/07/19              LAW OFFICE OF MARKS,               PROCEEDS FOR 1727 PARK AVE, COAL                                            6,437.64                              200,150.56
                                                         TOWNSHIP, PA PER COURT ORDER DATED
                                                         3-15-19

05/07/19 Asset #193                                                                                13,600.00 1210-000                                                      200,150.56
05/07/19                                                 Reserve Trustee Commission                  -408.00 6950-000                                                      200,150.56



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                                                      Cash Receipts and Disbursements Record                                                                             Page: 129

Case Number:          15-03964 MJC                                                                Trustee:                William G. Schwab
Case Name:            Apartments And Acquistions LP                                               Bank Name:              Texas Capital Bank
                                                                                                  Account:                ******1656 - Checking Account
Taxpayer ID#:         **-***4454                                                                  Blanket Bond:           $6,889,586.00 (per case limit)
Period Ending:        12/08/21                                                                    Separate Bond:          N/A

   1             2                    3                                          4                                                 5                  6                  7

 Trans.    Check or                                                                                           Uniform           Receipts        Disbursements        Checking
  Date      Ref. #          Paid To / Received From                  Description of Transaction              Tran. Code            $                  $           Account Balance

05/07/19                                                 2018 Tax Claim                             -496.82 4700-000                                                   200,150.56

05/07/19                                                 2017 Tax Claim                             -936.75 4700-000                                                   200,150.56

05/07/19                                                 2016 Tax Claim                            -1,243.10 4700-000                                                  200,150.56

05/07/19                                                 2015 Tax Claim                             -951.54 4700-000                                                   200,150.56

05/07/19                                                 2014 Tax Claim                            -1,019.47 4700-000                                                  200,150.56

05/07/19                                                 2013 Tax Claim                             -539.62 4700-000                                                   200,150.56

05/07/19                                                 Tax Collector                              -501.96 2500-000                                                   200,150.56

05/07/19                                                 Delinquent Swere Charges                   -495.60 4700-000                                                   200,150.56

05/07/19                                                 Houser Auctioneer                          -500.00 3610-000                                                   200,150.56

05/07/19                                                 Current April-May                           -49.50 2500-000                                                   200,150.56

05/07/19                                                 Notary Public                                 -5.00 2500-000                                                  200,150.56

05/07/19                                                 Tax Collector Certification                 -15.00 2500-000                                                   200,150.56

05/07/19     54329    HOUSER AUCTIONEERS                 AUCTIONEER COMMISSION (MARCH 23RD                   3610-004                                 10,205.00        189,945.56
                                                         AUCTION)

05/07/19     54330    HOUSER AUCTIONEERS                 AUCTIONEER COMMISSION (APRIL 19TH                   3610-004                                 10,801.00        179,144.56
                                                         AUCTION)




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                                                      Cash Receipts and Disbursements Record                                                                            Page: 130

Case Number:          15-03964 MJC                                                             Trustee:                William G. Schwab
Case Name:            Apartments And Acquistions LP                                            Bank Name:              Texas Capital Bank
                                                                                               Account:                ******1656 - Checking Account
Taxpayer ID#:         **-***4454                                                               Blanket Bond:           $6,889,586.00 (per case limit)
Period Ending:        12/08/21                                                                 Separate Bond:          N/A

   1             2                    3                                       4                                                 5                   6                   7

 Trans.    Check or                                                                                        Uniform           Receipts         Disbursements         Checking
  Date      Ref. #          Paid To / Received From               Description of Transaction              Tran. Code            $                   $            Account Balance

05/08/19     54329    HOUSER AUCTIONEERS                 AUCTIONEER COMMISSION (MARCH 23RD                3610-004                                -10,205.00          189,349.56
                                                         AUCTION) HOUSER AUCTIONEERS

05/08/19     54330    HOUSER AUCTIONEERS                 AUCTIONEER COMMISSION (APRIL 19TH                3610-004                                -10,801.00          200,150.56
                                                         AUCTION) HOUSER AUCTIONEERS

05/09/19 Asset #165 GREAT AMERICAN INSURANCE FIRE SETTLEMENT FOR 1114 BROCK                               1249-000              33,666.67                             233,817.23
                    CO                       STREET, ASHLAND, PA

05/09/19 Asset #148 DAMITER PROPERTIES, LLC              RETURN OF MAY RENT PAYMENT (SALE                 1230-000                  -760.00                           233,057.23
           54331                                         OF 301 S. BROAD MT. AVE.)

05/14/19     54332    BARCLAYS                           REIMBURSEMENT OF CREDIT CARD                     2690-000                                       90.40        232,966.83
                                                         CHARGES (AMENDED NOTICE TO
                                                         APPROVE SETTLEMENT V. DONAHUE)

05/28/19     54333    EISNERAMPER, LLP                   FIRST INTERIM COMPENSATION TO                    3410-003                                 24,361.50          208,605.33
                                                         FORENSIC ACCOUNTANT (PER COURT
                                                         ORDER DATED 5/17/19)

05/28/19     54333    EISNERAMPER, LLP                   FIRST INTERIM COMPENSATION TO         3410-003                                           -24,361.50          232,966.83
                                                         FORENSIC ACCOUNTANT (PER COURT
                                                         ORDER DATED 5/17/19) EISNERAMPER, LLP

05/28/19     54334    EISNERAMPER, LLP                   FIRST INTERIM COMPENSATION TO                    3410-000                                 24,361.50          208,605.33
                                                         FORENSIC ACCOUNTANT (PER COURT
                                                         ORDER DATED 5/17/19)

05/28/19     54335    EISNERAMPER, LLP                   FIRST INTERIM OUT-OF-POCKET                      3420-000                                      750.00        207,855.33
                                                         EXPENSES TO FORENSIC ACCOUNTANT
                                                         (PER COURT ORDER DATED 5/17/19)




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                                                      Cash Receipts and Disbursements Record                                                                               Page: 131

Case Number:          15-03964 MJC                                                                 Trustee:                William G. Schwab
Case Name:            Apartments And Acquistions LP                                                Bank Name:              Texas Capital Bank
                                                                                                   Account:                ******1656 - Checking Account
Taxpayer ID#:         **-***4454                                                                   Blanket Bond:           $6,889,586.00 (per case limit)
Period Ending:        12/08/21                                                                     Separate Bond:          N/A

   1             2                    3                                           4                                                 5                   6                  7

 Trans.    Check or                                                                                            Uniform           Receipts         Disbursements        Checking
  Date      Ref. #          Paid To / Received From                   Description of Transaction              Tran. Code            $                   $           Account Balance

05/29/19     54336    BOROUGH OF FRACKVILLE              GARBAGE FEES DUE FROM SETTLEMENT                     2690-000                                   4,535.40        203,319.93
                                                         (SALE OF 301 S. BROAD MT. AVE.,
                                                         FRACKVILLE)

05/29/19 Asset #148 ACORN ESTATES, LLC                   RETURN OF RENT PAYMENT (SALE OF 426                  1230-000                  -807.00                          202,512.93
           54337                                         CENTRE ST., ASHLAND - A. CHRIST.)

05/29/19 Asset #148 MS. CARI BIXLER COLLINS              RETURN OF RENT PAYMENT (SALE OF                      1230-000                  -400.00                          202,112.93
           54338                                         1420 WALNUT ST., ASHLAND)

05/31/19              RICHARD FEUDALE, ESQUIRE           PROCEEDS FROM SALE OF PROPERTY ON                                               45.00                           202,157.93
                                                         717 WEST RACE STREET, POTTSVILLE PER
                                                         COURT ORDER DATED 3-15-19

05/31/19 Asset #180                                                                                 1,500.00 1210-000                                                    202,157.93
05/31/19                                                 City of Pottsville                          -112.97 4120-000                                                    202,157.93

05/31/19                                                 Portnoff Law Associates                      -53.46 4120-000                                                    202,157.93

05/31/19                                                 Schuylkill Cty Tax Claim                    -183.71 4120-000                                                    202,157.93

05/31/19                                                 Greater Pottsville Sewer                    -508.85 2500-000                                                    202,157.93

05/31/19                                                 Schuylkill County Mun. Auth                  -76.65 2500-000                                                    202,157.93

05/31/19                                                 Tax Collector                                -14.36 2500-000                                                    202,157.93

05/31/19                                                 Dena Kistler                                   -5.00 2500-000                                                   202,157.93

05/31/19                                                 Houser Auctioneer                           -500.00 3610-000                                                    202,157.93



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                                                      Cash Receipts and Disbursements Record                                                                            Page: 132

Case Number:          15-03964 MJC                                                                 Trustee:                William G. Schwab
Case Name:            Apartments And Acquistions LP                                                Bank Name:              Texas Capital Bank
                                                                                                   Account:                ******1656 - Checking Account
Taxpayer ID#:         **-***4454                                                                   Blanket Bond:           $6,889,586.00 (per case limit)
Period Ending:        12/08/21                                                                     Separate Bond:          N/A

   1             2                    3                                           4                                                 5                  6                7

 Trans.    Check or                                                                                            Uniform           Receipts        Disbursements      Checking
  Date      Ref. #          Paid To / Received From                   Description of Transaction              Tran. Code            $                  $         Account Balance

05/31/19              RICHARD FEUDALE, ESQUIRE           PROCEEDS FROM SALE OF PROPERTY ON                                              180.00                        202,337.93
                                                         9 AND 11 NORTH 7TH STREET, POTTSVILLE
                                                         PER COURT ORDER DATED 3-15-19

05/31/19 Asset #176                                                                                 6,351.79 1210-000                                                 202,337.93
05/31/19                                                 Greater Pottsville Serwer                   -209.06 2500-000                                                 202,337.93

05/31/19                                                 Schuylkill Cty Mun Auth                      -89.75 2500-000                                                 202,337.93

05/31/19                                                 City of Pottsville                          -338.90 2500-000                                                 202,337.93

05/31/19                                                 Tax Collector                               -401.64 2500-000                                                 202,337.93

05/31/19                                                 Protnoff Assoc                              -944.01 4800-000                                                 202,337.93

05/31/19                                                 Porntoff Assoc                              -580.24 4800-000                                                 202,337.93

05/31/19                                                 Schuylkill Cty Tax Claim                   -2,061.39 4800-000                                                202,337.93

05/31/19                                                 Schuylkill Cty Tax Claim                   -1,041.80 4800-000                                                202,337.93

05/31/19                                                 Dena Kistler                                   -5.00 2500-000                                                202,337.93

05/31/19                                                 Houser Auctioneers                          -500.00 3610-000                                                 202,337.93

05/31/19              RICHARD FEUDALE, ESQUIRE           PROCEEDS FROM SALE OF PROPERTY ON                                               60.00                        202,397.93
                                                         517 RACE STREET, POTTSVILLE PER
                                                         COURT ORDER DATED 3-15-19

05/31/19 Asset #178                                                                                 2,385.99 1210-000                                                 202,397.93



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                                                      Cash Receipts and Disbursements Record                                                                                Page: 133

Case Number:          15-03964 MJC                                                                 Trustee:                William G. Schwab
Case Name:            Apartments And Acquistions LP                                                Bank Name:              Texas Capital Bank
                                                                                                   Account:                ******1656 - Checking Account
Taxpayer ID#:         **-***4454                                                                   Blanket Bond:           $6,889,586.00 (per case limit)
Period Ending:        12/08/21                                                                     Separate Bond:          N/A

   1             2                    3                                           4                                                 5                  6                    7

 Trans.    Check or                                                                                            Uniform           Receipts        Disbursements          Checking
  Date      Ref. #          Paid To / Received From                   Description of Transaction              Tran. Code            $                  $             Account Balance

05/31/19                                                 Portnoff Assoc                              -271.93 4800-000                                                     202,397.93

05/31/19                                                 City of Pottsville                          -112.97 4800-000                                                     202,397.93

05/31/19                                                 Sch Cty Tax Claim                           -660.55 4800-000                                                     202,397.93

05/31/19                                                 Greater Pottsville Sewer                    -169.75 4800-000                                                     202,397.93

05/31/19                                                 Sch Cty Mun Auth                             -74.04 4800-000                                                     202,397.93

05/31/19                                                 Tax Collector                               -531.75 2500-000                                                     202,397.93

05/31/19                                                 Dena Kistler                                   -5.00 2500-000                                                    202,397.93

05/31/19                                                 Houser Auctioneer                           -500.00 3610-000                                                     202,397.93

05/31/19 Asset #200 RICHARD FEUDALE, ESQUIRE             PROCEEDS FROM SALE OF PROPERTY ON                    1210-000                  285.00                            202,682.93
                                                         94 COAL STREET, PORT CARBON PER
                                                         COURT ORDER DATED 3-15-19

05/31/19              Richard Feudale, Esquire           PROCEEDS FROM SALE OF PROPERTY-                      2500-000                                      -81.00        202,763.93
                                                         918 WEST RACE ST., POTTSVILLE PER
                                                         COURT ORDER DATED 3-15-19

05/31/19              RICHARD FEUDALE, ESQUIRE           PROCEEDS FOR 525 EAST NORWEGAIN                                                 15.00                            202,778.93
                                                         ST, POTTSVILLE PER COURT ORDER
                                                         DATED 3-15-19

05/31/19 Asset #179                                                                                   500.00 1210-000                                                     202,778.93
05/31/19                                                 Portnoff Asssoc                              -16.86 4800-000                                                     202,778.93



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                                                      Cash Receipts and Disbursements Record                                                                                Page: 134

Case Number:          15-03964 MJC                                                                 Trustee:                William G. Schwab
Case Name:            Apartments And Acquistions LP                                                Bank Name:              Texas Capital Bank
                                                                                                   Account:                ******1656 - Checking Account
Taxpayer ID#:         **-***4454                                                                   Blanket Bond:           $6,889,586.00 (per case limit)
Period Ending:        12/08/21                                                                     Separate Bond:          N/A

   1             2                    3                                           4                                                 5                  6                    7

 Trans.    Check or                                                                                            Uniform           Receipts        Disbursements          Checking
  Date      Ref. #          Paid To / Received From                   Description of Transaction              Tran. Code            $                  $             Account Balance

05/31/19                                                 City of Pottsville                          -112.97 4800-000                                                     202,778.93

05/31/19                                                 Sch Cty Tax Claim                           -200.04 4800-000                                                     202,778.93

05/31/19                                                 Greater Pottsville Sewer                     -13.26 4800-000                                                     202,778.93

05/31/19                                                 Tax Collector                                -36.87 2500-000                                                     202,778.93

05/31/19                                                 Dena Kistler                                   -5.00 2500-000                                                    202,778.93

05/31/19                                                 Houser Auctioneer                           -100.00 3610-000                                                     202,778.93

05/31/19     54339    BARRY J. SPIELES                   PROPERTY MAINTENANCE                                 2690-000                                      280.00        202,498.93

06/03/19 Asset #154 MMJ, INC                             PARTIAL SETTLEMENT ON TURN OVER                      1249-000               1,000.00                             203,498.93
                                                         FUNDS PER COURT ORDER DATED 5-13-19

06/03/19              RICHARD FEUDALE, ESQUIRE           PROCEEDS FROM SALE 94 COAL ST,                                              4,120.71                             207,619.64
                                                         PORT CARBON PER COURT ORDER DATED
                                                         3-15-19

06/03/19 Asset #200                                                                                 9,500.00 1210-000                                                     207,619.64
06/03/19                                                 Sch. Cty Mun.                               -145.44 4800-000                                                     207,619.64

06/03/19                                                 Portnoff Assoc                             -1,210.08 4800-000                                                    207,619.64

06/03/19                                                 Port Carbon Borough                        -1,618.00 4800-000                                                    207,619.64

06/03/19                                                 Sch Cty Tax Claim                          -1,058.45 4800-000                                                    207,619.64




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                                                      Cash Receipts and Disbursements Record                                                                            Page: 135

Case Number:          15-03964 MJC                                                                 Trustee:                William G. Schwab
Case Name:            Apartments And Acquistions LP                                                Bank Name:              Texas Capital Bank
                                                                                                   Account:                ******1656 - Checking Account
Taxpayer ID#:         **-***4454                                                                   Blanket Bond:           $6,889,586.00 (per case limit)
Period Ending:        12/08/21                                                                     Separate Bond:          N/A

   1             2                    3                                           4                                                 5                  6                7

 Trans.    Check or                                                                                            Uniform           Receipts        Disbursements      Checking
  Date      Ref. #          Paid To / Received From                   Description of Transaction              Tran. Code            $                  $         Account Balance

06/03/19                                                 Greater Pottsville Sewer                    -548.25 4800-000                                                 207,619.64

06/03/19                                                 Tax Collector                                  -9.07 2500-000                                                207,619.64

06/03/19                                                 William Schwab Escrow See                   -285.00 2500-000                                                 207,619.64
                                                         Deposit 280

06/03/19                                                 Dena Kistler                                   -5.00 2500-000                                                207,619.64

06/03/19                                                 Houser Auctioneers                          -500.00 3610-000                                                 207,619.64

06/03/19              RICHARD FEUDALE, ESQUIRE           PROCEEDS FROM SALE 918 WEST RACE                                               802.09                        208,421.73
                                                         STREET, POTTSVILLE PER COURT ORDER
                                                         DATE 3-15-19

06/03/19 Asset #181                                                                                 2,700.00 1210-000                                                 208,421.73
06/03/19                                                 City of Pottsville                          -112.97 4800-000                                                 208,421.73

06/03/19                                                 Greater Pottsville Sewer                    -688.50 4800-000                                                 208,421.73

06/03/19                                                 Sch Cty Mun                                 -304.90 4800-000                                                 208,421.73

06/03/19                                                 Schuylkill Cty Tax Claim                    -193.66 4800-000                                                 208,421.73

06/03/19                                                 Portnoff Assoc                               -69.32 4800-000                                                 208,421.73

06/03/19                                                 Tax Collector                                -18.61 2500-000                                                 208,421.73

06/03/19                                                 William Schwab Trustee                         -4.95 2500-000                                                208,421.73
                                                         Reserve Deposit 281



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Case Number:          15-03964 MJC                                                               Trustee:                William G. Schwab
Case Name:            Apartments And Acquistions LP                                              Bank Name:              Texas Capital Bank
                                                                                                 Account:                ******1656 - Checking Account
Taxpayer ID#:         **-***4454                                                                 Blanket Bond:           $6,889,586.00 (per case limit)
Period Ending:        12/08/21                                                                   Separate Bond:          N/A

   1             2                    3                                         4                                                 5                   6                   7

 Trans.    Check or                                                                                          Uniform           Receipts         Disbursements         Checking
  Date      Ref. #          Paid To / Received From                 Description of Transaction              Tran. Code            $                   $            Account Balance

06/03/19                                                 Dena Kistler                                 -5.00 2500-000                                                    208,421.73

06/03/19                                                 Houser Auctioneers                        -500.00 3610-000                                                     208,421.73

06/03/19 Asset #148 MELISSA DAVIS                        APRIL AND MAY RENT FOR 14 1/2                      1230-000                   94.00                            208,515.73
                                                         WIGGANS ST., NEW PHILADELPHIA, PA

06/03/19 Asset #148 BARBARA AND ROBERT                   MAY RENT FOR 14 WIGGANS STREET, NEW 1230-000                                 260.00                            208,775.73
                    RUPPERT                              PHILADELPHIA

06/05/19 Asset #148 SCHUYLKILL COUNTY HOUSING RENT FOR 14 1/2 WIGGANS ST, NEW                               1230-000               1,643.00                             210,418.73
                    AUTHORITY                 PHILADELPHIA, 94 COAL ST., PORT
                                              CARBON AND 22 WIGGANS ST., NEW
                                              PHILADELPHIA

06/06/19 Asset #148 ACORN ESTATES, LLC                   RETURN OF JUNE RENT PAYMENT (SALE                  1230-000                  -638.00                           209,780.73
           54340                                         OF 94 COAL ST., PORT CARBON)

06/07/19     54341    TRUSTEE INSURANCE AGENCY INSURANCE PREMIUM (Invoice No. 11869)                        2690-000                                      396.00        209,384.73
                                               (Apartments & Acquisitions, LP, Jamilie &
                                               House Flex Properties)

06/10/19 Asset #148 MELISSA DAVIS                        JUNE RENT FOR 14 1/2 WIGGAN ST., NEW               1230-000                   49.00                            209,433.73
                                                         PHILADELPHIA

06/10/19 Asset #148 SCHUYLKILL COUNTY HOUSING RENT FOR 1513 WALNUT STREETM                                  1230-000               1,689.00                             211,122.73
                    AUTHORITY                 ASHLAND, PA, 27 N. NICE STREET ,
                                              FRACKVILLE, PA AND 34 HOFFMAN BLVD.,
                                              ASHLAND, PA




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                                                      Cash Receipts and Disbursements Record                                                                               Page: 137

Case Number:          15-03964 MJC                                                                Trustee:                William G. Schwab
Case Name:            Apartments And Acquistions LP                                               Bank Name:              Texas Capital Bank
                                                                                                  Account:                ******1656 - Checking Account
Taxpayer ID#:         **-***4454                                                                  Blanket Bond:           $6,889,586.00 (per case limit)
Period Ending:        12/08/21                                                                    Separate Bond:          N/A

   1             2                    3                                            4                                               5                   6                   7

 Trans.    Check or                                                                                           Uniform           Receipts         Disbursements         Checking
  Date      Ref. #          Paid To / Received From                  Description of Transaction              Tran. Code            $                   $            Account Balance

06/10/19 Asset #148 VARIOUS TENANTS                      RENT - 20 WIGGANS ST, 14 WIGGANS ST.                1230-000               1,300.00                             212,422.73
                                                         AND 18 WIGGANS ST. NEW PHILADELPHIA ,
                                                         PA

06/11/19     54342    BARRY J. SPIELES                   PROPERTY MAINTENANCE                                2690-000                                      160.00        212,262.73

06/14/19     54343    BARCLAYS                           REIMBURSEMENT OF CREDIT CARD                        2690-000                                       72.80        212,189.93
                                                         CHARGES (NOTICE TO ABANDON
                                                         REMAINING PROPERTIES)

06/19/19 Asset #148 COVENANT ABSTRACT, INC.              RETURN OF RENT RECEIVED (SALE OF                    1230-000                  -716.53                           211,473.40
           54344                                         WIGGIN STREET PROPERTIES)

06/20/19              COVENANT ABSTRACT, INC             SALE PROCEEDS FOR 12 TO 22 WIGGAN                                          1,635.00                             213,108.40
                                                         STREET, NEW PHILADELPHIA, PA PER
                                                         COURT ORDER DATED 3-15-19

06/20/19 Asset #201                                                                               54,500.00 1210-000                                                     213,108.40
06/20/19                                                 Robert Frantz, Tax Collector-             -3,710.00 4700-000                                                    213,108.40
                                                         Del Garbage

06/20/19                                                 Schuylkill Valley Sewer                  -31,870.58 4700-000                                                    213,108.40
                                                         Authority- Sewer

06/20/19                                                 Blythe Twp Municipal                      -1,782.45 4700-000                                                    213,108.40
                                                         Authority Wate

06/20/19                                                 Robert Frantz, Tax Collector              -1,400.00 4700-000                                                    213,108.40
                                                         Garbage




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Case Number:          15-03964 MJC                                                                   Trustee:                William G. Schwab
Case Name:            Apartments And Acquistions LP                                                  Bank Name:              Texas Capital Bank
                                                                                                     Account:                ******1656 - Checking Account
Taxpayer ID#:         **-***4454                                                                     Blanket Bond:           $6,889,586.00 (per case limit)
Period Ending:        12/08/21                                                                       Separate Bond:          N/A

   1             2                     3                                            4                                                 5                  6                    7

 Trans.    Check or                                                                                              Uniform           Receipts        Disbursements          Checking
  Date      Ref. #           Paid To / Received From                    Description of Transaction              Tran. Code            $                  $             Account Balance

06/20/19                                                    Robert Frantz, Tax Collector               -297.75 2500-000                                                     213,108.40
                                                            Semi-annual garbage

06/20/19                                                    Portnoff Associates-                     -11,316.40 4210-000                                                    213,108.40
                                                            Delinquent Taxes

06/20/19                                                    Robert Fratnz, Tax Collector               -697.82 4700-000                                                     213,108.40

06/20/19                                                    Schuylkill Cty Tax Claim                    -15.00 5800-000                                                     213,108.40
                                                            Certifications

06/20/19                                                    Portnoff Associates.                        -75.00 4210-000                                                     213,108.40
                                                            Certifications

06/20/19                                                    Robert Frantz, Tax Collector                -60.00 2500-000                                                     213,108.40
                                                            Certifications

06/20/19                                                    Dena Kistler, Notary Public                   -5.00 2500-000                                                    213,108.40

06/20/19                                                    Houser Auctioneer                         -1,635.00 3620-000                                                    213,108.40

06/24/19     54345    BUSINESS CARD SERVICES                REIMBURSEMENT OF CREDIT CARD                        2990-000                                       65.00        213,043.40
                                                            CHARGE (COURT CALL FEE)

06/26/19     54346    TRUSTEE INSURANCE AGENCY INSURANCE PREMIUM (Invoice No. 12004)                            2690-000                                      396.00        212,647.40
                                               (Apartments & Acquisitions, LP, Jamilie &
                                               House Flex Properties)

06/27/19     54347    Magisterial District No. 08-3-03      FILING FEE (Landlord/Tenant Complaint v.            2990-003                                      188.75        212,458.65
                                                            Bridget O'Connell - 1252 Chemung St., Coal
                                                            Township)



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Case Number:           15-03964 MJC                                                               Trustee:                William G. Schwab
Case Name:             Apartments And Acquistions LP                                              Bank Name:              Texas Capital Bank
                                                                                                  Account:                ******1656 - Checking Account
Taxpayer ID#:          **-***4454                                                                 Blanket Bond:           $6,889,586.00 (per case limit)
Period Ending:         12/08/21                                                                   Separate Bond:          N/A

   1             2                     3                                         4                                                 5                  6                    7

 Trans.    Check or                                                                                           Uniform           Receipts        Disbursements          Checking
  Date      Ref. #           Paid To / Received From                 Description of Transaction              Tran. Code            $                  $             Account Balance

06/28/19               BRIDGET O'CONNELL                                                                                               500.00                            212,958.65
06/28/19 Asset #148                                       Operating Rents                            324.00 1230-000                                                     212,958.65

06/28/19   Asset #29                                                                                 176.00 1110-000                                                     212,958.65
06/28/19   Asset #29 BRIDGET O'CONNELL                    PURCHASE MONEY FOR 1252 CHEMUNG                    1110-000                  500.00                            213,458.65
                                                          ST., COAL TWSP PER COURT ORDER
                                                          DATED 3-29-17

06/28/19   Asset #29 BRIDGET O'CONNELL                    PURCHASE MONEY FOR 1252 CHEMUNG                    1110-000                  500.00                            213,958.65
                                                          ST., COAL TWSP PER COURT ORDER
                                                          DATED 3-29-17

06/28/19   Asset #29 BRIDGET O'CONNELL                    PURCHASE MONEY FOR 1252 CHEMUNG                    1110-000                  500.00                            214,458.65
                                                          ST., COAL TWSP PER COURT ORDER
                                                          DATED 3-29-17

06/28/19   Asset #29 BRIDGET O'CONNELL                    PURCHASE MONEY FOR 1252 CHEMUNG                    1110-000                  500.00                            214,958.65
                                                          ST., COAL TWSP. PER COURT ORDER
                                                          DATED 3-29-17

06/28/19     54348     HOUSER AUCTIONEERS                 AUCTIONEER COMMISSION FOR THE SALE                 3610-000                                      816.00        214,142.65
                                                          OF 0 MILL ST., ST. CLAIR)

07/01/19   Asset #29 William G. Schwab, Esquire           Sale of Chemung Street                             1110-000               2,800.00                             216,942.65

07/01/19     54349     KURTZMAN/STEADY, LLC               SECOND INTERIM COMPENSATION TO                     3210-000                                 10,488.00          206,454.65
                                                          SPECIAL LITIGATION COUNSEL (PER
                                                          COURT ORDER DATED 6/21/19)




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                                                         Cash Receipts and Disbursements Record                                                                               Page: 140

Case Number:          15-03964 MJC                                                                  Trustee:                William G. Schwab
Case Name:            Apartments And Acquistions LP                                                 Bank Name:              Texas Capital Bank
                                                                                                    Account:                ******1656 - Checking Account
Taxpayer ID#:         **-***4454                                                                    Blanket Bond:           $6,889,586.00 (per case limit)
Period Ending:        12/08/21                                                                      Separate Bond:          N/A

   1             2                     3                                           4                                                 5                   6                    7

 Trans.    Check or                                                                                             Uniform           Receipts         Disbursements          Checking
  Date      Ref. #           Paid To / Received From                   Description of Transaction              Tran. Code            $                   $             Account Balance

07/01/19     54350    KURTZMAN STEADY, LLC                  OUT-OF-POCKET EXPENSES TO SPECIAL                  3220-000                                      938.05         205,516.60
                                                            LITIGATION COUNSEL (PER COURT ORDER
                                                            DATED 1/10/19)

07/01/19   Asset #29 William G. Schwab, Trustee             148- Operating Rents                               1110-000              -2,800.00                              202,716.60

07/03/19 Asset #148 SCHUYLKILL COUNTY HOUSING RENT FOR 94 COAL STREET, PORT                                    1230-000                  638.00                             203,354.60
                    AUTHORITY                 CARBON

07/03/19     54351    NORTHUMBERLAND COUNTY                 TRANSFER TAX FEE (SALE OF 1252                     2690-000                                      400.00         202,954.60
                      RECORDER OF DEEDS                     CHEMUNG ST., COAL TOWNSHIP)

07/03/19     54352    NORTHUMBERLAND COUNTY                 RECORDING FEE - TRUSTEE DEED (SALE                 2690-000                                       87.25         202,867.35
                      RECORDER OF DEEDS                     OF 1252 CHEMUNG ST., COAL TOWNSHIP)

07/03/19 Asset #148 LAW OFFICE OF RICHARD R.                RETURN OF JUNE RENT PAYMENT (SALE                  1230-000                  -638.00                            202,229.35
           54353    FEUDALE                                 OF 94 COAL ST., PORT CARBON)

07/09/19 Asset #154 MMJ, INC                                PARTIAL SETTLEMENT ON TURN OVER                    1249-000               1,000.00                              203,229.35
                                                            FUNDS PER COURT ORDER DATED 3-18-19

07/12/19     54347    Magisterial District No. 08-3-03      FILING FEE (Landlord/Tenant Complaint v.           2990-003                                      -188.75        203,418.10
                                                            Bridget O'Connell - 1252 Chemung St., Coal
                                                            Township) Magisterial District No. 08-3-03

07/18/19              UNITED STATES LIABILITY               REFUND OF PROPERTY INSURANCE                       2690-000                                       -84.40        203,502.50
                      INSURANCE
07/23/19     54354    BUSINESS CARD SERVICES                REIMBURSEMENT TO CREDIT CARD                       2990-000                                       44.00         203,458.50
                                                            (COURT CALL FEE)




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Case Number:          15-03964 MJC                                                               Trustee:                William G. Schwab
Case Name:            Apartments And Acquistions LP                                              Bank Name:              Texas Capital Bank
                                                                                                 Account:                ******1656 - Checking Account
Taxpayer ID#:         **-***4454                                                                 Blanket Bond:           $6,889,586.00 (per case limit)
Period Ending:        12/08/21                                                                   Separate Bond:          N/A

   1             2                    3                                           4                                               5                  6                    7

 Trans.    Check or                                                                                          Uniform           Receipts        Disbursements          Checking
  Date      Ref. #          Paid To / Received From                 Description of Transaction              Tran. Code            $                  $             Account Balance

08/05/19     54355    TRUSTEE INSURANCE AGENCY INSURANCE PREMIUM (Invoice No. 12200)                        2690-000                                      228.00        203,230.50
                                               (Apartments & Acquisitions, LP, Jamilie &
                                               House Flex Properties)

08/08/19              PARAMOUNT ABSTRACT, INC            SALE PROCEEDS FROM 134 N. THIRD                                              677.61                            203,908.11
                                                         STREET, ST. CLAIR, PA PER COURT
                                                         ORDER DATED 3-15-19

08/08/19 Asset #199                                                                               5,296.08 1210-000                                                     203,908.11
08/08/19                                                 Pronotff Associates                      -2,325.24 4210-000                                                    203,908.11

08/08/19                                                 Schiulkill COunty Wate                    -396.70 5800-000                                                     203,908.11
                                                         Authroity

08/08/19                                                 Schuylkill COunty Tax                    -1,223.44 5800-000                                                    203,908.11
                                                         Collection

08/08/19                                                 William Umbenhaur, Tax                    -173.09 2500-000                                                     203,908.11
                                                         Collector

08/08/19                                                 Houser Auctioneer                         -500.00 3620-000                                                     203,908.11

08/13/19 Asset #154 MMJ, INC                             Settlement Payment v. Donahue (Per Court           1249-000               1,000.00                             204,908.11
                                                         Order Dated 5/10/19)

08/29/19     54356    TRUSTEE INSURANCE AGENCY INSURANCE PREMIUM (Invoice No. 12273)                        2690-000                                      186.00        204,722.11

09/06/19 Asset #164 RICHARD FEUDALE, ESQUIRE             PROCEEDS FOR 1931 WALNUT ST.,                      1210-000                  -75.00                            204,647.11
                                                         ASHLAND, PA (PER COURT ORDER DATED
                                                         3-15-19) RICHARD FEUDALE, ESQUIRE




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                                                      Cash Receipts and Disbursements Record                                                                              Page: 142

Case Number:          15-03964 MJC                                                              Trustee:                William G. Schwab
Case Name:            Apartments And Acquistions LP                                             Bank Name:              Texas Capital Bank
                                                                                                Account:                ******1656 - Checking Account
Taxpayer ID#:         **-***4454                                                                Blanket Bond:           $6,889,586.00 (per case limit)
Period Ending:        12/08/21                                                                  Separate Bond:          N/A

   1             2                    3                                        4                                                 5                  6                     7

 Trans.    Check or                                                                                         Uniform           Receipts        Disbursements           Checking
  Date      Ref. #          Paid To / Received From                Description of Transaction              Tran. Code            $                  $              Account Balance

09/09/19 Asset #148 SCHUYLKILL COUNTY HOUSING RENT FOR 1513 WALNUT STREETM                                 1230-000              -1,689.00                              202,958.11
                    AUTHORITY                 ASHLAND, PA, 27 N. NICE STREET ,
                                              FRACKVILLE, PA AND 34 HOFFMAN BLVD.,
                                              ASHLAND, PA SCHUYLKILL COUNTY
                                              HOUSING AUTHORITY

09/18/19 Asset #188 ROVITO AND ROVITO                    PROCEEDS FOR 22-24 SOUTH FIRST                    1210-000                  740.94                             203,699.05
                                                         STREET, COAL TOWNSHIP PER COURT
                                                         ORDER DATED 3-15-19

09/18/19              Covenent Abstract                  GARBAGE FEE REFUND FOR 12-TO 22                   2500-000                                      -150.00        203,849.05
                                                         WIGGAN STREET, NEW PHILADELPHIA, PA

09/24/19 Asset #154 MMJ, INC                             SETTLEMENT PAYMENT V DOHAHUE PER                  1249-000               1,000.00                              204,849.05
                                                         COURT ORDER DATED 5-10-19

09/24/19     54357    BUSINESS CARD SERVICES             REIMBURSEMENT TO CREDIT CARD                      2990-000                                        3.10         204,845.95
                                                         (CHANGE OF ADDRESSES POSTAL FEES)

10/07/19     54358    COUNTY OF                          PAST DUE TAXES OWED THROUGH APRIL                 2820-000                                  4,817.79           200,028.16
                      NORTHUMBERLAND                     2018 (1252 CHEMUNG ST., COAL TWP.)

10/11/19     54359    US POSTMASTER                      REIMBURSEMENT OF POSTAGE                          2690-000                                        4.35         200,023.81

10/17/19     54360    BARCLAYS                           REIMBURSEMENT OF CREDIT CARD                      2690-000                                       74.10         199,949.71
                                                         CHARGES (NOTICE OF FEE APPLICATION
                                                         TO ATTORNEY FOR TRUSTEE)

10/23/19     54361    BUSINESS CARD SERVICES             REIMBURSEMENT TO CREDIT CARD                      2990-004                                       44.00         199,905.71
                                                         (COURT CALL FEE - #10064046); Stopped on
                                                         11/26/2019




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Case Number:          15-03964 MJC                                                              Trustee:                William G. Schwab
Case Name:            Apartments And Acquistions LP                                             Bank Name:              Texas Capital Bank
                                                                                                Account:                ******1656 - Checking Account
Taxpayer ID#:         **-***4454                                                                Blanket Bond:           $6,889,586.00 (per case limit)
Period Ending:        12/08/21                                                                  Separate Bond:          N/A

   1             2                    3                                        4                                                 5                  6                    7

 Trans.    Check or                                                                                         Uniform           Receipts        Disbursements          Checking
  Date      Ref. #          Paid To / Received From                Description of Transaction              Tran. Code            $                  $             Account Balance

10/31/19              APARTMENTS AND                     From #####1995 To #####1656 TRANSFER              9999-000               1,780.19                             201,685.90
                      ACQUISTIONS, L.P.                  OF FUNDS FROM ESCROW TO CHECKING
                                                         ACCOUNT (post-petition rents)

11/19/19     54362    BARCLAYS                           REIMBURSEMENT OF CREDIT CARD                      2690-000                                       74.10        201,611.80
                                                         CHARGES (NOTICE OF MOTION TO
                                                         ABANDON 103 S. PLUM ST., MT. CARMEL)

11/26/19     54361    BUSINESS CARD SERVICES             REIMBURSEMENT TO CREDIT CARD                      2990-004                                      -44.00        201,655.80
                                                         (COURT CALL FEE - #10064046); Stopped:
                                                         Check issued on 10/23/2019

11/26/19     54363    BUSINESS CARD SERVICES             REIMBURSEMENT TO CREDIT CARD                      2990-000                                       44.00        201,611.80
                                                         (COURT CALL FEE - #10064046)

11/26/19     54364    INTERNAL REVENUE SERVICE           2018 PA TAXES OWED                                2820-000                                      880.00        200,731.80

12/02/19     54365    US POSTMASTER                      REIMBURSEMENT OF POSTAGE                          2690-000                                       23.10        200,708.70
                                                         (miscellaneous service fees)

12/10/19 Asset #154 GREATER COLUMBIA MEDICAL PARTIAL SETTLEMENT PAYMENT V                                  1249-000               1,000.00                             201,708.70
                                             DONAHUE PER COURT ORDER

12/19/19     54366    KURTZMAN/STEADY, LLC               THIRD & FINAL COMPENSATION TO                     3210-000                                  2,736.00          198,972.70
                                                         SPECIAL LITIGATION COUNSEL (PER
                                                         COURT ORDER DATED 12/17/19)

12/19/19     54367    KURTZMAN STEADY, LLC               OUT-OF-POCKET EXPENSES TO SPECIAL                 3220-000                                      204.80        198,767.90
                                                         LITIGATION COUNSEL (THIRD & FINAL)
                                                         (PER COURT ORDER DATED 12/17/19)




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Case Number:          15-03964 MJC                                                               Trustee:                William G. Schwab
Case Name:            Apartments And Acquistions LP                                              Bank Name:              Texas Capital Bank
                                                                                                 Account:                ******1656 - Checking Account
Taxpayer ID#:         **-***4454                                                                 Blanket Bond:           $6,889,586.00 (per case limit)
Period Ending:        12/08/21                                                                   Separate Bond:          N/A

   1             2                     3                                        4                                                 5                  6                   7

 Trans.    Check or                                                                                          Uniform           Receipts        Disbursements         Checking
  Date      Ref. #          Paid To / Received From                 Description of Transaction              Tran. Code            $                  $            Account Balance

02/25/20     54368    William G Schwab                   PARTIAL FIRST INTERIM COMPENSATION                 3110-000                               100,000.00           98,767.90
                                                         AWARDED (PER COURT ORDER DATED
                                                         2/21/20)

02/25/20     54369    William G Schwab                   PARTIAL FIRST INTERIM REIMBURSEMENT                3120-000                                  9,235.81          89,532.09
                                                         OF OUT-OF-POCKET EXPENSES AWARDED
                                                         (PER COURT ORDER DATED 2/21/20)

03/10/20 Asset #154 GREATER COLUMBIA MEDICAL PARTIAL SETTLEMENT - V GERARD                                  1249-000               1,000.00                             90,532.09
                                             DONAHUE

05/26/20 Asset #154 MMJ, INC                             PARTIAL SETTLEMENT V GERALD                        1249-000               1,000.00                             91,532.09
                                                         DONAHUE PER COURT ORDER

05/26/20 Asset #154 GREATER COLUMBIA MEDICAL PARTIAL SETTLEMENT V GERALD                                    1249-000               1,000.00                             92,532.09
                                             DONAHUE PER COURT ORDER

05/26/20     54370    COURTCALL, LLC                     COURT CALL FEE (COURT CALL ID                      2990-000                                      44.00         92,488.09
                                                         10399550)

06/04/20              Signature Bank                     Transfer to account ending 0651                    9999-000                                 92,488.09                  0.00


                                                                               ACCOUNT TOTALS                                   372,020.60         372,020.60                  $0.00
                                                                                  Less: Bank Transfers                            7,991.01          92,488.09

                                                                               Subtotal                                         364,029.59         279,532.51
                                                                                  Less: Payment to Debtors                                               0.00

                                                                               NET Receipts / Disbursements                    $364,029.59        $279,532.51




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                                                      Cash Receipts and Disbursements Record                                                                             Page: 145

Case Number:          15-03964 MJC                                                             Trustee:                William G. Schwab
Case Name:            Apartments And Acquistions LP                                            Bank Name:              Texas Capital Bank
                                                                                               Account:                ******1995 - ESCROW Account
Taxpayer ID#:         **-***4454                                                               Blanket Bond:           $6,889,586.00 (per case limit)
Period Ending:        12/08/21                                                                 Separate Bond:          N/A

   1             2                    3                                       4                                                 5                  6                     7

 Trans.    Check or                                                                                        Uniform           Receipts        Disbursements           Checking
  Date      Ref. #          Paid To / Received From               Description of Transaction              Tran. Code            $                  $              Account Balance

02/05/19              Richard Feudale, Esquire           ESCROW FUNDS (HOUSEFLEX) for 1525-               2500-000                                       -17.28                 17.28
                                                         1527 W. WALNUT ST., COAL TWP.

02/05/19              Richard Feudale, Esquire           ESCROW FUNDS (HOUSEFLEX) for 238 S.              2500-000                                      -351.69               368.97
                                                         6TH STREET, SHAMOKIN

02/05/19 Asset #185 RICHARD FEUDALE, ESQUIRE             ESCROW FUNDS (HOUSEFLEX) for 912 N.              1210-000                  319.47                                    688.44
                                                         SHAMOKIN STREET, SHAMOKIN

02/05/19              Richard Feudale, Esquire           ESCROW FUNDS for 924 NORTH ORANGE                2500-000                                       -81.75               770.19
                                                         ST., SHAMOKIN

03/25/19 Asset #159 ACORN ESTATES                        DOWN MONEY FOR 1027 W. CENTER ST.,               1280-000                  500.00                                   1,270.19
                                                         ASHLAND, PA

03/25/19   Asset #54 ACORN ESTATES                       DOWN MONEY FOR 26 NORTH LEHIGH                   1280-000                  500.00                                   1,770.19
                                                         AVE., FRACKVILLE,PA

03/25/19 Asset #160 ACORN ESTATES                        DOWN MONEY FOR 29 WALNUT ST.,                    1280-000                  790.00                                   2,560.19
                                                         ASHLAND, PA

03/25/19 Asset #157 ACORN ESTATES                        DOWN MONEY FOR 426 CENTRE ST.,                   1280-000                  600.00                                   3,160.19
                                                         ASHLAND, PA

03/25/19 Asset #169 ACORN ESTATES                        DOWN MONEY FOR 31 SOUTH LEHIGH                   1280-000                  650.00                                   3,810.19
                                                         AVE., FRACKVILLE,PA

03/25/19 Asset #163 ACORN ESTATES                        DOWN MONEY FOR 1529-1531 WALNUT                  1280-000                  800.00                                   4,610.19
                                                         ST., ASHLAND, PA

03/25/19 Asset #164 ACORN ESTATES                        DOWN MONEY FOR 1931 WALNUT ST.,                  1280-000                  500.00                                   5,110.19
                                                         ASHLAND, PA


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                                                      Cash Receipts and Disbursements Record                                                                        Page: 146

Case Number:          15-03964 MJC                                                             Trustee:                William G. Schwab
Case Name:            Apartments And Acquistions LP                                            Bank Name:              Texas Capital Bank
                                                                                               Account:                ******1995 - ESCROW Account
Taxpayer ID#:         **-***4454                                                               Blanket Bond:           $6,889,586.00 (per case limit)
Period Ending:        12/08/21                                                                 Separate Bond:          N/A

   1             2                    3                                       4                                                 5                  6                7

 Trans.    Check or                                                                                        Uniform           Receipts        Disbursements      Checking
  Date      Ref. #          Paid To / Received From               Description of Transaction              Tran. Code            $                  $         Account Balance

03/25/19 Asset #158 ACORN ESTATES                        DOWN MONEY FOR 1510 CENTRE ST.,                  1280-000                  500.00                              5,610.19
                                                         ASHLAND, PA

03/25/19 Asset #161 ACORN ESTATES                        DOWN MONEY FOR 1334 WALNUT ST.,                  1280-000                  500.00                              6,110.19
                                                         ASHLAND, PA

03/25/19 Asset #166 ACORN ESTATES                        DOWN MONEY FOR 1208 PINE ST.,                    1280-000                  500.00                              6,610.19
                                                         ASHLAND, PA

03/25/19 Asset #167 BRIAN J. DAMITER                     DOWN MONEY FOR 0 LINE ST/ 301 SOUTH              1280-000               4,350.00                          10,960.19
                                                         MT. AVE, FRACKVILLE, PA

03/25/19 Asset #162 ACORN ESTATES                        DOWN MONEY FOR 1420 WALNUT ST.,                  1280-000                  500.00                         11,460.19
                                                         ASHLAND,PA

03/25/19 Asset #184 ACORN ESTATES                        DOWN MONEY FOR 911 N. VINE ST.,                  1280-000                  500.00                         11,960.19
                                                         SHAMOKIN, PA

03/25/19 Asset #193 RYAN QUINN                           DOWN MONEY FOR 1727 PARK AVE, COAL               1280-000               1,360.00                          13,320.19
                                                         TOWNSHIP

03/25/19 Asset #188 COAL TOWNSHIP                        DOWN MONEY FOR 24 SOUTH ST. & 22                 1280-000               1,000.00                          14,320.19
                                                         SOUTH ST., COAL TWSP, PA

03/25/19              JULIANA LESNIAK                    RENT FOR 22 WIGGAN ST., NEW                      1280-000                  600.00                         14,920.19
                                                         PHILADELPHIA, PA

03/25/19              SCHLESINGE R &                     SALE OF REAL PROPERTY-1121-1123                  1280-000                  281.00                         15,201.19
                      KERSTETTER,LLP                     WEST WATER STREET, COAL TWSP PER
                                                         COURT ORDER DATED 01-27-17




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                                                      Cash Receipts and Disbursements Record                                                                          Page: 147

Case Number:          15-03964 MJC                                                              Trustee:                William G. Schwab
Case Name:            Apartments And Acquistions LP                                             Bank Name:              Texas Capital Bank
                                                                                                Account:                ******1995 - ESCROW Account
Taxpayer ID#:         **-***4454                                                                Blanket Bond:           $6,889,586.00 (per case limit)
Period Ending:        12/08/21                                                                  Separate Bond:          N/A

   1             2                    3                                         4                                                5                   6                7

 Trans.    Check or                                                                                         Uniform           Receipts         Disbursements      Checking
  Date      Ref. #          Paid To / Received From                Description of Transaction              Tran. Code            $                   $         Account Balance

03/25/19              SHEILA CASE                        RENT FOR 923 W. CENTER STREET,                    1280-000                  100.00                          15,301.19
                                                         ASHLAND, PA

03/25/19              JULIANA LESNIAK                    RENT FOR 22 WIGGAN ST., NEW                       1280-000                  -600.00                         14,701.19
                                                         PHILADELPHIA, PA JULIANA LESNIAK

03/25/19              SCHLESINGE R &                     SALE OF REAL PROPERTY-1121-1123                   1280-000                  -281.00                         14,420.19
                      KERSTETTER,LLP                     WEST WATER STREET, COAL TWSP PER
                                                         COURT ORDER DATED 01-27-17
                                                         SCHLESINGE R & KERSTETTER,LLP

03/25/19              SHEILA CASE                        RENT FOR 923 W. CENTER STREET,                    1280-000                  -100.00                         14,320.19
                                                         ASHLAND, PA SHEILA CASE

03/27/19              HOUSER AUCTIONEERS                 DOWN MONEY FOR 151 W. SAYLOR ST., MT                                     2,290.00                           16,610.19
                                                         CARMEL, 924 N. ORANGE ST., SHAMOKIN,
                                                         227 N.NICE ST., FRACKVILLE,PA

03/27/19 Asset #170                                      Down Payment- N Nice St                 1,290.00 1280-000                                                   16,610.19

03/27/19 Asset #186                                      Down Payment- 924 N.                      500.00 1280-000                                                   16,610.19
                                                         Orange St

03/27/19 Asset #173                                      Down Payment- 151 W.                      500.00 1280-000                                                   16,610.19
                                                         Saylor St

03/28/19 Asset #190 CAROL ANOIA                          DOWN MONEY FOR 1103 WEST FERN ST.,                1210-000                  510.00                          17,120.19
                                                         COAL TWSP

04/17/19 Asset #172 LYNN DAVA                            DOWN MONEY FOR 103 PLUM STREET, MT.               1210-000                  500.00                          17,620.19
                                                         CARMEL, PA - did not return




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Case Number:          15-03964 MJC                                                             Trustee:                William G. Schwab
Case Name:            Apartments And Acquistions LP                                            Bank Name:              Texas Capital Bank
                                                                                               Account:                ******1995 - ESCROW Account
Taxpayer ID#:         **-***4454                                                               Blanket Bond:           $6,889,586.00 (per case limit)
Period Ending:        12/08/21                                                                 Separate Bond:          N/A

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 Trans.    Check or                                                                                        Uniform           Receipts        Disbursements      Checking
  Date      Ref. #          Paid To / Received From               Description of Transaction              Tran. Code            $                  $         Account Balance

04/22/19 Asset #205 ACORN ESTATES                        DOWN MONEY FOR 50-52 WATER STREET,               1280-000                  500.00                         18,120.19
                                                         NEW PHILADELPHIA, PA

04/22/19 Asset #181 ACORN ESTATES                        DOWN MONEY 918 WEST RACE STREET,                 1280-000                  500.00                         18,620.19
                                                         POTTSVILLE,PA

04/22/19 Asset #185 ACORN ESTATES                        DOWN MONEY FOR 912 NORTH SHAMOKIN                1280-000                  500.00                         19,120.19
                                                         ST., SHAMOKIN, PA

04/22/19 Asset #197 ACORN ESTATES                        DOWN MONEY FOR 234 EAST HIGH ST.,                1280-000                  540.00                         19,660.19
                                                         COALDALE, PA

04/22/19 Asset #179 ACORN ESTATES                        DOWN MONEY FOR 525 EAST NORWEGIAN                1280-000                  500.00                         20,160.19
                                                         ST., POTTSVILLE, PA

04/22/19 Asset #196 ACORN ESTATES                        DOWN MONEY FOR 135 EAST HIGH ST.,                1280-000                  520.00                         20,680.19
                                                         COALDALE, PA

04/22/19 Asset #183 ACORN ESTATES                        DOWN MONEY FOR 238 SOUTH 6TH                     1280-000                  500.00                         21,180.19
                                                         STREET, SHAMOKIN, PA

04/22/19 Asset #182 ACORN ESTATES                        DOWN MONEY FOR 140 EAST SUNBURY                  1280-000                  500.00                         21,680.19
                                                         ST., SHAMOKIN, PA

04/22/19              ACORN ESTATES                      DOWN MONEY FOR 1525-1527 WEST                    1280-000                  500.00                         22,180.19
                                                         WALNUT STREET, COAL TWSP

04/22/19 Asset #191 ACORN ESTATES                        DOWN MONEY FOR 1525-1527 WEST                    1280-000                  500.00                         22,680.19
                                                         WALNUT ST., COAL TWSP

04/22/19 Asset #175 ACORN ESTATES                        DOWN MONEY FOR 9-11 NORTH SEVENTH                1280-000                  600.00                         23,280.19
                                                         STREET, POTTSVILLE,PA


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                                                      Cash Receipts and Disbursements Record                                                                         Page: 149

Case Number:          15-03964 MJC                                                             Trustee:                William G. Schwab
Case Name:            Apartments And Acquistions LP                                            Bank Name:              Texas Capital Bank
                                                                                               Account:                ******1995 - ESCROW Account
Taxpayer ID#:         **-***4454                                                               Blanket Bond:           $6,889,586.00 (per case limit)
Period Ending:        12/08/21                                                                 Separate Bond:          N/A

   1             2                    3                                       4                                                 5                   6                7

 Trans.    Check or                                                                                        Uniform           Receipts         Disbursements      Checking
  Date      Ref. #          Paid To / Received From               Description of Transaction              Tran. Code            $                   $         Account Balance

04/22/19 Asset #174 ACORN ESTATES                        DOWN MONEY FOR 341 SOUTH BEECH                   1280-000                  500.00                          23,780.19
                                                         STREET, MT. CARMEL

04/22/19 Asset #200 ACORN ESTATES                        DOWN MONEY FOR 94 COAL ST., PORT                 1280-000                  950.00                          24,730.19
                                                         CARBON, PA

04/22/19 Asset #198 ACORN ESTATES                        DOWN MONEY FOR 0 MILL STREET, ST.                1280-000               2,720.00                           27,450.19
                                                         CLAIR

04/22/19 Asset #180 ACORN ESTATES                        DOWN MONEY FOR 717 WEST RACE                     1280-000                  500.00                          27,950.19
                                                         STREET, POTTSVILLE, PA

04/22/19 Asset #178 ACORN ESTATES                        DOWN MONEY FOR 517 WEST RACE ST.,                1280-000                  500.00                          28,450.19
                                                         POTTSVILLE,PA

04/22/19 Asset #199 CHRISTOPHER CHIARLANZA               DOWN MONEY FOR 134 N. THIRD STREET,              1280-000               5,100.00                           33,550.19
                                                         ST. CLAIR, PA

04/22/19 Asset #204 NEIL DAVID LEONARD                   DOWN MONEY FOR 12 TO 22 WIGGAN ST.,              1280-000               5,450.00                           39,000.19
                                                         NEW PHILADELPHIA

04/23/19 Asset #159 LAW OFFICE OF RICHARD R.             RETURN OF DEPOSIT (SALE OF 1027 W.               1280-000                  -500.00                         38,500.19
           55001    FEUDALE                              CENTRE ST., ASHLAND)

04/23/19 Asset #160 LAW OFFICE OF RICHARD R.             RETURN OF DEPOSIT (SALE OF 29                    1280-000                  -790.00                         37,710.19
           55002    FEUDALE                              WALNUT ST., ASHLAND)

04/23/19 Asset #161 LAW OFFICE OF RICHARD R.             RETURN OF DEPOSIT (SALE OF 1334                  1280-000                  -500.00                         37,210.19
           55003    FEUDALE                              WALNUT ST., ASHLAND)

04/23/19 Asset #162 LAW OFFICE OF RICHARD R.             RETURN OF DEPOSIT (SALE OF 1420                  1280-000                  -500.00                         36,710.19
           55004    FEUDALE                              WALNUT ST., ASHLAND)


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                                                      Cash Receipts and Disbursements Record                                                                         Page: 150

Case Number:          15-03964 MJC                                                             Trustee:                William G. Schwab
Case Name:            Apartments And Acquistions LP                                            Bank Name:              Texas Capital Bank
                                                                                               Account:                ******1995 - ESCROW Account
Taxpayer ID#:         **-***4454                                                               Blanket Bond:           $6,889,586.00 (per case limit)
Period Ending:        12/08/21                                                                 Separate Bond:          N/A

   1             2                    3                                       4                                                 5                   6                7

 Trans.    Check or                                                                                        Uniform           Receipts         Disbursements      Checking
  Date      Ref. #          Paid To / Received From               Description of Transaction              Tran. Code            $                   $         Account Balance

04/23/19   Asset #54 LAW OFFICE OF RICHARD R.            RETURN OF DEPOSIT (SALE OF 26 N.                 1280-000                  -500.00                         36,210.19
            55005    FEUDALE                             LEHIGH AVE., FRACKVILLE)

04/23/19 Asset #164 LAW OFFICE OF RICHARD R.             RETURN OF DEPOSIT (SALE OF 1931                  1280-000                  -500.00                         35,710.19
           55006    FEUDALE                              WALNUT ST., ASHLAND)

04/23/19 Asset #166 LAW OFFICE OF RICHARD R.             RETURN OF DEPOSIT (SALE OF 1208 PINE             1280-000                  -500.00                         35,210.19
           55007    FEUDALE                              ST., ASHLAND)

04/23/19 Asset #157 LAW OFFICE OF RICHARD R.             RETURN OF DEPOSIT (SALE OF 426                   1280-000                  -600.00                         34,610.19
           55008    FEUDALE                              CENTRE ST., ASHLAND)

04/23/19 Asset #184 LAW OFFICE OF RICHARD R.             RETURN OF DEPOSIT (SALE OF 911 NORTH 1280-000                              -500.00                         34,110.19
           55009    FEUDALE                              VINE ST., SHAMOKIN)

04/23/19 Asset #186 LAW OFFICE OF RICHARD R.             RETURN OF DEPOSIT (SALE OF 924 NORTH 1280-000                              -500.00                         33,610.19
           55010    FEUDALE                              ORANGE ST., SHAMOKIN)

04/23/19 Asset #158 LAW OFFICE OF RICHARD R.             RETURN OF DEPOSIT (SALE OF 1510                  1280-000                  -500.00                         33,110.19
           55011    FEUDALE                              CENTRE ST., ASHLAND)

04/23/19 Asset #169 LAW OFFICE OF RICHARD R.             RETURN OF DEPOSIT (SALE OF 31 SOUTH              1280-000                  -650.00                         32,460.19
           55012    FEUDALE                              LEHIGH AVE., FRACKVILLE)

04/23/19 Asset #163 LAW OFFICE OF RICHARD R.             RETURN OF DEPOSIT (SALE OF 1529-1531             1280-000                  -800.00                         31,660.19
           55013    FEUDALE                              WALNUT ST., ASHLAND)

04/24/19 Asset #170 RUBRIGHT, DOMALAKES, TROY RETURN OF DEPOSIT (SALE OF 227 NORTH 1280-000                                     -1,290.00                           30,370.19
           55014    & MCDONALD                NICE ST., FRACKVILLE)

04/26/19     55015    SCHLESINGER & KERSTETTER, RETURN OF DEPOSIT (SALE OF 1103 WEST                      1280-004                  -510.00                         29,860.19
                      LLP                       FERN ST., COAL TOWNSHIP)


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                                                      Cash Receipts and Disbursements Record                                                                         Page: 151

Case Number:          15-03964 MJC                                                             Trustee:                William G. Schwab
Case Name:            Apartments And Acquistions LP                                            Bank Name:              Texas Capital Bank
                                                                                               Account:                ******1995 - ESCROW Account
Taxpayer ID#:         **-***4454                                                               Blanket Bond:           $6,889,586.00 (per case limit)
Period Ending:        12/08/21                                                                 Separate Bond:          N/A

   1             2                    3                                       4                                                 5                   6                7

 Trans.    Check or                                                                                        Uniform           Receipts         Disbursements      Checking
  Date      Ref. #          Paid To / Received From               Description of Transaction              Tran. Code            $                   $         Account Balance

04/26/19 Asset #167 NORTHEAST EDGE                       RETURN OF DEPOSIT (SALE OF 0 LINE ST.,           1280-000              -4,350.00                           25,510.19
           55016    ASSOCIATES, LLC                      FRACKVILLE, a/k/a 301 SOUTH BROAD
                                                         MOUNTAIN AVE., FRACKVILLE)

05/01/19 Asset #183 LAW OFFICE OF RICHARD R.             RETURN OF DEPOSIT (SALE OF 238 SOUTH 1280-000                              -500.00                         25,010.19
           55017    FEUDALE                              6TH ST., SHAMOKIN)

05/01/19 Asset #174 LAW OFFICE OF RICHARD R.             RETURN OF DEPOSIT (SALE OF 341 SOUTH 1280-000                              -500.00                         24,510.19
           55018    FEUDALE                              BEECH ST., MT. CARMEL)

05/01/19 Asset #185 LAW OFFICE OF RICHARD R.             RETURN OF DEPOSIT (SALE OF 912 N.                1280-000                  -500.00                         24,010.19
           55019    FEUDALE                              SHAMOKIN ST., SHAMOKIN)

05/01/19     55020    LAW OFFICE OF RICHARD R.           RETURN OF DEPOSIT (SALE OF 1525-1527             1280-000              -1,000.00                           23,010.19
                      FEUDALE                            WEST WALNUT ST., COAL TWP.)

05/01/19 Asset #182 LAW OFFICE OF RICHARD R.             RETURN OF DEPOSIT (SALE OF 140 E.                1280-000                  -500.00                         22,510.19
           55021    FEUDALE                              SUNBURY ST., SHAMOKIN)

05/01/19 Asset #198 LAW OFFICE OF RICHARD R.             RETURN OF DEPOSIT (SALE OF 0 MILL ST.,           1280-000              -2,720.00                           19,790.19
           55022    FEUDALE                              ST. CLAIR)

05/01/19 Asset #197 LAW OFFICE OF RICHARD R.             RETURN OF DEPOSIT (SALE OF 234 EAST              1280-000                  -540.00                         19,250.19
           55023    FEUDALE                              HIGH ST., COALDALE)

05/01/19 Asset #196 LAW OFFICE OF RICHARD R.             RETURN OF DEPOSIT (SALE OF 135 EAST              1280-000                  -520.00                         18,730.19
           55024    FEUDALE                              HIGH ST., COALDALE)

05/01/19 Asset #205 LAW OFFICE OF RICHARD R.             RETURN OF DEPOSIT (SALE OF 50-52                 1280-000                  -500.00                         18,230.19
           55025    FEUDALE                              WATER ST., NEW PHILADELPHIA)




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                                                      Cash Receipts and Disbursements Record                                                                         Page: 152

Case Number:          15-03964 MJC                                                             Trustee:                William G. Schwab
Case Name:            Apartments And Acquistions LP                                            Bank Name:              Texas Capital Bank
                                                                                               Account:                ******1995 - ESCROW Account
Taxpayer ID#:         **-***4454                                                               Blanket Bond:           $6,889,586.00 (per case limit)
Period Ending:        12/08/21                                                                 Separate Bond:          N/A

   1             2                    3                                       4                                                 5                   6                7

 Trans.    Check or                                                                                        Uniform           Receipts         Disbursements      Checking
  Date      Ref. #          Paid To / Received From               Description of Transaction              Tran. Code            $                   $         Account Balance

05/02/19 Asset #173 LAW OFFICE OF COLE &                 RETURN OF DEPOSIT (SALE OF 151 WEST              1280-000                  -500.00                         17,730.19
           55026    VARANO                               SAYLOR ST., MT. CARMEL)

05/02/19 Asset #193 MARKS MCLAUGHLIN &                   RETURN OF DEPOSIT (SALE OF 1727 PARK             1280-000              -1,360.00                           16,370.19
           55027    DENNEHY                              AVE., COAL TOWNSHIP)

05/24/19 Asset #200 LAW OFFICE OF RICHARD R.             RETURN OF DEPOSIT (SALE OF 94 COAL               1280-000                  -950.00                         15,420.19
           55028    FEUDALE                              ST., PORT CARBON)

05/24/19 Asset #181 LAW OFFICE OF RICHARD R.             RETURN OF DEPOSIT (SALE OF 918 WEST              1280-000                  -500.00                         14,920.19
           55029    FEUDALE                              RACE ST., POTTSVILLE)

05/24/19 Asset #180 LAW OFFICE OF RICHARD R.             RETURN OF DEPOSIT (SALE OF 717 WEST              1280-000                  -500.00                         14,420.19
           55030    FEUDALE                              RACE ST., POTTSVILLE)

05/24/19 Asset #178 LAW OFFICE OF RICHARD R.             RETURN OF DEPOSIT (SALE OF 517 WEST              1280-000                  -500.00                         13,920.19
           55031    FEUDALE                              RACE ST., POTTSVILLE)

05/24/19 Asset #179 LAW OFFICE OF RICHARD R.             RETURN OF DEPOSIT (SALE OF 525 E.                1280-000                  -500.00                         13,420.19
           55032    FEUDALE                              NORWEGIAN ST., POTTSVILLE)

05/24/19     55033    LAW OFFICE OF RICHARD R.           RETURN OF DEPOSIT (SALE OF 525 E.                1280-003                  -600.00                         12,820.19
                      FEUDALE                            NORWEGIAN ST., POTTSVILLE)

05/24/19     55033    LAW OFFICE OF RICHARD R.           RETURN OF DEPOSIT (SALE OF 525 E.                1280-003                  600.00                          13,420.19
                      FEUDALE                            NORWEGIAN ST., POTTSVILLE) LAW
                                                         OFFICE OF RICHARD R. FEUDALE

05/24/19 Asset #175 LAW OFFICE OF RICHARD R.             RETURN OF DEPOSIT (SALE OF 9 & 11                1280-000                  -600.00                         12,820.19
           55034    FEUDALE                              NORTH 7TH ST., POTTSVILLE)




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                                                      Cash Receipts and Disbursements Record                                                                         Page: 153

Case Number:          15-03964 MJC                                                             Trustee:                William G. Schwab
Case Name:            Apartments And Acquistions LP                                            Bank Name:              Texas Capital Bank
                                                                                               Account:                ******1995 - ESCROW Account
Taxpayer ID#:         **-***4454                                                               Blanket Bond:           $6,889,586.00 (per case limit)
Period Ending:        12/08/21                                                                 Separate Bond:          N/A

   1             2                    3                                       4                                                 5                   6                7

 Trans.    Check or                                                                                        Uniform           Receipts         Disbursements      Checking
  Date      Ref. #          Paid To / Received From               Description of Transaction              Tran. Code            $                   $         Account Balance

06/18/19 Asset #204 COVENANT ABSTRACT, INC.              RETURN OF DEPOSIT FOR THE SALE OF 12             1280-000              -5,450.00                                7,370.19
           55035                                         -22 WIGGIN ST., NEW PHILADELPHIA

06/27/19 Asset #191 RICHARD FEUDALE, ESQUIRE             OVER PAYMENT ON DOWN MONEY FOR                   1280-000                  500.00                               7,870.19
                                                         1525 & 1527 W. WALNUT ST., COAL TWSP

07/02/19     55036    MADISON SETTLEMENT          RETURN OF DEPOSIT (SALE OF 103 SOUTH 1280-004                                     -500.00                              7,370.19
                      SERVICES - SELINSGROVE, LLC PLUM ST., MT. CARMEL)

07/31/19     55015    SCHLESINGER & KERSTETTER, Stop Payment on Check 55015                               1280-004                  510.00                               7,880.19
                      LLP                       SCHLESINGER & KERSTETTER, LLP

08/06/19 Asset #199 PARAMOUNT ABSTRACT, INC.             RETURN OF DEPOSIT (SALE OF 134 N.                1280-000              -5,100.00                                2,780.19
           55037                                         THIRD ST., ST. CLAIR) (PER COURT ORDER
                                                         DATED 3/15/19)

08/08/19 Asset #188 VINCENT ROVITO, ESQUIRE              RETURN OF DEPOSIT (SALE OF 22-24                 1280-000              -1,000.00                                1,780.19
           55038                                         SOUTH 1ST ST., COAL TWP.) (PER COURT
                                                         ORDER DATED 3/15/19)

09/06/19              ACORN ESTATES                      DOWN MONEY FOR 1525-1527 WEST                    1280-000                  -500.00                              1,280.19
                                                         WALNUT STREET, COAL TWSP ACORN
                                                         ESTATES

10/07/19     55036    MADISON SETTLEMENT          Stop Payment on Check 55036 MADISON                     1280-004                  500.00                               1,780.19
                      SERVICES - SELINSGROVE, LLC SETTLEMENT SERVICES - SELINSGROVE,
                                                  LLC




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                                                      Cash Receipts and Disbursements Record                                                                             Page: 154

Case Number:          15-03964 MJC                                                             Trustee:                William G. Schwab
Case Name:            Apartments And Acquistions LP                                            Bank Name:              Texas Capital Bank
                                                                                               Account:                ******1995 - ESCROW Account
Taxpayer ID#:         **-***4454                                                               Blanket Bond:           $6,889,586.00 (per case limit)
Period Ending:        12/08/21                                                                 Separate Bond:          N/A

   1             2                    3                                       4                                                 5                  6                     7

 Trans.    Check or                                                                                        Uniform           Receipts        Disbursements           Checking
  Date      Ref. #          Paid To / Received From               Description of Transaction              Tran. Code            $                  $              Account Balance

10/31/19              APARTMENTS AND                     From #####1995 To #####1656 TRANSFER             9999-000                                  1,780.19                    0.00
                      ACQUISTIONS, L.P.                  OF FUNDS FROM ESCROW TO CHECKING
                                                         ACCOUNT (post-petition rents)


                                                                             ACCOUNT TOTALS                                      1,329.47           1,329.47                   $0.00
                                                                                Less: Bank Transfers                                 0.00           1,780.19

                                                                             Subtotal                                            1,329.47               -450.72
                                                                                Less: Payment to Debtors                                                   0.00

                                                                             NET Receipts / Disbursements                       $1,329.47           $-450.72




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                                                      Cash Receipts and Disbursements Record                                                                              Page: 155

Case Number:          15-03964 MJC                                                                Trustee:                William G. Schwab
Case Name:            Apartments And Acquistions LP                                               Bank Name:              Signature Bank
                                                                                                  Account:                ******0651 - Checking Account
Taxpayer ID#:         **-***4454                                                                  Blanket Bond:           $6,889,586.00 (per case limit)
Period Ending:        12/08/21                                                                    Separate Bond:          N/A

   1             2                    3                                          4                                                 5                  6                   7

 Trans.    Check or                                                                                           Uniform           Receipts        Disbursements         Checking
  Date      Ref. #          Paid To / Received From                  Description of Transaction              Tran. Code            $                  $            Account Balance

06/04/20              Texas Capital Bank                 Transfer from account ending 1656                   9999-000              92,488.09                             92,488.09

06/18/20              SCHUYLKILL COUNTY HOUSING RENT FOR 1513 WALNUT STREETM                                 1222-000               1,689.00                             94,177.09
                      AUTHORITY                 ASHLAND, PA, 27 N. NICE STREET ,
                                                FRACKVILLE, PA AND 34 HOFFMAN BLVD.,
                                                ASHLAND, PA

06/18/20              SCHUYLKILL COUNTY HOUSING RENT FOR 1513 WALNUT STREETM                                 1222-000              -1,689.00                             92,488.09
                      AUTHORITY                 ASHLAND, PA, 27 N. NICE STREET ,
                                                FRACKVILLE, PA AND 34 HOFFMAN BLVD.,
                                                ASHLAND, PA SCHUYLKILL COUNTY
                                                HOUSING AUTHORITY

07/08/20 Asset #207 Greater Columbia Medical             Final Payment                                       1249-000               1,000.00                             93,488.09

07/08/20 Asset #206 MMJ Inc                              Final Payment                                       1249-000               1,000.00                             94,488.09

07/27/20     60001    William G Schwab                   unpaid attorneys fees per the court order dated     3110-000                                 12,500.00          81,988.09
                                                         February 21, 2020

08/19/20     60002    Barclays                           Reimbursement of Credit Card Charge (Service        2690-000                                      56.50         81,931.59
                                                         of Filed Notice of Compensation to Fegley &
                                                         Associates, CPA)

09/21/20     60003    Barclays                           Reimbursement of Credit Card Charge                 2690-000                                      56.50         81,875.09
                                                         (Amended Notice of Amended Fegley, CPA
                                                         Fee App.)

12/23/20     60004    Fegley & Associates                ACCOUNTANT FEES PER THE COURT                       3410-000                                  3,137.50          78,737.59
                                                         ORDER DATED DECEMBER 4, 2020




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                                                      Cash Receipts and Disbursements Record                                                                                Page: 156

Case Number:          15-03964 MJC                                                                Trustee:                William G. Schwab
Case Name:            Apartments And Acquistions LP                                               Bank Name:              Signature Bank
                                                                                                  Account:                ******0651 - Checking Account
Taxpayer ID#:         **-***4454                                                                  Blanket Bond:           $6,889,586.00 (per case limit)
Period Ending:        12/08/21                                                                    Separate Bond:          N/A

   1             2                    3                                          4                                                 5                  6                     7

 Trans.    Check or                                                                                           Uniform           Receipts        Disbursements           Checking
  Date      Ref. #          Paid To / Received From                  Description of Transaction              Tran. Code            $                  $              Account Balance

01/05/21     60005    INTERNATIONAL SURETIES,            Blanket bond #016026361                             2300-000                                       37.04          78,700.55
                      LTD.                               Period 1/1/2021 to 1/1/2022

11/20/21              William G. Schwab, Trustee         attorneyfees                                        1129-000              26,588.69                              105,289.24

11/20/21     60006    William G. Schwab, Trustee                                                             7100-000                                 39,612.67            65,676.57
11/20/21     60007    William G. Schwab, Esquire         expenses                                            7100-000                                 12,499.19            53,177.38

11/20/21     60008    William G. Schwab, Esquire         attorney fees                                       7100-000                                 26,588.69            26,588.69

11/20/21              William G. Schwab, Trustee         attorneyfees                                        1129-000             -26,588.69                                       0.00


                                                                                ACCOUNT TOTALS                                     94,488.09          94,488.09                   $0.00
                                                                                   Less: Bank Transfers                            92,488.09               0.00

                                                                                Subtotal                                            2,000.00          94,488.09
                                                                                   Less: Payment to Debtors                                                0.00

                                                                                NET Receipts / Disbursements                       $2,000.00        $94,488.09


                                                                                                                                     Net            Net                    Account
                                                                                     TOTAL - ALL ACCOUNTS                          Receipts    Disbursements               Balances
                                                                                     Checking # ******0150                         34,577.00          27,366.18                    0.00
                                                                                     Checking # ******0154                          9,000.00                 0.00                  0.00
                                                                                     Checking # ******0651                          2,000.00          94,488.09                    0.00
                                                                                     Checking # ******1649                        -10,000.00                 0.00                  0.00
                                                                                     Checking # ******1656                       364,029.59         279,532.51                     0.00
                                                                                     Checking # ******1995                          1,329.47               -450.72                 0.00
                                                                                                                                $400,936.06        $400,936.06                    $0.00


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